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                      EXHIBIT A
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                          2 CECILIA MILLER (SBN: 211111)                                             r;a~rrrty ef ~an.l]i~~o.
                            ZHASMINA Y. KOLAROVA (SBN: 328751)                                   ~~~~~~~ ~~~ ~ ~ P~j
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                              6
                                  Attorneys for Plaintiffs,
                              7   BANK OF SOUTHERN CALIFORNIA, N.A., SOUTHERN CALIFORNIA BANCORP

                              8

                              9                              SUPERIOR COURT OF THE STATE OF CALIFORNIA

                        10                                    COUNTY OF SAN DIEGO, CENTRAL DIVISION

                        11
                                                                                                                       ~..     ..
                        12 BANK OF SOUTHERN CALIFORNIA, N.A., a                     Case No. -~47-2M -0001627-7=             TLr:
                            California corporation; SOUTHERN
     -                  131 CAZIFORNIABtANCORP, a CaIifornia —                      COMPLAINT fora
                            corporation
                        14                                                          (1) BREACH OF CONTRACT;
                                           Plaintiffs,                              (2) BREACH OF THE IMPLIED
                        15                                                              COVENANT OF GOOD FAITH AND
                                           ri~                                          FAIR DEALING (BAD FAITH);
                        16                                                          (3) SPECIFIC PERFORMANCE; and
                           EVEREST NATIONAL INSURANCE                               (4) DECLARATORY RELIEF (DUTY TO
                        17 COMPANY, a New Jersey corporation; DOES 1                    DEFEND)
                           through 20, inclusive,
                        18
                                          Defendants.                               JURY TRIAL DEMANDED
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                  1           Plaintiffs BANK OF SOUTHERN CALIFORNIA, N.A. and SOUTHERN CALIFORNIA
                  2   BANCORP (collectively, "Plaintiffs") allege as follows:
                  3                                        SUMMARY OF ACTION

                  4           1.        This is an insurance coverage dispute in which the defendant insurer denied its

                  5 I coverage obligations owed to its insureds in connection with an underlying lawsuit. Plaintiffs bring

                  6 I the instant action to obtain judicial declarations of coverage and to recover damages incurred as a

                  7   proximate result of the insurer's breaches of its coverage obligations.

                  8                                              THE PARTIES

                  9           2.        Plaintiff BANK OF SOUTHERN CALIFORNIA, N.A. ("Bank") is a corporation

                 10 duly organized and existing under and by virtue of the laws of the State of California, and doing

                 11   business within the State of California.

                 12           3.        Plaintiff SOUTHERN CALIFORNIA BANCORP ("Holding Company") is a

                                                 nc existing under and by vlrtue of the laws of the State of California,
                      corporation duly organlzeda~l

                 14 and doing business within the State of California.
                 15           4.        Plaintiffs are informed and believe, and on that basis allege, that Defendant

                 16 EVEREST NATIONAL INSURANCE COMPANY ("Everest") is a corporation organized and

                 17 existing under and by virtue of the laws of the State of New Jersey, and doing business within the

                 18   State of California.

                 19            5.       The true names and capacities, whether individual, corporate, or otherwise of the

                 20   defendants named in this Complaint as Does 1 through 20, inclusive, are unknown to Plaintiffs.

                 21   Plaintiffs are informed and believe, and on that basis allege, that each of said fictitiously named

                 22 defendants is liable to Plaintiffs on the causes of action herein alleged and/or asserts some interest,

                 23   legal or equitable, in the subject matter of this action, and therefore Plaintiffs sue said defendants

                 24 by said fictitious names. Plaintiffs will move to amend this Complaint when the true names and
                 25   capacities of said fictitiously named defendants have been ascertained.

                 26            6.       Everest and Does 1 through 20 are collectively referred to as "Defendants" herein.

                 27            7.       Plaintiffs are informed and believe, and on that basis allege, that at all times

                 28   mentioned in this Complaint the Defendants, and each of them, were the agents, servants,
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                             1   employees, and/or alter egos of each of the other co-Defendants, and in doing the things alleged in
                             2   this Complaint were acting within the scope of their authority as such agent, servant, employee,
                             3   andlor alter ego, and with the permission and consent of their co-Defendants.
                             4                                      JURISDICTION AND VENUE

                             5            8.       This Court has jurisdiction over all causes of action asserted in this Complaint

                             6   pursuant to California Constitution, Article VI, § 10 and California Code of Civil Procedure section

                             7   410.10 because the acts and omissions alleged herein were committed in the State of California,

                             8 I because this is a civil action wherein the matter in controversy, exclusive of interest, exceeds

                             9 1$25,000, and because this case is a cause not given by statute to other trial courts.

                       10                 9.       Venue is proper in this Court pursuant to California Code of Civil Procedure section

                       11 1 395, because the contract that is the subject of this Complaint was entered into within this judicial

                       12        district and all negotiations giving rise to the contract took place within this judicial district,

                       13                 nts resideand/or transact busiriess within theCounty of San-Diego, andthe unlawful
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                       14        conduct alleged herein was carried out, and had effects, in the County of San Diego. Venue is
                        15       proper in this district pursuant to Rule 1.2.2 of the San Diego Superior Court Rules.
                        16                                           GENERA.L ALLEGATIONS

                        17                10.      This is an insurance coverage dispute arising from Everest's failure to comply with

                        18       its coverage obligations in connection with covered claims.

                        19                11.      Bank of Southem California, N.A. (Bank) is a banking institution transacting

                       20        business in San Diego County.

                       21                 12.      Southern Califomia Bancorp (Holding Company) is a holding company transacting

                       22        business in San Diego County.

                       23                 13.      Holding Company purchased insurance from Everest including for its subsidiary

                       24        corporation Bank.

                       25                 14.      ABA Insurance Service, Inc. ("ABA") is the third-party claims administrator for

                       26        Everest with respect to the Plaintiffs' claim for insurance coverage. ABA is administering the claim

                        27       for insurance coverage at issue in this matter on behalf of Everest. Each of ABA's alleged acts

                        28       with respect to the subject claim were on behalf of Everest and are attributable to Everest.
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                         1               15.       David I. Rainer ("Mr. Rainer") is an employee and officer of Plaintiff Bank of
                         2       Southern California and is alleged to have been acting within that capacity at all times relevant to
                         3       the matters at issue here.
                         4               16.       Richard Hemandez ("Mr. Hernandez") is an employee and officer of Plaintiff Bank

                         5       of Southern California and is alleged to have been acting within that capacity at all times relevant

                         6       to the matters at issue here.

                         7               17.       Diana Remington Smithson ("Ms. Smithson") is an employee and officer of Plaintiff

                         8       Bank of Southern California and is alleged to have been acting within that capacity at all times

                         9       relevant to the matters at issue here.

                    10                   18.       Mr. Rainer, Mr. Hernandez, and Ms. Smithson were named as defendants in

                    11           litigation filed by PacWest Bancorp alleging breach of contract and negligence, among other causes

                    12           of action, as described in more detail below.

                   -13-                 --19—-Plaintiffstiinely fendered-tlie lawsuitto their Directors and Officers Liability(D&0)
                    14       I   insurer, Everest, which wrongfully denied coverage.

                    15                   20.       Plaintiffs bring this action to redress Defendants' failures to comply with their

                    16           coverage obligations in connection with covered claims for which they were provided timely notice.

                    17                    The Insurance Policy

                    18                   21.       On or about July 1, 2018, and in exchange for substantial premiums paid to it,

                    19           Everest issued a"Director and Officers Liability Policy" to Bank bearing Policy No. 8100002727-

                    20           181 (the "Policy") to Plaintiffs. The Policy had a policy period of July 1, 2018 through July 1,

                    21           2021. The Policy provides aggregate policy limits of $11,000,000. The Policy provides a limit of

                    22           $5,000,000 for Directors and Officers Liability Coverage, including Insured Persons Liability

                    23           (Coverage A) and Company Indemnification (Coverage B). Coverage B of the Directors and

                    24           Officers Liability Coverage is subject to a$50,000 retention. The Policy also provides a separate
                    25           limit of $4,000,000 for Broad Form Company Liability Coverage (`BFCL"). The BFCL coverage
                    26           is subject to a$50,000 retention. A copy of the Policy as provided to Plaintiffs is attached as
                    27 Exhibit "A" hereto and is incorporated by reference.
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                              1             22.      Under the Policy, Bank is expressly identified as the "Named Insured" and Mr.
                              2   I Rainer, Mr. Hernandez, and Ms. Smithson are "Insureds" by virtue of their roles and positions with
                              3   I the Bank with respect to the conduct alleged in the underlying litigation.
                              4             23.      As to Coverage B, the Policy obligates Defendants to pay all damages resulting from
                              5   I Claims made during the Policy Period or Discovery Period:

                              6                      Section 1. Company Indemnification Coverage
                              7                               The Insurer will pay on behalf of the Company, Loss
                                                              resulting from Claims first made during the Policy Period or
                              8                               the Discovery Period against the Company for which the
                                                              Company has agreed to or is legally permitted or required by
                              9                               law to indemnify the Insured Persons.
                         10 I(Exhibit A[the Policy], at Directors and Officers Liability Policy, § 1B.)
                         11                 24.      As to the BFCL Coverage, the Policy obligates Defendants to pay all damages and

                         12 I defense costs for a claim for a covered wrongful act, up to the applicable policy limit:
 -- -                    131                         Section 1. Broad Form Company Liability Insuring Agreement
                         14                                   The Insurer will pay on behalf of the Compa.ny, Loss
                                                              resulting from Claims first made during the Policy Period or
                         15                                   the Discovery Period against the Company for which the
                                                              Company is legally obligated to pay for Wrongful Acts.
                         16
                         17 I(Exhibit A[the Policy], at Broad Form Company Liability Insuring Agreement, § 1.)
                         18                 25.      As to the BFCL Coverage, the Broad Form Company Liability Agreement provides

                         19 I that "[f]or purposes of the coverage afforded by this Insuring Agreement, all of the terms and
                        20 I conditions set forth in the Policy, aiid any amendments thereto, shall apply" except as expressly
                        21         noted therein. (Exhibit A[the Policy], at Broad Form Company Liability Insuring Agreement, § 2.)

                        22                  26.      The Policy provides that "[i]t shall be the duty of the Insured and not the duty of the

                        23 Insurer to defend Claims. The Insured shall only retain counsel that is mutually agreed upon with
                        24 the Insurer, consent for which shall not be unreasonably withheld." (Exhibit A[the Policy], at p.
                        25 11 [Directors and Officers Liability Policy, Definitions Section, § VII, A.1].)
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               1            27.      The Policy further obligates Everest as the insurer to advance defense costs to
               2   Plaintiffs for covered claims:
               3                     Section VIII. Defense and Settlement
               4                              B. (1) ... the Insurer, if requested by the Insured, shall
                                              advance covered Defense Costs on a current basis, except
               5                              when advancement of Defense Costs is prohibited by law or
                                              by regulation. The insured shall repay any advanced Defense
               6                              Costs to the Insurer in the event it is established that the
                                              Insurer has no liability under this Policy for such Defense
               7                              Costs.
               8   (Exhibit A[the Policy], at p. 11 [Directors & Officers Liability Policy Defense and Settlement

               9   Section, § VIII, B.1].)

              10            28.      The Directors and Officers Liability Policy defines "claim" to require a written

              11   demand, charge, complaint, or other notice to an Insured:

              12                     "Claim" means:

                                     1. A written or oral demand for monetary damages or non-
                                        monetary relief;
              14
                                     2. A civil proceeding commenced by the service of a complaint or
              15                        similar pleading;
              16   (Exhibit A[the Policy], at p. 3[Directors and Officers Liability Policy, Definitions Section, § IV].)

              17            29.      Subject to certain exceptions, the Policy defines "Loss" to include "defense costs"

              18 I and "any amount which the insured is legally obligated to pay resulting from a Claim, including

              19   damages, judgments, settlements, and pre- and post judgment interest. Loss shall also include

              20   punitive or exemplary damages; and the multiple portion of any multiplied damage award where

              21   insurable by law. (Exhibit A[the Policy], at pp. 4-5 [Directors and Officers Liability Policy,

              22   Definitions Section, § IV].)

              23            30.      "Defense costs" are defined to encompass any "reasonable and necessary legal fees

              24   and expenses incurred in defending or investigating any Claim and the cost of appeal, attachment
              25   or similar bonds." (Exhibit A[the Policy], at p. 3[Directors and Officers Liability Policy,

              26   Definitions Section, § IV].)

              27            31.      "Insured Person" is defined as "any past, present, or future director, member of the

              28   board of trustees, officer, Employee, honorary or advisory director, or honorary or advisory
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                       1 member of the board of trustees of the Company." (Exhibit A[the Policy], at p. 4[Directors and

                       2   Officers Liability Policy, Definitions Section, § IV].)
                       3           32.      "Policy Period" is defined to mean "the period from the inception date set forth in

                       4   Item 2 of the Declarations to the expiration date set forth in Item 2 of the Declarations or any earlier
                       5   termination date." (Exhibit A[the Policy], at p. 5[Directors and Officers Liability Policy,

                       6   Definitions Section, § IV].)

                       7           33.      In pertinent part, the Policy insures against claims for the following "wrongful acts"

                       8   under its Directors and Officers Liability Policy, means any "actual or alleged error, omission,

                       9   misstatement, misleading statement, neglect, or breach of duty by:

                     10                     1. Any Insured Person in the discharge of their duties while acting
                                               solely in the capacity as such;
                     11
                                            2. Any Insured Person while acting solely in the capacity as
                     12                        director, officer, or member of the board of trustees of a not-for-
                                               profit gntity-pursuant to Section H B); or
                     131
                                            3. The Company or any person or entity for which the Company is
                     14                        legally responsible, but only to the extent that coverage is
                                               granted to the Company by Insuring Agreement made a part of
                     15                        this Policy."
                     16 (Exhibit A[the Policy], at p. 6[Directors and Officers Liability Policy, Definitions Section § IV].)

                     17            34.       The Policy is written on a"claims made and reported" basis, providing coverage for"

                     18 a claim made against an Insured and reported to Defendants within the policy period (July 1, 2018

                     19 through July 1, 2021). (Exhibit A[the Policy], at p. 5[General Terms and Conditions].)

                     20            The PacWest Action
                     21            35.       On or about December 1, 2020, PacWest Bancorp filed a complaint against Mr.

                     22 Rainer, in a lawsuit captioned PacWest Bancorp., et al. v. David I Rainer, et al. in the Superior

                     23 Court of the State of California, County of Los Angeles, Central District bearing Case No.
                     24 20STCV46002 and alleging, among other things, breach of contract and breach of the implied
                     25 covenant of good faith and fair dealing(the "PacWest Action").
                     26             36.      Subsequently, PacWest Bancorp filed a First Amended Complaint ("FAC") in the

                     27 PacWest Action, joining Bank and Holding Company, as defendants in the case.
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                                         37.      Subsequently, PacWest Bancorp filed a Second Amended Complaint ("SAC") in
                                the PacWest litigation, naming Mr. Hernandez and Ms. Smithson as defendants. A true and correct

                                copy of the PacWest Action SAC is attached as Exhibit "B" hereto.

                                         38.      The SAC in the PacWest Action pleaded the following causes of action against Mr.

                                Rainer, Mr. Hernandez, and Ms. Smithson: (1) breach of contract; (2) breach of the implied

                                covenant of good faith and fair dealing; (3) intentional interference with prospective economic

                                advantage; (4) breach of fiduciary duty; and (5) common law unfair competition and violation of

                            8   Business and Professions Code section 17200.

                            9            39.      The SAC in the PacWest Action pleaded the following causes of action against the

                       10 Bank and the Holding Company: (1) intentional interference with prospective economic advantage;
                       11       (2) negligent interference with prospective economic advantage; (3) intentional interference with

                       12 contractual relations; (4) inducing breach of contract; (5) aiding and abetting breach of fiduciary
                   —13          duty; and(6) commorilaw unfair competitioriand violation of-Business and ProfessioasCode

                       14 I section 17200.
                       15                40.      The allegations of the SAC in the PacWest Action against Rainer, Hernandez, and

                       16 Smithson assert wrongful acts committed by Mr. Rainer, Mr. Hemandez, and Ms. Smithson in the
                       17 discharge of their duties while acting solely in the capacity of the Bank.
                       18                41.      The allegations in the SAC in the PacWest action, against both Mr. Hernandez and

                       19 I Ms. Smithson, include, inter alia, allegations that they both participated in Mr. Rainer's scheme
                      20 I"before and after their resignations" from PacWest. (SAC ¶ 3.)
                      21                 42.      In the SAC, PacWest also alleges that Mr. Hernandez was "the point person" at

                      22 Bank. (SAC ¶ 70.)
                      23                 43.      In its SAC, PacWest further alleges that within weeks of joining Bank of Southern

                      24 Califoinia, Ms. Smithson also solicited a number of PacWest bank clients to transfer their business
                      25 to Bank of Southern California. (SAC 172.)
                      26                 44.      The allegations of the SAC in the PacWest Action against the Bank and the Holding

                      27 Company assert wrongful acts for which both, as insureds, are legally obligated to pay.
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                           1               45.      In the SAC, PacWest's allegations in the seventh, eight, and ninth causes of action
                           2       for intentional and negligent interference with prospective economic advantage assert, inter alia,
                           3       that Bank "improperly used confidential and proprietary information belonging to PacWest." (SAC

                           4       ¶¶ 150, 163.)

                           5               46.      In addition, PacWest's fifteenth cause of action is premised on the allegation that

                           6       Bank aided and abetted Mr. Rainer, Mr. Hernandez, and Ms. Smithson in "breaching [their]

                           7       fiduciary duty owed to [PacWest] with respect to [PacWest's] confidential information." (SAC

                               8   ¶¶ 219, 222, 225.)

                               9           47.       The Bank and the Holding Company disputed the veracity and viability of the causes

                         10 of action asserted in the SAC and filed a demurrer as to same.
                         11                48.       On April 1, 2022, PacWest Bancorp filed a Third Amended Complaint ("TAC").

                         12 The TAC named all the same defendants as the SAC, but modified the causes of action asserted.
                         13 A true and accurate copy of the TAC,Whicl~isthe operative plea~Ci'ng in the PacWest Action,—is
                         14 attached as Exhibit "C" hereto.
                         15                 49.      The TAC in the PacWest Action pleads the following causes of action against Mr.

                         16 Rainer, Mr. Hemandez, and Ms. Smithson: (1) breach of contract; (2) breach of the implied
                         17 covenant of good faith and fair dealing; (3) intentional interference with prospective econonuc
                         18 advantage; (4) violation of California Uniform Trade Secrets Acts—Civil Code section 3426;
                         19 (5) breach of fiduciary duty; and (6) common law unfair competition and violation of Business and
                         20 Professions Code section 17200.
                         21                 50.      The TAC in the PacWest Action pleads the following causes of action against the

                         22 Bank and the Holding Company: (1) intentional interference with prospective economic advantage;
                         23 (2) negligent interference with prospective economic advantage; (3) violation of California
                         24 I Uniform Trade Secrets Acts — Civil Code Section 3426; (4) intentional interference with contractual

                         25 relations; (5) inducing breach of contract; (6) aiding and abetting breach of fiduciary duty; and
                         26 (7) common law unfair competition and violation of Business and Professions Code section 17200.
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                                        51.      The allegations of the TAC in the PacWest Action against Mr. Rainer, Mr.
                           2   Hernandez, and Mr. Sniithson assert wrongful acts committed by Mr. Rainer, Mr. Hernandez, and
                           3   Ms. Smithson in the discharge of their duties while acting solely in the capacity of the Bank.
                           4            52.      The allegations in the TAC in the PacWest action, against both Mr. Hernandez and
                           5   Ms. Smithson, include allegations, inter alia, that they both participated in Mr. Rainer's scheme

                           6   "before and affter their resignations" from PacWest. (TAC ¶ 3.)

                           7            53.      In the TAC, PacWest also alleges that Mr. Hernandez was "the point person" at

                           8   Bank. (TAC ¶ 72.)

                           9            54.      In the TAC, PacWest further alleges that within weeks of joining Bank, Ms.

                      10 Smithson also solicited a number of PacWest bank clients to transfer their business to Bank. (TAC
                      11       ¶ 74.)

                      12                55.      The allegations of the TAC in the PacWest Action against the Bank and the Holding
                               Company assert wrongfu~acts forwliich both, as insureds, ar
                                                                                         —eTegally obligate3to pay.               —
                      14                56.      In the TAC, PacWest's eight cause of action for negligent interference with

                      15 prospective economic advantage alleges that Bank and Holding Company "illegally induced Rainer
                      16 to breach his Agreement..." and illegally induced "Hernandez and Smithson to breach their Stock
                      17 Award Agreements" for their own benefits. (TAC ¶¶ 141, 143.)
                      18                57.      In addition, PacWest's fifteenth cause of action is premised on the allegation that

                      19 Bank aided and abetted Mr. Rainer, Mr. Hernandez, and Ms. Smithson in "breaching [their]
                      20 fiduciary duty owed to [PacWest] with respect to [PacWest's] confidential information." (TAC
                      21 ¶¶ 198, 200, 202.)
                      22                58.      The Bank and the Holding Company dispute the veracity and viability of the causes
                      23 of action asserted in the TAC.
                      24                59.      In or around December 2020, Mr. Rainer, W. Hernandez, and Ms. Smithson
                      25 retained defense counsel at Kendall Brill & Kelly LLP ("KBK") to defend against the allegations
                     26 of the PacWest Action.
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              1           Everest Wrongfully Denies Coverage
              2           60.      On or about June of 2021, Plaintiffs timely tendered the PacWest Action to Everest
              3   consistent with the reporting requirements of the Policy.
              4           61.      On June 17, 2021, Terence Cawley, of ABA Insurance Services, Inc. ("ABA"), and

              5   expressly acting on behalf of Everest as claims administrator with respect to the Claim,

              6   acknowledged receipt of the Claim.

              7           62.      In the June 17, 2021 correspondence, Everest acknowledged that the PacWest

              8   Action asserted wrongful acts by the Bank within the scope of coverage of the Policy. Mr. Cawley,

              9   on behalf of Everest, agreed to reimburse defense costs of the Bank and consented to Plaintiffs'

             10 retention of Jenner & Block as the Bank's defense counsel. Mr. Cawley represented, however, that

             11   "a definitive coverage analysis is not possible until the allegations set form in the Claim have been

             12 fully resolved."

             13           63. On or about Ju--ly2,- 2021,—the Bank requeste~cdefense and indemnityfrom Everest

             14 for the defense fees and costs the Bank was incurring in funding the defense of Mr. Rainer in the

             15 PacWest Action.

             16           64.       On September 10, 2021, Everest's Claims Administrator, ABA, issued a denial of

             17 coverage for Mr. Rainer's defense in the PacWest Action on the stated basis that the "the breaches

             18   and tortious conduct alleged to have been committed by Mr. Rainer were not committed in the

             19 discharge of his duties while acting `solely in the capacity' of an Insured Person of Bank of

             20 Southern California." Moreover, in the same letter, Everest took an unreasonable position that Mr.

             21   Rainer "allegedly committed the conduct complained of prior to even joining the Bank as Chairman

             22 of the Board."

             23            65.      The pleadings filed in the PacWest Action, including the operative TAC, directly

             24 contradict Everest's position. PacWest alleges that the "mass exodus" of PacWest personnel and
             25   client accounts took place after Mr. Rainer joined the Board of the Bank.
             26            66.      Through counsel, on October 5, 2021, Plaintiffs sent a letter to ABA, citing legal

             27 authorities contradicting Defendants' unreasonable denial of coverage owed for Mr. Rainer's
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                        1 defense and requested Defendants reconsider their erroneous position. Through counsel, Plaintiffs

                        2       also requested that Defendants provide a response to the letter by October 19, 2021.
                        3               67.      Through counsel, on October 26, 2021, Plaintiffs sent another letter to Defendants

                        4 I tendering Plaintiffs' request for defense and indemnity of its Chief Banking Officer, Richard

                        5 I Hemandez, and one of its Executive Vice Presidents, Diana Remington Smithson, under the Policy.

                        6 I Plaintiffs requested that Defendants provide a response by November 10, 2021.

                        7               68.      By correspondence dated December 10, 2021, Terry Cawley on behalf of Everest

                            8   wrote Plaintiffs and provided an "amended and revised preliminary coverage analysis" of the

                        9       Claim. Once again, Everest contended that "[a] definitive coverage analysis is not possible until

                      10 the allegations set forth in the Claim have been fully resolved." In the December 10, 2021

                      11        correspondence Everest reaffirmed that the claims against the Bank "are covered."

                      12                69.       By correspondence dated December 16, 2021, Everest reaffirmed its denial of
                                                           mcurred-bythe Banklnthedefelise of Mr. Rainer:Among
                      13I coverage fordefense fees and costs

                      14! other unreasonable bases for the denial, Everest contended that "Mr. Rainer has not requested that

                      15 Everest `defend or indemnify' him for this action or any other action." Everest fiuther contended

                      16 that "the denial of coverage for Mr. Rainer does not depend upon a linchpin that `all' of the alleged

                      17 conduct took place before Mr. Rainer joined" the Bank.

                      18                 70.      On December 30, 2021, Everest, through its claims administrator ABA, responded

                      19 to Plaintiffs' tender letter dated October 26, 2021 by denying any coverage obligation owed to the

                      20 Bank for the defense and indemnity of Mr. Hernandez and Ms. Smithson in the PacWest Action.

                      21        Among other unreasonable bases for the denial, Everest concluded there was no coverage owed to

                      22 Ms. Smithson and Mr. Hernandez because the allegations of wrongful conduct "relate prominently

                      23 to conduct allegedly engaged in" while the respective employees were still employed by PacWest.
                      24                 71.      The parties exchanged several more communications in which Plaintiffs sought

                      25 I reconsideration of the denial of any coverage owed to Bank for the defense and indemnity of Mr.
                      26 Rainer, Mr. Hernandez and Ms. Smithson, but Defendants continued to maintain their erroneous
                      27 position and denied coverage for the defense of the individual defendants in the PacWest Action.
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                            1            72.      By letter dated February 11, 2022, coverage counsel to the Plaintiffs wrote Terry
                            2   Cawley of ABA, as Claims Administrator on behalf of Everest, and sought reconsideration of the
                            3   denial of coverage owed to Mr. Rainer, Mr. Hernandez and Ms. Smithson. In the February 11,
                            4   2022 letter, Plaintiffs also requested that Everest obtain policy limits settlement authority in

                            5   advance of a mediation in the PacWest Action scheduled for February 25, 2022. The February 11,

                            6   2022 correspondence requested a response by February 21, 2022.

                            7            73.      Everest did not respond to Plaintiffs' policy limits demand until February 24, 2022,

                            8   when Everest verbally advised it would not authorize policy limits. Instead, Everest maintained it

                            9   would contribute only a small percentage toward any settlement that might be reached at the

                       10 February 25 mediation, and was looking to Plaintiffs to fund the majority of any settlement.

                       11                74.      On the morning of the February 25, 2022 mediation, Terry Cawley, on behalf of

                       12 ABA as the Claims Administrator for Everest, wrote to Plaintiffs' coverage counsel in response to

                       13           February 11,2022 pohcy limits demand.1VIr. Cawley expres~ disagreement with

                       14 position but declined to "try to in this letter to address each point." Everest reserved the right to

                       15 "respond more thoroughly and more formally to [the February 11] letter." To date Plaintiffs have

                       16 not received any such response.

                       17                75.      The parties were unable to reach a settlement at the February 25, 2022 mediation.

                       18                76.      Plaintiffs agreed to defend and indemnify Mr. Rainer, Mr. Hernandez, and Ms.

                       19 I Smithson in the PacWest Action since the allegations include conduct committed by Mr. Rainer,

                      20 Mr. Hernandez, and Ms. Smithson while acting solely in the capacity of employees of the Bank.

                      21                 77.      To date, Plaintiffs have paid in excess of $400,000 in defense fees and costs incurred

                      22 through the KBK law firm toward the defense of Mr. Rainer, Mr. Hernandez, and Ms. Smithson in

                      23 the PacWest Action.

                      24                 78.      Notwithstanding applicable case law cited to Defendants refuting their positions,

                      25 Defendants steadfastly refused to reverse their erroneous denial of a defense a.nd of coverage owed

                      26 for the Insureds' defense of Mr. Rainer, Mr. Hernandez, and Ms. Smithson. In doing so, Defendants
                      27 deprived Plaintiffs (its Insureds) of a defense when they needed it most—in the face of an
                      28        aggressive lawsuit against their Board members they believe to be unmeritorious and without the
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                          1 benefit of an insurer-provided defense required under the Policy—one of the principal benefits a

                          2        policyholder reasonably expects to receive when purchasing a liability policy.
                          3                  79.     Defendants know there are no applicable legal authorities supporting their position,
                          4        and that their coverage denial is contrary to settled California and Federal authority. In so doing,

                          5        Defendants are not acting carelessly or ignorantly; they are choosing as a company policy and

                          6        procedure to act in blatant violation of California law and contrary to their obligations under their

                          7        own Policy. As a corporate philosophy and policy, Defendants have also knowingly chosen to

                              8    ignore settled law to increase profits and avoid expending money to reimburse their policyholders.

                              9              80.     In so denying, Defendants proffered unreasonable interpretations of the Policy that

                        10 disregard both the actual language of the Policy as well as the reasonable expectations of the

                        11         Insureds, in contravention of controlling California law governing the interpretation of insurance

                        12 policies. Defendants refased to address these concerns and instead reiterated their denial without

                                  —elaboration or explnation.
                                                      a

                        14                                             FIRST CAUSE OF ACTION

                        15                                     (Breach of Contract against All Defendants)

                        16                   81.     Plaintiffs re-allege and incorporate by reference the above and below allegations as

                        17 I if fully set forth herein.

                        18                   82.     In consideration of significant premiums paid, Defendants issued a"Director and

                        19 Officers Liability Policy" to Plaintiffs bearing Policy No. 8100002727-181 with a policy period of

                        20 July 1, 2018 through July 1, 202 (the Policy). (See Exliibit A.) Plaintiffs are insureds under the

                        21         Policy.

                        22                   83.     Under the Policy, Defendants are obligated to reimburse and pay on behalf of

                        23 Plaintiffs all defense fees, costs, and liabilities incurred in the PacWest Action upon exhaustion of

                        24 the applicable deductible, up to the applicable Policy liability limits.
                        25                   84.     The allegations of the PacWest Action fall within the scope of the terms and

                        26 coverage provisions of the Policy. Accordingly, Defendants have a contemporaneous duty to
                        27 reimburse Plaintiffs for costs incurred as a result of allegations against Mr. Rainer, Mr. Hernandez
                        28 and Ms. Smithson in the PacWest Action.
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                          1               85.      Defendants repeatedly denied their obligations to reimburse Plaintiffs for the

                          2       defense fees and costs incurred by Mr. Rainer, Mr. Hernandez, and Ms. Smithson in the PacWest

                          3       Action. As a result, Plaintiffs were forced to, and continue to, pay for defense counsel, despite

                          4 I reasonably expecting Defendants would provide this benefit in exchange for significant premiums

                          5       paid. (See, e.g., Montrose Chem. Corp. of California v. Superior Court (1993) 6 Cal.4th 287 295-

                          6       96 ["The insured's desire to secure the right to call on the insurer's superior resources for the

                          7       defense of third party claims is, in all likelihood, typically as significant a motive for the purchase

                              8   of insurance as is the wish to obtain indemnity for possible liability"].)

                              9           86.       Defendants have denied their obligation to reimburse Plaintiffs in the PacWest

                        10 Action under the Policy. Plaintiffs reasonably expected Defendants would reimburse the defense
                        11        fees and costs incurred by Mr. Rainer, Mr. Hernandez, and Ms. Smithson in the PacWest Action in

                        12 exchange for significant premiums paid. (See, e.g., Montrose Chem. Corp., supra, 6 Ca1.4th 295-
                                                               l right to call on the insurer's superior resources forthe
                        13 96["The insured's desire to secure the
                        14 defense of third party claims is, in all likelihood, typically as significant a motive for the purchase
                        15 of insurance as is the wish to obtain indemnity for possible liability"].)
                        16                87.       Defendants have repudiated and breached their contractual obligations under the

                        17 Policy to contemporaneously reimburse Plaintiffs for all expenses and defense costs incurred as a
                        18 result of the PacWest Action by failing to make payments toward defense fees and costs incurred
                        19 by Plaintiffs in the defense of Mr. Rainer, Mr. Hernandez, and Ms. Smithson.
                        20                 88.      Defendants' refusal to provide Plaintiffs with contemporaneous reimbursement

                        21 I denies Plaintiffs the benefits contracted for under the Policy because Plaintiffs are deprived of the
                        22 insurer-funded reimbursement owed by Defendants during the pendency of the PacWest Action.
                        23                 89.      Plaintiffs have performed all covenants, conditions, and promises required on their

                        24 part to be pei-formed in accordance with the Policy, except to the extent that such performance was
                        25 prevented or excused from performing.
                        26                 90.      Accordingly, as a proximate result of Defendants' breach of their contractual

                        27 obligations under the Policy, Plaintiffs have suffered damages, including attorneys' fees and costs,
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                           1   I   which Plaintiffs have incurred, and will continue to incur to obtain the reimbursement owed under
                           2       the Policy, plus interest thereon, the exact amount of which has yet to be ascertained.
                           3                                           SECOND CAUSE OF ACTION
                           4                                  (Breach of the Implied Covenant of Good Faith and
                           5                                   Fair Dealing (Bad Faith) against All Defendants)

                           6                 91.     Plaintiffs re-allege and incorporate by reference the above and below allegations as

                           7   I   if fully set forth herein.

                           8                 92.     In consideration of significant premiums paid, Defendants issued a"Director and

                           9       Officers Liability Policy" to Plaintiffs bearing Policy No. 8100002727-181 with a policy period of

                     10            July 1, 2018 through July 1, 202 (the Policy). (See Exhibit A.) Plaintiffs are insureds under the

                     11            Policy.

                     12                      93.     The allegations of the PacWest Action potentially fall within the scope of the terms
                     131 and coverage provisions of thePollcy. Accordingly, Defendants have a contemporaneous duty to

                     14 'I reimburse Plaintiffs for the costs incurred as a result of the allegations in the PacWest Action during

                     15            the pendency of the PacWest Action.

                     16                      94.     Defendants have breached their duties of good faith and fair dealing owed to

                     17        I   Plaintiffs under the Policy by, inter alia:

                     18                              (a)      Unreasonably failing to provide Plaintiffs with contemporaneous

                     19            reimbursement in the PacWest Action, despite repeated demands, at a time when Defendants knew

                     20            Plaintiffs were entitled to such a reimbursement under the terms of the Policy and Califomia

                     21            insurancejurisprudence;

                     22                              (b)      Engaging in unreasonable interpretations of the Policy provisions and

                     23            California jurisprudence to avoid its reimbursement obligations;

                     24                              (c)      Failing to reasonably and thoroughly investigate all bases for coverage under

                     25            the Policy including, inter alia, by unreasonably interpreting the Policy's "Wrongful Act' and
                     26            "Insured Person" definitions;
                     27                              (d)      Expressly misrepresenting to Plaintiffs pertinent policy terms and provisions

                     28            in violation of California lnsurance Code section 790.03(h)(1);
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                      1                         (e)      Applying unreasonable interpretations to the terms of the Policy, including
                      2       the "Wrongful Act" and "Insured Person" definitions, as compared to the allegations of the
                      3       PacWest Action;
                      4                         (f)      Failing to acknowledge and act reasonably promptly upon communications

                          5   with respect to Plaintiff's claims arising under the Policy;

                          6                     (g)      Failing to engage in good faith in settlement discussions with the third party

                          7   claimant in the underlying PacWest Action, including by insisting that the Insureds bear the vast

                          8   majority of any settlement contribution;

                          9                     (h)      On information and belief, failing to adopt and implement reasonable

                    10        standards for the prompt investigation and processing of Plaintiffs' claim;

                    11                          (i)      Engaging in inadequate and tardy investigations of Plaintiffs' claims; and

                    12                          (j)      Placing their own interests in minimizing their coverage obligations ahead

                    13- of the interests of their msureds (Plaintiffs);                           -                           -     —

                    14                 95.      In declining to fulfill their coverage obligation to Plaintiffs under the Policy,

                    15        Defendants have acted unreasonably, in bad faith, and with the knowledge there was no reasonable

                    16        basis for their conduct.

                     17                96.      As a proximate result of the aforementioned wrongful conduct of Defendants,

                     18       Plaintiffs have sustained damages and out-of-pocket expenses, including, but not limited to,

                     19       attorneys' fees attributable to Plaintiffs' efforts to obtain the coverage owed under the Policy and

                    20        California law.

                    21                 97.      Defendants have tortiously withheld from the Insured benefits due under the Policy,

                    22        and consistent with the holding of Brandt v. Superior Court (1985) 37 Cal.3d 813, Plaintiffs are

                    23        therefore entitled to recoup reasonable attorneys' fees expended to recover such benefits.

                    24                 98.      Plaintiffs have performed all covenants, conditions, and promises required on their

                    25 part to be performed in accordance with the Policy, except to the extent that such performance was
                    26        prevented or excused from performing.
                    27                 99.      Defendants' conduct described herein was done with a conscious disregard of
                          :   Plaintiffs' rights and with the intent to vex, injure, or annoy Plaintiffs, such as to constitute
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              1    I   oppression, fraud, or malice, entitling Plaintiffs to punitive damages in an amount appropriate to
              2    I   punish or set an example of Defendants.
              3                                            THIRD CAUSE OF ACTION
              4                                     (Specific Performance against All Defendants)

              5                 100.     Plaintiffs re-allege and incorporate by reference the above and below allegations as

              6    I   if fully set forth herein.

              7                 101.     Plaintiffs are insured by Defendants under a specifically enforceable contract

              8        sufficiently certain in its terms, i.e. the Policy. (See generally, Ex. A[Policy].)

              9                 102.     At all pertinent times, the required premiums were paid with respect to the Policy,

             10        and the Policy was in full force and effect. Thus, Defendants received adequate consideration for

             11        the Policy.

             12                 103.     The provisions of the Policy requiring Defendants to provide an immediate and

-            13I coritemporarieous reimbursement and to indemnifyPlaintiffsare justand reasonable.                         --

             14                 104.     Since tender, Plaintiffs repeatedly demanded Defendants provide contemporaneous

             15        reimbursement for the fees and costs incurred by Plaintiffs in the defense of Mr. Rainer, Mr.

             16        Hernandez, and Ms. Smithson in the PacWest Action consistent with the provisions of the Policy.

             17        Defendants have refused, thereby necessitating Plaintiffs to provide a defense for their officers and

             18        employees in the PacWest Action at their own expense to protect the interests of their officers and

             19        employees in that litigation.

             20                 105.     Defendants have breached their contractual obligations to Plaintiffs under the Policy

             21        by failing to provide any reimbursement of the fees and costs incurred in the defense of Mr. Rainer,

             22        Mr. Hernandez, and Ms. Smithson in the PacWest Action.

             23'                106.     If Defendants do not provide Plaintiffs with timely reimbursement of the defense

             24        fees and costs as incurred in the defense of Mr. Rainer, Mr. Hernandez, and Ms. Smithson, Plaintiffs
             25        will be irreparably harmed. Therefore, Plaintiffs have no adequate remedy at law in that they will
             26' be deprived of the benefits Defendants promised to provide by accepting the significant premiums
             271 under the Policy—i.e., the contemporaneous reimbursement of defense fees and costs in the
             28 PacWest Action.
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                              1            107.     The fees and costs incurred by Plaintiffs in defense of Mr. Rainer, Mr. Hernandez
                              2   and Ms. Smithson in the PacWest Action exceed $400,000, exclusive of interest accruing thereon.
                              3   As a result of Defendants' continuing refusal to reimburse these substantial defense costs, Plaintiffs
                              4   have been forced to independently and exclusively shoulder these liabilities, resulting in fmancial

                              5 I hardship.

                              6                                      FOURTH CAUSE OF ACTION

                              7                       (Declaratory Relief against All Defendants—Duty to Defend)

                              8            108.     Plaintiffs re-allege and incorporate by reference the above and below allegations as

                              9   if fully set forth herein.

                        101                109.     By virtue of Defendants' repeated denials of any coverage obligations owed to

                         111 Plaintiffs with respect to the defense of Mr. Rainer, Mr. Hernandez, and Ms. Smithson in the

                        12' PacWest Action, an actual and justifiable controversy exists between Plaintiffs, on the one hand,

                        13 and~eferidants, on theothe~nd, regarding Defendants' duty to provide relmbursement un-Ter-the
                        14 Policy of the defense fees and costs incurred by Mr. Rainer, Mr. Hernandez, and Ms. Smithson as
                        15 Plaintiffs' officers and employees named as defendants in the PacWest Action.
                        16                 110. Under the Policy, Defendants are obligated to reimburse Plaintiffs and to pay in full

                        17 on behalf of Plaintiffs all defense fees, costs, and liabilities incurred, and to be incurred, in the
                        18 PacWest Action. The allegations of the PacWest Action against Plaintiffs' directors and officers
                        19 fall within the scope of the terms and coverage provisions of the Policy and are covered by the
                        20 Directors and Officers grant of coverage in the Policy. Accordingly, Defendants had and have a
                        21        contemporaneous duty to reimburse Plaintiffs for the fees and costs incurred, and to be incurred,

                        22 by Mr. Rainer, Mr. Hernandez, and Ms. Smithson to defend against the allegations and claims
                        23 asserted in the PacWest Action.
                        24                 111.     Plaintiffs   regularly   advised    Defendants   that   Defendants'     failure   to

                        25 contemporaneously reimburse them for costs incurred in the PacWest Action was contrary to their
                        26 obligations under the Policy and California law.
                        27                 112.     Plaintiffs and those acting on their behalf took reasonable and appropriate

                        28 responsive actions and have incurred fees, costs, expenses and liabilities in defense of their directors
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                                1   and officers in the PacWest Action, which are at least $400,000 as of the filing of this Complaint
                                2   and the final amounts of which have yet to be ascertained as the PacWest Action is ongoing.
                                3            113.     Plaintiffs respectfully request a judicial determination and declaration that Insurer
                                4   Defendants were and are obligated under the Policy to contemporaneously reimburse Plaintiffs for
                                5   the fees and costs incurred by Mr. Rainer, Mr. Herna.ndez, and Ms. Smithson in defense of the

                                6   PacWest Action. A judicial declaration of Defendants' duty to reimburse Plaintiffs in the PacWest

                                7   Action is necessary and appropriate at this time because Plaintiffs have unreimbursed costs and

                                8   expenses incurred in defense of their directors and officers in the PacWest Action.

                                9                                             PRAYER FOR RELIEF
                          10                 Wherefore, Plaintiffs pray for judgment against Defendants as follows:

                          11                 1.       As to the First Cause of Action for Breach of Contract:

                          12                          a. For actual damages, according to proof;

                          13                          b   For consequentialdamages, according to proof;

                          14                          c. For special damages, according to proof.

                          15                 2.       As to the Second Cause of Action for Bad Faith,

                          16                          a. For actual damages, according to proof;

                          17                          b. For consequential damages, according to proof;

                          18                          c. For special damages, according to proof;

                          19                          d. For punitive and/or exemplary damages in an amount sufficient to punish

                          20                              Defendants for their wrongfal conduct;

                          21                          e. For Plaintiffs' reasonable attorneys' fees incurred to establish coverage owed

                          22                              under the Policy.

                          23                 3.       As to the Third Cause of Action for Specific Perforinance, for immediate fulfillment

                          24                          of Defendants' reimbursement duties owed to Plaintiffs in the PacWest Action,

                          25                          including immediate payment of all unreimbursed defense fees and costs incurred

                          26                          to date by Plaintiffs in defense of Mr. Rainer, Mr. Hernandez, and Ms. Smithson;

                          27                 4.       As to the Fourth Cause of Action For Declaratory Relief, judicial declarations that:

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                                1                     a.       The allegations of the PacWest Action asserted against Mr. Rainer, Mr.
                                2                              Hernandez, and Ms. Smithson are expressly covered by the Policy;
                                3                     b.       Plaintiffs (as insureds) have satisfied the applicable deductible for the
                                4                              PacWest Action claim under the Policy;
                                5                     C.       Defendants owe Plaintiffs (as Insureds) a contemporaneous duty to

                                6                              reimburse Plaintiffs for the costs and expenses incurred as a result of the

                                7                              defense of Mr. Rainer, Mr. Hernandez, and Ms. Smithson in the PacWest

                                8                              Action;

                                9                     d.       Defendants are obligated to reimburse Plaintiffs (as Insureds) for all defense

                          10                                   fees and costs incurred in defending Mr. Rainer, Mr. Hernandez, and Ms.

                           11                                  Smithson in the PacWest Action in excess of the applicable deductible.

                           12                5.       As to all Causes of Action:
                                             -        a. For actual damages, accordirig to proof;

                           14                         b. For consequential damages, according to proof;

                           15                         c. For interest at the maximum legally permissible rate from the date of the initial

                          16                               breaches;

                           17                         d. For costs of suit; and

                           18                         e. For such other and further relief as the Court deems just and proper.

                           19                                            DEMAND FOR JURY TRIAL
                          20                 Plaintiffs hereby demand a trial by jury on all issues so triable.

                          21

                          22 I DATED: April 25, 2022                                 BUCHALTER
                                                                                     A Professional Corporation
                          23

                          24
                          25

                          26                                                                            Cecilia O. Miller
                                                                                                     Zhasmina Y. Kolarova
                          27                                                                         Attorneys for Plaintiffs,
                                                                                             BANK OF SOUTHERN CALIFORNIA, N.A.
                          28                                                                 and SOUTHERN CALIFORNIA BANCORP
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                                                                                            EDEC 40 105 (07 09)
                         EVEREST NATIONAL INSURANCE COMPANY
                            (A Stock Insurance Company, herein called the Insurer)

                         DIRECTORS & OFFICERS LIABILITY POLICY
                                    Declarations Page

Policy Number: 8100002727-181

IMPORTANT NOTICE: This is a claims-made policy. Defense Costs are included within the Limit of
Liability. Amounts incurred as Defense Costs will reduce the Limit of Liability available to pay judgments or
settlements. Please read this Policy carefully.

Item 1.    Named Insured(s): Bank of Southern California


           Principal Office:     12265 El Camino Real, Suite 100, San Diego, CA 92130

Item 2.    Policy Period:        From 12:01 a.m. 07/01/2018 To 12:01 a.m. 07/01/2021
                                 (Local time at the address shown in Item 1)

Item 3. Total Policy Limit: The Total Policy Limit for each Policy Year during the Policy Period for all
_      _Insuring Agreements, regardless_of whether such_Insuring._ Agreement is provided as a_sublimit or
         separate limit, shall not exceed $11,000,000.

Item 4.    Discovery Period: If the eligibility requirements are met and the Discovery Period is properly
           exercised, the Insured shall pay 100% of the annual premium set forth in Item 11(a). The length of
           the Discovery Period shall be 365 days.

Item 5.    Notices: All notices required to be given to the Insurer under this Policy shall be addressed to ABA
           Insurance Services Inc., 3401 Tuttle Road, Suite 300, Shaker Heights, Ohio 44122. Telephone: 800-
           274-5222.
Item 6.    Defense Option: It shall be the duty of the Insured and not the duty of the Insurer to defend Claims
           unless the "Insurer's Duty to Defend" is designated "yes" below:
                                                            Insurer's Duty
               Insuring Agreement                           To Defend
               D&O Liability                                No
               Securities Liability                         No
               Broad Form Company Liability                 No
               Fiduciary Liability                          No
               Employment Practices Liability               No


Item 7.    Coverage(s) Provided: It is understood and agreed that coverage will not be provided under any
           Insuring Agreement unless a Limit of Liability, Retention, and premium for such Insuring Agreement
           are set forth below:



EDEC 40 105 (07 09)                 Copyright, Everest Reinsurance Company, 2009                Page 1 of 2
                                                  FDiC No. 57044
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                                             Item 8.                       Item 9.       Item 10.      Item 11. (a) Item 11. (b)
                                       "X" Indicates
                                           Separate                       Limit of                         Annual           Actual
 Insuring Asreement                            Limit                      Liability    Retention         Premium          Premium
 Directors & Officers Liability Coverage
 (A)Insured Persons Liability &                                                            (A) $0
 (B)CompanyIndemnification                                            $5,000,000      (B) $50,000         $15,138           $40,873

  Additional Liability Coverages
  Securities Liabili.ty            . ...                     .
                                                                      $5,000,000            $50,000         $1,816 .         $4,903
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           . ... . . . Company Liability (BFCL):         ;;   $'
                                                          X4;O0O x000                       $50,000;        10,218          $27,589:
  Fiduciary Liability                                                 $2,000,000             $5,000          $741            $2,001
  Employment Practices Liability                         X            $2,000,000            $50,000         $5,354          $14,456



Item 12.     IRA/Keogh Liability Retention: If the Insured is legally obligated to pay for Wrongful Acts while
             acting solely in the capacity as administrator, custodian or trustee under any individual retirement
             account (IRA) or H.R. 10 Plan (Keogh Plan) the Retention for such IRA/Keogh Claim shall be
             $5,000. This Retention shall only apply to the extent any such Claim involves an IRA or Keogh Plan
             not in the custody or control of any Trust Department or Trust Subsidiary of the Company.

Item1-3.     Prior-/P-ending Litigation Dates:                   -              --                          --
                                                                          Prior/Pending
             Insuring Agreement                                           Litigation Date
             D&O Liability                                                06/01/2001
             Securities Liability                                         06/01/2001
             Broad Form Company Liability                                 06/01/2005
             Fiduciary Liability                                          06/01/2005
             Employment Practices Liability                               06/01/2005


Item 14.     Endorsements: This Policy is subject to the terms of the following Endorsements attached hereto
             and incorporated herein by reference at the effective date of this Policy and to all other Endorsements
             attached hereto after the effective date of this-Policy: EEO 40 610 (07 09), EEO 40 014 (05 16), EEO
             40 016 (05 16), EEO 40 508 (07 09), EEO 40 513 (07 09), EEO 40 520 (07 09), EEO 40 533 (07 09),
             EEO 40 535 (07 09), EEO 40 542 (07 09), EEO 40 569 (07 09), EEO 40 613 (07 09), EEO 40 614 (07
             09), EEO 40 619 (07 09), EEO 40 623 (07 09), EEO 40 629 (07 09), EEO 40 917 (07 09), EEO 40
             918 (07 09), EEO 40 962 (07 09), EEO 40 963 (07 09), EEO 40 978 (03 11), EEO 40 988 (02 13),
             EEO 40 991 (02 13), EEO 41 151 CA (12 10), EN IL PV 1(O1 07)

These Declarations, along with the completed and signed Application, including attachments, the Policy and all
Endorsements hereto, shall constitute the contract between the Insured and Everest National Insurance
Company, 477 Martinsville Road, Liberty Corner, NJ 07938.


Date: July 9, 2018
                                                     4r4             W.

                                                     Company Officer or Authorized Representative
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                                                                                                EEO 40 610 (07 09)
                            EVEREST NATIONAL INSURANCE COMPANY
                             (A Stock Insurance Company, herein called the Insurer)

                            DIRECTORS & OFFICERS LIABILITY POLICY

Policy Number: 8100002727-181

IMPORTANT NOTICE: This is a claims-made policy. Defense Costs are included within the Limit of
Liability. Amounts incurred as Defense Costs will reduce the Limit of Liability available to pay judgments
or settlements. Please read this Policy carefully.

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations and Application, the Insurer and the Insured agree that coverage will be provided subject to all of
the terms, conditions and limitations of this Policy, as follows:


                                   SECTION I - INSURING AGREEMENTS

It is understood and agreed that coverage will not be provided under any Insuring Agreement unless a Limit of
Liability, Retention and premium for such Insuring Agreement are set forth in the Declarations.
                     ----                     -- -             -            --         -    -     ---
A.     INSURED PERSONS LIABILITY COVERAGE - The Insurer will pay on behalf of the Insured
       Persons, Loss resulting from Claims first made during the Policy Period or the Discovery Period against
       the Insured Persons for Wrongful Acts for which the Insured Persons are legally obligated to pay,
       except for Loss the Company pays as indemnification.

B.     COMPANY INDEMNIFICATION COVERAGE - The Insurer will pay on behalf of the Company,
       Loss resulting from Claims first made during the Policy Period or the Discovery Period against the
       Insured Persons for Wrongful Acts for which the Company has agreed to or is legally permitted or
       required by law to indemnify the Insured Persons.


                                 SECTION II - ADDITIONAL COVERAGES

  A.   ESTATES, HEIRS AND MARITAL ESTATE LIABILITY - This Policy shall cover Loss resulting
       from Claims for Wrongful Acts of an Insured Person made against:
        (1)   the estates, heirs, legal representatives or assigns of any Insured Persons who are deceased,
              incompetent, insolvent or bankrupt, provided that such Claims would have been covered by this
              Policy in the absence of such death, incompetency, insolvency or bankruptcy; and
        (2) the lawful spouse or pomestic Partner of an Insured Person solely by reason of such person's
            status as a spouse or pomestic Partner, or such spouse or pomestic Partner's ownership interest
            in property which the claimant seeks as recovery for an alleged Wrongful Act of such Insured
            Person.




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            The coverage provided by this Subsection shall not apply with respect to any loss arising from any act or
            omission by an Insured Person's estate, heirs, legal representatives, assigns, spouse or pomestic
            Partner.

    B.     NOT-FOR-PROFIT DIRECTORSHIPS - This Policy shall cover Loss resulting from Claims for
          Wrongful Acts committed by Insured Persons while serving on the board of directors, board of trastees,
          or as officers of any not-for-profit entity at the direction of the Company; provided, however, that this
          coverage shall be excess over any other insurance or indemnification provided to the Insured Persons.


                                        SECTION III - DISCOVERY PERIOD

    A.      If the Company or the Insurer cancels or nonrenews this Policy or any Insuring Agreement, or if the
            Policy converts subject to Section XII (C)(1)(b), the Insured shall have the right to purchase an optional
            extended reporting pei-iod (herein called the Discovery Period) for the period set forth in Item 4 of the
            Declarations. It is understood that if the Insurer cancels this Policy due to nonpayment of premium, the
            Insured shall not be entitled to the Discovery Period.
    B.     The Discovery Period is not an extension of coverage, but rather an extended reporting period for Claims
           first made during the Discovery Period resulting from Wrongful Acts that occurred prior to the effective
           date of cancellation, nonrenewal or conversion and otherwise covered under this Policy. Notice of facts
           and circumstances that may give rise to a Claim, pursuant to Section X(B), must be given during the
-         —Policy Period and shallnotbe effective if givenduringthe Discovery Period.                         -
    C.      If the Insured elects to purchase the Discovery Period, the premium will be calculated by multiplying the
            annual premium set forth in Item 11(a) of the Declarations by the percentage set forth in Item 4 of the
            Declarations. The Discovery Period is noncancellable and the entire premium shall be deemed fully
            earned at its commencement.
    D.      The Insureds' right to purchase the Discovery Period shall lapse unless the Insurer receives written
            notice of the Insureds' election and full payment of the additional premium due within sixty (60) days
            after the effective date of such cancellation, nonrenewal or conversion.
    E.      The Limit of Liability with respect to Claims made during the Discovery Period shall be part of and not in
            addition to the Limit of Liability set forth in Item 9 of the Declarations, for each respective Insuring
            Agreement, for all Claims made during the immediately preceding Policy Year. Any Claim made during
            the Discovery Period shall be deemed to be made during the Policy Year immediately preceding the
            Discovery Period.
    F.      The offer by the Insurer and acceptance by the Insured of continued coverage under terms, conditions,
            Limits of Liability, Retentions, or premiums different from those applicable to the expiring Policy shall
            not constitute a refusal to renew and shall not entitle any Insured to exercise the Discovery Period.


                                             SECTION IV - DEFINITIONS

    Application means:
    (1)   the application signed for the procurement of this Policy and any materials submitted to the Insurer in
          support of the procurement of this Policy or any Policy for which this Policy is a direct or indirect renewal

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      or replacement; and
(2)   any publicly available information published or filed by or with a recognized source, agency or institution
      regarding the Insured in the three (3) years preceding the Policy's inception, and any amendments thereto,
      whether or not submitted with any signed application.
The Application is deemed to be attached to and incorporated into this Policy, as if physically attached.

Brokerage/Advisory Services means the purchase or sale of mutual funds, annuities, variable annuities, or life,
accident or health insurance or securities as defined in Section 202(18) of the Investment Advisers Act of 1940,
as amended, to be transacted through an Employee or a third party service provider pursuant to a contract
between the Company and the service provider. In connection with the foregoing activities, Brokerage/Advisory
Services also includes the provision of:
(1)   economic advice, financial advice or investment advisory services; and
(2)   fmancial planning advice including without limitation any of the following activities in conjunction
      therewith: the preparation of financial plans or personal financial statements, and the giving of advice with
      regard to insurance, savings, investments, retirement planning or taxes.

Brokerage/Advisory Services shall not include rendering advice with regard to the FDIC-insured component of
any deposit account or the sale of credit life or disability insurance incidental to the issuance of a loan.

Claim, either in singular or plural, means any of the following instituted against an Insured Person or against
the Company, but only to the extent coverage is granted to theCompany:
(1) a written or oral demand for monetary damages or non-monetary relief;
(2) a civil proceeding commenced by the service of a complaint or similar pleading;
(3) a criminal proceeding commenced by a return of an indictment;
(4) an arbitration or mediation proceeding in which monetary damages are sought;
(5) a formal administrative or regulatory proceeding commenced by the filing of a notice of charges, formal
    investigative order or similar document; or
(6) a written request to toll or waive a statute of limitations, relating to a potential Claim described in
    Subsections (1) through (5) above,
for aWrongful Act including any appeal from such proceeding.

Company means the entity or entities set forth in Item 1 of the Declarations, any Subsidiary created or acquired
as of the inception date set forth in Item 2 of the Declarations, and, subject to Section XI (B), any bank
Subsidiary created or acquired during the Policy Period.

Defense Costs mea.ns reasonable and necessary legal fees and expenses incurred in defending or investigating
any Claim and the cost of appeal, attachment or similar bonds. Defense Costs shall not include salaries, wages,
overhead, or benefit expenses incurred by the Insured.

Domestic Partner means any natural person qualifying as a domestic partner under the provisions of any
applicable federal, state or local law or under the provisions of any formal program established by the Company.

ERISA means the Employment Retirement Income Security Act of 1974, as amended.

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Employee, either in singular or plural, means any natural person, other than an Independent Contractor, who is a
past, present or future employee of the Company including any part-time, seasonal or temporary employee,
acting in their capacity as such. The term Employee shall also include Leased Employees.

Financial Impairment means the status of the Company resulting from:
(1)    the appointment by any state or federal official, regulatory agency or court of any receiver, conservator,
       liquidator, trustee, rehabilitator or similar official to take control of, supervise, manage, or liquidate the
       Company or any Subsidiary; or
(2)    the Company or any Subsidiary becoming a debtor in possession.

Insured, either in singular or plural, means the Insured Persons or the Company, if coverage for the Company
is set forth by Insuring Agreement made part of this Policy.

Insured Person, either in singular or plural, means any past, present or future director, member of the board of
trustees, officer, Employee, honorary or advisory director, or honorary or advisory member of the board of
trustees of the Company.

Insurance Services 'means any of the following services performed by an Insured as insurance agent, insurance
broker, insurance consultant or insurance managing general agent:
(1)— sale and-placement of-insurance;                                                                          --
(2)    identification, analysis and evaluation of a client's insurance needs, including work performed for
       prospective clients;
(3)    appraisal of property and inspections for insurance purposes;
(4)    adjustment of claims on behalf of insurance companies, including loss payments; or
(5)    arrangement of premium fmancing for clients.

Interrelated Wrongful Acts means Wrongful Acts which have as a common nexus any fact, circumstance,
situation, event, transaction or series of related facts, circumstances, situations, events or transactions.

Leased Employee means any natural person, other than a director or officer, Employee or Independent
Contractor, who is leased to the Company to perform work for the Company and for whom the Company
controls the means and manner of the work performed; provided that:
(1)     any coverage afforded under this Policy for such Leased Employee only applies to the extent that the
        Company indemnifies such Leased Employee; and
(2)    any such coverage shall be specifically excess of any other indemnity and insurance otherwise available to
       such Leased Employee.

Loss means Defense Costs and any amount which the Insured is legally obligated to pay resulting from a Claim,
including damages, judgments, settlements, and pre- and post judgment interest. Loss shall also include punitive
or exemplary damages and the multiple portion of any multiplied damage award where insurable by law. Loss
shall not include:
(1)    taxes;

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(2)    criminal or civil fines or penalties imposed by law;
(3)    any unpaid, unrecoverable or outstanding loan, lease or extension of credit to any customer or any
       forgiveness of debt;
(4)    costs to comply with any non-monetary or injunctive relief of any kind or any agreement to provide such
       relief, including but not limited to any damages, costs or expenses incurred in making an accommodation
       for any disabled person pursuant to the Americans with Disabilities Act or any similar federal, state or
       local laws, or in complying with any other federal, state or local laws of any kind;
(5)    any amounts the Company is obligated to pay pursuant to any express written or oral contract or
       agreement existing prior to the date the Claim was made;
(6)    the depreciation (or failure to appreciate) in value of any investment product, including but not limited to
       securities, commodities, currencies, options or fatures due to market fluctuation unrelated to any
       Wrongful Act;
(7)    any restitution, disgorgement, or payment of similar payments including but not limited to the return of
       fees, commissions or charges for the Company's services; or
(8)    any matters which are uninsurable under the law pursuant to which this Policy shall be construed.

Loss Information means information on open, closed and potential Claims, including date, description, and
payment amounts, if any.

Named Insured means the first named entity set forth in Item 1 of the Declarations.

Policy means collectively, the Declarations, the Application, this policy foinl and any Endorsements attached
hereto.

Policy Period means the period from the inception date set forth in Item 2 of the Declarations to the expiration
date set forth in Item 2 of the Declarations or any earlier termination date.

Policy Year means the period of one year following the effective date and hour of this Policy or any anniversary
thereof, or if the time between the effective date and termination of the Policy Period is less than one year, such
lesser peizod. Any extension of the Policy Period shall not result in an increase or reinstatement of the Limit of
Liability. If the Policy Period is extended beyond its original expiration date, the period of the extension shall be
a part of the Policy Year, which would have ended on the original expiration date.

Pollutants include but are not limited to any solid, liquid, gaseous or thermal organism, irritant or contaminant,
including smoke, vapor, soot, fumes, acids, alkalis, chemicals, hazardous substances, nuclear materials, and
waste. Waste includes materials to be recycled, reconditioned or reclaimed.

Subsidiary means:
(1)    any entity in which the Company owns, directly or through one or more subsidiaries, more than fifty
       percent (50%) of the outstanding securities representing the present right to vote for the election of
       directors;
(2)    any limited liability company in which the Company, or one or more of its subsidiaries, has the right to
       appoint or designate fifty percent (50%) or more of such limited liability company's managers; or



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(3)     any joint venture in which the Company, or one or more of its subsidiaries, has the right to elect, appoint
        or designate more than fifty percent (50%) of such entity's directors, trustees or other equivalent
        executives.
Trust Services means any of the following services perfonned by the Insured through a Trust Company or a
Trust Department or Trust Subsidiary of the Company:
(1)     administrator, custodian or trustee under any individual retirement account (IRA) or H.R. 10 Plan (Keogh
        Plan);
(2)     executor, administrator or personal representative of estates, administrator of guardianships, trustee under
        personal or corporate trust agreements, or conservator of any person;
(3)     trustee under a pension, profit sharing, health and welfare or any other employee benefit plan or trust,
        other than an employee benefit plan or trust sponsored or established by the Company for its own
        Employees;
(4)     custodian, depository or managing agent for securities or real property, manager of any personal property
        owned by others, attomey-in-fact, interest or dividend disbursing agent, transfer or paying agent,
        redemption or subscriptions agent, fiscal agent, tax withholding agent, registrar of securities, agent for
        voting securities, sinking fund agent, escrow agent or trustee under a corporate bond indenture; or
(5)     trustee exercising any other trust or fiduciary powers permitted by law.

Wrongful Act,—either in singular-or-plural,—means any-actual-or alleged error, omission,—misstatement, misleading
statement, neglect or breach of duty by:
(1)     any Insured Person in the discharge of their duties while acting solely in the capacity as such;
(2)     any Insured Person while acting solely in the capacity as director, officer, or member of the board of
        trustees of a not-for-profit entity pursuant to Section II(B); or
(3)     the Company or any person or entity for which the Company is legally responsible, but only to the
        extent that coverage is granted to the Company by Insuring Agreement made a part of this Policy.


            SECTION V- EXCLUSIONS APPLICABLE TO ALL INSURING AGREEMENTS

The following Exclusions are applicable to all Insureds under all Insuring Agreements made a part of this
Policy.

Bodily/Personal Injury and Property Damage Exclusion - The Insurer shall not be liable to make any
payment for Loss in connection with any Claim for actual or alleged bodily injury, sickness, disease, or death of
any person, damage to or destruction of any tangible or intangible property including loss of use thereof,
wrongful entry, eviction, false arrest, false imprisonment, malicious prosecution, abuse of process, assault,
battery, mental anguish, emotional distress, loss of consortium, invasi.on of privacy, defamation, false light, libel,
or slander.




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Brokerage/Advisory Services Exclusion - The Insurer shall not be liable to make any payment for Loss in
connection with any Claim arising out of or in any way involving the rendering or failing to render
Brokerage/Advisory Services, however, if this Policy includes the Broad Form Company Liability
Endorsement, this Exclusion shall not apply and the Limit of Liability for all Insureds for all covered Loss
resulting from such Claims shall be the Limit of Liability for the Broad Form Company Liability Insuring
Agreement.

Collusion Exclusion - The Insurer shall not be liable to make any payment for Loss in connection with any
Claim by any security holder of the Company, whether directly or derivatively, unless such security holder
bringing such Claim is acting independently of, and totally without the solicitation, assistance, participation, or
intervention of any Insured or any affiliate of the Company.

Employ_ment Practices Exclusion - The Insurer shall not be liable to make any payment for Loss in connection
with any Claim arising out of or in any way involving:
(1) wrongful termination, employment-related discrimination or harassment;
(2)   employment-related misrepresentation or retaliation, humiliation, wrongful failure to employ or promote,
      wrongful deprivation of career opportunity, wrongful demotion, negligent evaluation, negligent hiring,
      negligent retention, wrongful discipline; or
(3)   any other violation of any statutory or common law relating to employment.

ERISA_Exclusion -She Insurer-shalLno.t be liable to make_any_payment_for-Loss in_connec.tion with_any Claim—_
arising out of or in any way involving any pension, profit sharing or employee benefit program established in
whole or in part for the benefit of Employees of the Company, including without limitation, any violation of
ERISA or similar provisions of any federal, state or local statutory law, common law or administrative law.

Foreclosed Property Exclusion - The Insurer shall not be liable to make any payment for Loss in connection
with any Claim arising out of or in any way involving the ownership, operation, management or control of any
entity or property acquired by the Company as security or collateral for any loan, lease or extension of credit.
This Exclusion shall not apply to Claims resulting from Wrongful Acts in connection with the foreclosure
process or the ownership, operation, management or control of any one to four family residential property.

Fraud/Violation of Law Exclusion - The Insurer shall not be liable to make any payment for Loss, other than
Defense Costs, in connection with any Claim arising out of or in any way involving any fraudulent, dishonest or
criminal act or any willful violation of any civil or criminal statute, regulation or law by the Insured, provided a
final judgment or fmal adjudication establishes such fraudulent, dishonest, or criminal act or such willful
violation of statute, regulation or law.

Illegal Profit/Payment Exclusion - The Insurer shall not be liable to make any payment for Loss, othe_r than
Defense Costs, in connection with any Claim arising out of or in any way involving:
(1) any Insured gaining, in fact, any profit, remuneration, or financial advantage to which the Insured was not
    legally entitled;
(2) payment by the Company of inadequate or excessive consideration in connection with its purchase of
    Company securities; or
(3)   conflicts of interest, engaging in self-dealing, or acting in bad faith.



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Insurance Services Exclusion - The Insurer shall not be liable to make any payment for Loss in connection
with any Claim arising out of or in any way involving the rendering or failing to render Insurance Services
(other than Insurance Services relating to credit life or disability insurance incidental to the issuance of a loan);
however, if this Policy includes the Broad Form Company Liability Endorsement, this Exclusion shall not apply
and the Limit of Liability for all Insureds for all covered Loss resulting from such Claims shall be the Limit of
Liability for the Broad Form Company Liability Insuring Agreement.

Insured vs. Insured Exclusion - The Insurer shall not be liable to make any payment for Loss in connection
with any Claim by, on behalf of, or at the behest of the Company, any affiliate of the Company or any Insured
Person in any capacity except where such Claim is brought and maintained:
(1)   in the form of a cross-claim or third-party claim for contribution or indemnity which is part of and results
      directly from a Claim which is not otherwise excluded by the terms of the Policy;
(2)   by an Insured Person solely as a customer of the Company; provided such Claim is brought
      independently of, and totally without the solicitation, assistance, participation, or intervention of any other
      Insured; or
(3)   by a security holder of the Company as a derivative action on behalf of the Company or such affiliate;
      provided such Claim is brought independently of, and totally without the solicitation, assistance,
      participation, or intervention of any Insured or any affiliate of the Company.

Internet/Electronic Services Exclusion - The Insurer shall not be liable to make any payment for Loss in
connection with any-Claim-arising out of-or-in-any way-involving:
(1)   Internet banking or electronic banking;
(2) website development, software development or network security services to third parties; or
(3)   hosting services or services as an Internet Service Provider, Internet Access Provider, Application Service
      Provider or provider of like services.

Pollution Exclusion - The Insurer shall not be liable to make any payment for Loss in connection with any
Claim arising out of or in any way involving:
(1) the actual, alleged or threatened discharge, disposal, migration, dispersal, release or escape of Pollutants; or
(2) any direction, order or request to test for, monitor, remediate, clean up, remove, contain, treat, detoxify or
    neutralize Pollutants, or to pay for or contribute to the costs of undertaking such actions,
including Claims alleging damage to the Company or its security holders.

Prior Notice Exclusion - The Insurer shall not be liable to make any payment for Loss in connection with any
Claim arising out of or in any way involving any Wrongful Act or any Wrongful Act which is part of any
Interrelated Wrongful Acts, or any fact, circumstance or situation, which has been the subject of any notice
given to any cairier other than the Insurer under any similar insurance policy providing protection for any
Insured.

Prior and Pendins Litigation Exclusion - The Insurer shall not be liable to make any payment for Loss in
connection with any Claim arising out of or in any way involving any litigation against any Insured initiated
prior to the respective date set forth in Item 13 of the Declarations, or arising out of or in any way involving the
same or substantially the same fact, circumstance or situation underlying or alleged in such prior litigation.


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Short-Swing Profit Exclusion - The Insurer shall not be liable to make any payment for Loss in connection
with any Claim arising out of or in any way involving an accounting of profits made from the purchase and sale
or sale and purchase of Company securities by the Insured Persons within the meaning of Section 16(b) of the
Securities Exchange Act of 1934, as amended, or similar provisions of any state statutory law or common law.

Subsidiary Wrongful Acts Exclusion - The Insurer shall not be liable to make any payment for Loss in
connection with any Claim against any Subsidiary or its Insured Persons acting in the capacity of director,
member of the board of trustees, officer or Employee of such Subsidiary for any Wrongful Act or Interrelated
Wrongful Acts actually or allegedly committed in whole or in part at any time when the entity was not a
Subsidiary except as provided in Section XII (C)(3).

Trust Services Exclusion - The Insurer shall not be liable to make any payment for Loss in connection with any
Claim arising out of or in any way involving the rendering or failing to render Trust Services.


             SECTION VI - LIMIT OF LIABILITY, RETENTION AND INDEMNIFICATION

A.     LIMIT OF LIABILITY
       (1)     The Insurer's maximum Limit of Liability under this Policy for all Insuring Agreements
               combined shall not exceed the Total Policy Limit set forth in Item 3 of the Declarations regardless
               of whether such Insuring Agreement is provided as a sublinut or a separate limit. Amounts
       --      ineurred as DefenseCosts willreduce- and shall be pai-tof and-not inaddition totheLimit of
               Liability.
       (2)     Unless otherwise specified in Item 8 of the Declarations, the Insurer's maximum Limit of
               Liability for each Insuring Agreement for all Loss resulting from all Claims first made for each
               Policy Year during the Policy Period shall be a part of and not in addition to the D&O Limit of
               Liability set forth in Item 9 of the Declarations.
       (3)     If a Claim against the Company is subject to more than one Insuring Agreement, the Insurer's
               maximum Limit of Liability for such Claim shall not exceed the highest Limit of Liability
               provided by any Insuring Agreement providing coverage to the Company; provided, however,
               that this provision shall not apply where a separate Limit of Liability is set forth in Item 8 of the
               Declarations.

B.     RETENTION AND INDEMNIFICATION
       (1)     Covered Defense Costs will be applied against the Retention. The Insurer shall only pay for
               covered Loss, including covered Defense Costs, in excess of the applicable Retention for each
               Claim as set forth in Item 10 of the Declarations. No Retention shall apply to Loss incurred by the
               Insured Persons for which the Company is:
               (a)    not permitted or required by law to advance Defense Costs or indemnify the Insured
                      Persons; or
               (b)    permitted or required to advance Defense Costs or indemnify the Insured Persons but
                      does not do so by reason of Financial Impairment.




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       (2)     If the Company is legally permitted or required to advance Defense Costs or indenulify the
               Insured Persons for Loss, regardless of whether actual indemnification or advancement is
               granted, the Retention applicable to Insuring Agreement B(Company Indemnification Coverage)
               shall apply to such Loss, unless the Company, solely by reason of its Financial Impairment,
               does not make indemnification or advancement.
       (3)     One Retention shall apply to covered Loss resulting fiom each Claim. If Loss from a Claim is
               covered under more than one Insuring Agreement, the applicable Retention shall be applied
               separately to the part of the Loss covered by each Insuring Agreement, and the highest Retention
               shall be applicable to the Claim. If a single Retention applies to multiple Insureds, the Retention
               shall be prorated among the applicable Insureds. The total Retention shall in no event exceed the
               largest of such applicable Retentions set forth in Item 10 of the Declarations.
       (4)     Except for the payment of Defense Costs, the Insurer shall pay or reimburse one hundred percent
               (100%) of covered Loss, in excess of the applicable Retention, upon final disposition of the
               Claim.

C.     SINGLE CLAIM - Claims based upon or arising out of the same Wrongful Act or Interrelated
       Wrongful Acts committed by one or more Insureds shall be considered a single Claim, and only one
       Retention and Limit of Liability shall apply to such single Claim. Each such single Claim shall be
       deemed to be first made on the date the earliest of such Claims was first made, regardless of whether such
       date is before or during the Policy Period.


     SECTION VII - NON-EROSION OF INSURING AGREEMENT A AND ORDER OF PAYMENTS


A.     NON-EROSION OF INSURING AGREEMENT A
       (1)     If the Limit of Liability for any Insuring Agreement extending coverage to the Company is a
               sublimit of the D&O Policy, the Limit of Liability applicable to Insuring Agreement A(Insured
               Persons Liability Coverage) shall not be reduced by the payment of Loss resulting fi-om Claims
               covered by such Insuring Agreement. If a separate Limit of Liability is set forth in Item 8 of the
               Declarations this provision shall not apply.
       (2)     If the Retention applicable to Insuring Agreement B(Company Indemnification Coverage) applies
               to Loss pursuant to Section VI (B)(2), regardless of whether actual indemnification is granted,
               such Loss shall be deemed to be paid under Insuring Agreement B(Company Indemnification
               Coverage).

B.     ORDER OF PAYMENTS - In the event one or more Claims result in a potential or actual Loss which,
       in aggregate, in the Insurer's judgment could reasonably exceed the Total Policy Limit set forth in Item 3
       of the Declarations, then:
       (1)     the Insurer shall pay first for such Loss for which coverage is provided under Insuring Agreement
               A(Insured Persons Liability Coverage); then
       (2)     with respect to whatever remaining amount of the Limit of Liability is available after payment of
               such Loss, the Insurer shall pay such Loss for which coverage is provided under Insuring
               Agreement B(Company Indemnification Coverage); then



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       (3)     pay such Loss for which coverage is provided to the Company under any Insuring Agreement
               extending coverage to the Company.

       The Financial Impairment of the Company or any Insured Person shall not relieve the Insurer of any
       of its obligations to prioritize payment of covered Loss under this Policy pursuant to this Subsection.


                              SECTION VIII - DEFENSE AND SETTLEMENT

A.      NO DUTY TO DEFEND
       (1)     Amounts incurred as Defense Costs will reduce and shall be part of and not in addition to the
               applicable Limit of Liability. It shall be the duty of the Insured and not the duty of the Insurer to
               defend Claims. The Insured shall only retain counsel that is mutually agreed upon with the
               Insurer, consent for which shall not be um-easonabty withheld.

       (2)     The Insured shall not incur Defense Costs, admit liability for, settle, or offer to settle any Claim
               without the Insurer's prior written consent, which shall not be unreasonably withheld. The
               Insurer shall be entitled to full information and all particulars it may request in order to reach a
               decision as to such consent.

        (3)    The Insurer shall have the right but not the duty to associate with the Insured in the settlement
               and defense of any Claim that appears reasonably likely to involve the Insurer. Such association
               shall include, but not be limited to, participation in the formation of litigation strategy, review of
               pleadings and other pertinent papers prior to filing, and participation in the settlement negotiations.

B.     ADVANCEMENT OF DEFENSE COSTS
       (1)     Subject to Section IX, the Insurer, if requested by the Insured, shall advance covered Defense
               Costs on a current basis, except when advancement of Defense Costs is prohibited by law or
               regulation. The Insured shall repay any advanced Defense Costs to the Insurer in the event it is
               established that the Insurer has no liability under this Policy for such Defense Costs.

        (2)    Prior to advancing or indemnifying Defense Costs, the Insurer shall be entitled to sufficient
               information and documentation as to the amount and purpose of any Defense Costs to enable it to
               evaluate the reasonableness and necessity of such Defense Costs and to verify that such Defense
               Costs were actually incurred.

C.      DUTY TO COOPERATE - The Insured shall promptly furnish the Insurer with all information
        reasonably requested by the Insurer including, but not limited to, copies of reports, investigations,
        pleadings and other papers. As a condition precedent to coverage under this Policy, the Insured shall
        provide the Insurer with such information, assistance and cooperation as the Insurer may reasonably
        request.


                            SECTION IX - ALLOCATION AND ARBITRATION

A.      ALLOCATION

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       (1)       If in any Claim the Insureds are jointly and severally liable with others (including the Company
                 even if no coverage is extended for such Claim against the Company) for Loss, then:
                 (a)    100% of all Loss, other than Defense Costs, incurred jointly by the Insured Persons and
                        the Company shall be treated as Loss incurred solely by the Insured Persons; and
                 (b)    all other Loss shall be allocated between the Insured Persons and others based on the
                        relative legal exposures of the parties to such Claims.

       (2)       If in any Claim the Insureds incur an amount consisting of both covered and uncovered Loss
                 because the Claim includes both covered and uncovered matters, then the amount shall be
                 allocated between covered Loss and uncovered loss based on the relative legal exposures of the
                 Insureds to the covered and uncovered matters.

B.     ARBITRATION - The Insurer and the Insured agree to use their best efforts to reach a proper
       allocation of Defense Costs. If the Insured and the Insurer cannot agree on an allocation:
       (1)       no presumption as to allocation shall exist in any arbitration, suit or other proceeding;
       (2)       the Insurer shall advance on a current basis Defense Costs which the Insurer believes to be
                 covered under this Policy until a different allocation is negotiated, arbitrated or judicially
                 determined; and
       (3)      the Insurer, if requested by the Insured, shall submit the allocation dispute to binding arbitration.
             -- -T-he-rules of--the American Ar-bitration-Association-shall-apply except with respectto-the selection   —
                of the arbitration panel. The arbitration panel shall consist of one arbitrator selected by the
                Insured, one arbitrator selected by the Insurer, and a third independent arbitrator selected by the
                first two arbitrators. In any such arbitration, each party will bear its own legal fees and expenses.

       Any negotiated, arbitrated or judicially determined allocation of Defense Costs will be applied
       retroactively to all Defense Costs, notwithstanding any pi-ior advancement to the contrary. Any allocation
       or advancement of Defense Costs shall not apply to or create any presumption with respect to the
       allocation of other Loss arising from such Claim or any other Claim.


                       SECTION X- NOTICE OF CLAIMS AND POTENTIAL CLAIMS


A.     The Insured, as a condition precedent to any rights under this Policy, shall give the Insurer written
       notice, as soon as practicable, of any Claim first made during the Policy Period or the Discovery Period,
       but in no event later than sixty (60) days after the Claim is first made.

B.     If during the Policy Period, the Insured first becomes aware of circumstances which may give rise to a
       Claim, and gives written notice to the Insurer of the circumstances and reasons for anticipating a Claim,
       then any Claim subsequently made based upon such circumstances shall be deemed to have been first
       made during the Policy Year in which notice was first given to the Insurer. As a condition precedent to
       any coverage hereunder for such Claims, such notice must be specific and contain full particulars as to the
       names, dates, and persons involved in the underlying facts potentially giving rise to the Claim, as well as
       the identity of the potential plaintiffs and the causes of action to be asserted.

C.     All notices required to be given to the Insurer under this Policy shall be given to the Insurer at the
       address set forth in Item 5 of the Declarations.
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       SECTION XI - MERGERS, ACQUISITIONS AND CHANGES IN BUSINESS ACTIVITIES

A.     If during the Policy Period, the Company:
       (1)     acquires, merges with or creates any non-bank entity;
       (2)     acquires or merges with another entity or creates or acquires a Subsidiary, whose assets equal or
               exceed twenty-five percent (25%) of the Company's total assets at the time of the transaction;
       (3)     creates or acquires a financial services holding company or converts from a bank holding company
               to a financial services holding company;
       (4)     converts from a mutual company to a stock company; or
       (5)     changes or converts its corporate structure from a C-corporation to an S-corporation;
       then no coverage shall be afforded under this Policy for any Loss incurred by the Company, such entity,
       Subsidiary, or its Insured Persons resulting from any Claim arising out of or in any way involving any
       transaction or event, prior to:
       (a)     the Company providing written notice and any requested information regarding the transaction to
               the Insurer as soon as practicable;
     —(b)      theInsur-er-, at its-sole discretion,-agreeing inwriting to-provide-such coverage; and                   —
       (c)     the Company accepting any special terms, conditions and/or Exclusions and paying any additional
               premium required by the Insurer.
       However, with respect to (A)(2) above, this provision shall not apply until ninety (90) days after the
       merger, acquisition or creation.

B.     If during the Policy Period, the Company creates or acquires a bank or bank Subsidiary, whose assets
       are less than twenty-five percent (25%) of the Company's total assets at the time of the transaction, the -
       Insurer agrees to provide automatic coverage for such bank, bank Subsidiary and its Insured Persons
       for the remainder of the Policy Period.

C.     Any coverage otherwise afforded under this Policy for a Loss in any way involving the Company, any
       Subsidiary, or any acquired, merged or created entity or its Insured Persons shall not apply to any
       Claim arising out of or directly or indirectly resulting from:
       (1)     any Wrongful Act or any fact, circumstance or situation committed or allegedly committed prior
               to the effective date of such acquisition, merger or creation; or
       (2)     any other Wrongful Act, which, together with a Wrongful Act committed or allegedly committed
               prior to effective date of such acquisition, merger or creation constitute Interrelated Wrongful
               Acts.


                     SECTION XII - CANCELLATION / NONRENEWAL / CONVERSION




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A.     NAMED INSURED CANCELLATION - The Named Insured may cancel this Policy or any Insuring
       Agreement by providing written notice to the Insurer. If the Named Insured cancels this Policy, the
       Insurer shall only return ninety percent (90%) of the unearned premium. For multi-year Policies, the
       Insurer shall only return ninety percent (90%) of the unearned premium if the cancellation occurs before
       the first anniversary. If the cancellation occurs after the first anniversary, unearned premium will be
       retumed on a prorata basis as soon as practicable.
B.     INSURER CANCELLATION OR NONRENEWAL
       (1)     NONRENEWAL - The Insurer shall not be required to renew this Policy or any Insuring
               Agreement upon expiration of the Policy Period. This Policy or any Insuring Agreement may be
               nonrenewed by the Insurer by giving to the Named Insured written notice stating when, not less
               than sixty (60) days thereafter, such action shall become effective and the reason(s) therefore.

       (2)     CANCELLATION
               (a)    This Policy or any Insuring Agreement may be cancelled by the Insurer by giving to the
                      Named Insured written notice stating when such action shall become effective and the
                      reason(s) therefore.
               (b)    The Insurer shall provide not less than twenty (20) days notice of its intent to cancel for
                      nonpayment of premium or sixty (60) days notice of its intent to cancel for any other
                      reason.
               (c)   _ If the Insurer cancels this Policy or any Insuring Agreement, the Insurer shall retum_one_
                       hundred percent (100%) of the unearned premium. The return of any unearned premium
                       by the Insurer shall not be a condition precedent to the effectiveness of cancellation, but
                       such payment shall be made as soon as practicable.

       (3)     NOTICE - All notices pursuant to Section XII (B) will be mailed to the Named Insured by
               certified mail at the address set forth in Item 1 of the Declarations. The mailing of such notice as
               aforesaid shall be sufficient proof of notice, and this Policy shall ternunate at the date and hour
               specified in such notice.

C.      CONVERSION
       (1)     Upon the occurrence of any of the following events, this Policy shall continue in full force and
               effect with respect to Claims for Wrongful Acts committed or allegedly committed before such
               event, but coverage shall cease with respect to Claims for such Wrongful Acts committed or
               allegedly committed after such event (herein called the Conversion Period):
               (a)    Financial Impairment of the Company or any Subsidiary comprising more than fifty
                      percent (50%) of the Company's total assets;
               (b)    acquisition of the Company by another entity or the merger or consolidation of the
                      Company into another entity such that the Company is not the sui-viving entity or
                      acquisition of substantially all of the assets of the Company by another entity; or
               (c)    the Company or any Subsidiary ceasing to engage actively in its primary business.




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           (2)     Pursuant to Subsection C(1) above, this Policy may not be cancelled and the entire premium shall
                   be deemed fully earned. The occurrence of any of the foregoing events shall not affect the
                   Insured's right to purchase the Discovery Period pursuant to Section III. If the Discovery Period
                   is elected, it will run concurrently with the Conversion Period.

           (3)     In the event of Financial Impairment or sale of a Subsidiary comprising less than fifty percent
                   (50%) of the Company's total assets, this conversion provision shall apply only to the Subsidiary
                   and its Insured Persons and the Policy shall continue in full force with respect to all other
                   Insureds.

                          SECTION XIII - REPRESENTATIONS AND SEVERABILITY

    A.     REPRESENTATIONS - It is agreed and represented that the particulars and statements contained in the
           Application are the basis of this Policy and are to be considered as incorporated into and constituting a
           part of this Policy. By acceptance of this Policy, the Insured agrees that:
           (1)     such Application shall be construed as a separate Application for coverage by each Insured
                   Person;
           (2)     this Policy shall not be deemed to be a series of individual insurance contracts with the Company
                   and each of the Insured Persons; and
—   -- -   (3)— the-statements -in-the-Application-are their-representations,—that they-are-material to--the-acceptanee
                of the risk or hazard assumed by the Insurer under this Policy, and that this Policy is issued in
                reliance upon the truth of such representations.
    B.     SEVERABILITY - The Insureds agree that in the event the Application contains misrepresentations
           made with the actual intent to deceive, no coverage will be provided for any Claim under this Policy with
           respect to:
           (1)     any Insured Person who knew of any fact, circumstance or situation that was not truthfully
                   disclosed in the Application;
           (2)     the Company, to the extent the Company indemnifies the Insured Person reflected in Subpart
                   (1) above; or
           (3)     the Company, to the extent coverage is granted to the Company by any Insuring Agreement
                   made a part of this Policy, if any past, present, or future chief financial officer, in-house counsel,
                   chief executive officer, President or Chairman of the Board of the Company, or any person
                   holding any equivalent position within the Company (regardless of title), knew of any fact,
                   circumstance or situation that was not truthfully disclosed in the Application.
            The foregoing conditions shall apply whether or not the Insured Person actually knew if the
            misrepresentation or untrathful disclosure was made in the Application for coverage.
    C.      SEVERABILITY OF EXCLUSIONS - With respect to the Exclusions herein, in order to determine if
            coverage is available:
            (1)    no Wrongful Act, fact pertaining to, or knowledge possessed by any Insured Person will be
                   imputed to any other Insured Person; and



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       (2)     all facts pertaining to and knowledge possessed by any past, present, or future chief financial
               officer, in-house counsel, chief executive officer, President or Chairman of the Board of the
               Company, or any person holding any equivalent position within the Company (regardless of
               title), shall be imputed to the Company with respect to the Fraud/Violation of Law and Illegal
               Profit/Payment Exclusions.


                         SECTION XIV - GENERAL TERMS AND CONDITIONS


A.     SUBROGATION - In the event of any payment under this Policy, the Insurer shall be subrogated to the
       extent of such payment to all the Insured Persons' and the Company's rights to recovery therefore, and
       the Insured shall execute all papers required and shall do everything that may be necessary to secure the
       Insurer's rights, including the execution of such documents as may be necessary to enable the Insurer
       effectively to bring suit in the name of the Insured Persons or the Company.

B.     ASSIGNMENT AND ACCEPTANCE - By acceptance of this Policy, the Insured and the Insurer
       agree that this Policy, the Application, and any written Endorsements attached thereto constitute the
       entire agreement between the parties. Assignment of interest under this Policy shall not bind the Insurer
       until its consent is endorsed hereon.

C.     CONFORMITY TO STATUTE - Any terms of this Policy which are in conflict with the terms of any
       applicable_laws governing this_Policy__are hereby amended to conform to such laws._

D.     AUTHORIZATION - By acceptance of this Policy, the Insureds agree that the Named Insured will
       act on behalf of all Insureds for all purposes under this Policy including, but not limited to, giving and
       receiving of all notices and correspondence, cancellation, nonrenewal or termination of this Policy,
       payment of premiums, the negotiation and acceptance of Endorsements, and receipt of any return
       premiums that may be due under this Policy.

E.     CHANGES - Notice to any agent or knowledge possessed by any agent or other person acting on behalf
       of the Insurer shall not effect a waiver or a change in any part of this Policy or estop the Insurer from
       asserting any right under the terms of this Policy, nor shall the terms, conditions and limitations of this
       Policy be waived or changed, except by written Endorsement issued to form a part of this Policy.

F.     ACTION AGAINST THE INSURER - No action shall be taken against the Insurer unless, as a
       condition precedent thereto, there shall have been full compliance with all the terms of this Policy, and
       until the Insured's obligation to pay is finally determined, either by adjudication or by written agreement
       of the Insureds, the claimant, and the Insurer.

       No person or organization shall have any right under this Policy to join the Insurer as a party to any
       Claim against the Insured nor shall the Insurer be impleaded by the Insureds or their legal
       representatives in any such Claim.

G.     OTHER INSURANCE OR INDEMNIFICATION - This Policy shall not be subject to the terms of any
       other insurance. All Loss, including Defense Costs, payable under this Policy shall be excess to:




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        (1)    any other existing insurance regardless of whether collectable, including but not limited to, any
               insurance under which there is a duty to defend, unless such other insurance is written only as
               specific excess insurance over the Limits of Liability provided by this Policy; and
        (2)    indemnification to which an Insured is entitled from any entity other than the Company.

H.      LOSS INFORMATION - The Insurer will provide Loss Information to the Company within ten (10)
        days of the Company's request or, if required by statute, at the same time as any notice of cancellation or
        nonrenewal of this Policy.

I.      INSOLVENCY/BANKRUPTCY - The Financial Impairment of the Insured or of the estate of such
        Insured shall not release the Insurer from its obligations nor deprive the Insurer of its rights under this
        Policy.

J.      HEADINGS AND SUB-HEADINGS - The descriptions in the headings and sub-headings of this Policy
        are solely for convenience and form no part of the terms and conditions of coverage.


IN WITNESS WHEREOF, the Insurer has caused this Policy to be signed by its President and Secretary and
countersigned, if required, on the Declarations Page by a duly authorized agent of the Insurer.




              Sanjoy Mukherjee                                           Jonathan Zaffino
                  Secretaiy                                                 President




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                                                                                                   EEO 40 014 (05 16)
                           EVEREST NATIONAL INSURANCE COMPANY

                       Modified Internet/Electronic Banking Services Exclusion


Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and the information contained in
the Declarations and Application, the Insurer and the Insured agree the Policy is modified as follows:

1.      Section V, entitled "Exclusions Applicable to all Insuring Agreements", is amended to delete the
        Internet/Electronic Services Exclusion and replace it with the following:
        Cyber Cover Exclusion — The Insurer shall not be liable to make any payment for Loss in connection
        with any Claim arising out of or in any way involving:
        (1)     Cyber Banking Services;
        (2)     Electronic Funds Transfer Acts;
        (3)     Privacy and Security Acts;
        (4)     Cyber Publishing and Social Networking Activities; or
        (5)    an Insured's development of websites or software, an Insured's provision of hosting or network
               security services, or an Insured acting as an internet service provider, intemet access provider,
               application service provider, or provider of like services to third parties.
        However, this exclusion shall not apply to a Claim brought and maintained by a security holder of the
        Company as a derivative action on behalf of the Company or such affiliate; provided such Claim is
        brought independently of, and totally without the solicitation, assistance, participation, or intervention of
        any Insured or any affiliate of the Company;

2.      For the purposes of the above exclusion, Section IV, entitled Definitions, is amended to add the following:
        Computer Programs mean a set of related electronic instructions that direct the operations and functions
        of a computer or devices connected to it and that enable the computer or devices to receive, process, store,
        or send Electronic Data.

        Computer System means:
        (1)    computers with related peripheral components, including storage components;
        (2)    systems and networks;
        (3)    internet or mobile applications and software;
        (4)     terminal devices;
        (5)    websites; and
        (6)     tablets and smart phones;
        by which Electronic Data is electronically collected, transmitted, processed, stored, or retrieved.
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     Confidential Information means:
     (1)       any nonpublic personal information that allows an individual to be distinctively identified,
               including a social security number, driver's license, or state identification number;
     (2)       a Customer's credit or debit card numbers, PINs, passwords or other account numbers; and
     (3)       any fmancial or commercial information that is subject to the terms of a confidentiality agreement
               agreed to by the Insured.

       Customer means any natural person or entity that receives professional services directly from the
       Company.

       Cyber Banking Services mean any service rendered by the Insured through the transmission or storage
       of Electronic Data to or from a Computer System.

       Cyber Publishing and Social Networking Activities mean the electronic display or electronic
       dissemination of information through any website or social networking account.

       Electronic Data means facts or information converted to a form usable in a Computer System by
       Computer Programs and stored on magnetic tapes or disks, optical storage disks, or other bulk media.

       Electronic Funds Transfer Acts mean the transfer of funds from a Customer's account through a
       Computer System.

       Privacy and Security Acts mean the management, oversight, or preservation of Confidential
       Information or the security of a Computer System.

       Electronic Data means facts or information converted to a form usable in a Computer System by
       Computer Programs and stored on magnetic tapes or disks, optical storage disks, or other bulk media.


This Endorsement shall be effective as of 12:01 a.m. on 07/01/2018.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




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                                                                                                  EEO 40 016 (05 16)
                          EVEREST NATIONAL INSURANCE COMPANY

                                           Insolvency Modification

Policy Number: 8100002727-181
In consideration of the premium paid and in reliance upon all statements made and the information contained in
the Declarations and Application, the Insurer and the Insured agree that coverage will be provided subject to all
of the terms, conditions and limitations of this Endorsement as follows:

       Section V of the Policy, entitled "Exclusions Applicable to all Insuring Agreements", is amended to add
       the following:
       Insolvency Exclusion- The Insurer shall not be liable to make any payment for Loss in connection with
       any Claim arising out of or in any way involving the insolvency, conservatorship, receivership,
       liquidation of, bankruptcy of or suspension of payment by any person or entity; provided, however, this
       Exclusion shall not apply to:

       (1)     the insolvency, conservatorship, receivership, liquidation of, bankruptcy of or suspension of
               payment by the Company;
       (2)     the Insured's investment on behalf of a customer in the stock of any such entity or entities;
       (3)    —the-Insured's extension of crediv,-anagreement or refusalto extendcredit, -theservicirig of any
               loan, lease or extension of credit (not including fmancing for investment banking, or leveraged or
               management buy-outs), or the collection or restructuring of any extension of credit;
       (4)     the Employment Practices Liability Insuring Agreement, if so attached to this Policy; and
       (5)     the Fiduciary Liability Insuring Agreement, if so attached to this Policy..


This Endorsement shall be effective as of 12:01 a.m. on 07/01/2018.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




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                                                                                                  EEO 40 508 (07 09)
                           EVEREST NATIONAL INSURANCE COMPANY

                                     Multiple Year Policy Endorsement


Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations and Application, the Insurer and the Insured agree that the Policy is amended as follows:

1.       The Company must give the Insurer written notice, as soon as practicable, if any of the following occur
         during the Policy Period:

         a) a Change of Control;

        b) the Company's tangible equity capital falls below six percent (6%) of tangible assets;

         c) the Company's non-performing assets (loans greater than ninety (90) days past due, non-accruals, and
            Other Real Estate Owned) are greater than thirty percent (30%) of risk based capital;

        d) the receipt by the Company of any regulatory order from, or the entry by the Company into any
           agreement or memorandum of understanding with, any regulatory agency or authority having
        — junsdiction overit;m-clulc ing any written warning or criticism by such regu atory-agency or authority
           in connection with any actual or alleged violation by the Company of any provision of a federal or
           state statute; or

         e) Other Conditions: The Insurer has paid a loss, claim or damage payment in excess of $25,000; or
            The Company's annual asset growth rate exceeds 25%.

2.       Section IV, entitled "Definitions", is amended to add the following:
        Change of Control means a change in:
        (1)     the power to determine the management or policy of the Company by virtue of voting stock or
                voting rights ownership (including rights with respect to withdrawal accounts); or
        (2)     ownership of voting stock or voting rights which results in direct or indirect ownership by a
                stockholder or an affiliated group of stockholders of ten percent (10%) or more of the outstanding
                voting stock or voting rights of the Company.

         If during any Policy Year any of the transactions or events described in Number 1 above have occurred,
         then effective as of the end of the Policy Year in which such transaction or event occurs, the Insurer will
         be entitled to impose such additional terms, conditions and limitations of coverage and to charge such
         additional premium as the Insurer, in its sole discretion, may require. If the Company declines to accept
         any additional terms, conditions or limitations of coverage or to pay any additional premium which the
         Insurer requires pursuant to this Endorsement, then this Policy will be deemed to have been cancelled by
         the Company effective as of the end of the Policy Year in which such transaction or event occurred.

4.       If the Company cancels the Policy in accordance with this Endorsement, the Insurer will return the
         unearned premium which will be computed on a pro-rata basis.

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       Nothing herein shall affect the Insurer's right to cancel or nonrenew the Policy in accordance with
       Section XII (B), entitled "Insurer Cancellation or Nonrenewal".

This Endorsement shall be effective as of 12:01 a.m. on 07/01/2018.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




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                                                                                                EEO 40 513 (07 09)
                         EVEREST NATIONAL INSURANCE COMPANY

                                       Investigative Cost Coverage


Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and the information contained in
the Declarations and Application, the Insurer and the Insured agree that the Policy is amended as follows:

1.     Section lI, entitled "Additional Coverages", is amended to add the following:

       INVESTIGATIVE COST COVERAGE - The Insurer will indemnify the Company for reasonable
       costs, charges, fees (including attorneys' fees and experts' fees) and expenses (other than regular or
       overtime wages, salaries or fees of the directors, trustees, members of the Board of Trustees, management
       committee members, officers or Employees of the Company) incurred by the Company in connection
       with the Company's investigation or evaluation of any written demand first made upon the Board of
       Directors or Board of Trustees of the Company during the Policy Period or Discovery Period (if
       applicable), by one or more security holders of the Company, without the solicitation, assistance or active
       participation of any Insured Person, to bring a civil proceeding in a court of law on behalf of the
       Company against any Insured Person for a covered Wrongful Act.

2.     Section VI, entitled "Limit of Liability, Retention and Indemnification", is amended to add the following
       Subsection:

       The Limit of Liability for coverage afforded under this Endorsement shall be $100,000. The Limit of
       Liability under this Endorsement constitutes a sublimit and therefore shall be part of, and not in addition
       to the Broad Form Company Liability Insuring Agreement Limit of Liability or the Securities Liability
       Insuring Agreement Limit of Liability (as applicable) as set forth in Item 9 of the Declarations.

       For purposes of the coverage afforded by this Endorsement only, no Retention shall apply to this
       extension of coverage.

This Endorsement shall be effective as of 12:01 a.m. on 07/01/2018.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




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                                                                                                        EEO 40 520 (07 09)
                                 EVEREST NATIONAL INSURANCE COMPANY

                                    Employment Practices Liability Modification
                                            Third Party Extension


       Policy Number: 8100002727-181

       In consideration of the premium paid and in reliance upon all statements made in the Declarations and
       Application, the Insurer, the Insured Persons and the Company agree that the Employment Practices Liability
       Insuring Agreement is amended to delete the defmition of Harassment and replace as follows:

       Harassment means:
       (1)     unwelcome sexual advances, requests for sexual favors, or other verbal or physical conduct of a sexual
               nature when:
               (a)     submission to such conduct is made either explicitly or implicitly a term and condition of an
                       individual's employment;
               (b)    submission to or rejection of such conduct by an individual is used as the basis for employment
                      decisions affecting such individual;
----           (c)   —such conduct- has- the purpose or- effect- ofunreasonably interferingwith an- individual's- work—
                      performance or creating an intimidating, hostile, or offensive work environment;
               (d)    the allegation of harassment is brought by any customer(s), client(s), or other individual(s), class
                      of individuals or group, and whether direct, indirect, intentional or unintentional; or
       (2)    workplace harassment of a non-sexual nature as a consequence of race, color, creed, national origin, sex,
              sexual orientation or preference, religion, age, gender, disability or handicap, pregnancy, or any other
              legally protected status, which has the purpose or effect of unreasonably interfering with an individual's
              work performance or creating an intimidating, hostile, or offensive work environment.


       This Endorsement shall be effective as of 12:01 a.m. on 07/01/2018.
       Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
       agreements or limitations of the Policy other than as above stated.




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                                                                                                 EEO 40 533 (07 09)
                           EVEREST NATIONAL INSURANCE COMPANY

                                   Notice of Claims and Potential Claims
                                     Notification to Executive Officer


Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations and Application, the Insurer and the Insured agree that the Policy is amended as follows:

1.       Section X, entitled "Notice of Claims and Potential Claims", is amended to delete and replace Subsections
         (A) and (B) as follows:
        A.      The Insured, as a condition precedent to any rights under this Policy, shall give the Insurer
                written notice, as soon as practicable, of any Claim first made and brought to the attention of an
                Executive Officer during the Policy Period or the Discovery Period, but in no event later than
                sixty (60) days after the Claim is made.
        B.      If dtu-ing the Policy Period, the Executive Officer first becomes aware of circumstances which
                may give rise to a Claim, and gives written notice to the Insurer of the circumstances and reasons
                for anticipating a Claim, then any Claim subsequently arising from such circumstances shall be
                deemed to have been first_made_during_the Polic.y_Year_in which-such notice_was_first_given_to_the _
                Insurer. As a condition precedent to any coverage hereunder for such Claims, such notice must
                be specific and contain full particulars as to the names, dates, and persons involved in the
                underlying facts potentially giving rise to the Claim, as well as the identity of the potential
                plaintiffs and the causes of action to be asserted.
         All other provisions of Section X shall remain unchanged.
2.       For the purpose of this Endorsement, Section IV, entitled "Defmitions", is amended to add the following:
         Executive Officer means the Chairman of the Board, Chief Executive Officer, Chief Financial Officer,
         Chief Operating Officer, Director, In-house Counsel, Controller, Internal Auditor, Risk Manager, Senior
         Loan Officer or President, of the Company or any person holding any equivalent position within the
         Company.

This Endorsement shall be effective as of 12:01 a.m. on 07/01/2018.
Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




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                                                                                               EEO 40 535 (07 09)
                         EVEREST NATIONAL INSURANCE COMPANY

                                     Non-Cancellation Endorsement


Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations and Application, t.he Insurer and the Insured agree that Section XII (B)(2) of the Policy, entitled
"Cancellation", is modified to add the following:

       (d)     This Policy may not be cancelled from 07/01/2018 to 07/01/2019 except for failure to pay a
               premium when due. If the Insurer cancels this Policy for nonpayment of premium, the Insurer
               shall provide not less than twenty (20) days notice of its intent to cancel.

       All other provisions of Section XII (13)(2) shall remain unchanged.


This Endorsement shall be effective as of 12:01 a.m. on 07/01/2018.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




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                                                                                                   EEO 40 542 (07 09)
                           EVEREST NATIONAL INSURANCE COMPANY

                                              Change of Control
                                           Notification Requirement


Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations and Application, the Insurer and the Insured agree that the Policy is amended as follows:

1.      Section XIV, entitled "General Terms and Conditions", is amended to add the following Subsection:

        CHANGE OF CONTROL - It is understood and agreed that the Company will notify the Insurer upon
        the Company's obtaining knowledge of any Change of Control after the effective date of this Policy.
        Written notice shall be provided to the Insurer together with such information as the Insurer may request
        at the address set forth in Item 5 of the Declarations. Such notice and other information shall be provided
        as soon as practicable, but in no event later than thirty (30) days from the effective date of such Change of
        Control.

        The_Insurer, at _its sole discretion,_may _make any _premium_.adjustment or _coverage revision_as it
        determines appropriate in the event of a Change of Control.

2.      Section IV, entitled "Defmitions", is amended to add the following:

        Change of Control means a change in:

        (1)    the power to determine the management or policy of the Company by virtue of voting stock or
               voting rights ownership (including rights with respect to withdrawal accounts); or

        (2)    ownership of voting stock or voting rights which results in direct or indirect ownership by a
               stockholder or an affiliated group of stockholders of ten percent (10%) or more of the outstanding
               voting stock or voting rights of the Company.


This Endorsement shall be effective as of 12:01 a.m. on 07/01/2018.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




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                                                                                                         EEO 40 569 (07 09)
                                EVEREST NATIONAL INSURANCE COMPANY

                                            Pollution Exclusion Modification
                                            To Provide "A" Side Coverage


      Policy Number: 8100002727-181

      In consideration of the premium paid and in reliance upon all statements made and information contained in the
      Declarations and Application, the Insurer and the Insured agree that the "Pollution Exclusion" is deleted and
      replaced as follows:

      Pollution Exclusion - Except for Claims that are applicable to Insuring Agreement A, the Insurer shall not be
      liable to make any payment for Loss in connection with any Claim arising out of or in any way involving:

      (1)    the actual, alleged or threatened discharge, disposal, migration, dispersal, release or escape of Pollutants;
             or

      (2)    any direction, order or request to test for, monitor, remediate, clean up, remove, contain, treat, detoxify or
             neutralize Pollutants, or to pay for or contribute to the costs of undertaking such actions.

_ _   ThisEndorsement shalLbe_effective as_of_12:01 a.m-on_0'Z/O1/2018-

      Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
      agreements or limitations of the Policy other than as above stated.




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                                                                                                  EEO 40 613 (07 09)
                           EVEREST NATIONAL INSURANCE COMPANY

              EMPLOYMENT PRACTICES LIABILITY INSURING AGREEMENT

Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations and Application, the Insurer and the Insured agree that coverage will be provided subject to all of
the terms, conditions and limitations of this Insuring Agreement, as follows:

       The attached Policy is amended by adding an additional Insuring Agreement as follows:
                        EMPLOYMENT PRACTICES LIABILITY INSURING AGREEMENT
        The Insurer will pay on behalf of the Insured, Loss resulting from Claims first made during the Policy
        Period or Discovery Period against the Insured for which the Insured is legally obligated to pay for
        Wrongful Employment Acts.

2.     For the purpose of the coverage afforded by this Insuring Agreement, all of the terms and conditions set
       forth in the Policy and any amendments thereto shall apply except:

       A.   Section II (B), entitled "Not-for-Profit Directorships", is deleted.

       B.   The definitions of Interrelated Wrongful Acts and Wrongful Act and all references used throughout
            the Policy are deleted and replaced as follows:
            Interrelated Wrongful Employment Acts means Wrongful Employment Acts which have as a
            common nexus any fact, circumstance, situation, event, transaction or series of related facts,
            circumstances, situations, events or transactions.
            Wrongful Employment Act either in singular or plural, means any actual or alleged act, error or
            omission by the Insured that constitutes or causes:
            (1)   Wrongful Termination, Discrimination or Harassment;
            (2)   employment-related misrepresentation or retaliation; employment-related libel, slander,
                  humiliation, defamation, or invasion of pi-ivacy; wrongful failure to employ or promote;
                  wrongful deprivation of career opportunity; wrongful demotion; negligent evaluation; negligent
                  hiring; negligent retention; wrongful discipline; or
            (3)   any violation of any statutory or common law relating to employment other than those statutes or
                  regulations set forth in the Violation of Employment Law Exclusion.

       C.   Section IV, entitled "Defmitions", is further amended to add the following sentence to the end of the
            defnution of Claim:
            Claim shall not include a labor or grievance arbitration pursuant to a collective bargaining agreement.

       D.   Section IV, entitled "Definitions", is further amended to delete and replace the definition of Loss as
            follows:



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           Loss means Defense Costs and any amount which the Insured is legally obligated to pay resulting
           from a Claim, including damages, judgments, settlements, pre- and post judgment interest, punitive or
           exemplary damages and the multiple portion of any multiplied damage award where insurable by law.
           Loss shall not include:
           (1)   criminal or civil fines or penalties imposed by law, and liquidated damages under the Age
                 Discrimination in Employment Act;
           (2) the payment of insurance plan benefits the claimant may have been entitled to as an Insured
               Person, including but not limited to benefits payable pursuant to ERISA or Consolidated
               Omnibus Budget Reconciliation Act of 1985 (COBRA), as amended;
           (3)   costs to comply with any non-monetary or injunctive relief of any kind or any agreement to
                 provide such relief, including but not limited to any damages, costs or expenses incurred in
                 making an accommodation for any disabled person pursuant to the Americans with Disabilities
                 Act or any similar federal, state or local laws, or in complying with any other federal, state or
                 local laws of any kind;
           (4) other than Defense Costs, front pay, future damages or other future economic relief or the
               equivalent thereof which compensates the claimant for damages beyond the date of settlement or
               adjudication, where the Company has the option pursuant to a settlement or adjudication to
               reinstate the claimant, but fails to reinstate the claimant;
           (5)   other than Defense Costs, compensation earned by the claimant while employed by the
                 Company but not paid by the Company for reasons other than Wrongful Employrnent Acts,
                 or--damages determined to -be--owed under—an express-written-contraet of employmentor an
                 express written obligation to make payments in the event of termination of employment; or
           (6) any matters which are uninsurable under the law pursuant to which this Insuring Agreement
               shall be construed.
     E.    Section IV, entitled "Definitions", is further amended to add the following:
           Discrimination means the termination of employment, the failure or refusal to hire or promote, the
           demotion of, or the employment-related defamation of any individual because of race, color, creed,
           national origin, sex, sexual orientation or preference, religion, age, gender, disability or handicap,
           pregnancy, or any other legally protected status.
           Harassment means:
           (1) unwelcome sexual advances, requests for sexual favors, or other verbal or physical conduct of a
               sexual nature when: (a) submission to such conduct is made either explicitly or implicitly a term
               and condition of an individual's employment; (b) submission to or rejection of such conduct by
               an individual is used as the basis for employment decisions affecting such individual; or (c) such
               conduct has the purpose or efPect of unreasonably interfei7ng with an individual's work
               performance or creating an intimidating, hostile, or offensive work environment; or
           (2) workplace harassment of a non-sexual nature as a consequence of race, color, creed, national
               origin, sex, sexual orientation or preference, religion, age, gender, disability or handicap,
               pregnancy, or any other legally protected status, which has the purpose or effect of unreasonably
               interfering with an individual's work performance or creating an intimidating, hostile, or
               offensive work environment.




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           Wrongful Termination means termination of an employment relationship in a manner which is
           against the law or in breach of an oral and/or implied agreement to continue employment, including
           constructive and retaliatoiy discharge.

     F.    Section V, entitled "Exclusions Applicable to all Insuring Agreements", is amended to delete all
           Exclusions and add the following:
           Bodily/Personal InjurYand Property Damage Exclusion - The Insurer shall not be liable to make
           any payment for Loss in connection with any Claim for actual or alleged bodily injury (other than
           emotional distress or mental anguish), sickness, disease, or death of any person, damage to or
           destruction of any tangible or intangible property including loss of use thereof, wrongful entry,
           eviction, false arrest, false imprisonment or malicious prosecution.
           Prior Notice Exclusion - The Insurer shall not be liable to make any payment for Loss in connection
           with any Claim arising out of or in any way involving any Wrongful Employment Act or any
           Wrongful Employment Act which is part of any Interrelated Wrongful Employment Acts, or any
           fact, circumstance or situation, which has been the subject of any notice given to any carrier other than
           the Insurer under any similar insurance policy providing protection for any Insured.
           Prior and Pending Litigation Exclusion - The Insurer shall not be liable to make any payment for
           Loss in connection with any Claim arising out of or in any way involving any litigation against any
           Insured initiated prior to the respective date set forth in Item 13 of the Declarations, or arising out of
           or in any way involving the same or substantially the same fact, circumstance or situation underlying
           or alleged in such prior litigation.
           Subsidiary Wrongful Employment Acts Exclusion - The Insurer shall not be liable to ma.ke any
           payment for Loss in connection with any Claim against any Subsidiary or its Insured Persons acting
           in the capacity of director, member of the board of trustees, officer or employee of such Subsidiary
           for any Wrongful Employment Act or Interrelated Wrongful Employment Acts actually or
           allegedly committed in whole or in part at any time when the entity was not a Subsidiary except as
           provided in Section XII (C)(3).
           Violation of Employment Law Egclusion - The Insurer shall not be liable to make any payment for
           Loss in connection with any Claim arising out of or in any way involving an actual or alleged
           violation of the responsibilities, obligations or duties imposed by ERISA, Consolidated Omnibus
           Budget Reconciliation Act of 1985 (COBRA), as amended, any Worker's Compensation,
           Unemployment Insurance, or disability benefits law, the Fair Labor Standards Act, the National Labor
           Relations Act, the Worker Adjustment and Retraining Notification Act, the Occupational Safety and
           Health Act, or any rules or regulations promulgated under any of the above statutes, or similar
           provisions of any federal, state or local statutory, administrative or common law.

      G.    Subsection (2) of Section VIII (A) of the Policy, entitled "No Duty To Defend", is deleted and
            replaced as follows:
            (2)   The Insured shall not incur Defense Costs, admit liability for, settle, or offer to settle any
                  Claim without the Insurer's prior written consent, which shall not be unreasonably withheld.
                  The Insurer shall be entitled to full information and all particulars it may request in order to
                  reach a decision as to such consent. If the Insured receives a settlement offer that the Insurer
                  deems reasonable and the Insured withholds consent to such settlement, the Insurer's liability
                  for all Loss on account of such Claim shall not exceed:
                  (a) the amount for which the Claim could have been settled for; plus
                  (b) Defense Costs accrued as of the date such settlement was proposed; plus

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                  (c)    fifty percent (50%) of the covered Loss, including Defense Costs incurred after the date
                         such settlement was proposed, in excess of the amount for which the Claim could have
                         been settled.
                 Notwithstanding the foregoing, if the proposed settlement amount does not exceed the applicable
                 Retention set forth in the Declarations, Subpart (c) above shall not apply and the Insurer's
                 liability for all Loss arising from such Claim shall not exceed the amount for which the Claim
                 could have been settled plus Defense Costs incurred as of the date such settlement was proposed.
                 Any amounts paid by the Insurer under Subparts (a), (b), or (c) above shall be part of and not in
                 addition to the applicable Limit of Liability set forth in Item 9 of the Declarations.

       H.   Section XI, entitled "Mergers, Acquisitions and Changes in Business Activities", is deleted and
            replaced as follows:
                                        SECTION XI - MERGERS AND ACOUISITIONS
            A.    Except as provided by Subsection (B) below, if during the Policy Period, the Company adds
                  additional Employees through acquisition, merger with another entity or through the creation or
                  acquisition of a Subsidiary, then no coverage shall be afforded under this Policy for any Loss
                  incurred by the Company, such entity, Subsidiary, or its Insured Persons resulting from any
                  Claim first made, prior to:
                   (1) the Company providing written notice of such transaction, including any requested
                       information regarding the transaction, to the Insurer as soon as practicable;
                   (2) the Insurer, at its sole discretion, agreeing in writing to provide such coverage; and
                   (3)   the Company accepting any special terms, conditions and/or Exclusions and paying any
                         additional premium required by the Insurer.
                   However, this provision shall not apply until ninety (90) days after the acquisition, merger or
                   creation.

            B.     If during the Policy Period, the Company creates or acquires a bank or bank Subsidiary whose
                   assets are less than twenty-five percent (25%) of the Company's total assets at the time of the
                   transaction, the Insurer agrees to provide automatic coverage for such bank, bank Subsidiary
                   and its Insured Persons for the remainder of the Policy Period.

            C.     Any coverage afforded under this Policy for a Loss in any way involving the Company,
                   Subsidiary, or any acquired, merged or created entity or its Insured Persons shall not apply to
                   any Claim arising out of or directly or indirectly resulting from:
                   (1)   any Wrongful Employment Act or any fact, circumstance or situation committed or
                         allegedly committed prior to the effective date of such acquisition, merger or creation; or
                   (2)   any other Wrongful Employment Act, which, together with Wrongful Employment
                         Acts committed or allegedly committed prior to effective date of such acquisition, merger
                         or creation constitute Interrelated Wrongful Employment Acts.

3.      This Insuring Agreement shall be effective as of 12:01 a.m. on 07/O1/201S.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.

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                                                                                                 EEO 40 614 (07 09)
                          EVEREST NATIONAL INSURANCE COMPANY

                        FIDUCIARY LIABILITY INSURING AGREEMENT
Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations and Application, the Insurer and the Insured agree that coverage will be provided subject to all of
the terms, conditions and limitations of this Insuring Agreement, as follows:

        The attached Policy is amended by adding the following Insuring Agreements:

                             FIDUCIARY LIABILITY INSURING AGREEMENT
        The Insurer will pay on behalf of the Insured, Loss resulting from Claims first made during the Policy
        Period or the Discovery Period against the Insured for which the Insured is legally obligated to pay for
        Wrongful Acts resulting from the Administration of any Employee Benefit Plan or the violation of any
        of the responsibilities, obligations or duties imposed by ERISA, and any regulations applicable thereto, or
        any common law or statutory law relating to any Employee Benefit Plan.

                       VOLUNTARY CORRECTION PROGRAM INSURING AGREEMENT
        The Insurer will_pay on behalf of the Insured, Volunt~ Correction Fees and Defense Costs with
        respect to a Voluntary Correction Program Notice first given to the Insurer during the Policy Period
        or the Discovery Period, provided:
        (a)    the Voluntary Correction Program Fees and Defense Costs are incurred after such Voluntary
               Correction Program Notice is first given to the Insurer; and
         (b)   the Insurer's maximum Limit of Liability for all Voluntary Correction Program Fees and
               Defense Costs with respect to all Voluntary Correction Program Notices shall be $100,000,
               which amount will be included within and not in addition to the Fiduciary Liability Insuring
               Agreement Limit of Liability set forth in Item 9 of the Declarations. For purposes of the coverage
               afforded by this Insuring Agreement only, no Retention shall apply.

2.      For the purpose of the coverage afforded by this Insuring Agreement, all of the terms and conditions set
        forth in the Policy and any amendments thereto shall apply except:
        A.     Section II (B), entitled "Not-for-Profit Directorships", is deleted.
        B.     Section IV, entitled "Definitions", is amended to add the following:

               Administration means counseling Employees with respect to, interpreting, handling records in
               connection with, or effecting enrollment or cancellation of Employees under any Employee
               Benefit Plan.

               Employee Benefit Plan means any Employee Welfare Benefit Plan or any Employee Pension
               Benefit Plan operated solely by the Company or jointly by the Company and a labor
               organization for the benefit of the Employees of the Company.



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               Employee Pension Benefit Plan means any plan, fund, or program established or maintained by
               the Company for its Employees, to the extent that by its express terms or as a result of
               surrounding circumstances such plan, fund or program provides retirement income to Employees
               or results in a deferral of income by Employees for periods extending to the termination of
               employment or beyond.

               Employee Welfare Benefit Plan means any plan, fund, or program established or maintained by
               the Company for its Employees for the purpose of providing benefits for its participants or their
               beneficiaries, through the purchase of insurance or otherwise, including:
               (1)    medical, surgical, or hospital care or benefits; benefits in the event of sickness, accident,
                      disability, death or unemployment; vacation benefits, apprenticeship or other training
                      programs; day care centers; scholarship fands; prepaid legal services; or
               (2)    any benefit described in Section 186(c) of ERISA.

               Voluntary Correction Program means the Voluntary Correction Program, as described in the
               Employee Plans Compliance Resolutions System ("EPCRS"), IRS Rev. Proc. 2006-27, as
               amended, or the Voluntary Compliance Resolution Program, the Walk-In Closing Agreement
               Program, the Tax Sheltered Annuity Voluntary Correction Program ("TVC"), or any similar
               voluntary settlement program.

               Voluntary Correction Program Fees means fees, fines, penalties or sanctions paid by an
               Insured to a governmental authority pursuant to a Voluntary Correction Program for the actual
               or alleged inadvertent non-compliance by an Employee Benefit Plan with any statute, rule or
               regulation. Voluntary Correction Plan Fees shall not include:
               (1)    any costs to correct the non-compliance, or any other charges, expenses, taxes or damages;
                      or
               (2)    any fees, fines, penalties or sanctions relating to an Employee Benefit Plan which, as of
                      the earlier inception of this Policy or the inception of the first Policy of which this Policy
                      is a renewal or replacement, any Insured Person knew to be actually or allegedly non-
                      compliant.

               Voluntary Correction Program Notice means prior written notice to the Insurer by the Insured
               of the Insured's intent to enter into a Voluntary Correction Program.

       C.      Section IV, entitled "Definitions", is further amended to delete and replace the defmition of
               Insured and Loss as follows:
               Insured, either in singular or plural, means the Insured Persons, the Company, any Employee
               Benefit Plan existing before the Policy Period, any Employee Benefit Plan created during the
               Policy Period, and any Employee Benefit Plan acquired during the Policy Period pursuant to
               Section XI.

               Loss means Defense Costs and any amount which the Insured is legally obligated to pay
               resulting from a Claim, including damages, judgments, settlements, pre- and post judgment
               interest, punitive or exemplary damages and the multiple portion of any multiplied damage award
               where insurable by law. Loss shall not include:



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               (1)    taxes, criminal or civil fines or penalties imposed by law; provided that this exception to
                      the definition of Loss shall not apply to any Voluntary Correction Fees or to the five
                      percent (5%) or less, or the twenty percent (20%) or less, civil penalties imposed under
                      Section 502 (i) or (1), respectively, of ERISA;
               (2)    any unpaid, unrecoverable or outstanding loan, lease or extension of credit to any customer
                      or any forgiveness of debt;
               (3)    costs to comply with any non-monetary or injunctive relief of any kind or any agreement to
                      provide such relief, including but not limited to any damages, costs or expenses incurred in
                      complying with any other federal, state or local laws of any kind;
               (4)    any restitution, disgorgement, or payment of similar sums including but not limited to the
                      return of fees, commissions or charges for the Company's services; or
               (5)    any matters which are uninsurable under the law pursuant to which this Insuring
                      Agreement shall be constrned.

       D.      All of the exclusions set forth in Section V, entitled "Exclusions Applicable to all Insuring
               Agreements", shall apply except the "ERISA Exclusion" and the "Insured vs. Insured Exclusion"
               which are deleted.

       E.      Section V, entitled "Exclusions Applicable to all Insuring Agreements", is further amended to add
               the following:

               Bonding/Insurance Company Exclusion - The Insurer shall not be liable to make any payment
               for Loss in connection with any Claim that is brought directly or indirectly by or for the benefit of
               any insurance carrier or bond carrier of the Company, or any affiliate of the Company, regardless
               in whose name such Claim is actually made.

               Contract Exclusion - The Insurer shall not be liable to make any payment for Loss in connection
               with any Claim arising out of or in any way involving the assumption of any liability to defend,
               indemnify, or hold harmless any person or entity, other than an Insured Person, under any written
               contract or agreement unless such liability: (1) would be imposed regardless of the existence of
               such contract or agreement; or (2) was assumed in accordance with or under the agreement or
               declaration of trust pursuant to which the Plan was established.

               Failure to Collect Contribution/Benefits Exclusion - The Insurer shall not be liable to make
               any payment for Loss, other than Defense Costs, in connection with any Claim for:
               (1)    the failure to collect contributions owed to an Employee Benefit Plan or other Employee
                      Program unless such failure is due to the negligence of the Insured;
               (2)    the return or reversion to an employee of any contribution or asset; or
               (3)    benefits paid or payable to a participant or beneficiary of any Employee Benefit Plan or
                      other Employee Programs, or benefits which would be payable to such a participant or
                      beneficiary if the Employee Benefit Plan or other Employee program complied with
                      applicable law.




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               Violation of Employment Law Egclusion - The Insurer shall not be liable to make any payment
               for Loss in connection with any Claim arising out of or in any way involving an actual or alleged
               violation of the responsibilities, obligations or duties imposed by any Worker's Compensation,
               Unemployment Insurance, Social Security or disability benefits law, the Fair Labor Standards Act,
               National Labor Relations Act, Worker Adjustment and Retraining Notification Act, Occupational
               Safety and Health Act, any rules or regulations promulgated under any of the above statutes, or
               similar provisions of any federal, state or local statutory, administrative or conunon law.

        F.     Section VI (A), entitled "Limit of Liability", is amended to add the following Subsection:
               (4)    The Insurer agrees to provide, without additional charge, a one-time reinstatement of the
                      Limit of Liability under this Insuring Agreement to the extent such Limit of Liability is
                      diminished by paid Loss resulting from paid Claims under this Insuring Agreement.
                      Should a Claim exhaust the Limit of Liability under this Insuring Agreement, the Limit of
                      Liability will only be reinstated for subsequent Claims. This reinstatement shall not serve
                      to increase the Limit of Liability for any single Claim.

3.      This Insuring Agreement shall be effective as of 12:01 a.m. on 07/01/2018.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




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                                                                                                EEO 40 619 (07 09)
                          EVEREST NATIONAL INSURANCE COMPANY

                        SECURITIES LIABILITY INSURING AGREEMENT

Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations and Application, the Insurer and the Insured agree that coverage will be provided subject to all of
the terms, conditions and limitations of this Insuring Agreement, as follows:

1.      The attached Policy is amended by adding an additional Insuring Agreement as follows:

                             SECURITIES LIABILITY INSURING AGREEMENT
        The Insurer will pay on behalf of the Company, Loss resulting from Claims first made during the Policy
        Period or the Discovery Period against the Company for which the Company is legally obligated to pay
        for Wrongful Acts which in whole or in part is based upon, arises from, or is in consequence of the
        purchase or sale of, or offer to purchase or sell, any securities issued by tlie Company.

2.      For the puipose of the coverage afforded by this Insuring Agreement, all of the terms and conditions set
        forth in the Policy and any amendments thereto shall apply except:

        A.     Section II,—entitled "Additional-Coverages", is deleted-in-its entirety.

        B.     All of the Exclusions set forth in Section V, entitled "Exclusions Applicable to all Insuring
               Agreements", shall apply and the following are added:

               Contract Exclusion - The Insurer shall not be liable to make any payment for Loss in connection
               with any Claim:
               (1)   arising out of or in any way involving the assumption of any liability to defend, indemnify,
                     or hold harmless any person or entity, other than an Insured Person, under any written
                     contract or agreement, unless such liability would be imposed regardless of the existence of
                     such contract or agreement; or
               (2)   for the intentional breach, in fact, of any express written or oral contract or amounts the
                     Company is obligated to pay pursuant to any express written or oral contract. If it is
                     established in fact that such Claim involves an intentional breach of contract, the Insured
                     agrees to reimburse Defense Costs.

               Fee Dispute Exclusion - The Insurer shall not be liable to make any payment for Loss in
               connection with any Claim arising out of or in any way involving disputes over fees,
               commissions, or charges for the Company's services.

               Investment Banking/Securities Underwriting Exclusion - The Insurer shall not be liable to
               make any payment for Loss in connection with any Claim arising out of or in any way involving:
               (1)     underwriting, syndicating or promoting any security (except loan syndications or equity or
                       debt securities issued by the Company);


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               (2)    rendering of advice or recommendations regarding any actual or attempted or threatened
                      merger, acquisition, divestiture, tender offer, proxy contest, leveraged buy-out, going
                      private transaction, bankrnptcy, reorganization, restructuring, recapitalization, spin-off,
                      offering of securities, dissolution or sale of all or substantially all of the assets or stock of
                      an entity;
               (3)    rendering of any fairness opinion;
               (4)    proprietary trading;
               (5)    any acquisition or sale of securities of the Company for its own account; or
               (6)    any other investment banking activity,
               including any disclosure requirements in connection with any of the foregoing activities.

               Receiyership Egclusion - The Insurer shall not be liable to make any payment for Loss in
               connection with any Claim arising out of or in any way involving the Company's function or
               activity as receiver, trustee in bankruptcy, or assignee for the benefit of creditors.

       C.      In the event that a Claim is covered under this Insuring Agreement, the Insurer shall not be liable
               for payment of Loss in connection with such Claim under the Broad Form Company Liability
               Insuring Agreement (if applicable).

       This Insuring Agreement shall be effective as of 12:01 a.m. on 07/O1/2018.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




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                                                                                                  EEO 40 623 (07 09)
                           EVEREST NATIONAL INSURANCE COMPANY

              BROAD FORM COMPANY LIABILITY INSURING AGREEMENT

Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations and Application, the Insurer and the Insured agree that coverage will be provided subject to all of
the terms, conditions and limitations of this Insuring Agreement, as follows:

1.      The attached Policy is amended by adding an additional Insuring Agreement as follows:

                     BROAD FORM COMPANY LIABILITY INSURING AGREEMENT

        The Insurer will pay on behalf of the Company, Loss resulting from Claims first made during the Policy
        Period or Discovery Period against the Company for which the Company is legally obligated to pay for
        Wrongful Acts.

2.      For the puipose of the coverage afforded by this Insuring Agreement, all of the terms and conditions set
        forth in the Policy and any amendments thereto shall apply except:

        A.     Section II, entitled "Additional Coverages", is deleted in its_entirety.
        B.     All of the defmitions set forth in Section IV, entitled "Definitions", shall apply and the following
               is added:
               Professional Services means only those services performed or required to be performed by an
               Insured for or on behalf of a customer of the Company:
               (1) for a fee, commission or other monetary compensation;
               (2) where a fee, commission or other monetary compensation would usually be received by the
                   Insured but for business or other reasons is waived by the Insured; or
               (3) for other remuneration which inures to the benefit of the Insured.
               Professional Services shall not include Wrongful Acts relating to an extension of credit, an
               agreement or refusal to extend credit, loan servicing, or the collection or restructuring of any
               extension of credit.

        C.     All of the exclusions set forth in Section V, entitled "Exclusions Applicable to all I.nsuring
               Agreements", shall apply and the following are added:

               Bonding/Insurance Company Exclusion - The Insurer shall not be liable to make any payment
               for Loss in connection with any Claim that is brought directly or indirectly by or for the benefit of
               any insurance carrier or bond carrier of the Company, or any affiliate of the Company, regardless
               in whose name such Claim is actually made; provided, however, that this exclusion shall not apply
               to any Claim brought by the security holders of the Company in connection with securities issued
               by the Company.

               Contract Exclusion - The Insurer shall not be liable to make any payment for Loss in connection
               with any Claim:
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               (1)    arising out of or in any way involving the assumption of any liability to defend, indemnify,
                      or hold harmless any person or entity, other than an Insured Person, under any written
                      contract or agreement, unless such liability would be imposed regardless of the existence of
                      such contract or agreement; or
               (2)    for the intentional breach, in fact, of any express written or oral contract or amounts the
                      Company is obligated to pay pursuant to any express written or oral contract. If it is
                      established in fact that such Claim involves an intentional breach of contract, the Insured
                      agrees to reimburse Defense Costs.

               Fee Dispute Exclusion - The Insurer shall not be liable to make any payment for Loss in
               connection with any Claim arising out of or in any way involving disputes over fees,
               commissions, or charges for the Company's services.
               Insolvency Exclusion - The Insurer shall not be liable to make any payment for Loss in
               connection with any Claim arising out of or in any way involving the:
               (1)    Financial Impairment of the Company or any Subsidiary, but only to the extent such
                      Claim involves a Wrongful Act solely in connection with an extension of credit, an
                      agreement or refusal to extend credit, loan servicing, or the collection, or restructuring of
                      any extension of credit; or
               (2)   bankruptcy of or suspension of payment by any bank, banking firm, broker or dealer in
                     securities or commodities or any other financial institution to the extent such Claim alleges
                 --_ a Wrongful—Act solely in connection-- with—Professional—Services -affered by—the
                     Company; provided, however, that this Exclusion shall not apply with respect to the
                     Insured's investment on behalf of a customer in the stock of any such entities.

               Investment Banking/Securities Underwriting Exclusion - The Insurer shall not be liable to
               make any payment for Loss in connection with any Claim arising out of or in any way involving:
               (1)    underwriting, syndicating or promoting any security (except loan syndications or equity or
                      debt securities issued by the Company);
               (2)    rendering of advice or recommendations regarding any actual or attempted or threatened
                      merger, acquisition, divestiture, tender offer, proxy contest, leveraged buy-out, going
                      private transaction, bankruptcy, reorganization, restructuring, recapitalization, spin-off,
                      offering of securities, dissolution or sale of all or substantially all of the assets or stock of
                      an entity;
               (3)    rendering of any fairness opinion;
               (4)    proprietary trading;
               (5)    any acquisition or sale of securities of the Company for its own account; or
               (6)    any other investment banking activity,

               including any disc(osure requirements in connection with any of the foregoing activities.

               Legal Lending Limit Exclusion - The Insurer shall not be liable to make any payment for Loss
               in connection with any Claim arising out of or in any way involving any extension of credit which
               was, at the time of its making, in excess of the legal lending limit of the Company.


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                Mechanical Malfunction Exclusion - The Insurer shall not be liable to make any payment for
                Loss in connection with any Claun arising out of or in any way involving the mechanical or
                electronic failure, breakdown or malfunction of any machine or system of machines.

                Notary Services Exclusion - The Insurer shall not be liable to make any payment for Loss in
                connection with any Claim arising out of or in any way involving the notarization or certification
                of a signature of a person unless that person or someone claiming to be that person physically
                appeared before the Insured at the time of notarization or certification.

                Receivership Exclusion - The Insurer shall not be liable to make any payment for Loss in
                connection with any Claim arising out of or in any way involving the Company's function or
                activity as receiver, trustee in bankruptcy, or assignee for the benefit of creditors.

                Safe Deposit Operation Exclusion - The Insurer shall not be liable to make any payment for
                Loss in connection with any Claim arising out of or in any way involving safe deposit box
                operations of the Company.
         D.     Section VI (A), entitled "Limit of Liability", is amended to add the following Subsection:
                (4)     The Insurer agrees to provide, without additional charge, a one-time reinstatement of the
                        Limit of Liability under this Insuring Agreement to the extent such Limit of Liability is
                        diminished by paid Loss resulting from Claims for Wrongful Acts by the Company
                        while acting solely in the capacity as administrator, custodian or trustee under any
                        individual retirement account (IRA) or H.R. 10 Plan (Keogh Plan). Should a Claim
         —              exhaust the Lunit~Ziabihtypursuant to thisSubsection, the Limit     ofZiabilitywill only
                        be reinstated for subsequent Claims. This reinstatement shall not serve to increase the
                        Limit of Liability for any single Claim.

3.     This Insuring Agreement shall be effective as of 12:01 a.m. on 07/01/2018.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




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                                                                                                   EEO 40 629 (07 09)
                          EVEItEST NATIONAL INSURANCE COMPANY

                                         Policyholder Disclosure
                                 Notice of Terrorism Insurance Coverage


Policy Number: 8100002727-181

Coverage for acts of terrorism is included in your policy. You are hereby notified that under the Terrorism Risk
Insurance Act, as amended, that you have a right to purchase insurance coverage for losses resulting from acts of
terrorism, as defined in Section 102(1) of the Act: The term "act of terrorism" means any act that is certified by
the Secretary of the Treasury-in concurrence with the Secretary of State, and the Attorney General of the United
States- to be an act of terrorism; to be a violent act or an act that is dangerous to human life, property, or
infrastructure; to have resulted in damage within the United States, or outside the United States in the case of
certain air carriers or vessels or the premises of a United States mission; and to have been committed by an
individual or individuals as part of an effort to coerce the civilian population of the United States or to influence
the policy or affect the conduct of the United States Government by coercion. Under your coverage, any losses
resulting from certified acts of terrorism may be partially reimbursed by the United States Government under a
formula established by the Terrorism Risk Insurance Act, as amended. However, your policy may contain other
exclusions which might affect your coverage, such as an exclusion for nuclear events. Under the formula, the
United States Government generally reimburses 85% of covered terrorism losses exceeding the statutorily
established deductible paid by the insurance company providing the coverage. The Terrorism Risk Insurance Act,
as amended, contains a$100 billion cap that limits U.S. Government reimbursement as well as insurers' liability
for losses resulting from certified acts of terrorism when the amount of such losses exceeds $100 billion in any
one calendar year. If the aggregate insured losses for all insurers exceed $100 billion, your coverage may be
reduced.

The portion of your annual premium that is attributable to coverage for acts of terrorism is $0.00, and does not
include any charges for the portion of losses covered by the United States government under the Act.

I ACKNOWLEDGE THAT I HAVE BEEN NOTIFIED THAT UNDER THE TERRORISM RISK
INSURANCE ACT, AS AMENDED, ANY LOSSES RESULTING FROM CERTIFIED ACTS OF
TERRORISM UNDER MY POLICY COVERAGE MAY BE PARTIALLY REIMBURSED BY THE UNITED
STATES GOVERNMENT, MAY BE SUBJECT TO A$100 BILLION CAP THAT MAY REDUCE MY
COVERAGE AND I HAVE BEEN NOTIFIED OF THE PORTION OF MY PREMIUM ATTRIBUTABLE TO
SUCH COVERAGE.


Policyholder/Applicant's Signature



Print Name



Date

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                                                                                                EEO 40 917 (07 09)
                          EVEREST NATIONAL INSURANCE COMPANY

                            Insured vs. Insured Exclusion Modification
                        Former Insured Person, "Whistle Blower" Coverage
                                 and FDIC/Regulatory Extension


Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations and Application, the Insurer and the Insured agree that the Policy is amended as follows:

The "Insured vs. Insured Exclusion" is amended to delete and replace Subsection (3) and add Subsections (4) and
(5) as follows:
       (3)     by a security holder of the Company as a derivative action on behalf of the Company or such
               affiliate; provided such Claim is brought independently of, and totally without the solicitation,
               assistance, participation, or intervention of any Insured or any affiliate of the Company unless
               such participation arises solely out of the activities for which Section 806 of the Sarbanes-Oxley
               Act of 2002, or similar "whistle btower" protection provision of an applicable federal, state, or
               local securities law affords protection to such Insured;
      -(4)— by an Insured Person who-has not-been an Employee, director, officer,—member of the-board of
            trustees, honorary or advisory director or advisory member of the board of trustees of the
            Company for four (4) years pi-ior to the inception date of the Policy; or
       (5)     by the FDIC or other governmental authority regulating the Company or any other party acting as
               receiver, conservator, liquidator, rehabilitator of the Company or acting in a similar capacity.

All other provisions of the "Insured vs. Insured Exclusion" shall remain unchanged.


This Endorsement shall be effective as of 12:01 a.m. on 07/01/2018.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




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                                                                                                   EEO 40 918 (07 09)
                           EVEREST NATIONAL INSURANCE COMPANY

                                     Fiduciary Liability Modification
                                  HIPPA Civil Money Penalties Coverage


Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations and Application, the Insurer and the Insured agree that the Fiduciary Liability Insuring Agreement
is amended as follows:

1.      Subsection (1) of the defmition of Loss is amended as follows:

        (1)      taxes, criminal or civil fines or penalties imposed by law; provided that this exception to the
                 definition of Loss shall not apply to:
                 (i)    any Voluntary Correction Fees;
                 (ii)   the five percent (5%) or less, or the twenty percent (20%) or less, civil penalties imposed
                        under Section 502 (i) or (1), respectively, of ERISA; and
                 (iii) HIPPA Civil Money Penalties;
        All other provisions of the defmition of Loss shall remain unchanged.

2.      Number 2(B) is amended to add the following defmition:

        HIPPA Civil Money Penalties means any civil money penalties imposed upon an Insured for such
        Insured's violation of the privacy provisions of the Health Insurance Portability and Accountability Act
        of 1996, as amended.

3.      Section VI (A) of the Policy, entitled "Limit of Liability", is amended to add the following:

              The Limit of Liability for all Loss, in connection with HIPPA Civil Money Penalty Claims
              described above will be $100,000 which amount will be included within, and not in addition to the
              Fiduciary Limit of Liability set forth in Item 9 of the Declarations.

4.      Section VI (B) of the Policy, entitled "Retention and Indemnification", is amended to add the following:

              The retention applicable to Claims for HIPPA Civil Money Penalties shall be $0.

This Endorsement shall be effective as of 12:01 a.m. on 07/01/2018.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




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                                                                                               EEO 40 962 (07 09)
                          EVEREST NATIONAL INSURANCE COMPANY

                                      Fiduciary Liability Modification
                                      Delete One Time Reinstatement


Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations and Application, the Insurer and the Insured agree that the Fiduciary Liability Insuring Agreement
is modified is follows:

Number 2(F) is deleted in its entirety.




This Endorsement shall be effective as of 12:01 a.m. on 07/01/2018.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of Policy other than as above stated.




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                                                                                                 EEO 40 963 (07 09)
                          EVEREST NATIONAL INSURANCE COMPANY

                                     "A Side" Coverage Endorsement

Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations and Application, the Insurer and the Insured agree that the Policy is amended as follows:

The Insurer shall pay up to $1,000,000 on behalf of the Insured Persons for Loss for which the Insured
Persons are not indemnified by the Company and which the Insured Persons become legally obligated to pay
on account of any Claim first made against them, individually or otherwise, during the Policy Period, the
Automatic Discovery Period (if applicable), or, if exercised, the Optional Discovery Period, for a Wrongful Act
taking place before or during the Policy Period.
This extension of coverage shall be in addition to and excess of the D&O Limit of Liability set forth in Item 9 of
the Declarations, and no Retention shall apply to this extension of coverage.
The D&O Limit of Liability must be completely exhausted by payment of Loss before the Insurer shall have any
obligation to make any payment for Loss under this extension of coverage.
This extension of co_v_erage shall be specifically excess of any_insurance available to the Insured Persons that is
specifically excess of this Policy or Insuring Agreement and such excess insurance must be completely exhausted
by payment of loss, damages, defense costs, claim expenses or other sums covered thereunder before the Insurer
shall have any obligation to make any payment for Loss under this extension of coverage.

This Endorsement shall be effective as of 12:01 a.m. on 07/01/2018.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




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                                                                                                   EEO 40 978 (03 11)
                          EVEREST NATIONAL INSURANCE COMPANY

             Modification to Mergers, Acquisitions and Changes in Business Activities


Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations and Application, the Insurer and the Insured agree that Section XI of the Policy, entitled
"Mergers, Acquisitions and Changes in Business Activities", is deleted and replaced as follows:

        SECTION XI - MERGERS, ACQUISITIONS AND CHANGES IN BUSINESS ACTIVITIES

A.     If during the Policy Period, the Company:
       (1)     acquires, merges with or creates any non-bank entity;
       (2)     acquires assets through merger, acquisition or creation of a Subsidiary and the resulting assets
               equal or exceed 25% of the Company's total assets at the time of the transaction;
       (3)     creates or acquires a financial services holding company or converts from a bank holding company
               to a financial services holding company;
       (4)—     converts from a mutual-company-to a stock-company;
       (5)     changes or converts its corporate stracture from a C-corporation to an S-corporation; or
       (6)     acquires assets resulting from any FDIC or other federal/state regulatory assisted merger or
               acquisition of assets (whether or not in fact indemnified).
       then no coverage shall be afforded under this Policy for any Loss incurred by the Company, such entity,
       Subsidiary, or its Insured Persons resulting from any Claim arising out of or in any way involving any
       such transaction or event, prior to:
       (a)     the Company providing written notice and any requested information regarding the transaction to
               the Insurer as soon as practicable;
       (b)     the Insurer, at its sole discretion, agreeing in writing to provide such coverage; and
       (c)     the Company accepting any special terms, conditions and/or Exclusions and paying any additional
               premium required by the Insurer.
       However, with respect to (A)(2) above, this provision shall not apply until ninety (90) days after the
       merger, acquisition or creation.




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B.       If during the Policy Period, the Company acquires assets or creates or acquires a bank or bank
        Subsidiary and either transaction results in an increase in assets of less than 25% of the Company's
        total assets at the time of the transaction, the Insurer agrees to provide automatic coverage for such bank,
        bank Subsidiary and its Insured Persons for the remainder of the Policy Period.

C.      Any coverage otherwise afforded under this Policy for a Loss in any way involving the Company, any
        Subsidiary, any acquired, merged or created entity or its Insured Persons, or any merged or acquired
        assets, shall not apply to any Claim arising out of or directly or indirectly resulting from:
        (1)     any Wrongful Act or any fact, circumstance or situation committed or allegedly committed prior
                to the effective date of such acquisition, merger or creation; or
        (2)     any other Wrongful Act, which, together with a Wrongful Act committed or allegedly committed
                prrior to effective date of such acquisition, merger or creation constitute Interrelated Wrongful
                Acts.


This Endorsement shall be effective as of 12:01 a.m. on 07/01/2018.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




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                                                                                                 EEO 40 988 (02 13)
                          EVEREST NATIONAL INSURANCE COMPANY

                             Broad Form Company Liability Modification
                                       Insolvency Exclusion

Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and the information contained in
the Declarations and Application, the Insurer and the Insured agree that the Broad Form Company Liability
Insuring Agreement is modified as follows:

Part 2. Section C. Insolvency Exclusion- is deleted and replaced in its entirety with the following:

       Insolyency Exclusion- The Insurer shall not be liable to make any payment for Loss in connection with
       any Claim arising out of or in any way involving the :

       (1)   Financial Impairment of the Company or any Subsidiary, but only to the extent such Claim
             involves a Wrongful Act in connection with an extension of credit, an agreement of refusal to
             extend credit, loan servicing, or the collection, or restructuring of any extension of credit; or

       (2)   insolvency, conservatorship, receivership, liquidation of, bankruptcy of or suspension of payment by
       _     any_bank,banking_firm, investment company,_investment_ bank,_.insurance or reinsuranc_e_entity_,___
             broker or dealer in securities or commodities or any other financial institution or organization of
             similar nature; provided, however, this Exclusion shall not apply to the Insured's investment on
             behalf of a customer in the stock of any such entities.



This Endorsement shall be effective as of 12:01 a.m. on 07/01/2018.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




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                                                                                               EEO 40 991 (02 13)
                         EVEREST NATIONAL INSURANCE COMPANY

                             Broad Form Company Liability Modification
                                   Intellectual Property Exclusion

Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and the information contained in
the Declarations and Application, the Insurer and the Insured agree that the Broad Form Company Liability
Insuring Agreement is amended to add the following Exclusion:

Intellectual Property Exclusion — The Insurer shall not be liable to make any payment for Loss in connection
with any Claim arising out of or in any way involving any actual or alleged right under the law of intellectual
property, whether founded in state or federal law, and including but not limited to infringement of trademark,
copyright, patent, trade name, trade dress, trade secret, service mark, service name, or the actual or alleged
misappropriation or conversion of expression, ideas, processes, or uses.


This Endorsement shall be effective as of 12:01 a.m. on 07/01/2018.

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.




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                                                                                                   EEO 41 151 CA (12 10)
                           EVEREST NATIONAL INSURANCE COMPANY

                           CALIFORNIA AMENDATORY ENDORSEMENT


Policy Number: 8100002727-181

In consideration of the premium paid and in reliance upon all statements made and information contained in the
Declarations and Application, the Insurer and the Insured agree that the Policy is amended as follows:

       The definition of Loss is amended as follows:
          Notwithstanding any other provision, the defmition of Loss shall not include punitive or exemplary
          damages or the multiple portion of any multiplied damage award. The remainder of the defuution of
          Loss shall remain unchanged.
2.     Section XII (B)(2), entitled "Cancellation", Subsection (a) is deleted and replaced as follows:
       (a)    This Policy or any Insuring Agreement may be cancelled by the Insurer by giving to the
              Named Insured written notice stating when such action shall become effective and the
              reason(s) therefore. The Insurer shall only cancel this Policy or an Insuring Agreement for
              the following reasons:
              (i)       nonpayment of premium;

              (ii)      discovery of fraud or material misrepresentation by: (1) the Company or an Insured
                        Person in the obtaining of this insurance; or (2) the Company or an Insured Person in
                        pursuing a Claim under this Policy;

              (iii) a judgement by a court or an administrative tribunal that the Company or an Insured
                    Person has violated a California or Federal Law, having as one of its necessary
                    elements an act which materially increases any of the risks insured against;

              (iv)      discovery of willful or grossly negligent acts or omissions, or of any violations of state
                        laws or regulations establishing safety standards, by the Company or any Insured
                        Person, which materially increase any of the risks insured against;

              (v)       failure by the Company to implement reasonable loss control requirements, agreed to
                        by the Company as a condition of Policy issuance, or which were conditions precedent
                        to the Insurer's use of a particular rate or rating plan, if that failure materially increases
                        any of the risks insured against;

              (vi)      a determination by the Commissioner of Insurance that the loss of, or changes in,
                        reinsurance by the Insurer would threaten financial integrity or solvency, or that
                        continuation of the Policy coverage would place the Insurer in violation of California
                        law or the laws of the state where the Insurer is domiciled; or

              (vii) a change by the Company in the activities or property of the commercial or industrial
                    enterprise, which results in a materially added, increased or changed risk, unless the
                    added, increased or changed risk is included in the Policy.
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       All other provisions in Section XII (13)(2) shall remain unchanged.



This Endorsement shall be effective as of 12:01 a.m. on 07/01/2018.
Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, conditions, provisions,
agreements or limitations of the Policy other than as above stated.
The regulatory requirements of this Amendatory Endorsement shall take precedence over any provisions of the
Policy or any endorsement to the Policy, whenever added, that are inconsistent with or contrary to the provisions
of this Amendatory Endorsement, unless such Policy or endorsement provisions comply with the applicable
insurance laws of the state.




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                                                                                                  EN IL PV 1(O1 07)
                          EVEREST NATIONAL INSURANCE COMPANY

                                      EVEREST PRIVACY NOTICE

Policy Number: 8100002727-181

YOUR CONFIDENTIALITY

This Privacy Notice applies to policyholders of the following companies: Everest National Insurance Company,
Everest Indemnity Insurance Company, Everest Reinsurance Company and Everest Security Insurance Company
("Everest"). Everest respects your right to privacy and understands the importance of keeping the nonpublic
personal information about you secure. We maintain certain policies to protect the confidentiality and security of
your nonpublic personal information and have appropriate physical, electronic and procedural safeguards and
security standards at our facilities to prevent access to your information by unauthorized third parties.

CATEGORIES OF GATHERED INFORMATION

Everest, through its agents and service providers, collects information about you in order to serve you properly.
We collect information that is necessary or relevant to our business. Much of this information is obtained directly
from you. The categories of personal information that may be collected by Everest includes, but is not limited to,
the following:
   —           -         --              -           --                             - -               -     --
   I. The information contained in your completed application for coverage.
   II. We may need information from your motor vehicle records.
   III. For property coverage, we may inspect your property and verify information about its value and risk.
   IV. We may review insurance claims information, loss information reports, and we may also obtain medical
        or financial information to adjust claims.
   V. We may obtain additional information from third parties such as other insurance companies, independent
        claims adjusters, governmental agencies, and courts.

Information that has been collected about you may be retained in both our records and your agent's files. We
review it in evaluating your request for coverage, determining your rates, servicing your insurance policy, and
adjusting claims.

DISCLOSURES PERIVIITTED BY LAW

We do not disclose your personal non-public information except as otherwise permitted by law. By law we are
permitted to share personal information about you without your prior permission under certain circumstances and
to certain persons, companies, organizations and entities such as:

   •   Your agent or broker;
   •   Parties who perform a business; professional or insurance function for our company, including affiliated
       companies, agents, service providers and reinsurers;
   •   Independent claims adjusters, appraisers, investigators, auditors, accountants and attorneys who need the
       information to investigate, defend or settle a claim involving your insurance;
   •   Businesses that help us with data processing or marketing;
   •   Other insurance companies, or agents as reasonably necessary in connection with any application,
       insurance policy or claim involving you;
   •   Insurance regulatory agencies in connection with the regulation of our business;
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       Law enforcement or other governmental authorities to protect our legal interests or in cases of suspected
       fraud or illegal activities;
       Authorized persons as ordered by subpoena, warrant or other court order or as required by law.

YOUR RIGHT TO KNOW

The following access to records will be provided to you if required by law as well as if we have provided you
with insurance issued in the following states: Arizona, California, Connecticut, Georgia, Hawaii, Illinois, Kansas,
Maine, Massachusetts, Minnesota, Montana, Nevada, New Jersey, North Carolina, Ohio, Oregon and Virginia.

You have the right to access certain types of information we keep in our files about you and to receive a copy of
such information.

Within thirty (30) business days of receipt of your request, we will inform you in writing of the nature and
substance of locatable, retrievable and available recorded personal information about you in our files. We will
also identify any persons or organizations to which we have disclosed or normally would disclose this
information within the past two (2) years. In addition, you will be given the name and address of any consumer
credit reporting agency that prepared a report about you so that you can contact them for a copy.

You may review the identified information contained in our files in person or receive a copy of such information
by mail at a reasonable charge.

After you have reviewed the personal information about you in our file, you can contact us if you believe it
should becorrected, amended or deleted. We will consider your request and within thirry (30) business days
make your requested changes or advise you that we did not make your requested changes and the reason.

If we do not make your requested changes, you have the right to insert in our file a concise statement containing
why you believe certain information contained in our file should be corrected, amended or deleted and what you
believe is the correct, relevant or fair information.

We will notify and provide those persons or organizations designated by you to whom we have disclosed such
information the change(s) made on your statement. Subsequent disclosures we make will also include your
statement.

To request the personal information about you contained in our file(s), please send a written request, setting forth
your name, address, policy number, day and evening phone number, and a description of the information you
would like to receive, to:

EVEREST
ATTENTION: PRIVACY ACCESS REQUEST/COMPLIANCE DEPARTMENT
477 MARTINSVILLE ROAD, P.O. BOX 830
LIBERTY CORNER, N.J. 07938-0830




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                     EX IBIT B
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           PACWEST BANCORP, PlaintiffPACIFIC
           WESTERN BANK and Cross-Defendant
           JOHN M. EGGEMEYER

                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
      10
                               COUNTY OF LOS ANGELES, CENTRAL DISTRICT
     11
        PACWEST BANCORP, a Delaware                   Case No. 20STCV46002
     12 corporation; PACIFIC WESTERN BANK, a
        California State Chartered Banlc,                                    :s to:
     13                                               Hon.                   Jr., Dept. 37
                       Plaintiffs,
     14                                               PLAINTIFFS' SECOND AIVIENDED
               LTIM                                   COMPLAINT FOR DAMAGES:
     15
        DAVID I. RAINER, an Individual; BANK OF       1. BREACH OF CONTRACT;
     16 SOUTHERN CALIFORNIA, N.A., a United           2. BREACH OF THE COVENANT OF GOOD
        States Corporation; SOUTHERN                      FAITH AND FAIR DEALING;
     17 CALIFORNIA BANCORP, a United States
                                                      3. INTENTIONAL INTERFERENCE WITH
        Corporation; RICHARD HERNANDEZ, an                PROSPECTIVE ECONOMIC ADVANTAGE;
     18 Individual; DIANA REMINGTON                   4. INTENTIONAL INTERFERENCE WITH
        SMITHSON, an Individual; and DOES 1-20,           PROSPECTIVE ECONOMIC ADVANTAGE;
     19 Inclusive,                                    5. NEGLIGENT INTERFERENCE WITH
                                                          PROSPECTIVE ECONOMIC ADVANTAGE;
     20                    Defendants.                6. INTENTIONAL INTERFERENCE WITH
                                                          CONTRACTUAL RELATIONS
     21                                               7. INDUCING BREACH OF CONTRACT;
           DAVID I. RAINER, an individual,            g. BREACH OF FIDUCIARY DUTY
     22                                               9. AIDING AND ABETTING BREACH OF
                           Cross-Complainant,             FIDUCL4RY DUTY; AND
     23                                               10. COMMON LAw UNFAHt COMPETITION
                      ►~                                  AND VIOLATION OF CALIFORNL4
     24                                                   BUSINESS AND PROFESSIONS CODE
        PACWEST BANCORP, a Delaware                      (§ 17200 ET SEQ.)
     25 corporation; JOHN M. EGGEMEYER, an
                    and DOES 1-20, inclusive,         DEMAND FOR JURY TRIAL
     26 individual;
                       Cross-Defendants.              FAC Filed: Apri19, 2021
     27                                               FACC Filed: May 6, 2021
     28                                               Trial Date: November 15, 2022

           332718.3
                             PLAINTLFFS' SECOND A1VlENDED COMPLAINT FOR DAMAGES
     Case 3:22-cv-00737-GPC-RBB Document 1-2 Filed 05/23/22 PageID.107 Page 98 of 279




                              Plaintiffs PACWEST BANCORP ("PacWest") and PACIFIC WESTERN BANK
               2 ("PacWest Bank") (collectively "Plaintiffs") complain and allege against Defendants DAVID I.

               3 RAINER, BANK OF SOUTHERN CALIFORNIA, N.A., SOUTHERN CALIFORNIA

               4 BANCORP, RICHARD HERNANDEZ and DIANA REMINGTON SMITHSON (collectively,

               5 "Defendants") as follows:

                                                           INTRODUCTION

                                   This complaint arises out of the systematic and illegal raiding of the employees and

                   clients of PacWest Bank, a wholly owned subsidiary of PacWest, orchestrated by David I. Rainer

                   ("Rainer"). Rainer is a former executive of CU Bancorp ("CUB"), which was acquired by

              101 PacWest in 2017. Rainer was aided and abetted in this wholesale assault on PacWest Bank by his

aa            11 new employer and direct competitor of PacWest Bank, Bank of Southern California, N.A. ("SoCal
~
Wo
~
H 8°,
         "
         N 12 Bank") and its holding company, Southern California Bancorp ("SoCal Bancorp"); a former
          M—
     ti o m 13 PacWest Bank Executive Vice President, l Richard Hernandez aka Rich Hernandez

~~.           14 ("Hernandez"); and Diana Remington Smithson aka Danni Remington ("Smithson"), a former
  s-o
H ~~o
xrM           15 Senior Vice President, Regional Manager, who joined Rainer at SoCal Bank. To date, as a result
Vo °^
O a
     r   E~   16 of the illegal raiding plan orchestrated by Rainer, implemented by Hemandez and Smithson, and
W h
F-~       F

~             17 actively supported by SoCal Bank and SoCal Bancorp, 30 PacWest Bank employees, including
va
              18 key executives and client relationship personnel, have left PacWest Bank to join Rainer,
              19 Hernandez and Smithson at SoCal Bank, bringing with them millions of dollars in client deposits
              20 and loans.
              21              2.   Rainer's behavior, and his violations of both the law and industry norms, is made

              22 I all the more appalling because during the very time that Rainer was planning and executing this
              23 I illegal raiding, he was every month accepting money from PacWest to serve as a consultant to and
              24
              25 1   Following the sad and unexpected passing of Casey "Joe" Cecala, the President of PacWest
              26 Bank's  Los Angeles Region, Hemandez was offered the late Mr. Cecala's position starting
                 November 1, 2020. At one point Hernandez held himself out as having served as "Regional
              27 President" for PacWest Bank. He did not. Not one day. Hernandez's last day worked with
                 PacWest was October 23, 2020. In the weeks and months prior to his separation date, and
              28 afterward as alleged herein, he instead engaged in wrongful acts against PacWest.

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                                      PLAINTLFFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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          "ambassador" for the very bank he was plotting to raid. As pait of CUB's merger with PacWest in
      2   Apri12017, Rainer and PacWest entered into a consulting agreement, which was later amended
      3   and restated on May 25, 2017 (the "Agreement"). In exchange for an annual fee of $550,000, paid

      4   monthly, Rainer agreed to serve as consultant to PacWest and its subsidiaries, including PacWest

      5   Bank. For the first three years of the Agreement (referred to as the "Restricted Period") Rainer

      6   was prohibited from soliciting any employee of PacWest or any of its subsidiaries to resign or to

      7   apply for or accept employment with any competitive enterprise. Rainer was separately required,

      8   from the effective date of the Agreement through May 2022 to, among other things, foster and

      9   grow PacWest's business, attract and retain new clients, and help preserve business and employee

     10 relationships and retain key personnel.
     11              3.   Both Hernandez and Smithson, before and at the time they left PacWest Bank, and

     12 during the period they participated in Rainer's, SoCal Bank's and SoCal Bancorp's illegal raiding
     13 plan, were subj ect to the restrictive covenants contained in the Stock Incentive Plan Stock Award
     14 Agreements each signed in 2019 and 2020 ("Stock Award Agreements"). These covenants
     15 required that during their employment, and for a six month period following the termination of
     16 their employment for any reason, Hemandez and Smithson would not take any action directly or
     17 indirectly to 1) cause any employees of PacWest or its affiliates to resign or apply or accept
     18 employment with any other business or enterprise, or 2) cause any customer or prospective
     19 customer of PacWest or its affiliates to become a customer of or transact any business with a
     20 competitive business, or reduce or refrain from doing any business with PacWest or its affiliates.
     21 The active participation of Hernandez and Smithson in Rainer's scheme before and after their
     22 resignations, and their direct solicitation of PacWest Bank's employees and customers following
     23 their resignations from PacWest Bank, was in direct violation of their Stock Award Agreements.
     24              4.   On November 5, 2020, while still bound by the terms of the Agreement and while

     25 still receiving $45,833 a month for providing consulting services to PacWest and its subsidiai-ies,
     26 including PacWest Bank, Rainer and SoCal Bank announced that Rainer had taken a position as
     27 Executive Chairman of the Board of Directors of SoCal Bank, a PacWest Bank competitor. Four
     28 days later, on November 9, a flurry of numerous PacWest Bank employees tendered their

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                            PLAllYT1FFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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       1 I resignations, which resignations PacWest has leamed were coordinated behind the scenes by
       2 I Hernandez. Hernandez started work at SoCal Bank that same day. This marked the beginning of

       3 I a mass exodus of PacWest Bank personnel, and in some instances, their corresponding client

       4 I accounts. These departing employees were the very PacWest Bank executives, managers and

       5 I employees, and client relationships, Rainer was contractually bound to help PacWest preserve.

       6              5.   Rainer planned to breach the Agreement well in advance, keeping his plan secret so

       7 I as to continue to unjustly receive compensation under the Agreement for as long as possible.

       8   Rainer waited until the Restricted Period in the Agreement expired on October 20, 2020 to

       9   publicly announce his new position at SoCal Bank, so to allow the resignations of the PacWest

      10 Bank employees he, Hernandez, SoCal Bank and SoCal Bancorp had solicited behind the scenes
           to formally begin. Rainer began this recruiting process months before November 5, 2020, with the

           assistance and knowledge of his soon-to-be employers, SoCal Bank, and SoCal Bancorp. In

           August 2020, while Rainer was still within the Restricted Period in the Agreement, he laid out his

           plan dubbed "Project Slingshot", in detail to the Boards of Directors SoCal Bank and SoCal

           Bancorp. At the same time, he demanded that "as a condition to the implementation of the Plan"

           SoCal Bank indemnify and hold him hamnless from any and all actions that PacWest may take

           relating to the Agreement. The necessary Board approvals having already been obtained, Rainer

           advised the Boards of SoCal Bank and SoCal Bancorp that he anticipated SoCal Bank would have

      19 in place a set of "Definitive Documents" that would provide for him and "my management
      20 candidates to be hired and the Bank and Company boards to be reconstituted, as provided herein,
      21 on or about October 21, 2020." This was literally the day after the expiration of the Restricted
      22 Period under the Agreement.
      23              6.   Rainer's breach of the Agreement disentitles him to any of the fees he previously

      24 II received under the Agreement. Rainer should be required to return the ill-gotten compensation he
      25 received as PacWest's "ambassador" while actively causing harm to PacWest. Hernandez and
      26 Smithson are liable for their brazen disregard of their obligations under the Stock Award
      27 Agreements while accepting the benefits, for breach of the fiduciary duties they owed PacWest
      28 Bank as a Regional Vice President and Senior Vice President, Regional Manager, and for their

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                              PLAllVTiFFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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       1 active participation in Rainer's scheme. SoCal Bank and SoCal Bancorp are liable for their own

       2   role in Rainer's scheme, and for conspiring with Rainer and aiding and abetting Rainer's,
       3   Hernandez' and Smithson's various breaches of their fiduciary duties owed to PacWest, their
       4 I inducement of Rainer, Hernandez and Smithson to breach their contracts, their intentional and

       5   negligent interference with prospective economic advantage and contractual relations, and for

       6 unfair competition.

       7                             TIFIE PARTIES, JURISDICTION AND VENUE
       8              7.    Plaintiff PacWest is a corporation organized and existing under the laws of

       9   Delaware with its principal place of business in Los Angele.s County, California. It is the holding

      10 company for PacWest Bank.

~     11              8.    Plaintiff PacWest Bank is a California state-chartered bank organized and existing
      12 under the laws of California, with its principal place of business in Los Angeles County,
      13 California.
      14              9.    Defendant Rainer is an individual with his residence and principal place of business

      15 in Los Angeles County, Califomia.
      16              10.   Defendant SoCal Bank is a corporation organized and existing under the laws of
      17 I the United States with its principal place of business in San Diego, California.
      18              11.   Defendant SoCal Bancorp is a corporation organized and existing under the laws of

      19 California with its principal place of business in San Diego, California.
      20              12.   Defendant Hernandez is an individual with his residence and principal place of

      21 business in Los Angeles County, California.
      22              13.   Defendant Smithson is an individual with her residence and principal place of

      23 business in Orange County, California.
      24              14.   The actions giving rise to this complaint took place within the County of Los
      25 Angeles, California. The Agreement and Stock Award Agreements at issue were entered into,
      26 performed and breached within the County of Los Angeles, California.
      27
      28

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                              PLAllVT1FFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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       1              15.   Plaintiffs are unaware of the true names and capacities of the defendants sued
       2   herein under the fictitious names DOE 1— DOE 20, inclusive. Plaintiffs will seek leave to amend
       3   to state the true names and capacities of such defendants when such information is ascertained.

       4              16.   Plaintiffs are informed and believe, and thereon allege, that, at all times relevant,

       5   each of the defendants was and is the agent, servant and employee of each of the other defendants,

       6   and all of the things alleged to have been done by each defendant were done in the capacity of and

       7   as agent of the other defendants.

       8                                       GENERAL ALLEGATIONS
       9              17.   PacWest Bank operates a regional banking business with 72 full-service branches

      10 in Califomia. PacWest Bank provides commercial banking services, including real estate,

~     11 construction, and commercial loans to small and medium-sized businesses.
      12              18.   CUB was founded in 2005 in Los Angeles, California. Prior to the merger between

      13 PacWest and CUB, Rainer was the Chairman and Chief Executive Officer of CUB. He

      14 I accumulated 275,000 shares of CUB stock.

      15              19.   In or about the beginning of 2017, PacWest's Chief Executive Officer and Director,

      16 I Matthew P. Wagner ("Wagner"), learned of Rainer's alleged desire to retire from the banking

      17 I industry with one final cash out liquidity event through the sale or merger of CUB.

      18              20.   Initially, Wagner was not interested in a PacWest merger or acquisition of CUB.

      19 Wagner was familiar with Rainer's history of raiding key personnel from his former employers

      20 after he left, including Rainer poaching employees from an Encino-based bank called California

      21 United Bank in the late 1990s when Wagner hired Rainer to run the Santa Monica branch of

      22 Western Bancorp, where Wagner was the President and CEO.

      23              21.   However, in their initial meeting, and in their subsequent conversations, Rainer

      24 reassured Wagner that he had no intention of starting or joining a competing bank, that he and his

      25 entu-e team were nearing retirement and that they wanted to land at PacWest Bank as their final
      26 destination in the banking industry. Rainer also represented to Wagner that the biggest reason for
      27 his cashing out and his planned retirement was that he needed to step away from his professional
      28 life to focus on his family. As a result, PacWest began negotiations with Rainer and CUB.

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       11              22.      On October 20, 2017, PacWest merged with CUB. Rainer was to receive a payment
       2 I in the amount of $4,748,247.00.

       3               23.      PacWest and Rainer agreed to a five-year payment structure, with a three non-

       4    compete period (the "Restricted Period") and a five-year consulting period.

       5               24.      On Apri15, 2017, Rainer signed a consulting agreement. The consulting agreement

       6    was amended and restated on May 25, 2017 as the Agreement. By its terms, Rainer was to provide

       7    the specific consulting services set out in Exhibit A of the Agreement for 65 months from the

       8    effective date, or roughly through October 2022.

       9               25.      Payments to Rainer under the Agreement were contingent on his cooperation and

      10 compliance with the terms of the Agreement.
I
~     11               26.      Exhibit A to the Agreement, which has seven enumerated executory sections, states

      12 that Rainer was bound to do the following:

      13                     1) Assist with transition issues relating to the merger. Such activities may include

      14               attending meetings, presentations and communications.

      15                     2) Provide strategic advice and counsel to [PacWest] on matters for which you have

      16               personal knowledge. Such guidance may include specific account and client history, new

      17               market development, portfolio retention strategies and broadening financial services.

      18                     3) Facilitate customer outreach, including brokering introductions and fostering

      19               business relationships between legacy clients and the acquiring organization.

      20                     4) Act as an ambassador to [PacWest] and be available to meet with, and be involved

      21               with, clients and counterparties, at the request of [PacWest], where [PacWest] believes

      22               your personal knowledge, attendance and participation could be beneficial.

      23                     5) Preserve business and employee relationships to mitigate disruption and anxiety

      24               associated with the transaction and change. This includes promoting continuity and

      25               retaining key personnel.

      26                     6) Perfon-n new business development opportunities to attract and retain new clients.

      27               As a leader in the industry, help promote the reputation of [PacWest] to key merchant bank

      28               markets.

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                  1                    7) Perform such other services as the parties may mutually agree upon from time to
                  2              time during the term of the agreement.
                  3              27.      In exchange for performing the above services, PacWest paid Rainer a yearly

                  4 consulting fee of $550,000, to be paid in roughly equal installments on a monthly basis.

                  5              28.      Up until November 5, 2020 Rainer regularly reported on his consulting work under

                  6 the Agreement in monthly statements.

                  7              29.      On November 5, 2020, Rainer was named Executive Chairman of the board of

                  8 I directors of SoCal Bank.

                  9              30.      Almost immediately after the November 5, 2020 announcement, a number of key

                 10 personnel resigned from their positions at PacWest Bank. Plaintiffs now know that Hernandez,
~                11 behind the scenes and with the knowledge and aid of his new employer SoCal Bank, was directly
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           "N~   12 involved with facilitating and coordinating these departures. Thereafter the number has grown to

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    VJ O
     . O
           M     13   30 employees. Plaintiffs are infonned and believe that each of the following PacWest Bank

                 14 employees accepted positions at SoCal Bank:

                 15              31.      Andrea Cunha left her position as a Loan Processor at PacWest Bank and joined
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~ ~ ~
c, ~ E~          16 SoCal Bank.
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~                17              32.      Rodrigo Perez left his position as a Branch Operations Manager at PacWest Bank
w
                  :   and joined SoCal Bank.

                 19              33.      Mouzone Boulden left her position as a Senior Financial Services Representative at

                 20 PacWest Bank and joined SoCal Bank.
                 21              34.      Jonathan Schumacher left his position as a Branch Operations Specialist at

                 22 PacWest Bank and joined SoCal Bank.
                 23              35.      Linda Aghajanian left her position as a Real Estate Collateral Analyst at PacWest

                 24 Bank and joined SoCal Bank.
                 25              36.      Olivia Aceves left her position as a Loan Processor at PacWest Bank and joined

                 26 SoCal Bank.
                 27              37.      Gladys Gonzalez left her position as a Senior Loan Processor at PacWest Bank and

                 28 joined SoCal Bank.

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               1               38.   Stephanie Johnson left her position as a Senior Loan Processor at PacWest Bank
               2    and joined SoCal Bank.
               3               39.   Sean Walden left his position as a Vice President, Portfolio Manager at PacWest
               4    Bank and joined SoCal Bank.

               5               40.   Laurie Kasper left her position as a Vice President, Relationship Manager at

               6    PacWest Bank and joined SoCal Bank.

               7               41.   Robel Neway left his position as a Vice President, Relationship Manager at

               8    PacWest Bank and joined SoCal Bank.

               9               42.   Greg Spencer left his position as a Vice President, Relationship Manager at

              10 PacWest Bank and joined SoCal Bank.
~             11               43.   Megan Newville left her position as an Assistant Vice President, Portfolio Manager
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ao
W   "N 12 at PacWest Bank and joined SoCal Bank.
  ~ M--
  ~aM         131              44.   Smithson left her position as a Senior Vice President, Regional Manager at
~ •~~
              14, PacWest Bank and joined SoCal Bank.
F ~
xw¢d          15               45.   Claudia Castillo left her position as an Assistant Vice President, Senior Loan
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     ~~   ~
              16 Processor at PacWest Bank and joined SoCal Bank.
~         F
~             17               46.   Maureen Boggs left her position as a Senior Vice President, Relationship Manager
o~
              18 at PacWest Bank and joined SoCal Bank.
              19               47.   Richard Bontempi left his position as a Senior Vice President, Relationship

              20 Manager at PacWest Bank and joined SoCal Bank.
              21               48.   Shelley Gibson left her position as a Senior Vice President, Relationship Manager

              22 at PacWest Bank and joined SoCal Bank
              23               49.   Jonathan Perez left his position as a Senior Vice President, Relationship Manager at

              24 PacWest Bank and joined SoCal Bank.
              25               50.   Daniel Quick left his position as a Senior Vice President, Relationship Manager at

              26 PacWest Bank and joined SoCal Bank.
              27               51.   Don Williams left his position as a Senior Vice President, Real Estate at PacWest

              28 Bank and joined SoCal Bank.

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               1              52.   William Sloan left his position as an Executive Vice President, Regional Manager
               2 at PacWest Bank and joined SoCal Bank.
               3              53.   Hernandez left his position as a Regional Vice President at PacWest Bank and

               4 I joined SoCal Bank.
               5              54.   Jordan Cole left his position as a Senior Financial Services Representative at

               6 PacWest Bank and joined SoCal Bank.
               7              55.   Andranik Dertsakyan left his position at PacWest Bank and joined SoCal Bank.

               8              56.   Marvin Contreras left his position as a Senior Teller at PacWest Bank and joined

               9 SoCal Bank.
              10              57.   Kevin Guardado left his position as a Credit Analyst at PacWest Bank and joined

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~             11 I SoCal Bank.
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              12              58.   Michelle Henry left her position as a Vice President, Portfolio Manager at PacWest

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     VJ O M   13 Bank and joined SoCal Bank.

              14              59.   Erez Hahn left his position at PacWest Bank and joined SoCal Bank.

xw~a          15              60.   Aroutian "Eric" Kirakosian left his position as an Assistant Branch Manager at
U 3a~
~ o ~
  ~~          16 PacWest Bank and joined SoCal Bank.
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~             17              61.   In addition to the above listed employees who left PacWest Bank, other current
ca
              18 PacWest Bank employees were solicited by Rainer and/or other representatives of SoCal Bank and

              19 declined an offer to join SoCal Bank.

              20              62.   Stephen Cobb, a Senior Utility Representative for a PacWest Bank region, was

              21 solicited to join SoCal Bank.

              22              63.   Ashley Duran, a Branch Operations Manager for PacWest Bank, was solicited to

              23 I join SoCal Bank.

              24              64.   Steve Corona, an Executive Vice President Regional Manager for PacWest Bank,

              251 was solicited to join SoCal Bank.
              26              65.   Arthur Bergman, a Senior Vice President Regional Manager for PacWest Bank,

              27 was solicited to join SoCal Bank.
              28

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                 1               66.   Brian Ishida, an Executive Vice President Regional Manager for PacWest Bank,
                 2 I was solicited to join SoCal Bank.

                 3               67.   Kim Defenderfer, an Executive Vice President for PacWest Bank, was solicited to
                 4 I join SoCal Bank.

                 5               68.   Morgan Ritzer, an Assistant Branch Operations Manager for PacWest Bank, was

                 6 I solicited to join SoCal Bank.

                 7               69.   Matt Giroux, a Branch Operations Manager for PacWest Bank, was solicited to join

                 8 I SoCal Bank.

                 9               70.   Hernandez was actively involved in recruiting PacWest Bank employees to join

                10 SoCal Bank. Among other things, Hernandez in many cases was the point person at SoCal Bank

~               11 that PacWest Bank employees were told to call, on Hernandez' private cell phone number, after
~
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~   ~   N   "   12 they had been solicited by other employees to move to SoCal Bank. Hemandez arranged for offer

                13    letters from SoCal Bank for these PacWest Bank employees. He instructed the departing PacWest

                14 Bank employees to all tender their resignations on a date selected by Hernandez, which they did.
F~mo
xw~d            15               71.   Hernandez, before and at the time he left PacWest Bank and during the period he
Us o~

    r           16 I participated in Rainer's and SoCal Bank's illegal raiding plan, was subject to the restrictive
W n     ~
F       F"

~               17 I covenants contained in the Stock Award Agreements.
m
                18               72.   Smithson was actively involved in recruiting PacWest Bank employees to join

                19 SoCal Bank and in soliciting PacWest Bank clients to transfer their business to SoCal Bank.

                20 Among other things, Smithson successfully solicited former PacWest Bank employee Stephanie

                21 Johnson to leave PacWest Bank and join SoCal Bank, and along with Johnson solicited PacWest

                22 Bank employee Morgan Ritzer to leave PacWest Bank to join SoCal Bank. Ritzer declined.
                23 Within weeks of joining SoCal Bank Smithson also solicited a number of PacWest Bank clients to

                24 transfer their business to SoCal Bank, and encouraged Johnson to do the same, coordinating with
                25 Johnson which PacWest Bank clients to contact.
                26               73.   Smithson, before and at the time she left PacWest Bank and during the period she

                27 I participated in Rainer's and SoCal Bank's illegal raiding plan, was subject to the restrictive
                28 I covenants contained in the Stock Award Agreements.

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                                          PLAINTIFFS' SECOND A1VIENDED COMPLALNT FOR DAMAGES
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                                 74.   For months prior to the public announcement of his position at SoCal Bank, Rainer,
                  2I I with the assistance and knowledge of SoCal Bancorp and SoCal Bank, had been communicating

                      with PacWest Bank executives, managers and employees in an attempt to get them to resign their

                  4 I positions with PacWest Bank and take positions at SoCal Bank. On August 18, 2020 while Rainer

                  5 I was still within the Restricted Period in the Agreement, Rainer sent a letter, characterized as a

                  6 I Letter of Interest ("LOI"), to the Boards of Directors SoCal Bank and SoCal Bancorp in which he

                  7 I described a"new strategic plan", dubbed "Project Slingshot", he was proposing for SoCal Bank.

                  8 I Rainer told the Boards that "[A]s an integral part of the Plan, a number of those highly skilled

                  9   former CUB professionals will be joining the BSC management team and the Boards of the Bank

                 10 and the Company." (emphasis added). Rainer specifically brought his Agreement with PacWest to

~                11 attention to the Boards of SoCal Bank and SoCal Bancorp and informed them that "... as a
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ag          N"   12 condition to the implementation of the Plan, BSC will indemnify and hold me harmless fiorn any
            M
            ~

     VJ O   M    13   and all actions that PacWest may take relating to the consulting agreement, including but not

                 14   limited to guaranteeing the payment to me of the Retainer and paying all reasonable costs and
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w c~'nao
xw¢a             15 expenses incurred by me to defend any claims that PacWest may make relating to the consulting
o~
 ~ E             16   agreement." The "Retainer" referred to be Rainer is the amount PacWest was to pay Rainer under
F           F'
~D               17 the Agreement for his promised services to, among other things, foster and .grow PacWest's
ca
                 18 business, attract and retain new clients, and help preserve business and employee relationships and

                 19 retain key personnel.

                 20              75.   Rainer made clear in the LOI that, as of August 18, 2020, he already had recruited

                 21 II and had in place candidates for the positions of Chief Credit Officer, Chief Operating Officer,

                 22 Director of Operations and Chief Risk Officer. He told the Boards that he could not include their

                 23 names in the LOI "[t]o protect their privacy and current employment positions." In the LOI Rainer

                 24 also told the Boards of SoCal Bank and SoCal Bancorp that he anticipated that SoCal Bank would
                 25 have in place, with the necessary Board approval having already been obtained, a set of
                 26 "Definitive Documents" that would provide for him and "my management candidates to be hired
                 27 and the Bank and Company boards to be reconstituted, as provided herein, on or about October 21,
                 28

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                   1   I 2020," literally the day after the expiration of his three year non-compete period under the
                   2   I Agreement.
                   3              76.   In August 2020, and perhaps earlier, while Rainer was still within the Restricted

                   4   Period in the Agreement, Rainer also presented SoCal Bank with a deck of slides labelled "strictly

                   5   private and confidential" for the "Project Slingshot" plan which, the presentation stated, was

                   6   designed to "attract key high-level executives and top business development officers" to SoCal

                   7   Bank. Rainer boasted in the materials of his "proven ability to attract top talent in the market" and

                   8   told the Board of Directors of SoCal Bank his plan would involve Bank of SoCal hiring 60 new

                   9   employees "at the end of 2020 and beginning of 2021." The Project Slingshot materials identified

                  10 "a series of ineetings with BCAL's [SoCal Bank] CEO and President" in which Rainer discussed
~                 11 his plan prior to the creation of the August 2020 presentation.
~
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~          "N     12              77.   In addition to raiding key employees, Rainer, Hernandez, Smithson and/or SoCal

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~y
  VJ   O   •.-'
           M      13   Bank and SoCal Bancorp, have solicited numerous clients of PacWest Bank to transfer deposits to

                  14 SoCal Bank and/or pay off mortgages and commercial loans held by PacWest Bank in order to
f~~" •
     3 ~O
xw~d              15 take the business to SoCal Bank.
Uw`o~
U~
 r         ~      16              78.   Since November 5, 2020, over $65 million in client deposits associated with the
W ~        U
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~                 17 I personnel who resigned have been transfen ed out of PacWest Bank.
o~
                  18              79.   Since November 5, 2020, over $114 million in mortgages and/or commercial loans

                  19 I that were former CUB notes have been paid off.
                  20                                       FIRST CAUSE OF ACTION
                  21                              FOR BREACH OF WRITTEN CONTRACT

                  22          (Plaintiffs PacWest and PacWest Bank Against Defendants Rainer and Does 1-20)

                  23              80.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 78 of this

                  24 I complaint as if fully set forth herein.
                  25              81.   The Agreement between PacWest and Rainer is a valid, enforceable contract (the

                  26 I Agreement is attached hereto as Exhibit 1.)
                  27
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                                           PLAINTLFFS' SECOND AIVIENDED COMPLAINT FOR DAMAGES
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       1              82.   The Agreement was made expressly for the benefit of PacWest Bank as a third
       2   party beneficiary in that the client and employee relationships which Rainer was obligated to
       3   foster, promote and preserve were the business and employee relationships of PacWest Bank.

       4              83.   Rainer wrongfully violated Agreement in at least the following ways:

       5                    (a)      on information and belief, soliciting employees of PacWest Bank during the

       6                             Restricted Period, including but not limited to Hernandez, to apply for or

       7                             accept employment at SoCal Bank, which under the terms of the Agreement

       8                             was a "Competitive Enterprise."

       9                    (b)      by inducing, during or after the Restricted. Period, at least 30 PacWest Bank

      10                             employees, including a number of executive relationship managers,

      11                             portfolio managers, regional managers and loan processors, to leave their

      12                             positions at PacWest Bank and to take positions at a competing bank, SoCal

      13                             Bank, actions which were intended to and did have a significant detrimental

      14                             effect on PacWest's business;

      15                    (c)      on information and belief, by disclosing to SoCal Bank and SoCal Bancorp

      16                             confidential and propiietary information he leamed through his consulting

      17                             relationship with PacWest or obtained from the PacWest Bank employees

      18                             he induced to resign and by intentionally and improperly using that

      19                             confidential and proprietary information to solicit existing or potential

      20                             PacWest Bank clients to terminate their relationships with PacWest Bank

      21                             and enter into business relationships with SoCal Bank;

      22                    (d)      by willfully failing to perform his assigned duties under the Agreement; and

      23                    (e)      by purposefully creating an environment of anxiety and destabilization at

      24                             PacWest Bank regarding the recent resignations and loss of client

      25                             relationships.

      26              84.   PacWest performed all of its obligations under the Agreement other than those

      271 obligations that were excused due to Rainer's breach, and all of the conditions required for

      281 Rainer's performance have occurred.

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       1               85.   As a direct and proximate result of Rainer's breaches, Plaintiffs have suffered
       2   damages, in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the
       3   Defendants' actions, but believe that thus far Rainer, and Does 1-20, have solicited and induced at

       4   least 30 PacWest Bank employees to resign and take positions at SoCal Bank, and further have

       5   solicited and induced numerous clients to transfer their business from PacWest Bank to SoCal

       6   Bank. Furthermore, Plaintiffs are informed and believe, and thereon allege, that Rainer unjustly

       7   received prior consulting fees while in breach of the Agreeinent and should therefore be required

       8   to return the ill-gotten compensation.

       9                                       SECOND CAUSE OF ACTION

      10 I FOR BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
~     11           (Plaintiffs PacWest and PacWest Bank Against Defendants Rainer and Does 1-20)

                       86.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 85 of this

           I complaint as if fully set forth herein.
                       87.   The law imposes an obligation on Rainer to act in good faith towards PacWest, and
           I to refrain from actions which depiive PacWest of the benefits of the Agreement.

                       88.   The Agreement was made expressly for the benefit of PacWest Bank as a third-

           party beneficiary in that the client and employee relationships which Rainer was obligated to

      18 foster, promote and preserve were the business and employee relationships of PacWest Bank.
      19 Accordingly, the law imposes an obligation on Rainer to act in good faith towards PacWest Bank,
      20 and to refrain from actions which deprive PacWest Bank of the benefits of the Agreement.
      21               89.   Rainer breached the implied covenant of good faith and fair dealing, and unfairly

      22 I interfered with Plaintiffs' rights to receive the benefits of the Agreement, which included, among
      23 I other things, Rainer's assistance in retaining key personnel and client relationships, in at least the
      24 ~ following ways:
      25                     (a)      by not faithfully and diligently performing the services he agreed to perfoi-m

      26                              during the period of the consulting arrangement;

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       1                    (b)      by competing and/or preparing to compete with PacWest Bank during the

       2                             Restricted Period of the Consulting Agreement and therefore not devoting

       3                             his full attention and loyalty to PacWest Bank;

       4                    (c)      by engaging the help of other former PacWest Bank executives, including,

       5                             but not limited to, Hernandez and Smithson, to induce and solicit PacWest

       6                             customers and employees to leave PacWest Bank and join SoCal Bank on

       7                             Rainer's behalf and/or on behalf of Rainer's new employer, SoCal Bank;

       8                             and

       9                    (d)      by failing to disclose to PacWest Bank that he would be taking a position at

      10                             a competing bank at the conclusion of the Restricted Period and by

      11                             pretending that he intended to continue to act as a consultant/ambassador

      12                             for PacWest Bank while simultaneously using confidential and proprietary

      13                             information entrusted to him to sabotage the value/goodwill of PacWest.

      14              90.   As a direct and proximate result of Rainer's breaches, Plaintiffs have suffered

      15 ~ damages, in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the

      16 Defendants' actions, but believe that thus far Rainer, and Does 1-20, have solicited and induced at

      17 least 30 PacWest Bank employees to resign and take positions at SoCal Bank. Furthermore,

      18 Plaintiffs are informed and believe, and thereon allege, that Rainer unjustly received prior

      19 consulting fees while in breach of the Agreement and should therefore be required to return the ill-

      20 gotten compensation.

      21                                        THIRD CAUSE OF ACTION

      22                                FOR BREACH OF WRITTEN CONTRACT

      23       (Plaintiffs PacWest and PacWest Bank Against Defendants Hernandez and Does 1-20)

      24              91.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 90 of this

      251I complaint as if fully set forth herein.

      26              92.   The Stock Award Agreements were made expressly for the benefit of PacWest

      27 Bank as a third parry beneficiary in that the client and employee relationships which were

      28 protected by the Restrictive Covenants the business and employee relationships of PacWest Bank.

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       1               93.   The Stock Award Agreements between PacWest and Hemandez are valid,
       2 enforceable contracts (the Hernandez Stock Award Agreements are attached hereto as Exhibits 2

       3    and 3).

       4               94.   Hernandez, before and at the time he left PacWest Bank and during the period he
       5 participated in Rainer's and SoCal Bank's illegal raiding plan, was subject to the Restrictive

       6 Covenants contained in the Stock Award Agreements. In the Stock Award Agreements Hemandez

       7 agreed, as set forth in the Annex A Restrictive Covenants, that in exchange for being granted a

       8    number of shares in PacWest:

       9                     (a)    that during his employment, and for a six month period following the

      10                            termination of his employment for any reason, Hemandez would not, "take

                                    any action, directly or indirectly (without prior written consent of the

                                    Company), that causes or could reasonably be expected to cause any person

                                    who is then an employee of the Company [defined as PacWest] or its

                                    Affiliates to resign from the Company or its Affiliates or to apply for or

                                    accept employment with any other business or enterprise."

                             (b)    that during his employment, and for a six month period following the

                                    termination of his employment for any reason, Hernandez would not "in

      181                           any manner, directly or indirectly (without pi-ior written consent of the

      191                           Company): (1) take any action that causes or could reasonably be expected

      20                            to cause any customer or prospective customer of the Company or its

      21                            Affiliates to whom [Hemandez] provided services or with whom

      22                            [Hemandez] otherwise had contact to become a customer of or transact any

      23                            business with a Competitive Business or reduce or refrain from doing any

      24                            business with the Company or its Affiliates, (2) transact business with any

      25                            customer or prospective customer that would cause you to be a Competitive

      26                            Business, or (3) interfere with or damage any relationship between the

      27                            Company and a customer or prospective customer."

      28

            332718.3                                          17
                               PLAINTiFFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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       1                    (c)      that "[d]uring [his] employment and thereafter, [Hernandez] shall hold in a

       2                             fiduciary capacity for the benefit of [PacWest] all trade secrets and

       3                             Confidential Information relating to [PacWest] and its businesses and

       4                             investments, which will have been obtained by you during your

       5                             employment with [PacWest] and which are not generally available public

       6                             knowledge (other than by acts by you in violation of this Agreement)."

       7                    (d)      that the covenants contained in Annex A"are reasonable and necessary to

       8                             protect the confidentiality of the customer lists, the terms, conditions and

       9                             nature of customer relationships, and other trade secrets and Confidential

      10                             Information conceming the Company and its Affiliates, acquired by

~     11                             [Hernandez] and to avoid actual or apparent conflicts of interest."

      12                    (e)      that "a breach of the covenants contained in Sections 1 through 3 of this

      13                             Annex A will result in injury to the Company and its Affiliates for which

      14                             there is no adequate remedy at law and that it will not be possible to

      15                             measure damages for such injuries precisely."

      16              95.   Annex A to the Stock Award Agreements defined a"Competitive Business" as

      17 "any business enterprise that either (i) engages in any activity that competes with the business of

      18 the Company or its Affiliates or (ii) holds a 5% or greater equity, voting or profit participation

      19 interest in any enterprise that engages in such a competitive activity." Under this definition each of

      20 SoCal Bank and SoCal Bancorp is a"Competitive Business".

      21              96.   Annex A to the Stock Award Agreements defined "Confidential Information" as

      22 I"any information concerning the business or affairs of the Company or any of its Affiliates which

      23 is not generally known to the public and includes, but is not limited to, any file, document, book,

      24 account, list (including without limitation customer lists), process, patent, specification, drawing,
      25 design, computer program or file, computer disk, method of operation, recommendation, report,
      26 plan, survey, data, manual, strategy, financial data, client information or data (including the terms
      27 and conditions of any business relationships between clients and the Company or its Affiliates), or
      28 contract which comes to [Hernandez'] knowledge in the course of [Hernandez'] employment or

           332718.3                                            18
                                  PLAlNT1FFS' SECOND AMENDED COMPLALNT FOR DAMAGES
Case 3:22-cv-00737-GPC-RBB Document 1-2 Filed 05/23/22 PageID.124 Page 115 of 279




       1   which is generated by [Hemandez] in the course of performing [Hernandez'] obligations to the
       2    Company whether alone or with others."
       3                97.   The Agreement was made expressly for the benefit of PacWest Bank as a third

       4    party beneficiary in that the client and employee relationships with which Hemandez agreed he

       5    would not interfere were the business and employee relationships of PacWest Bank.

       6                98.   Hernandez breached the Stock Award Agreements in at least the following ways:

       7                      (a)      by actively participating in the inducement of at least 30 PacWest Bank

       8                               employees, including a number of executive relationship managers,

       9                               portfolio managers, regional managers and loan processors, to leave their

      10                               positions at PacWest Bank and to take positions at a competing bank, SoCal

                                       Bank, actions which were intended to and did have a significant detrimental
                                       effect on PacWest's business. Hernandez, among other things, acted as the

                                       point person for PacWest employees who were solicited by SoCal Bank,

                                       obtained offers from SoCal Bank for these employees, discussed

                                       employment terms with them and coordinated the dates of the resignations

                                       of these employees;

                              (b)      on information and belief, by taking actions that have caused or could

      18                               reasonably be expected to cause customers or prospective customers of

      19                               PacWest Bank to whom he provided services or with whom he had contact

      20                               to become customers of SoCal Bank, or reduce or refrain from doing

      21                               business with PacWest Bank, and/or by interfering with or damaging

      22                               relationships between PacWest Bank and a customer or prospective

      23                               customer;

      24                      (c)      on information and belief, by intentionally and improperly using

      25                               confidential and propi-ietary information he learned through his employment

      26                               with PacWest or obtained from the PacWest Bank employees he induced to

      27                               resign, including but not limited to salary, benefits and bonus information or

      28                               data, and the terms and conditions of the employment relationships between

           I 332718.3                                            19
                                    PLAINTIFFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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       1                              PacWest Bank and its employees and the history of jo b performance, career

       2                              goals and aspirations of those employees, to solicit PacWest Bank

       3                              employees to resign from PacWest Bank and join SoCal Bank. Hemandez

       4                              was able, as a result of the confidential and proprietary information he

       5                              possessed, to provide SoCal Bank with a selective list of PacWest Bank's

       6                              employees who, in his judgment, possessed both the ability and personal

       7                              characteristics desirable in an employee, together with the salary PacWest

       8                              Bank was paying the employee and a suggestion as to the salary SoCal

       9                              Bank should offer to be successful in recruitment;

      10                     (d)      on information and belief, by actively competing against PacWest by
~                                     intentionally and improperly using confidential and proprietary information
~     11

      12                              he learned through his employment with PacWest or obtained from the

      13                              PacWest Bank employees he induced to resign, including but not limited to

      14                              client infoi-mation or data, including the terms and conditions of the

      15                              business relationships between clients and PacWest Bank and the clients'

      16                              needs and preferences, to solicit existing or potential PacWest Bank clients

      17                              to terminate their relationships with PacWest Bank and enter into business

      18                              relationships with SoCal Bank.

      19              99.    PacWest performed all of its obligations under the Agreement other than those

      20 obligations that were excused due to Hernandez' breach, and all of the conditions required for

      21 I Hernandez' performance have occurred.

      22              100.   As a direct and proximate result of Hernandez' breaches, Plaintiffs have suffered

      23 damages, in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the

      24 Defendants' actions, but believe that thus far Rainer, Hernandez, and Does 1-20, have solicited
      25 and induced at least 30 PacWest Bank employees to resign and take positions at SoCal Bank, and
      26 further have solicited and induced numerous clients to transfer their business from PacWest Bank
      27 to SoCal Bank.
      28

           332718.3                                             20
                                   PLAINTIFFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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       1                                       FOURTH CAUSE OF ACTION
       2 FOR BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

       3        (Plaintiffs PacWest and PacWest Bank Against Defendants Hernandez and Does 1-20)

       4              101.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 100 of this
       5 I complaint as if fully set forth herein.

       6              102.   The law imposes an obligation on Hernandez to act in good faith towards PacWest,

       7   and to refrain from actions which deprive PacWest of the benefits of the Stock Award

       8 I Agreements.

       9              103.   The Stock Award Agreements were made expressly for the benefit of PacWest

      10 Bank as a third-party beneficiary in that the client and employee relationships with which

~     11 Hernandez agreed he would not interfere were the business and employee relationships of
      12 PacWest Bank. Accordingly, the law imposes an obligation on Hernandez to act in good faith
      13 towards PacWest Bank, and to refrain from actions which deprive PacWest Bank of the benefits of
      14 the Stock Award Agreements.
      15              104. Hernandez breached the implied covenant of good faith and fair dealing, and

      16 unfairly interfered with Plaintiffs' rights to receive the benefits of the Stock Award Agreements,
      17 which included, among other things, Hernandez' agreement to protect the confidentiality of the
      18 employee salary and bonus information, the identity of key employees, including relationship
      19 managers, customer lists, the tenns, conditions and nature of customer relationships, and other
      20 ~ Confidential Information concerning PacWest and PacWest Bank acquired by him and avoid
      21 actual or apparent conflicts of interest, in at least the following ways:
      22                     (a)      by actively participating in the inducement of at least 30 PacWest Bank

      23                              employees, including a number of executive relationship managers,

      24                              portfolio managers, regional managers and loan processors, to leave their

      25                              positions at PacWest Bank and to take positions at a competing bank, SoCal

      26                              Bank, actions which were intended to and did have a significant detrimental

      27                              effect on PacWest's business. Hernandez, among other things, acted as the

      28                              point person for PacWest employees who were solicited by SoCal Bank,

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                                   PLAINTIFFS' SECOND AMENDED COMPLAiNT FOR DAMAGES
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              1                        obtained offers from SoCal Bank for these employees, discussed

              2                        employment terms with them and coordinated the dates of the resignations

              3                        of these employees;

              4               (b)      on information and belief, by taking actions that have caused or could

              5                        reasonably be expected to cause customers or prospective customers of

              6                        PacWest Bank to whom he provided services or with whom he had contact

              7                        to become customers of SoCal Bank, or reduce or refrain from doing

               8                       business with PacWest Bank, and/or by interfering with or damaging

               9                       relationships between PacWest Bank and a customer or prospective

              10                       customer;

~             11              (c)      on information and belief, by intentionally and improperly using
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ag       "
         N 12                          confidential and proprietary information he learned through his employment
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    s ~
              13                       with PacWest or obtained from the PacWest Bank employees he induced to

              14                       resign, including but not limited to salary, benefits and bonus information or

xw~d          15                       data, and the terms and conditions of the employment relationships between
    ~    M
Ur
 r       ~    16                       PacWest Bank and its employees and the histoiy of job performance, career
F        f"
~             17                       goals and aspirations of those employees, to solicit PacWest Bank
~
              18                       employees to resign from PacWest Bank and join SoCal Bank. Hemandez

              19                       was able as a result of the confidential and proprietary information he

              20                       possessed, to provide SoCal bank with a selective list of PacWest Bank's

              21                       employees who, in his judgment, possessed both the ability and personal

              22                       characteristics desirable in an employee, together with the salary PacWest

              23                       Bank was paying the employee and a suggestion as to the salary SoCal

              24                       Bank should offer to be successful in recruitment;

              25              (d)      on information and belief, by actively competing against PacWest by

              26                       intentionally and improperly using confidential and proprietary information

              27                       he learned through his employment with PacWest or obtained from the

              28                       PacWest Bank employees he induced to resign, including but not limited to

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                                    PLAlNT1FFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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       1                               client infoi-mation or data, including the terms and conditions of the

       2                               business relationships between clients and PacWest Bank, to solicit existing

       3                               or potential PacWest Bank clients to terminate their relationships with

       4                               PacWest Bank and enter into business relationships with SoCal Bank.

       5               105.   As a direct and proximate result of Hernandez' breaches, Plaintiffs have suffered

       6   I damages, in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the

       71 I Defendants' actions, but believe that thus far Rainer, Hernandez and Does 1-20, have solicited and
             induced at least 30 PacWest Bank employees to resign and take positions at SoCal Bank.

       I                                          FIFTH CAUSE OF ACTION

      101                                 FOR BREACH OF WRITTEN CONTRACT

                 (Plaintiffs PacWest and PacWest Bank Against Defendants Smithson and Does 1-20)

                       106.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 105 of this

           I complaint as if fully set forth herein.
                       107.   The Stock Award Agreements were made expressly for the benefit of PacWest

             Bank as a third parry beneficiary in that the client and employee relationships which were

             protected by the Restrictive Covenants the business and employee relationships of PacWest Bank,

                       108.   The Stock Award Agreements between PacWest and Smithson are valid,

      18 I enforceable contracts (the Smithson Stock Award Agreements are attached hereto as Exhibits 4
      19 I and 5.)
      20               109.   Smithson, before and at the time she left PacWest Bank and during the period she

      21 participated in Rainer's and SoCal Bank's illegal raiding plan, was subject to the Restrictive
      22 Covenants contained in the Stock Award Agreements. In the Stock Award Agreements Smithson
      23 I agreed as set forth in the Annex A Restrictive Covenants, that in exchange for being granted a
      24 I number of shares in PacWest:
      25                      (a)      that during her employment, and for a six month period following the

      26 1                             termination of her employment for any reason, Smithson would not, "take

      27                               any action, directly or indirectly (without prior written consent of the

      28                               Company), that causes or could reasonably be expected to cause any person

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                                    PLAINTLFFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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       1                       who is then an ernployee of the Company [defined as PacWest] or its
       2                       Affiliates to resign from the Company or its Affiliates or to apply for or
       3                       accept employment with any other business or enterprise."

       4              (b)      that during her employment, and for a six month period following the

       5                       termination of her employment for any reason, Smithson would not "in any

       6                       manner, directly or indirectly (without prior written consent of the

       7                       Company): (1) take any action that causes or could reasonably be expected

       8                       to cause any customer or prospective customer of the Company or its

       9                       Affiliates to whom [Smithson] provided services or with whom [Smithson]

      10                       otherwise had contact to become a customer of or transact any business

                               with a Competitive Business or reduce or refrain from doing any business

                               with the Company or its Affiliates, (2) transact business with any customer

                               or prospective customer that would cause you to be a Competitive Business,

                               or (3) interfere with or damage any relationship between the Company and
                               a customer or prospective customer."

                      (c)      That "[d]uring your employment and thereafter, [Smithson] shall hold in a

                               fiduciary capacity for the benefit of [PacWest] all trade secrets and

      18                       Confidential Information relating to [PacWest] and its businesses and

      19                       investments, which will have been obtained by you during your

      20                       employment with [PacWest] and which are not generally available public

      21                       knowledge (other than by acts by you in violation of this Agreement)."

      22              (d)      that the covenants contained in Annex A"are reasonable and necessary to

      23                       protect the confidentiality of the customer lists, the terms, conditions and

      24                       nature of customer relationships, and other trade secrets and Confidential

      25                       Information conceming the Company and its Affiliates, acquired by

      26                       [Smithson] and to avoid actual or apparent conflicts of interest."

      27              (e)      that "a breach of the covenants contained in Sections 1 through 3 of this

      28                       Annex A will result in injury to the Company and its Affiliates for which

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                            PLAiNT1FFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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       1                                there is no adequate remedy at law and that it will not be possible to
       2                                measure damages for such injuries precisely."

       3                110.   Annex A to the Stock Award Agreements defined a"Competitive Business" as

       4 "any business enterprise that either (i) engages in any activity that competes with the business of

       5 the Company or its Affiliates or (ii) holds a 5% or greater equity, voting or profit participation

       6    interest in any enterprise that engages in such a competitive activity." Under this definition each of

       7 SoCal Bank and SoCal Bancorp is a"Competitive Business".

       8                111. Annex A to the Stock Award Agreements defined "Confidential Information" as

       9 "any information concerning the business or affairs of the Company or any of its Affiliates which

      10 is not generally known to the public and includes, but is not limited to, any file, document, book,
      11 account, list (including without limitation customer lists), process, patent, specification, drawing,
      12 design, computer program or file, computer disk, method of operation, recommendation, report,
      13 plan, survey, data, manual, strategy, financial data, client information or data (including the terms
      14 and conditions of any business relationships between clients and the Company or its Affiliates), or
      15 contract which comes to [Smithson's] knowledge in the course of [Smithson's] employment or
      16 which is generated by [Smithson] in the course of performing [Smithson's] obligations to the
      17 Company whether alone or with others."
      18                112.   The Agreement was made expressly for the benefit of PacWest Bank as a third

      19 11 pai-ty beneficiary in that the client and employee relationships with which Smithson agreed she
      20 I would not interfere were the business and employee relationships of PacWest Bank.
      21                113.   Smithson breached the Stock Award Agreements in at least the following ways:

      22                       (a)      by actively participating in the inducement of at least 30 PacWest Bank

      23                                employees, including a number of executive relationship managers,

      24                                portfolio managers, regional managers and loan processors, to leave their

      25                                positions at PacWest Bank and to take positions at a competing bank, SoCal

      26                                Bank, actions which were intended to and did have a significant detrimental

      27                                effect on PacWest's business. Smithson, among other things, successfully

      28                                solicited former PacWest Bank employee Stephanie Johnson to leave

           I 332718.3                                             25
                                     PLAllVTiFFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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                 1                    PacWest Bank and join SoCal Bank, and solicited Morgan Ritzer, an
                 2                    Assistant Branch Operations Manager for PacWest Bank, to do the same.
                 3              (b)   By taking actions that have caused or could reasonably be expected to cause
                 4                    customers or prospective customers of PacWest Bank to whom she
                 5                    provided services or with whom she had contact to become customers of

                 6                    SoCal Bank, or reduce or refrain from doing business with PacWest Bank,

                 7                    and/or by interfering with or damaging relationships between PacWest

                 8                    Bank and a customer or prospective customer;

                 9              (c)   on information and belief, by intentionally and improperly using

                10                    confidential and proprietary information she learned through her
~               11                    employment with PacWest or obtained from the PacWest Bank employees
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W
a   p      "
           N    12                    she induced to resign, including but not limited to salary, benefits and bonus
           M


    Vl O   M    13                    information or data, and the terms and conditions of the employment

 o~. o          14                    relationships between PacWest Bank and its employees and the history of
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H=~o a
xw~d            15                    job performance, career goals and aspirations of those employees, to solicit
           M
           E~   16                    PacWest Bank employees to resign from PacWest Bank and join SoCal
H          ~
~               17                    Bank. Smithson was able, as a result of the confidential and proprietary
w
                18                    information she possessed, to identify for SoCal Bank the PacWest Bank's

                19                    employees who, in her judgment, possessed both the ability and personal

                20                    characteristics desirable in an employee, together with the salary PacWest

                21                    Bank was paying the employee and a suggestion as to the salary SoCal

                22                    Bank should offer to be successful in recruitment;
                23              (d)   on information and belief, by actively competing against PacWest by
                24                    intentionally and improperly using confidential and proprietary information
                25                    she learned through her employment with PacWest or obtained from the
                26                    PacWest Bank employees she induced to resign, including but not limited to

                27                    client information or data, including the terms and conditions of the

                28                    business relationships between clients and PacWest Bank and the clients'

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                                  PLA1NTiFFS' SECOND A1VlENDED COMPLAINT FOR DAMAGES
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                   1                              needs and preferences, to solicit existing or potential PacWest Bank clients
                   2                              to terminate their relationships with PacWest Bank and enter into business
                   3                              relationships with SoCal Bank.

                   4                114.   PacWest performed all of its obligations under the Agreement other than those

                   5 obligations that were excused due to Smithson's breach, and all of the conditions required for

                   6   I Smithson's pei-formance have occurred.

                   7                115. As a direct and proximate result of Smithson's breaches, Plaintiffs have suffered

                   8    damages, in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the

                   9    Defendants' actions, but believe that thus far Rainer, Hernandez, Smithson and Does 1-20, have

                  10 solicited and induced at least 30 PacWest Bank employees to resign and take positions at SoCal

~                 11    Bank, and further have solicited and induced numerous clients to transfer their business from
~
W             "   12 PacWest Bank to SoCal Bank.
    M -   M


                  13                                         SIXTH CAUSE OF ACTION

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    ~ U~
  o~ o
      -w          14 I FOR BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
H ~ ~'oo
xw~a              15          (Plaintiffs PacWest and PacWest Bank Against Defendants Smithson and Does 1-20)
oo°~
 ~ E~             16                116.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 114 of this
F         E"
~                 17 I complaint as if fully set forth herein.
w
                  18                117.   The law imposes an obligation on Smithson to act in good faith towards PacWest,

                  19 I and to refrain from actions which deprive PacWest of the benefits of the Stock Award

                  20 I Agreements.

                  21                118.   The Stock Award Agreements were made expressly for the benefit of PacWest

                  22 Bank as a third-party beneficiary in that the client and employee relationships with which

                  23 Smithson agreed she would not interfere were the business and employee relationships of PacWest

                  24 Bank. Accordingly, the law imposes an obligation on Smithson to act in good faith towards

                  25 PacWest Bank, and to reffi-ain from actions which deprive PacWest Bank of the benefits of the

                  26 I Stock Award Agreements.

                  27                119.   Smithson breached the implied covenant of good faith and fair dealing, and unfairly

                  28 I interfered with Plaintiffs' rights to receive the benefits of the Stock Award Agreements, which

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                                              PLAINTIFFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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        1   included, among other things, Smithson's agreement to protect the confidentiality of the employee

        2   salary and bonus information, the identity of key employees, including relationship managers,

        3   customer lists, the terms, conditions and nature of customer relationships, and other Confidential

        4   Information conceming PacWest and PacWest Bank acquired by her and avoid actual or apparent

        5   conflicts of interest, in at least the following ways:

        6                   (a)      by actively participating in the inducement of at least 30 PacWest Bank

        7                            employees, including a number of executive relationship managers,

        8                            portfolio managers, regional managers and loan processors, to leave their

        9                            positions at PacWest Bank and to take positions at a competing bank, SoCal

       10                            Bank, actions which were intended to and did have a significant detrimental

~
r,     11                            effect on PacWest's business. Smithson, among other things, successfully

       12                            solicited former PacWest Bank employee Stephanie Johnson to leave

       13                            PacWest Bank and join SoCal Bank, and solicited Morgan Ritzer, an

       14                            Assistant Branch Operations Manager for PacWest Bank, to do the same.

       15                   (b)      by taking actions that have caused or could reasonably be expected to cause

       16                            customers or prospective customers of PacWest Bank to whom she

       17                            provided services or with whom she had contact to become customers of

       18                            SoCal Bank, or reduce or refrain from doing business with PacWest Bank,

       19                            and/or by interfering with or damaging relationships between PacWest

       20                            Bank and a customer or prospective customer;

       21                   (c)      on information and belief, by intentionally and improperly using

       22                            confidential and proprietary information she learned through her

       23                            employment with PacWest or obtained from the PacWest Bank employees

       24                            she induced to resign, including but not limited to salary, benefits and bonus

       25                            information or data, and the terms and conditions of the employment

       26                            relationships between PacWest Bank and its employees and the history of

       27                            job performance, career goals and aspirations of those employees, to solicit

       28                            PacWest Bank employees to resign from PacWest Bank and join SoCal

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                                  PLAINTLFFS' SECOND AMENDED COMPLAIlVT FOR DAMAGES
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       1                                Bank. Smithson was able, as a result of the confidential and proprietary
       2                                information she possessed, to identify for SoCal Bank the PacWest Bank's

       3                                employees who, in her judgment, possessed both the ability and personal

       4                                characteristics desirable in an employee, together with the salary PacWest

       5                                Bank was paying the employee and a suggestion as to the salary SoCal

       6                                Bank should offer to be successful in recruitment;

       7                       (d)      on information and belief, by actively competing against PacWest by

       8                                intentionally and improperly using confidential and proprietary information

       9                                she learned through her employment with PacWest or obtained from the

      10,                               PacWest Bank employees she induced to resign, including but not limited to

      11                                client information or data, including the terms and conditions of the

      12                                business relationships between clients and PacWest Bank, to solicit existing

      13                                or potential PacWest Bank clients to terminate their relationships with

      14                                PacWest Bank and enter into business relationships with SoCal Bank.

      15                120.   As a direct and proximate result of Smithson's breaches, Plaintiffs have suffered

      16 damages, in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the

      17 Defendants' actions, but believe that thus far Rainer, Hernandez, Smithson and Does 1-20,

      18 solicited and induced at least 30 PacWest Bank employees to resign and take positions at SoCal

      19 Bank.

      20                                         SEVENTH CAUSE OF ACTION

      21       INTENTIONAL INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE

      22        (Plaintiff PacWest Bank Against Defendants Rainer, Hernandez, Smithson, SoCal Bank,

      23                                          SoCal Bancorp and Does 1-20)

      24                121.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 120 of this

      25 complaint as if fully set forth herein.
      26                122.   Each of the employees listed above who were solicited by Rainer, Hernandez and

      27 I Smithson to leave PacWest Bank and join SoCal Bank ("Raided Employees") had an economic
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                                     PLAllYT1FFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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           relationship with PacWest Bank that probably would have resulted in a future economic benefit to
       21 I PacWest Bank.

                      123.   Rainer, as a result of information Rainer learned through his consulting relationship

       41 with PacWest or obtained from the PacWest Bank employees he induced to resign, and Hernandez
           and Smithson as a result of information they learned as a result of Hernandez' position as a

       6   Regional Vice President with PacWest Bank, Smithson's position as Senior Vice President,

       7   Regional Manager with PacWest Bank, or obtained from the PacWest Bank employees they

       8   induced to resign, knew of the economic relationships the Raided Employees had with PacWest

       9   Bank.

      10              124.   Rainer, Hemandez and Smithson engaged in intentional acts designed to induce a

      11 breach or disruption of the economic relationship between each of the Raided Employees and
      12 PacWest Bank, or, alteinatively, Rainer, Hernandez and Smithson knew that a breach or disruption

      13 of the economic relationship between each of the Raided Employees and PacWest Bank was

      14 certain or substantially certain to occur as a result of their actions.

      15              125.   As a result of Rainer's acts, there was an actual breach or disruption of the

      16 economic relationship each of the Raided Employees had with PacWest Bank. The breach or

      17 disruption of the economic relationship each of the Raided Employees had with PacWest Bank has

      18 resulted in injury and damage to PacWest Bank, in that PacWest Bank has lost the services and

      19 skill of the Raided Employees, and in many cases the benefit of the advantageous business

      20 relationships these Raided Employees had with both actual and potential clients. Additionally, the

      21 speed and number of disruptions and lost employees has created chaos within PacWest Bank, and

      22 has led to a loss of business opportunities and employee morale.

      23              126.   In engaging in his acts of intentional interference with prospective economic

      24 advantage, Rainer breached his obligations under the AZDgreement, breached his fiduciary duty to

      25 PacWest, and further improperly used confidential and proprietary information belonging to
      26 PacWest and PacWest Bank. In particular, Rainer intentionally and improperly used confidential
      27 and proprietary information he learned thi-ough his relationship with PacWest or obtained from the

      28 PacWest Bank employees he induced to resign, including but not limited to salary, benefits and

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           bonus information or data, and the terms and conditions of the employment relationships between

       2'I PacWest Bank and its employees and the history of job performance, career goals and aspirations

           of those employees, to solicit PacWest Bank employees to resign from PacWest Bank and join

       4 I SoCal Bank. Rainer was able as a result of the confidential and proprietary information he

       5 I possessed, to provide SoCal bank with a selective list of PacWest Bank's employees who, in his

       6 I judgment, possessed both the ability and personal characteristics desirable in an employee,

       7 ~ together with the salary PacWest Bank was paying the employee and a suggestion as to the salary

       8 I SoCal Bank should offer to be successful in recruitment.

       9              127.   As a result of Hemandez' acts, there was an actual breach or disruption of the

      10 I economic relationship each of the Raided Employees had with PacWest Bank. The breach or

      11 disruption of the economic relationship each of the Raided Employees had with PacWest Bank has

      12 resulted in injury and damage to PacWest Bank, in that PacWest Bank has lost the services and

      13 skill of the Raided Employees, and in many cases the benefit of the advantageous business

      14 relationships these Raided Employees had with both actual and potential clients. Additionally, the

      15 speed and number of disruptions and lost employees has created chaos within PacWest Bank, and

      16 has led to a loss of business opportunities and employee morale.

      17              128.   In engaging in his acts of intentional interference with prospective economic

      18 II advantage, Hernandez breached his obligations under the Stock Award Agreements, breached his

      19 II fiduciary duty to PacWest, and further improperly used confidential and proprietary information

      20 II belonging to PacWest and PacWest Bank. In particular, Hemandez intentionally and improperly

      21 II used confidential and proprietary information he learned through his employment as a Regional

      22 II Vice President with PacWest Bank or obtained from the PacWest Bank employees he induced to
      23 II resign, including but not limited to salary, benefits and bonus information or data, and the teims

      24 II and conditions of the employment relationships between PacWest Bank and its employees and the
      25 history of job performance, career goals and aspirations of those employees, to solicit PacWest
      26 Bank employees to resign from PacWest Bank and join SoCal Bank. Hernandez was able as a
      27 result of the confidential and proprietary information he possessed, to provide SoCal bank with a
      28 selective list of PacWest Bank's employees who, in his judgment, possessed both the ability and

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           personal characteristics desirable in an employee, together with the salaiy PacWest Bank was
       21 I paying the employee and a suggestion as to the salary SoCal Bank should offer to be successful in
           recruitment.

       4              129. As a result of Smithson's acts, there was an actual breach or disruption of the

       5   economic relationship each of the Raided Employees had with PacWest Bank. The breach or

       6   disruption of the economic relationship each of the Raided Employees had with PacWest Bank has

       7   resulted in injury and damage to PacWest Bank, in that PacWest Bank has lost the services and

       8   skill of the Raided Employees, and in many cases the benefit of the advantageous business

       9   relationships these Raided Employees had with both actual and potential clients. Additionally, the

      10 speed and number of disruptions and lost employees has created chaos within PacWest Bank, and

      11 has led to a loss of business opportunities and employee morale.

      12              130.   In engaging in her acts of intentional interference with prospective economic

      13 I advantage, Smithson breached her obligations under the Stock Award Agreements, breached her

      14 fiduciary duty to PacWest, and further improperly used confidential and proprietary information

      15 belonging to PacWest and PacWest Bank. In particular, Smithson intentionally and improperly

      16 used confidential and proprietary information she learned through her employment as a Senior

      17 Vice President, Regional Manager with PacWest Bank or obtained from the PacWest Bank

      18 employees she induced to resign, including but not limited to salary, benefits and bonus

      19 information or data, and the terms and conditions of the employment relationships between

      20 PacWest Bank and its employees and the history of job perfoimance, career goals and aspirations

      21 of those employees, to solicit PacWest Bank employees to resign from PacWest Bank and join

      22 SoCal Bank. Smithson was able as a result of the confidential and proprietary information she

      23 possessed, to identify for SoCal Bank PacWest Bank's employees who, in her judgment,

      24 possessed both the ability and personal characteristics desirable in an employee, together with the
      25 salary PacWest Bank was paying the employee and a suggestion as to the salary SoCal Bank
      26 should offer to be successful in recruitment.
      27              131.   SoCal Bank and SoCal Bancorp aided and abetted Rainer's acts of intentional

      281I interference with economic advantage. Specifically, SoCal Bank and SoCal Bancoip knew that

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       1 I Rainer, who it was hiring as the Executive Chairman of its board of directors of SoCal Bank, was
       2 I engaging in, or intended to engage in, his acts of intentional interference with the economic
       3 I relationships between the Raided Employees and PacWest Bank for the benefit of SoCal Bank and

       4 I SoCal Bancorp.

       5              132.   Rainer's August 18, 2020 LOI, sent to the Boards of Directors of SoCal Bank and

       6 I SoCal Bancorp while Rainer was still within the Restricted Period in the Agreement, described a

       7 I"new strategic plan" under which a number of highly skilled former CUB professionals will be

       8 joining the BSC management team and the Boards of the Bank and the Company." (Emphasis

       L'] added). The ovei-whelming majority of the Raided Employees Rainer and Hernandez solicited,

      10 including Hernandez and Bill Sloan, an Executive Vice President, Regional Manager at PacWest
~     11 Bank, were former CUB professionals. Rainer made clear in the LOI that, as of August 18, 2020,
           he already had recruited and had in place candidates for several management team positions. He

           told the Boards in August 2020 that he could not include their names in the LOI "[t]o protect their

           privacy and current employment positions." After he gave notice Heinandez was announced as

           part of Bank of SoCal's management team. In the LOI Rainer also told the Boards of SoCal Bank

           and SoCal Bancorp that he anticipated that SoCal Bank would have in place, with the necessaty

           Board approval having already been obtained, a set of "Definitive Documents" that would provide

           for him and "my management candidates to be hired and the Bank and Company boards to be

      19 reconstituted, as provided herein, on or about October 21, 2020," literally the day after the
      20 expiration of Restricted Period under the Agreement.
      21              133.   Rainer specifically brought his Agreement with PacWest to the attention of the

      22 II Boards of SoCal Bank and SoCal Bancorp and informed them that "... as a condition to the
      23 implementation of the Plan, BSC will indemnify and hold me harmless from any and all actions
      24 that PacWest may take relating to the consulting agreement, including but not limited to
      25 guaranteeing the payment to me of the Retainer and paying all reasonable costs and expenses
      26 incurred by me to defend any claims that PacWest may make relating to the consulting
      27 agreement." The "Retainer" referred to be Rainer is the amount PacWest was to pay Rainer under
      28 the Agreement for his promised services to, among other things, foster and grow PacWest's

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       1 I business, attract and retain new clients, and help preserve business and employee relationships and

       2 I retain key personnel.

       3              134.   In August 2020, and perhaps earlier, while Rainer was still within the period of the
       4 three year non-compete restriction in the Agreement, Rainer also presented SoCal Bank with a

       5 "strictly private and confidential" plan called "Project Slingshot" designed to "attract key high-

       6   level executives and top business development officers" to SoCal Bank. Rainer boasted in the

       7 materials of his "proven ability to attract top talent in the market" and told the Board of Directors

       8   of SoCal Bank his plan would involve Bank of SoCal hiring 60 new employees "at the end of

       9 2020 and beginning of 2021." The Project Slingshot materials identified "a series of ineetings with

      10 BCAL's [SoCal Bank] CEO and President" in which Rainer discussed his plan prior to the
      11 creation of the August 2020 presentation.
      12              135.   SoCal Bank and SoCal Bancorp aided and abetted Hernandez' acts of intentional

      13 interference with economic advantage. Specifically, SoCal Bank and SoCal Bancorp knew that
      14 Hernandez, who they were hiring as SoCal Bank's Chief Banking Officer, was engaging in, or
      15 intended to engage in, his acts of intentional interference with the economic relationships between
      16 the Raided Employees and PacWest Bank for the benefit of SoCal Bank and SoCal Bancorp.
      17              136.   Hernandez was actively involved in recruiting PacWest Bank employees to join

      18 SoCal Bank. Among other things, Hernandez in many cases was the person at SoCal Bank
      19 PacWest Bank employees were told to call, on Hernandez' private cell phone number, after they
      20 had been solicited by other employees to move to SoCal Bank. Hernandez served as SoCal Bank's
      21 conduit in contacting PacWest Bank employees and providing offer letters from SoCal Bank for
      22 these employees. After Hernandez spoke with the targeted employees Bank of SoCal employees
      23 would fuinish the employees with the details on how to apply, many of which were hired within
      24 hours of applying and without job interviews. Hernandez coordinated with Bank of SoCal a
      25 simultaneous start date for the many of the Raided Employees.
      26              137.   On information and belief Bank of SoCal was aware of the restrictive covenants in

      27 I Hernandez' Stock Award Agreements and nonetheless encouraged him to engage in his illegal
      28

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       1 I raiding activities in breach of those agreements, providing him with fmancial incentives to do so

       2 I and indemnifying him against possible claims by PacWest.

       3              138.   SoCal Bank and SoCal Bancorp aided and abetted Smithson's acts of intentional

       4   interference with economic advantage. Specifically, SoCal Bank and SoCal Bancorp knew that

       5   Smithson, who they were hiring as SoCal Bank's Executive Vice President, Regional Manager,

       6 was engaging in, or intended to engage in, her acts of intentional interference with the economic

       7 relationships between the Raided Employees and PacWest Bank for the benefit of SoCal Bank and

       8   SoCal Bancorp.

       9              139.   Smithson was actively involved in recruiting PacWest Bank employees to join

      10 SoCal Bank. Among other things, Smithson successfully solicited former PacWest Bank employee
      11 Stephanie Johnson to leave PacWest Bank and join SoCal Bank, and along with Johnson solicited
      12 PacWest Bank employee Morgan Ritzer to leave PacWest Bank and join SoCal Bank. Ritzer
      13 declined. Within weeks of joining SoCal Bank Smithson also solicited a number of PacWest Bank
      14 clients to transfer their business to SoCal Bank, and encouraged Johnson to do the same,
      15 coordinating with Johnson which PacWest Bank clients to contact.
      16              140.   On information and belief Bank of SoCal was aware of the restrictive covenants in

      17 I Smithson's Stock Award Agreements and nonetheless encouraged her to engage in her illegal
      18 raiding activities in breach of those agreements, providing her with financial incentives to do so
      19 and indemnifying her against possible claims by PacWest.
      20              141.   The conduct of SoCal Bank and SoCal Bancorp was a substantial factor in causing

      21 the harm to PacWest Bank caused by Rainer's, Hernandez' and Smithson's acts of intentional
      22 interference with the economic relationships between the Raided Employees and PacWest Bank.
      23 Without the active participation of SoCal Bank and SoCal Bancorp, Rainer, Hernandez and
      24 Smithson would not have been able to offer job positions at SoCal Bank to the Raided Employees,
      25 and without the financial incentives and indemnifications offered by SoCal Bank and SoCal
      26 Bancorp to Rainer, Hernandez and Smithson they would not have been willing and able to engage
      27 in the illegal acts of intentional interference.
      28

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                      142.   SoCal Bank and SoCal Bancorp and Rainer, Hemandez and Smithson engaged in a
       2   -onspiracy to induce a breach or disruption of the economic relationship between each of the
           ?,aided Employees and PacWest Bank. SoCal Bank and SoCal Bancorp were aware that Rainer,

       4   E3ernandez and Smithson planned and intended to engage in these tortious activities and agreed

       5   ~vith Rainer, Hemandez and Smithson to engage in a systematic plan to raid PacWest Bank's

       6   ,mployees and clients. SoCal Bank and SoCal Bancorp were aware of Rainer's obligations under

       7   :he Agreement, agreed to fully indemnify him for any claims PacWest might make based on his

           ictions in breach of his obligations under the Agreement, thereby giving Rainer a"green light" to

       9   -,ngage in whatever breach of contract or tortious activity he chose to engage in for his and SoCal

      10 Bank's benefit. SoCal Bank and SoCal Bancorp agreed with Rainer to delay the announcement of

~     11   nis hiring and the beginning of the resignations of the Raided Employees until after October 20,

      12 22020, and to proceed with the plan regardless of his obligations under the Agreement. On
      13 information and belief SoCal Bank and SoCal Bancorp were aware of Hernandez' and Smithson's
      14 :)bligations under the Stock Award Agreements, and despite the Restrictive Covenants gave
      15 Eiernandez and Smithson a"green light" to engage in whatever breach of contract or tortious
      16 ?Lctivity they chose to engage in for their and SoCal Bank's benefit.
      17              143.   As a direct and proximate result of the acts of intentional interference with

      18 prospective economic advantage by Rainer, Hernandez, Smithson, and SoCal Bank and SoCal
      19 Bancorp, PacWest Bank has suffered damages, in an amount to be proven at trial. PacWest Bank
      20 is not aware of the full extent of the Defendants' actions but believes that additional PacWest
      21 Bank employees may have been, or will in the future be, solicited by Rainer, Hernandez, SoCal
      22 Bank, SoCal Bancorp and Does 1-20, to resign and take positions at SoCal Bank. In addition, in
      23 -ngaging in the conduct described above, Rainer, Hernandez, Smithson and SoCal Bank and
      24 SoCal Bancorp acted with oppression, fraud or malice, thus entitling Plaintiffs to an award of
      25 punitive damages.
      26
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       1                                      EIGHTH CAiJSE OF ACTION
       2 I INTENTIONAL INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE

       3              (Plaintiff PacWest Bank Against Defendants SoCal Bank and SoCal Bancorp

       4                                               and Does 1-20)

       5              144.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 143 of this

       6 I complaint as if fully set forth herein.

       7              145.   Each of the Raided Employees had an economic relationship with PacWest Bank

       8 I that probably would have resulted in economic benefit to PacWest Bank.

       9              146.   SoCal Bank and SoCal Bancorp, through their agents Rainer, Hernandez and

      10 Smithson, and through information provided by the Raided Employees they had already hired,
           knew of the economic relationships the Raided Employees had with PacWest Bank.

                      147.   SoCal Bank and SoCal Bancorp, through their agents Rainer, Hernandez and

           Smithson, and on information and belief, through other employees including Raided Employees

           they had already contacted or hired, engaged in intentional acts designed to induce a breach or

           disruption of the economic relationship between each of the Raided Employees and PacWest

           Bank, or, alternatively, SoCal Bank and SoCal Bancorp knew that a breach or disruption of the

           economic relationship between each of the Raided Employees and PacWest Bank was certain or

      18 substantially certain to occur as a result of the actions of their agents and representatives, including
      19 Rainer, Hernandez and Smithson.
      20              148.   As a result of the acts of SoCal Bank and SoCal Bancorp, there was an actual

      21 I breach or disruption of the economic relationship each of the Raided Employees had with PacWest
      22 I Bank.
      23              149.   The breach or disruption of the economic relationship each of the Raided

      24 Employees had with PacWest Bank has resulted in injury and damage to PacWest Bank, in that
      25 PacWest Bank has lost the services and skill of the Raided Employees, and in many cases the
      26 benefit of the advantageous business relationships these Raided Employees had with both actual
      27 and potential clients. Additionally, the speed and number of disruptions and lost employees has
      28

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                      created chaos within PacWest Bank, and has led to a loss of business opportunities and employee

                  PAI I morale.

                                 150.    In engaging in its acts of intentional interference with prospective economic

                  4   advantage, SoCal Bank and SoCal Bancorp improperly used confidential and proprietary

                  5   information belonging to PacWest Bank. Specifically, Hernandez, Smithson and Rainer, on behalf

                  6   of SoCal Bank and SoCal Bancorp intentionally and improperly used confidential and proprietary

                  7   information they learned through Hernandez' employment as a Regional Vice President with

                  8   PacWest Bank, Smithson's employment as a Senior Vice President, Regional Manager at PacWest

                  9   Bank or Rainer's work as a consultant for PacWest pursuant to the Agreement, or obtained from

                 10 the PacWest Bank employees they induced to resign, including but not limited to salaiy, benefits
aa               11 and bonus information or data, and the terms and conditions of the employment relationships
~
ag
W           "N   12 between PacWest Bank and its employees and the history of job performance, career goals and
     M      M-


     V] O   M    13   aspirations of those employees. This is information that Rainer had agreed to hold as confidential

~~.o 2o
                 14   in a fiduciary capacity in the Agreement and not divulge. This is also information Hernandez and
Fa = ~o
      0
xw~d             15 Smithson had agreed in the Stock Award Agreements they would hold as confidential in a
U 5 .oa o
~    0      ti
     ~r          16 fiduciary capacity in the Agreement and not divulge. Using this confidential and proprietary
F~
~                17 information Rainer, Hemandez and Smithson were able to provide SoCal Bank with a selective
o~
                  :   list of PacWest Bank's employees who, in their judgment, possessed both the ability and personal

                 19 charactei-istics desirable in an employee, together with the salary and bonuses PacWest Bank was
                 20 paying the employee and a suggestion as to the salary SoCal Bank should offer to be successful in
                 21 recruitment.
                 22               151.   SoCal Bank and SoCal Bancorp illegally induced Rainer to breach his Agreement.

                 23 I The Agreement was made expressly for the benefit of PacWest Bank as a third party beneficiary in
                 24 I that the client and employee relationships which Rainer was obligated to foster, promote and
                 25 preserve were the business and employee relationships of PacWest Bank.
                 26               152.   After being informed of the terms of his Agreement at least in the LOI, SoCal Bank

                 27 I and SoCal Bancorp agreed to indemnify Rainer for any of the consequences of his acts of breach
                 28 of contract or tortious interference, thereby illegally and wrongfully inducing him to breach his

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       1 Agreement in the ways and by the acts set forth above. This illegal inducement of Rainer to breach

       2 his Agreement gave Rainer a"green light" to engage in acts of intentional interference with

       3   prospective economic advantage for his and SoCal Bank's benefit, and directly resulted in SoCal

       4 Bank and SoCal Bancorp's acts of intentional interference with prospective economic advantage.

       5              153.   SoCal Bank and SoCal Bancorp illegally induced Hemandez to breach his Stock

       6 Award Agreements. The Stock Award Agreements were made expressly for the benefit of

       7   PacWest Bank as a third party beneficiary in that the client and employee relationships which

       8 were protected by the Restrictive Covenants the business and employee relationships of PacWest

       9   Bank.

      10              154.   On information and belief, a$er being informed of the terins of his Stock Award

      11 Agreements, SoCal Bank and SoCal Bancorp agreed to indemnify Hernandez for any of the
      12 consequences of his acts of breach of contract or tortious interference, thereby illegally and
      13 wrongfully inducing him to breach his Stock Award Agreements in the ways and by the acts set
      14 forth above. This illegal inducement of Hernandez to breach his Stock Award Agreements gave
      15 Hernandez a"green light" to engage in acts of intentional interference with prospective economic
      16 advantage for his and SoCal Bank's benefit, and directly resulted in SoCal Bank and SoCal
      17 Bancorp's acts of intentional interference with prospective economic advantage.
      18              155.   SoCal Bank and SoCal Bancorp illegally induced Smithson to breach her Stock

      19 Award Agreements. The Stock Award Agreements were made expressly for the benefit of
      20 PacWest Bank as a third party beneficiary in that the client and employee relationships which
      21 were protected by the Restrictive Covenants the business and employee relationships of PacWest
      22 Bank.
      23              156.   On information and belief, after being informed of the terms of her Stock Award

      24 Agreements, SoCal Bank and SoCal Bancorp agreed to indemnify Smithson for any of the
      25 consequences of her acts of breach of contract or tortious interference, thereby illegally and
      26 wrongfully inducing her to breach her Stock Award Agreements in the ways and by the acts set
      27 forth above. This illegal inducement of Smithson to breach her Stock Award Agreements gave
      28 Smithson a"green light" to engage in acts of intentional interference with prospective economic

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       1 advantage for her and SoCal Bank's benefit, and directly resulted in SoCal Bank and SoCal

       2 Bancorp's acts of intentional interference with prospective economic advantage.

       3                157.   As a direct and proximate result of the acts of intentional interference with
       4 prospective economic advantage by SoCal Bank and SoCal Bancorp, PacWest Bank has suffered

       5     damages, in an amount to be proven at trial. PacWest Bank is not aware of the full extent of the

       6 Defendants' actions but believes that additional PacWest Bank employees may have been, or will

       7 in the future be, solicited by Rainer, Hernandez, Smithson, SoCal Bank, SoCal Bancorp and Does

       8 1 1-20, to resign and take positions at SoCal Bank. In addition, in engaging in the conduct described

       9 above, Rainer, Hernandez, Smithson, SoCal Bank and SoCal Bancorp acted with oppression, fraud

      10 or malice, thus entitling Plaintiffs to an award of punitive damages.

~     11                                          NINTH CAUSE OF ACTION

      12 I      NEGLIGENT INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE

      13                (Plaintiff PacWest Bank Against Defendants SoCal Bank and SoCal Bancorp

      14                                                  and Does 1-20)

      15                158.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 157 of this

      16 complaint as if fully set forth herein.

      17                159.   Each of the Raided Employees had an economic relationship with PacWest Bank

      18 I that probably would have resulted in economic benefit to PacWest Bank.

      19                160.   SoCal Bank and SoCal Bancorp, through their agents Rainer, Hemandez, and

      20 Smithson, and through information provided by the Raided Employees they had already hired,

      21 knew or should have known of the economic relationships the Raided Employees had with

      22 PacWest Bank.

      23                161.   SoCal Bank and SoCal Bancorp knew that a breach or disruption of the economic

      24 relationship between each of the Raided Employees and PacWest Bank was certain or
      25 substantially certain to occur as a result of the actions of their agents and representatives, including
      26 Rainer, Hernandez and Smithson, or, alternatively, SoCal Bank and SoCal Bancorp should have
      27 known that a breach or disruption of the economic relationship between each of the Raided

      28 Employees and PacWest Bank was certain or substantially certain to occur as a result of the

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            actions of their agents and representatives, including Rainer, Hernandez and Smithson, if they
        2   acted without reasonable care.

        3              162.   SoCal Bank and SoCal Bancorp failed to act with reasonable care.

        4              163.   In engaging in its acts of negligent interference with prospective economic

        5   advantage, SoCal Bank and SoCal Bancorp engaged in wrongful conduct by improperly using

        6   confidential and proprietary information belonging to PacWest Bank as alleged above.

        7   Specifically, Hemandez, Smithson and Rainer, on behalf of SoCal Bank and SoCal Bancorp

        8   intentionally and improperly used confidential and proprietary information they leamed through

        9   Hernandez' employment as a Regional Vice President with PacWest, Smithson's employment as a

       10 Senior Vice President, Regional Manager at PacWest Bank or Rainer's work as a consultant for

.1     11 PacWest pursuant to the Agreement, or obtained from the PacWest Bank employees they induced
       12 to resign, including but not limited to salary, benefits and bonus information or data, and the terms
       13 and conditions of the employment relationships between PacWest Bank and its employees and the
       14 history of job performance, career goals and aspirations of those employees. This is information
       15 that Rainer had agreed to hold as confidential in a fiduciary capacity in the Agreement and not
       16 divulge. This is also inforination Heinandez and Smithson had agreed in the Stock Award
       17 Agreements they would hold as confidential in a fiduciary capacity in the Agreement and not
       18 divulge. Using this confidential and proprietary information Rainer, Hernandez and Smithson
       19 were able to provide SoCal Bank with a selective list of PacWest Bank's employees who, in their
       20 judgment, possessed both the ability and personal characteristics desirable in an employee,
       21 together with the salary and bonuses PacWest Bank was paying the employee and a suggestion as
       22 to the salary SoCal Bank should offer to be successful in recruitment.
       23              164.   SoCal Bank and SoCal Bancorp illegally induced Rainer to breach his Agreement.

       241 After being informed of the terms of his Agreement at least in the LOI, SoCal Bank and SoCal

       25 Bancorp agreed to indemnify Rainer for any of the consequences of his acts of breach of contract
       26 or tortious interference, thereby illegally and wrongfully inducing him to breach his Agreement in
       27 the ways and by the acts set forth above. This illegal inducement of Rainer to breach his
       28 Agreement gave Rainer a"green light" to engage in acts of intentional interference with

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           prospective economic advantage for his and SoCal Bank's benefit, and directly resulted in the

       21 interference with PacWest Bank's prospective economic advantage. SoCal Bank and SoCal

           Bancorp knew that a breach or disruption of the economic relationship between each of the Raided

       4   Employees and PacWest Bank was certain or substantially certain to occur as a result of their

       5   inducement of Rainer to breach his Agreement, or, alternatively, SoCal Bank and SoCal Bancorp

       6 should have known that a breach or disruption of the economic relationship between each of the

       7   Raided Employees and PacWest Bank was certain or substantially certain to occur as a result of

           their inducement of Rainer to breach his Agreement if they acted without reasonable care.

       9              165.   SoCal Bank and SoCal Bancorp illegally induced Hernandez to breach his Stock

      10 Award Agreements. On information and belief, after being informed of the terms of his Stock

      11 Award Agreements, SoCal Bank and SoCal Bancorp agreed to indemnify Hernandez for any of

      12 the consequences of his acts of breach of contract or tortious interference, thereby illegally and

      13 wrongfully inducing him to breach his Stock Award Agreements in the ways and by the acts set

      14 forth above. This illegal inducement of Hernandez to breach his Stock Award Agreements gave

      15 Hernandez a"green light" to engage in acts of intentional interference with prospective economic

      16 advantage for his and SoCal Bank's benefit, and directly resulted in the interference with PacWest

      17 Bank's prospective economic advantage. SoCal Bank and SoCal Bancorp knew that a breach or

      18 disruption of the economic relationship between each of the Raided Employees and PacWest Bank

      19 was certain or substantially certain to occur as a result of their inducement of Hemandez to breach

      20 his Stock Award Agreements, or, alternatively, SoCal Bank and SoCal Bancorp should have

      21 known that a breach or disruption of the economic relationship between each of the Raided

      22 Employees and PacWest Bank was certain or substantially certain to occur as a result of their

      23 inducement of Hernandez to breach his Stock Award Agreements if they acted without reasonable
      24 care.
      25              166.   SoCal Bank and SoCal Bancorp illegally induced Smithson to breach her Stock

      26 I Award Agreements. On information and belief, a$er being informed of the terms of her Stock
      27 Award Agreements, SoCal Bank and SoCal Bancorp agreed to indemnify Smithson for any of the

      28 consequences of her acts of breach of contract or tortious interference, thereby illegally and

           332718.3                                         42
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           wrongfully inducing her to breach her Stock Award Agreements in the ways and by the acts set

       2 forth above. This illegal inducement of Smithson to breach her Stock Award Agreements gave

       3 Smithson a"green light" to engage in acts of intentional interference with prospective economic

       4 advantage for her and SoCal Bank's benefit, and d'u-ectly resulted in the interference with PacWest

       5 Bank's prospective economic advantage. SoCal Bank and SoCal Bancorp knew that a breach or

       6 disruption of the economic relationship between each of the Raided Employees and PacWest Bank

       7 was certain or substantially certain to occur as a result of their inducement of Smithson to breach

       8 her Stock Award Agreements, or, alternatively, SoCal Bank and SoCal Bancorp should have

       9 known that a breach or disruption of the economic relationship between each of the Raided

      10 Employees and PacWest Bank was certain or substantially certain to occur as a result of their

      11 inducement of Smithson to breach her Stock Award Agreements if they acted without reasonable

      12 care.

      13              167.   As a result of the acts of SoCal Bank and SoCal Bancorp, there was an actual

      14 I breach or disruption of the economic relationship each of the Raided Employees had with PacWest

      15

      16              168.   The breach or disruption of the economic relationship each of the Raided

      17 Employees had with PacWest Bank has resulted in injury and damage to PacWest Bank, in that

      18 PacWest Bank has lost the services and skill of the Raided Employees, and in many cases the

      19 benefit of the advantageous business relationships these Raided Employees had with both actual

      20 and potential clients. Additionally, the speed and number of disruptions and lost employees has

      21 created chaos within PacWest Bank, and has led to a loss of business opportunities and employee

      22 morale.

      23              169.   As a direct and proximate result of the acts of negligent interference with

      0    prospective economic advantage by SoCal Bank and SoCal Bancorp, PacWest Bank has suffered

      25 damages, in an amount to be proven at trial. PacWest Bank is not aware of the full extent of the
      26 Defendants' actions but believes that additional PacWest Bank employees may have been, or will

      27 in the future be, solicited by Rainer, Hernandez, Smithson, SoCal Bank, SoCal Bancorp and Does
      28 1-20, to resign and take positions at SoCal Bank.

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       1                                         TENTH CAUSE OF ACTION
       2                INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS
       3                 (Plaintiffs PacWest and PacWest Bank Against Defendants SoCal Bank and

       4                                         SoCal Bancorp and Does 1-20)

       5                170.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 169 of this

       6 I complaint as if fully set forth herein.

       7                171.   The Agreement is and was a valid contract between PacWest and Rainer. The

       8 I Agreement was made expressly for the benefit of PacWest Bank as a third party beneficiary in that

       9 I the client and employee relationships which Rainer was obligated to foster, promote and preserve

      10 I were the business and employee relationships of PacWest Bank.
      11                172.   The Stock Award Agreements are valid contracts between PacWest, on the one

      12 I hand, and Hemandez and Smithson, on the other. The Stock Award Agreements were made
      13 expressly for the benefit of PacWest Bank as a third party beneficiary in that the client and
      14 employee relationships which were protected by the Restrictive Covenants the business and
      15 employee relationships of PacWest Bank.
      16                173.   SoCal Bank and SoCal Bancorp were informed by Rainer in writing of the

      17 existence of the Agreement and its terms.
      18                174.   On information and belief, SoCal Bank and SoCal Bancorp were informed by

      19 Hemandez, as part of his recruitment, of the existence of the Stock Award Agreements and its
      20 terms.
      21                175.   On inforrnation and belief, SoCal Bank and SoCal Bancoip were informed by

      22 Smithson, as part of her recruitment, of the existence of the Stock Award Agreements and its
      23 terms.
      24                176.   SoCal Bank and SoCal Bancorp engaged in intentional acts designed to induce a

      25 breach or disruption of the contractual relationship between each of Rainer, Hei-nandez, Smithson
      26 and PacWest, including agreeing to fully indemnify Rainer, Hernandez and Smithson against
      27 possible claims by PacWest for breach of those contracts, and agreeing to compensate Rainer for
      28 the amounts still unpaid to him by PacWest under the Agreement, and on information and belief,

           I 332718.3                                           44
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       1 agreeing to compensate Hernandez and Smithson for the financial consequences of their breach of

       2   the Stock Award Agreements.

       3              177.   As a result of the acts of SoCal Bank and SoCal Bancorp, there was an actual

       4 I breach or disruption of the contractual relationship between each of Rainer, Hernandez, Smithson

       5 I and PacWest.

       6              178.   The breach or disruption of the contractual relationship between each of Rainer,

       7   Hernandez, Smithson and PacWest has resulted in injury and damage to PacWest Bank, in that

       8   PacWest Bank's confidential and proprietary information has been shared with a competitor,

       9   PacWest Bank has lost the services and skill of the Raided Employees, and in many cases the

      10 benefit of the advantageous business relationships these Raided Employees had with both actual

      11 and potential clients, and SoCal Bank and SoCal Bancorp has, as a result of Hernandez',

      12 Smithson's and Rainer's breaches of their contracts, been able to illegally solicit and steal

      13 customers. Additionally, the speed and number of disruptions and lost employees has created

      141 chaos within PacWest Bank, and has led to a loss of business opportunities and employee morale.

      15              179.   As a direct and proximate result of the acts of intentional intei-ference with

      16 contractual relations by SoCal Bank and SoCal Bancorp, PacWest Bank has suffered damages, in

      17 an amount to be proven at trial. PacWest Bank is not aware of the full extent of the Defendants'

      18 actions but believes that additional PacWest Bank employees may have been, or will in the future

      19 be, solicited by Rainer, Hernandez, Smithson, SoCal Bank, SoCal Bancorp and Does 1-20, to

      20 resign and take positions at SoCal Bank. In addition, in engaging in the conduct described above,

      21 SoCal Bank and SoCal Bancorp acted with oppression, fraud or malice, thus entitling Plaintiffs to

      22 an award of punitive damages.

      23                                     ELEVENTH CAUSE OF ACTION

      24                                  INDUCING BREACH OF CONTRACT

      25               (Plaintiffs PacWest and PacWest Bank Against Defendants SoCal Bank and
      26                                       SoCal Bancorp and Does 1-20)

      27              180.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 179 of this

      281~ complaint as if fully set forth herein.

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                                PLAllYT1FFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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       1               181.   The Agreement is and was a valid contract between PacWest and Rainer. The
       2 Agreement was made expressly for the benefit of PacWest Bank as a third parry beneficiary in that

       3    the client and employee relationships which Rainer was obligated to foster, promote and preserve

       4    were the business and employee relationships of PacWest Bank.

       5               182.   The Stock Award Agreements are valid contracts between PacWest, on the one

       6    hand, and Hemandez and Smithson, on the other. The Stock Award Agreements were made

       7    expressly for the benefit of PacWest Bank as a third parry beneficiary in that the client and

       8    employee relationships which were protected by the Restrictive Covenants the business and

       9    employee relationships of PacWest Bank.

      10               183.   SoCal Bank and SoCal Bancorp were informed by Rainer in writing of the

~     11 existence of the Agreement and its terms.

      12               184.   On information and belief, SoCal Bank and SoCal Bancoip were informed by

      13 Hernandez, as part of his recruitment, of the existence of the Stock Award Agreements and its

      14 I terms.

      15               185.   On information and belief, SoCal Bank and SoCal Bancoip were informed by

      16 Smithson, as part of her recruitment, of the existence of the Stock Award Agreements and its

      17 I terms.

      18               186.   SoCal Bank and SoCal Bancorp intended to induce a breach of the contractual

      19 relationship between Rainer and PacWest.

      20               187.   SoCal Bank and SoCal Bancorp intended to induce a breach of the contractual

      21 relationship between Hernandez and PacWest.

      22               188.   SoCal Bank and SoCal Bancorp intended to induce a breach of the contractual

      23 relationship between Smithson and PacWest.

      24               189.   As a result of the acts of SoCal Bank and SoCal Bancorp, there was an actual

      25 breach of the contractual relationship between Rainer and PacWest.
      26               190.   As a result of the acts of SoCal Bank and SoCal Bancorp, there was an actual

      27 breach of the contractual relationship between Hernandez and PacWest.
      28

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                                 PLAINTIFFS' SECOND AMENDED COMPLAIlVT FOR DAMAGES
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                      191.   As a result of the acts of SoCal Bank and SoCal Bancorp, there was an actual
       21 I breach of the contractual relationship between Smithson and PacWest.
                      192.   Rainer's breach of the Agreement was caused by unjustified or wrongful conduct
       4 I by SoCal Bank and SoCal Bancorp, including their agreement to fully indemnify Rainer against

       5 I possible claims by PacWest for breach of that contract, and their agreement to compensate Rainer

       6 I for the amounts still unpaid to him by PacWest under the Agreement.

       7              193.   Hernandez' breach of the Stock Award Agreements was caused by unjustified or

       8 wrongful conduct by SoCal Bank and SoCal Bancorp, including, on information and belief, their

       9 agreement to fully indemnify Hernandez against possible claims by PacWest for breach of those

      10 contracts, and their agreement to compensate Hernandez for the fmancial consequences of his
      11 breach of the Stock Award Agreements.
      12              194.   Smithson's breach of the Stock Award Agreements was caused by unjustified or

      13 wrongful conduct by SoCal Bank and SoCal Bancorp, including, on information and belief, their
      14 agreement to fully indemnify Smithson against possible claims by PacWest for breach of those
      15 contracts, and their agreement to compensate Smithson for the fmancial consequences of her
      16 breach of the Stock Award Agreements.
      17              195.   The breach of the contractual relationship between each of Rainer, Hernandez,

      18 Smithson and PacWest has resulted in injury and damage to PacWest Bank, in that PacWest
      19 Bank's confidential and proprietary information has been shared with a competitor, PacWest has
      20 lost the services and skill of the Raided Employees, and in many cases the benefit of the
      21 advantageous business relationships these Raided Employees had with both actual and potential
      22 clients, and SoCal Bank and SoCal Bancorp has, as a result of Hernandez', Smithson's and
      23 Rainer's breaches of their contracts, been able to illegally solicit and steal customers. Additionally,
      24 the speed and number of disruptions and lost employees has created chaos within PacWest Bank,
      25 and has led to a loss of business opportunities and employee morale.
      26              196.   As a direct and proximate result of the acts of intentional interference with

      27 I contractual relations by SoCal Bank and SoCal Bancorp, PacWest Bank has suffered damages, in
      28 an amount to be proven at trial. PacWest Bank is not aware of the full extent of the Defendants'

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       1 actions but believes that additional PacWest Bank employees may have been, or will in the future

       2 be, solicited by Rainer, Hernandez, Smithson, SoCal Bank, SoCal Bancorp and Does 1-20, to

       3    resign and take positions at SoCal Bank. In addition, in engaging in the conduct described above,

       4 SoCal Bank and SoCal Bancorp acted with oppression, fraud or malice, thus entitling Plaintiffs to

       5    an award of punitive damages.

       6                                       TWELFTH CAUSE OF ACTION

       7                                      BREACH OF FIDUCIARY DUTY

       8            (Plaintiffs PacWest and PacWest Bank Against Defendants Rainer and Does 1-20)

       9                197.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 196 of this

      10 I complaint as if fully set forth herein.
                        198.   Rainer owed a general duty of loyalty to PacWest, and its subsidiary PacWest

            Bank. This included a duty to refrain from taking action on behalf of, or otherwise assisting,

            Plaintiffs' competitors, and not to use or communicate Plaintiffs' confidential information for his

            own purposes or for those of a third parry. This duty of loyalty was the result of Rainer's activities

            in acting on Plaintiffs' behalf to facilitate customer outreach, including (1) brokering introductions
            and fostering business relationships between legacy clients and PacWest Bank, (2) acting as an

            "ambassador" for Plaintiffs in meeting with clients and other parties at the request of Plaintiffs, (3)

      18 acting on Plaintiffs' behalf to preserve business and employee relationships and promote
      19 continuity and retaining key personnel, (4) acting on Plaintiffs' behalf to develop new business
      20 development opportunities to attract and retain new clients, and (5) helping to promote the
      21 reputation of Plaintiffs to key merchant bank markets.
      22                199.   In the Agreement Rainer agreed that he would hold in a fiduciary capacity for the

      23 benefit of PacWest "all trade secrets and confidential information, knowledge or data relating to
      24 [PacWest] and its subsidiaries (including [CUB]) and their businesses and investments, which will
      25 have been obtained by you during your employment with [CUB] prior to the Effective Date and
      26 during your consulting with [PacWest] after the Effective Date and which are not generally
      271 available public knowledge (other than by acts by you in violation of this agreement."

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       1              200.   Rainer breached his duty of loyalty by doing the acts described above, including
       2 but not limited to, soliciting PacWest Bank employees and clients to leave PacWest Bank and go
       3 to a competitor, SoCal Bank.
       4              201.   Rainer breached his fiduciary duty with respect to Plaintiffs' confidential

       5 information, knowledge and data by doing the acts described above, including but not limited to,
       6 on information and belief, using PacWest and PacWest Bank's confidential and proprietary
       7 busines information and providing it to a competitor of PacWest. In particular, Rainer provided to
       :   SoCal Bank salary, benefits and bonus information or data, and the terms and conditions of the

       a employment relationships between PacWest Bank and its employees and the history of job
      101 performance, career goals and aspirations of those employees. This is information that Rainer had
           agreed to hold as confidential in a fiduciary capacity in the Agreement and not divulge. Using this

           confidential and proprietary information Rainer was able to provide SoCal Bank with a selective

           list of PacWest Bank's employees who, in his judgment, possessed both the ability and personal
           charactei-istics desirable in an employee, together with the salary and bonuses PacWest Bank was

           paying the employee and a suggestion as to the salary SoCal Bank should offer to be successful in

           recruitment.

                      202.   As a direct and proximate result of Rainer's breaches, Plaintiffs have suffered

      LE., I damages, in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the
      19 Defendants' actions, but believe that thus far Rainer, and Does 1-20, solicited and induced at least
      20, 30 PacWest Bank employees to resign and take positions at SoCal Bank. Furthermore, Plaintiffs
      21 are informed and believe, and thereon allege, that Rainer unjustly received prior consulting fees
      22 while in breach of the Agreement and should therefore be required to retuin the ill-gotten
      23 compensation.
      24                                   THIRTEENTH CAUSE OF ACTION

      25                                     BREACH OF FIDUCIARY DUTY

      26       (Plaintiffs PacWest and PacWest Bank Against Defendants Hernandez and Does 1-20)

      27              203.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 202 of this

      28 I complaint as if fully set forth herein.

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       1                  204.   Hernandez owed a general duty of loyalty to PacWest, and its subsidiary PacWest

       2 I Bank as a result of his position as an officer of PacWest Bank. This included a duty to refrain from

       3 taking action on behalf of, or otherwise assisting, Plaintiffs' competitors, and not to use or
           I
       4 I communicate Plaintiffs' confidential information for his own purposes or for those of a third party.

       5                  205.   In the Stock Award Agreements Hernandez agreed that "[d]uring your employment

       6 I and thereafter, [Hernandez] shall hold in a fiduciary capacity for the benefit of [PacWest] all trade

       7 I secrets and Confidential Information relating to [PacWest] and its businesses and investments,

       8 which will have been obtained by you during your employment with [PacWest] and which are not

       9 generally available public knowledge (other than by acts by you in violation of this Agreement)."

      10                  206.   Hernandez breached his duty of loyalty by doing the acts described above,

~     11 I including but not limited to, soliciting PacWest Bank employees and clients to leave PacWest
               Bank and go to a competitor, SoCal Bank.

                          207.   Hernandez breached his fiduciary duty with respect to Plaintiffs' confidential

           I information, knowledge and data by doing the acts described above, including but not limited to,

               on information and belief, using PacWest and PacWest Bank's confidential and proprietary

               busines information and providing it to a competitor of PacWest. In particular, Hernandez

               provided to SoCal Bank salary, benefits and bonus information or data, and the terms and

      f: conditions of the employment relationships between PacWest Bank and its employees and the
      19 history of job performance, career goals and aspirations of those employees. This is information
      20 Hernandez had agreed in the Stock Award Agreements he would hold as confidential in a
      21 fiduciary capacity in the Agreement and not divulge. Using this confidential and proprietary
      22 information Hernandez was able to provide SoCal Bank with a selective list of PacWest Bank's
      23 employees who, in his judgment, possessed both the ability and personal charactei-istics desirable
      24 in an employee, together with the salary and bonuses PacWest Bank was paying the employee and
      25 a suggestion as to the salary SoCal Bank should offer to be successful in recruitment.
      26                  208.   As a direct and proximate result of Hernandez' breaches, Plaintiffs have suffered

      27 I damages, in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the
      28 Defendants' actions, but believe that thus far Hernandez, Rainer and Smithson, and Does 1-20,

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       1I I solicited and induced at least 30 PacWest Bank employees to resign and take positions at SoCal
       2 I Bank.

       3                                   FOURTEENTH CAUSE OF ACTION
       4                                    BREACH OF FIDUCIARY DUTY
       5         (Plaintiffs PacWest and PacWest Bank Against Defendants Smithson and Does 1-20)

       6              209.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 208 of this

       7 I complaint as if fully set forth herein.

       8              210.   Smithson owed a general duty of loyalty to PacWest, and its subsidiary PacWest

       9 I Bank as a result of her position as an officer of PacWest Bank. This included a duty to refrain

      10 I from taking action on behalf of, or otherwise assisting, Plaintiffs' competitors, and not to use or

      11 communicate Plaintiffs' confidential information for her own purposes or for those of a third

      12 party.

      13              211.   In the Stock Award Agreements Smithson agreed that "[d]uring your employment

      14 and thereafter, [Smithson] shall hold in a fiduciary capacity for the benefit of [PacWest] all trade

      15 secrets and Confidential Information relating to [PacWest] and its businesses and investments,

      16 which will have been obtained by you during your employment with [PacWest] and which are not

      17 generally available public knowledge (other than by acts by you in violation of this Agreement)."

      18              212.   Smithson breached her duty of loyalty by doing the acts described above, including

      19 I but not limited to, soliciting PacWest Bank employees and clients to leave PacWest Bank and go

      20 I to a competitor, SoCal Bank.

      21              213.   Smithson breached her fiduciary duty with respect to Plaintiffs' confidential

      22 information, knowledge and data by doing the acts described above, including but not limited to,

      23 on information and belief, using PacWest and PacWest Bank's confidential and proprietary

      24 busines information and providing it to a competitor of PacWest. In particular, Smithson provided
      25 to SoCal Bank salary, benefits and bonus information or data, and the terms and conditions of the
      26 employment relationships between PacWest Bank and its employees and the history of job
      27 performance, career goals and aspirations of those employees. This is information Smithson had
      28 agreed in the Stock Award Agreements she would hold as confidential in a fiduciary capacity in

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       1 the Agreement and not divulge. Using this confidential and proprietary information Smithson was

       2    able to provide SoCal Bank with a selective list of PacWest Bank's employees who, in her
       3   judgment, possessed both the ability and personal characteristics desirable in an employee,

       4    together with the salary and bonuses PacWest Bank was paying the employee and a suggestion as

       5    to the salary SoCal Bank should offer to be successful in recruitment.

       6                214.   As a direct and proximate result of Smithson's breaches, Plaintiffs have suffered

       7    damages, in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the

       8    Defendants' actions, but believe that thus far Rainer, Hernandez and Smithson, and Does 1-20,

       9 solicited and induced at least 30 PacWest Bank employees to resign and take positions at SoCal

      10 Bank.
                                              FIFTEENTH CAUSE OF ACTION
                                AIDING AND ABETTING BREACH OF FIDUCIARY DUTY

                         (Plaintiffs PacWest and PacWest Bank Against Defendants SoCal Bank and

                                                 SoCal Bancorp and Does 1-20)

                        215.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 214 of this

           I complaint as if fully set forth herein.
                        216.   SoCal Bank and SoCal Bancorp aided and abetted Rainer's breaches of his duty of

      18 I loyalty owed to Plaintiffs.
      19                217.   Specifically, SoCal Bank and SoCal Bancorp knew that Rainer, who it was hiring

      20 ~ as the Executive Chairman of its board of directors of SoCal Bank, was engaging in, or intended to
      21 I engage in, his acts which breached his duty of loyalty to Plaintiffs for the benefit of SoCal Bank
      22 I and SoCal Bancorp.
      23                218.   SoCal Bank and SoCal Bancorp gave substantial assistance or encouragement to

      24 Rainer in his breaching of his duty of loyalty owed to Plaintiffs. SoCal Bank and SoCal Bancorp
      25 worked with Rainer during the pendency of the Agreement to identify and solicit the Raided
      26 Employees, negotiated terms, made offers and hired the Raided Employees to positions at SoCal
      27 Bank. Other representatives of SoCal Bank and SoCal Bancorp, including Hernandez, Smithson
      28 and other newly hired Raided Employees, assisted Rainer in identifying and soliciting the Raided

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           Employees. After being informed of the terms of his Agreement at least in the LOI, SoCal Bank

       2 I and SoCal Bancorp agreed to indemnify Rainer for any of the consequences of his acts of breach

       3 I of contract or tortious interference, thereby illegally and wrongfully inducing him to breach his

       4 I Agreement in the ways and by the acts set forth above. This illegal inducement of Rainer to breach

       5 I his Agreement gave Rainer a"green light" to engage in acts of intentional interference with

           prospective economic advantage for his and SoCal Bank's benefit, and directly resulted in SoCal

           Bank and SoCal Bancorp's acts of intentional interference with prospective economic advantage.

                      219.   SoCal Bank and SoCal Bancorp aided and abetted Rainer's breaches of his

           fiduciary duty owed to Plaintiffs with respect to Plaintiffs' confidential information, and gave

      10 substantial assistance or encouragement to Rainer in his breaching of his fiduciary duty owed to

      11 Plaintiffs with respect to Plaintiffs' confidential information. SoCal Bank and SoCal Bancorp

      12 received and used Plaintiffs' confidential information in determining which PacWest employees to

      13 solicit, and in determining how much to offer each employee in salary, bonus and other benefits.

      14 On information and belief, SoCal Bank and SoCal Bancorp also received and used Plaintiffs'

      15 confidential infoi7nation in determining which PacWest customers to solicit, and in determining

      16 what deal terms and other incentives to provide them to transfer their business from PacWest Bank

      17 to SoCal Bank.

      18              220.   SoCal Bank and SoCal Bancorp aided and abetted Hemandez' breaches of his duty

      19 I of loyalty owed to Plaintiffs.

      20              221.   Specifically, SoCal Bank and SoCal Bancorp knew that Hemandez, who it was

      21 hiring as its Chief Banking Officer, was engaging in, or intended to engage in, his acts which

      22 breached his duty of loyalty to Plaintiffs for the benefit of SoCal Bank and SoCal Bancorp. On
      23 information and belief, while still serving as a Regional Vice President of PacWest Bank,

      24 Hernandez negotiated a job position with SoCal Bank and solicited other PacWest Bank
      25 employees to join him and in doing so violated the terms of the Stock Award Agreements. On
      26 information and belief, after being infonned of the terms of his Stock Award Agreements, SoCal
      27 Bank and SoCal Bancorp agreed to indemnify Hernandez for any of the consequences of his acts
      28 of breach of contract or tortious interference, thereby illegally and wrongfully inducing him to

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       1 breach his Stock Award Agreements in the ways and by the acts set forth above. This illegal

       2 I inducement of Hernandez to breach his Stock Award Agreements gave Hernandez a"green light"

       3 I to engage in acts of intentional interference with prospective economic advantage for his and

       4 I SoCal Bank's benefit, and directly resulted in SoCal Bank and SoCal Bancorp's acts of intentional

       5 I interference with prospective economic advantage. SoCal Bank and SoCal Bancorp worked with

       6 I Hernandez to identify and solicit the Raided Employees, negotiated terms, made offers and hired

       7 I the Raided Employees to positions at SoCal Bank.

       8              222.   SoCal Bank and SoCal Bancorp aided and abetted Hemandez' breaches of his

       9 I fiduciary duty owed to Plaintiffs with respect to Plaintiffs' confidential information and gave

      10 substantial assistance or encouragement to Hernandez in his breaching of his fiduciary duty owed
           to Plaintiffs with respect to Plaintiffs' confidential information. SoCal Bank and SoCal Bancorp

           received and used Plaintiffs' confidential infonnation in determining which PacWest employees to

           solicit, and in detennining how much to offer each employee in salary, bonus and other benefits.

           On infoi7nation and belief, SoCal Bank and SoCal Bancorp also received and used Plaintiffs'

           confidential information in determining which PacWest customers to solicit, and in determining

           what deal terms and other incentives to provide them to transfer their business from PacWest Bank

           to SoCal Bank.

                      223.   SoCal Bank and SoCal Bancorp aided and abetted Smithson's breaches of her duty

      191I of loyalty owed to Plaintiffs.

      20              224.   Specifically, SoCal Bank and SoCal Bancorp knew that Smithson, who it was

      211 hiring as an Executive Vice President, Regional Manager, was engaging in, or intended to engage

      22 in, her acts which breached her duty of loyalty to Plaintiffs for the benefit of SoCal Bank and
      23 SoCal Bancorp. On information and belief, while still serving as an Executive Vice President,
      24 Regional Manager of PacWest Bank, Smithson negotiated a job position with SoCal Bank and
      25 solicited other PacWest Bank employees to join her, and in doing so violated the terms of the
      26 Stock Award Agreements. On information and belief, after being informed of the terms of her
      27 Stock Award Agreements, SoCal Bank and SoCal Bancorp agreed to indemnify Smithson for any
      28 of the consequences of her acts of breach of contract or tortious interference, thereby illegally and

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                    wrongfully inducing her to breach her Stock Award Agreements in the ways and by the acts set

                al forth above. This illegal inducement of Smithson to breach her Stock Award Agreements gave
                    Smithson a"green light" to engage in acts of intentional interference with prospective economic

                4   advantage for her and SoCal Bank's benefit, and directly resulted in SoCal Bank and SoCal

                5   Bancorp's acts of intentional interference with prospective economic advantage. SoCal Bank and

                6   SoCal Bancorp worked with Smithson to identify and solicit the Raided Employees, negotiated

                7   terms, made offers and hired the Raided Employees to positions at SoCal Bank.

                8              225.   SoCal Bank and SoCal Bancorp aided and abetted Smithson's breaches of her

                9   fiduciary duty owed to Plaintiffs with respect to Plaintiffs' confidential information and gave

               10 substantial assistance or encouragement to Smithson in her breaching of her fiduciary duty owed

~              11 to Plaintiffs with respect to Plaintiffs' confidential information. SoCal Bank and SoCal Bancorp
~
W
a    p    "
          N    12 received and used Plaintiffs' confidential information in determining which PacWest employees to
     M    M
      U   ~

     Y         13 solicit, and in determining how much to offer each employee in salary, bonus and other benefits.

     o~ o      14 On infoi-mation and belief, SoCal Bank and SoCal Bancorp also received and used Plaintiffs'

xwad           15 confidential information in deternuning which PacWest customers to solicit, and in determining
U o °~
~    ~    M

     ~         16   what deal terms and other incentives to provide them to transfer their business from PacWest Bank
W    h    U
F         t"
~              17 to SoCal Bank.
o~
               18              226.   The conduct of SoCal Bank and SoCal Bancorp was a substantial factor in causing

               19 the harm to Plaintiffs caused by Rainer's, Hemandez' and Smithson's acts which breached their

               20 duties of loyalty to Plaintiffs. Without the active participation of SoCal Bank and SoCal Bancorp,

               21 Rainer, Hernandez and Smithson would not have been able to offer job positions at SoCal Bank to

               22 the Raided Employees and the deal terms and other incentives to solicit PacWest clients to move

               23 their business to SoCal Bank.

               24              227.   The conduct of SoCal Bank and SoCal Bancorp was a substantial factor in causing

               25 the harm to Plaintiffs caused by Rainer's, Hemandez' and Smithson's acts which breached their
               26 fiduciary duties with respect to Plaintiffs' confidential information. Without the active
               27 participation of SoCal Bank and SoCal Bancorp Rainer, Hernandez and Smithson would not have
               28 been able to offer job positions at SoCal Bank to the Raided Employees and the deal terms and

                    332718.3                                         55
                                        PLAiNT1FFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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                    other incentives to solicit PacWest clients to move their business to SoCal Bank. SoCal Bank and
                2   SoCal Bancorp received and used Plaintiffs' confidential information in determining which
                3   PacWest employees to solicit, and in detemuning how much to offer each employee in salary,

                4   bonus and other benefits. On infoiznation and belief, SoCal Bank and SoCal Bancorp also received
                5   and used Plaintiffs' confidential information in determining which PacWest customers to solicit,

                6   and in determining what deal terms and other incentives to provide them to transfer their business

                7   from PacWest Bank to SoCal Bank.

                               228.   SoCal Bank and SoCal Bancorp and Rainer engaged in a conspiracy to breach

                91 Rainer's duty of loyalty to Plaintiffs. SoCal Bank and SoCal Bancorp were aware that Rainer
               10 planned and intended to engage in these tortious activities and agreed with Rainer to engage in a
~              11 systematic plan to raid PacWest Bank's employees and clients. SoCal Bank and SoCal Bancorp
~
Wo
~l
H ---
   ro
         "N~   12 were aware of Rainer's obligations under the Agreement and agreed with Rainer to delay the
     _         13   announcement of his hiring and the beginning of the resignations of the Raided Employees until

               14   after October 20, 2020, and to proceed with the plan regardless of his obligations under the

~w~d
W              15   Agreement.
~In      ~
  r            16              229.   SoCal Bank and SoCal Bancorp and Hernandez engaged in a conspiracy to breach
W ~
H        F

~              17 Hemandez' duty of loyalty to Plaintiffs. SoCal Bank and SoCal Bancorp were aware that
o~
               f: Hernandez planned and intended to engage in these tortious activities and agreed with Hemandez
               19 to engage in a systematic plan to raid PacWest Bank's employees and clients. SoCal Bank and
               20 SoCal Bancorp were aware of Hernandez' obligations under the Stock Award Agreements and
               21 agreed to proceed with the plan regardless of his obligations under the Stock Award Agreements.
               22              230.   SoCal Bank and SoCal Bancorp and Smithson engaged in a conspiracy to breach

               23 Smithson's duty of loyalty to Plaintiffs. SoCal Bank and SoCal Bancorp were aware that Smithson
               24 planned and intended to engage in these toi-tious activities and agreed with Smithson to engage in
               25 a systematic plan to raid PacWest Bank's employees and clients. SoCal Bank and SoCal Bancorp
               26 were aware of Smithson's obligations under the Stock Award Agreements and agreed to proceed
               27 with the plan regardless of her obligations under the Stock Award Agreements.
               28

                    332718.3                                        56
                                        PLAIlVTIFFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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                       231.   SoCal Bank and SoCal Bancorp and Rainer engaged in a conspiracy to breach
       2   Rainer's fiduciary duty with respect to Plaintiffs' confidential information. SoCal Bank and SoCal
       3   Bancorp received and agreed with Rainer to use Plaintiffs' confidential information in determining

       4 which PacWest employees to solicit, and in determining how much to offer each employee in

       5   salary, bonus and other benefits. On information and belief, SoCal Bank and SoCal Bancorp also

       6   received and agreed with Rainer to use Plaintiffs' confidential information in determining which

       7 I PacWest customers to solicit, and in determining what deal terms and other incentives to provide

       8   them to transfer their business from PacWest Bank to SoCal Bank.

       9               232.   SoCal Bank and SoCal Bancorp and Hernandez engaged in a conspiracy to breach

      10 I Hernandez' fiduciary duty with respect to Plaintiffs' confidential information. SoCal Bank and
~     11 SoCal Bancorp received and agreed with Hernandez to use Plaintiffs' confidential information in
           I determining which PacWest employees to solicit, and in determining how much to offer each

           employee in salary, bonus and other benefits. On information and belief, SoCal Bank and SoCal

           Bancorp also received and agreed with Hernandez to use Plaintiffs' confidential information in

           determining which PacWest customers to solicit, and in determining what deal terms and other

           incentives to provide them to transfer their business from PacWest Bank to SoCal Bank.

                       233.    SoCal Bank and SoCal Bancorp and Smithson engaged in a conspiracy to breach

      18 11 Smithson's fiduciary duty with respect to Plaintiffs' confidential information. SoCal Bank and
      19 SoCal Bancorp received and agreed with Smithson to use Plaintiffs' confidential information in
      20 determining which PacWest employees to solicit, and in determining how much to offer each
      21 employee in salary, bonus and other benefits. On information and belief, SoCal Bank and SoCal
      22 Bancorp also received and agreed with Smithson to use Plaintiffs' confidential information in
      23 determining which PacWest customers to solicit, and in determining what deal terms and other
      24 incentives to provide them to transfer their business from PacWest Bank to SoCal Bank.
      25               234.   As a direct and proximate result of the aiding and abetting by SoCal Bank and

      26 11 SoCal Bancorp of Rainer's, Hernandez' and Smithson's breaches of their fiduciary duties,
      27 Plaintiffs have suffered damages, in an amount to be proven at trial. Plaintiffs are not aware of the
      28 full extent of the Defendants' actions but believes that additional PacWest Bank employees may

            332718.3                                          57
                                 PLAINTLFFS' SECOND AMENDED COMPLAIlVT FOR DAMAGES
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       1 I have been, or will in the future be, solicited by Rainer, SoCal Bank, SoCal Bancorp and Does 1-

       2 1 20, to resign and take positions at SoCal Bank.

       3                                      SIXTEENTH CAUSE OF ACTION
       4         COMMON LAW UNFAIR COMPETITION AND VIOLATION OF CALIFORNIA

       5                      BUSINESS AND PROFESSIONS CODE SECTION 17200 ET SEQ.

       6                      (Plaintiffs PacWest and PacWest Bank Against Defendants Rainer,

       7                      Hernandez. Smithson, SoCal Bank, SoCal Bancorp and Does 1-20)

       8               235.    Plaintiffs re-allege and hereby incorporate paragraphs 1 through 234 of this

       91 I complaint as if fully set forth herein.
      10               236.    The breach or disruption of the economic relationship each of the Raided

            Employees had with PacWest Bank has resulted in economic injury and damage to PacWest Bank,

            in that PacWest Bank has lost the services and skill of the Raided Employees, and in many cases

            the benefit of the advantageous business relationships these Raided Employees had with both

            actual and potential clients. Additionally, the speed and number of disruptions and lost employees

            has created chaos within PacWest Bank, and has led to a loss of business opportunities and

            employee morale.

                       237.    The interference by Defendants with PacWest Bank's relationships with its

      18 employees and customers is ongoing and an injunction is necessary to stop the interference and
      19 prevent further injury to Plaintiffs. Discoveiy has confirmed that Defendants continue unabated in
      20 their efforts to wrongfully solicit PacWest Bank employees and customers, and the number of
      21 PacWest Bank customers transferring their business to SoCal Bank as a result Defendants' illegal
      22 acts continues to grow.
      23               238.    Plaintiffs' economic injury was and is the direct and proximate result of the

      24 I unlawful acts of unfair competition by SoCal Bank, SoCal Bancorp, Rainer, Hernandez and
      25 I Smithson set foith above.
      26               239.    As a result of the unlawful acts of unfair competition by SoCal Bank, SoCal

      27 I Bancorp, Rainer, Hernandez and Smithson, Plaintiffs are entitled to an injunction to prevent
      28 I further damage to, and interference and disruption of, their business, and restitution in the form of

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                                  PLAIIVTIFFS' SECOND AMENDED COMPLAIlVT FOR DAMAGES
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                  1 a return of the monies paid to Rainer under the Agreement, and Hernandez and Smithson pursuant

                  2 to their employment agreements and Stock Award Agreements with PacWest Bank.

                  3                                            PRAYER FOR RELIEF
                  4               WHEREFORE, Plaintiffs pray for relief as follows:

                  5               1.     For injunctive relief to prohibit Defendants' illegal conduct;

                  6               2.     For the return of past consulting fees unjustly received by Rainer approximately in

                  7 the amount of at least $135,000.00, but in an exact amount to be proven at trial;

                  8               3.     For the return of past salary and bonuses and stock unjustly received by Hernandez

                  9 I in an amount to be determined at trial;

                 10               4.     For the return of past salary and bonuses and stock unjustly received by Smithson

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                 11 I in an amount to be determined at trial;
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ao
W           "N   12               5.     For general damages, for both past and fature economic loss, in amount to be
F I+        pp
       •~
                 13 I proven at trial, in excess of $15 million;
c~8 ~
Wo ~             14               6.     For punitive damages in an amount to be determined at trial;
    o
x ~~d            15               7.     For all costs of suit incurred herein; and
oo°~
 ~               16               8.     For such other and further relief as this Court may deem proper.

¢           F    17
~
                 18 DATED: October 21, 2021                          BAUTE CROCHETIERE HARTLEY & VELKEI LLP

                 19                                                                                       ,
                                                                     By:
                 20
                                                                           Davi       rochetiere
                 21                                                        Attorneys for Plaintiff/Cross-Defendant
                                                                           PACWEST BANCORP, Plaintiff PACIFIC
                 22                                                        WESTERN BANK and Cross-Defendant
                                                                           JOHN M. EGGEMEYER
                 23
                 24
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                   1                                       DEMAND FOR JURY TRIAL

                  2               Plaintiffs PACWEST BANCORP and PACIFIC WESTERN BANK hereby demand a trial
                   3   by jury on all issues so triable.

                   4

                   5   DATED: October 21, 2021                  BAUTE CROCHETIERE HARTLEY & VELKEI LLP

                   6
                                                                By:
                   7
                                                                      Davi P. jXochetiere
                   8                                                  Attorneys for Plaintiff/Cross-Defendant
                                                                      PACWEST BANCORP, Plaintiff PACIFIC
                   9                                                  WESTERN BANK and Cross-Defendant
                                                                      JOHN M. EGGEMEYER
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             EXHIBIT I




                                                                               61
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                                                                                                                   EXECUTIC}N COPY
                                                                                                                     CONFIDENTIAL,




                                                        PacWeA Bancorp

                                                                                                                       May25, apl7.


          David.I. Rainer,
          (at the Ad"dress on file yvith the Company)

                          Re:      Amended and Restated CansultinzAt;reement
          Dear David;

                    ~1s you. kno~I, 'Pac~Vest Bancorp (t~ie: *~~arentll' and CLT Bancorp (tlte "Cori2pan}i).
_   -     entered ilato aza Agreement and 1'Ian :of Merger on ,April: 5, 20-J 7(t1Te c`1LLLfger.-;}gYeen2enf"),
          pursuant to wlucli tho Compattytvili merge rvith aiid into the P.arent (tlie                 Parent also
          ente.r:e€i into a. cons.ulting arracigernent. with yoit on April S,. 2017 to confrm the agreerriehts that
          Parent and: :you reaclied regarding the specific ternis .and conditions of ,your retention as ,a
          consultant to Parent following tlie closing of the Merger (the:"Corzszclting Agr^eenient''): Parent
          and you now desire to- ainend certain aspects of tlie; Consulting Agreemerit; and the purpose o£
          tfiis letter agreement is to set .forCh the specific terms and. conditions of your retention .as 4
          coiisultant to Parent as so ainencied Thi.s. letter _agreement amends. and restates iri .its eiitirety the
          Cansulting Agreernerit and becomes .effective as of; and .is- conditioned: upon the occurrence of,.
          the closing of the, Merger (tkie "Effective Dtate"), and if, the: Merger, .Agreezneiit is ternuiiated
          pursuant to:its teMs then this letfez cvill terminaEe'and be o,f no forcc,or e~f~c~s

          1. Pw`rpose oi' Engageanent

                      Upon the tenrls ttnd 5ubject to tlie conditivn.s of tlus letter, you agree to: serve as a.
           consultant to: Parent and its subsid'iatyes. As a_consultant, you agree to perfoim tlie services set
           forth on the attached Exliiliit A(tiile "Serrvices"). You agree .to perfortn the Services faithfLtlly
           and diligently for Parent as:set forkh izi this.letter.. In addition, witliout limiting in any way your
           obligations under tihis Sectic>n l; in, accordalice tivitli Section 409A of the Internal.Reventie Code
           bf 1986,. as.ainended ("the' Code"}, Parerzt and you co.nfirm tliat it is currerltiy ,anticipated that:
          ;your duties : ,s a coiisultant ~vould deerease to no more than.20% of the average levol o,f:;ser~~ic,es
           Perfc~~ned by you du ing,;your last°three:years of employment with tlie Company..

          Z, "Perm
                     The term Qf your consulting: arrangement will. cominence on the Effective Date and
          end, oii the 65"' niontli annivers.ar.y of the Effe,ctive Date (the "Tern2;"), 2uiless it is :so6ner
          terrnizrated, as p"rovided iit this letter; .T'arent and you, are undcr rio obligatiori, to. contiiaue tliis

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      engagement beyond the: Term. Additionally, Parent and you may tenniilate tlie Tenn before its
      sched.uled expi'ration as,pr`.avided in Secti4n 6.

      3. EeeS
                 During the Term, you ivill. receive an annuai retaiiter of $550,4Q.0, payab,le in.
      substantially equal monthly, iristallments on the f rst business. day of every irionth (tlie
      °`Consttlting Fee"). Iri addition~ during the Term, Parent will reimburse actual out-of-pocket
      expezlses reasonably inctirred by you in cannection Wifih: 'the Serv'ices;, subject to Parent's
      reimbursement policy, as in effect: from tiltie to tiiue;. and provide yoq tvith office space at its
      Beveriy Hills headquar'ters.

      4. Restrictions

              Yoti acknor,uledge that you hold equity in the. Company and, as a result of the 1Vlerger,
      you will receive a direct.and substantial econoinic benefit from the Merger: As an ind.ucement to
      Parerit entering into the; Merger Agreeinent and to consumrnate the Merger; to,pr"otect. Parent's
      legitimate interest in the goodwill and other assets associated with'the~liusiness of the .Coxn.pany,
      and in. consideration of the benefits to be received by you therefrom,. .you and. Parent
      acknovvledge and agree that it is .your intention tliat the covenants iu tlus Sectiori 44:be valid, Iegal
      aild enforceable-including, without-liinitation and-to-the ertent-app7icable, through; qualificatiori
      under §16601 of the California Business and Professions Code as an exception.to tlie restrictions
      set forth in y5;16600 of the California Business and Professions Code.

              Without, the written consent of Parent, you agree not to, directiy or intlirectly, represent,
      become ernployed by, perform services for; consult to, or advise 'in any manner or have any
      rnaterial interest in any Coinpetitive Enterpri.se from the Effectzve Date. until the third
      anniversary bf the Effective Date (the "RestYic"ted Periad").. A".Competitive Entefprise"mea.ns
      (1) any banking organization .that. coinpetes anywllere within the Coniparty's "fo.crtprir►t" .(i.e.,
      where the Company or any of its subsidiaries regeiiarly conducted business prior to the Effective
      `I'ime) with any of tbe business activities erigaged in.by the: Coinpany or, any ofits subsidiarles at
      anytime prior to the- Effective Date'or (2) any entity or businessattempting to acquire: an iriterest
      in a banking organization descritied in clause (1). OLvnership directiy: or indirectly (including,
      cvithout lrniitation, by being a member of a group within the ineanirig,of Ruie 13dS niider the:
      Securities.Exchanget Act of 1934, as amended (the;"E'xcha7age Aci~")) ofnot:more than 1°l0 of tlie
      outstancling stock pf any pulilicly'tra.ded,company will riot be.a violation of this S.ection 4.

               In addition, during, tfie Restricted .Yeriod, you. will. not, in any manrler, directly :or
      -indirectly (w'tthout 4he. prior Nvritten consent of Parent): (i) Scilicit any Client to traitsact b-usiiiess
       witli a.Competitive :Entei-prise,or to reduce or r.efrairi. from doing any business witll Parent or any
                                                            (...
       of its subs'i.diaries (including ,the Company), , iz) interfere With or''daznage aiiy relationship
      :lietdueen Parent, Pacifie NVestern Bank or the: Company, on tlie.one h:and,, and, a Client, on.. tli.e
       other hand; or ,{iii) Solicit atiyorie wlio is at~ einployee of Parent or .any of its. subsidiaries (or
       who; to yourr knowledge, was an employee of Parent or any of°its subsidiari.es within the prior 90
      days) to resi:gn from .Parent' or any of its subsidiaiies (including the Company) or to apply for or
       accept ernployrnent with ariy other CompetitiveEnterprise.

                                                                -2-
                             'S4tk1 Wisconsin r1wnue,'3nd Efoor, Chevy Ghase, MD 30815   (3QLj 8d1-27(l0              63
                                                        www.pdcwestbancocg:cona
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              F.or purposes of tlus letter, a"Clicnt" ineans atiy client of'the Company or any ofits
      siibsidiaries to whoin you; in. y.our capacity as an executive offrcer of the Company, provided,
      services, or- for whom you, in your capacity as:an executive offzcer of the Cotnpany, transacted
      b:usiness, or any <client or prospective client ~vho, to your knowledge, was stilicited. by the
      Coinpany or whose identity becairie-known,to yoii in connection, with your relationship with the.
      Compariy or any of its. subsidiaries a.nd "°`Solicii" irieans, any direct: or ind'irect communicatiori of
                          , way :invites, advises; encourages or requests •any perrson to take or refrain
      any kind. that in any
      frozn taking any actioii.

              The terms arid, provisiozis of this Section 4 are iiitended to be separate and di"visible,
      provisions and i;E, .for any reasan, any one or more of thenl is held to be invalid or unenforceable;
      neither the validity ,rior the enfocceability ofaay otlier provision of this Sec₹ion 4 or this letter
      will thereby be affected. The parties aeknowledge tliat ₹lie poteintiiil restiictioris on your fature,
      employment imposed by this, Section 4: are reasonable in both duration and geograpliic scope and
      in all otlier respects. If for aiiy re.ason. aiiy:coiirt of c4mpetent . jurisdiction finds anyprovisions
      ofthis Section 44 tobe unreasonable. in:durafion or geograpluc seope or otherwise;.you and.I'arerit
      agree that the restrictions, and prolubitioiis contained herein Nvill be effective fo the:fullest extent
      allowecl under appl'ic~bte law in such jurisdicfion:

               Yvu aeknowledge that your, Services are af a"specific, uri'ique and extraordiriary character
      and that your breach:or threateried breach of tlie provisions set forth in this Section 4 will cause
      irreparable injury to Pai.ent for which riionetary damages alone will. iiot `provide an adequate:
      remed.y, Accordingly; in :addition to any:rights or remedies Parent may have availa.ble to it under
      this letter.or :othenvise, Parent also wi.11 be entitled to.aii injunction to .6e issued by.any court of,
      competent jurisdiction, restraining you from committing :or coriti:nuing any violation ;of this
      Section 4:, You. agree that. no bond will .need ta be posted for Pareiit to receive. sucli aii
      injunetion, no proof of economie loss or inonetaiy ~amages will be required and that remedies;at
      iaw woi.ild be inaoecluate. In tlie: event that.. you breach .this. Sect'ion: 4, Parent's .obligatio.n
                                                                                                       _ . to
      1Tlake or provlde ally further payments. under` this .lettel Witll cease, aTld you. `will fb:rfei t ;a.ny`
      amoi.uits:wluch .ot.herwise:would: have been payable to you:

      ,.      Confidentiality.;

               During the Terin and thereafter, yoix will hold in a fiduciary capacity for :the.benefit of
      Par.ent all'trade secrets. and confdential inforinatio₹i, knowledge.or datarelatisig to Parent and.its
      subsidiaries .(including the Company) and their .businesses and investments, which will have
      been..abtained by you. during your employirient with the Company prior to the. Effective £?ate. anil .
      diiriiig yolar:consulting vvith Rarent. aiter the Effective Da.te and whicli are not generally available
      public kilowledge (other than by acts by you in viola#ion of this agreem.ent).. Except as inaybe
      required or;appropriate .in eonnection with: your carryizig out of:your duties, under th'is agreement;
      you will not, without the prior writteii coriserit of 1'arerit or as may othenvise be.required by 7'aw
      or any le;al process, aiiy statutory:oblz`gation or order ot' ariy court :or statutory tribunal of
      competent jurisdiction, 'or.as is, necessai•y i,n connection with any adversarial: proceediiig against
      Par.enfi (in wliich case-..you will use your reasonable best effoi-ts "to cooperate with Parent in ,its
      obtaining of a.protective. order against tiisclosure by a court of competent jurisdicticin),.

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                                                     www:pacvru~th.iricorp.cotn                                    64
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      communicate or divulge any such trade seerets; information; knowledge or data' to anypne: other
      tlian Pareut and lhose designated by Parent or on behalf of Paretit in the. furtherance. of `its
      liusiness or to perfonn duties hereunder,

              1Votwithstanding anyth'tng. to the contraiy ;in, tliis agreeinent or otheiwise, nothing will
      limit your riglits under applicable law to provide truthful infornlatifln to any, governmental entity
      or to file a charge witli or partieipate in an investigation conducted by any governmental entity;

              You; are liereby notified that the immunity provisions coritaiz~ed in Section 1833 of Title
      18 of the -United States Code provide that an individual cannot be held criminally or eivilly liabie
      under any federal or state trade.secret law' for any disclosure of a trade secret that.is inade (T)' in
      confidence to federal, state or local government ofFicials, either directly 4r indirectl'y;, or to -an
      attoiftey, and is solely for, the purpose of reporting or inv.estigating a suspected violation:.of the
      law, (2) under seal in a complaint' or other document filed in a lawsuit or ather proceediiig, or (3)
      to your attorney in connection with; a lawsuit for retalia,tion for reporting a suspected violation of
      law (and the trade secret may be used in the court proceedings for..such lativsuit) as long•as .any
      document contaiiiing the: trade: secret is. filed iulder seal .and .the trade secret is no₹ disclosed
      except pursuant to court order;

      G.      Terminatz+an

                 Parent may only, terminate the Ternn for Cause by written notice to you7 which notice
       may be effective imrnediately unless otherwise,provided herein. For irurposes of th'is letter,
      "Cause" means (i) your falsification of Parent iiocurrients or i;ecords; .(ii) your intentional ai-id
      improper use or disclosure of Parent'_s confidential orproprietar,y informatzon; (iii) ariy action by
      you which was intended to and has a:signiftcant detrimental effect: on Parent's reputation or
      business; (iv) your willfiil failure to perform aiiy reasonable assigned duties a$er writteri notice
       from Parent, and a reasonable opporturiity to cuTe, sucli willful failure; (v) ,your inaterial breach
       of any written agreement between you and .Pareiit, including this letter agreemeiat and the
      restrictive, .covenants: herein; or (vi) yotir conviction (inclu.ding any plea of gctilty vr nolo
      conteticlere) for theft, dishonesty; or of any criinizlal act which irnpairs y4ur' ability to: perform
      -your duties -with the Company; ;For termiriations arising urider subparagr•apli (iv} above, you
      sha11 have thirty (30) days following receipt of a written notice to cure .such gcounds for Caiise
      prior to a tertnination for Gause becomingeffective pursuant to subparagrapli 4,

                You may temunate. the Tei7n :for any reason before its sclleduled: expiration by written
      notice to Parent, which notice may, be-effective'immediately.

                , No part of the Cori"sulting Feewill be.payable to:you for any period following.the date
      of term,uxation (x) by Parent. for Cause, (y) by you for atiy reason., or (z) due to yoiir death or:
      disabili:ty: In'the event of an early terniination of the Term by T'arent_ ~v.ith.out Cause, Parent sliall,
      coritinue to pay you tlie Consult'ing Fee tlirough the remainder of the Term as provided in Section
      3 above.
                Iii the event of any early terinination of the Term for any reasons your obligations
      uncler Section 4 will contiiiuc: until :tlie cnd of'tlie Restrieted Pet7od iind your obligatiozzs uricler
      Seetion 5 will ,continue pursuant to their teiiris.

                                                                  -4-
                             .54Q4 4Visconsin Avenue, 2nd Floor Chav;r.Cliase; iviD 2081.5   (301) i3~1,1-270Q
                                                       }vww.pacwesthancocp:conr                                     65
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      7.      Independent Contraetcsr

                 You agree that yau are perlarining tlie Services as an in.deper~dent contractor and not as
      an einployee of Parent. Y'ciu ~vill bc: responsitile for the payiment of'al] applicable;taxes:levieti.:or
      based upon. the Consulting Fee and for alI nori-reimt~~,irsable e~:p~ses ,attributable to th.e
      rendering of S.ervices, lii :additien; you'will iiot: be eligible to participate in aiiy vacati,ori; graup
      met(ical. or life insurance, disa.bility, profit sharin; or, retirement benefits, or: any oth,er fringe
      tienefits or.benefit plans offered by Parent to its. employees: Nothing:in this' letter:v4r.il1 be: deerned
      to cOnstitute a paztnersliip .or joint venture between..Parerit and., -yoii, iior will aiiything in, tliis
      letfer be deeined tti constitute: Pa.rent or you as the agent of the otlier. Durirzg the Teran, neitlier
      you nor Parent rvill he Qr becorne liable to or bound by any relrreseri:tatiora; act or oznissiaii
      whatsoever of the other.

      8.      Mlscellarleous:

                  This ;letter agreement will not lie assigiiable by you: This letter agreexiient wil1 `6e
      assignablez by Parent onTy to an acqiiirer cif 'all cir snbstaiitially all .of the: assets of Parent,
      providcd such acqurrer prornpYly assumes all of the obligations hereunder ;of Parent in a. writing
      deTivered to you. and otherwise complies with the provisions hereof with regard to such
      ass.uni.ption.

                T13e valid'ity; iiiterpretation, construetion and perfonnance of this letter agreement tivill
      be .goveriied hy the l"aws nf the State af Califcirnia witliout regarrl to its conflicts of la.tiv
      principles.

                 If any provisie►n of this: letter is found by any court of eornpetent ,jurisdicrion to be
      illegal, invalid iir, unenforcealile for any reeason, then (i) the. 'provision ~wi11 be. amended
      autorriaticaiiy t4 the niinittiurri e4dent necessary to etlre tlze illegality or ulvalidity ari perrnit
      enforcement and {iz} the reinainder of this letter will not :be affected. This letter cofxstitutes the
      entire agreeinent Qf:the-parties with respect te the subjeet7 rnatter hereof and supersedes all pi-ior
      and:+contemparaiteou"s. rcpresentations, proposals,: dlScusslons,, and;:c.omnuniCatitilts, wlietlier orai
      or in, writing witli respect to the subject inatter'hereof. This letter may be modified only in a
      uiritinb sigied by y4u:and Parent.,

                 Any notices given :under tWs: letter (l.) by Parent to yau -will be rn writiitg and will be
       given lay hand delivery or by registered or certified mail; returii receipt requesterl, posta.ge
       prepaid, addressed to you at your address listed; above or (2) by you to Parent will be iix ivriting
      'and will :be gjven by liand delivery or by registered or certifi.ed rnaiT, :retum re€eipt requested',
       pqstage prepaid, addres$ed to the General: Counsel ofP~rent at:Parenf's corporate l~eadquarters




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              `I'o; coiifii-m the foregciing torms are acceptable to you, please execute and return the copy
      ofthis letter;,wluch is enclosed for your conveiiience.

                                                               Very truty yours,

                                                               PacWest Bancoi~p




                                                               Kori L. Ograsky
                                                               EVP,;C'.rerieral.
                                                                     .           Gounsel & Gorporate Sacretary


      Accepted and: P,greed:;

                          K



      David I. •R.ainer




                                                                  -f--
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                                                                                                    Exhibit A

      Tlie foll'owirig will constitute. the. Services to be performed;

          1. Assist with tran.siti.oii issues relating to tlie mc"rger. Such acti,v:ities may include attending
             meetings;:presentations and commuriications.

          2. Provide strategic advice and counsel to Parent.on.matteis.for whichyou.have personal
             knowledge: Such guidance may incluiie-specific accoitrit and client history; new market
             cteveloprnent;, portfolio: retentio.n strategies and tiroadeniztg'f naneial -services:

          3°. Facilitate customer outreach, including lirokering introductions and fostering busiiiess
              relationships between 1'egacy clients and tlie acquiring.otganization.

          4. Act as an arnbassador: to Paxent.and be available to meetwith, and beinvol'ved with,
             clients arid counterpai-ties, at tlie.request of Parent, where Pareut.believes your personai
             knowtedge; attendance and participation could be beiiefcial.

              Preserve business and employee relationsliips to mitigate disnapfion and anxiety
              associated ~vith,tk~e transactioii and change. This includes .pronroting eontinuity and
              r.etaining key p,ersonnel:

          6. Perforin i"aetiv business developmerit opportunities to attract and retain.new.cli,etits.
             As a leader in the industry, lielp promote the reputation.of Parent to key merchant
             b,anking inarkets:

          7. Perforin such .other services as, the:parties may mutually agree up.on frorn .time to time
             dur'ing.tlieterni:ofthe agreement:




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             EXHIBIT 2




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                                        PACWEST BANCORP
                                      STOCK INCENTIVE PLAN
                                  NOTICE OF STOCK AWARD GRANT
     This Notice of Stock Award Grant is part of the Stock Award Ageement between Grantee and the
     Company dated 05/14/2019 and is of no force and efPect until the Stock Award Agreement is signed
     by Grantee and the Company's representative, this Notice of Stock Award Grant is signed by Grantee.



                       You have been granted the following Stock Award:

                       Name of Grantee:               RICH      HERNANDEZ

                        Total Number of Shares
                        Granted:
                       ("Granted Stock")              3,483

                       Type of Stock Award             Restricted Stock Award

                       Date ofGrant:                   05/14/2019
                                                      The Granted-Stock shall-vest in full-over-4-years.
                       Vesting Schedule:              The first one-fourth of the Granted Stock shall vest
                                                      on the date the Grantee completes one year of
                                                      continuous Service after the Vesting
                                                      Commencement Date. An additional one-fourth of
                                                      the Granted Stock shall vest on the date the Grantee
                                                      completes each year of continuous Service
                                                      thereafter until Grantee is 100% vested in the
                                                      Restricted Stock on the 4~' year anniversary of the
                                                      Vesting Commencement Date.
                                                       The date that is the last day of the month in which
                       Vesting Commencement
                       Date:                           the Grant is made.


            Please sign below to acknowledge the terms and conditions of this Stock Award.
            ACKNOWLEDGED BY GRANTEE:



              I


                            Signed Electronically
              Name:         RICH       HERNANDEZ




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                                            PACWEST BANCORP
                                          STOCK INCENTIVE PLAN
                                        STOCK AWARD AGREEMENT

         l. Definitions. Unless otherwise defined herein, the terms defined in the PacWest Bancorp 2017 Stock
     Incentive Plan, as amended (the "Plan") shall have the same defined meanings in this Stock Award
     Agreement ("Agreement") and the Notice of Stock Award Grant attached hereto as Appendix A.
         2. Grant of Stock Award. Pursuant to the terms and conditions set forth in the Notice of Stock Award
     Grant, this Agreement, and the Plan, PacWest Bancorp (the "Company") grants to the grantee named in the
     Notice of Stock Award Grant ("Grantee") on the date of grant set forth in the Notice of Stock Award Grant
     ("Date of Grant") the number of Shares set forth in the Notice of Stock Award Grant. This Stock Award is
     intended to be a Restricted Stock Award or a Performance Stock Award, as provided in the Notice of Stock
     Award Grant.
          3. Vesting. The Grantee shall vest in the Granted Stock in accordance with the vesting schedule
     provided for in the Notice of Stock Award Grant; provided, however, that the Grantee shall cease vesting
     in the Granted Stock on the Grantee's Termination Date or the date on which the Compensation Committee
     of the Company's Board of Directors (the "Administrator") determines that the performance goals, if any,
     provided for in the Notice of Stock Award Grant were not satisfied during the designated period of time.
     Notwithstanding the foregoing, upon the occurrence of a Vesting Event, the Grantee shall become 100%                    _
     vested in those shares of Granted Stock that are outstanding on the date of the Vesting Event.
         4. Risk of Forfeiture.
                      (a) General Rule. The Granted Stock shall initially be subjectto a Risk of Forfeiture. The
                 Shares subject to a Risk of Forfeiture shall be referred to herein as "Restricted Shares".
                       (b)Lapse ofRisk ofForfeiture. The Risk of Forfeiture shall lapse as the Grantee vests in
                 the Granted Stock.
                      (c) Forfeitzire of Granted Stock. The Restricted Shares shall automatically be forfeited
                 and immediately returned to the Company on the Grantee's Termination Date or the date on
                 which the Administrator determines that the performance goals, if any, provided for in the
                 Notice of Stock Award Grant were not satisfied during the designated period of time.
                         (d)Additional Shares or Substituted Securities. In the event of a stock split, reverse stock
                 split, stock dividend, recapitalization, combination or reclassification of the Common Stock or
                 any other increase or decrease in the number of issued and outstanding Shares effected witliout
                 receipt of consideration by the Company, any new, substituted or additional securities or other
                 properry (including money paid other than as an ordinary cash dividend) which are by reason
                 of such transaction distributed with respect to any Restricted Shares or into which such
                 Restricted Shares thereby become convertible shall immediately be subject to a Risk of
                 Forfeiture, which Risk of Forfeiture shall lapse at the same time and in the same manner as the
                 Risk of Forfeiture to which the corresponding Restricted Share is subject.
                        (e)Escrow. Upon issuance, the stock certificates for Granted Stock shall be deposited in
                 escrow with the Company to be held in accordance with the provisions ofthis Agreement. Any
                 new, substituted or additional securities or other property described in Subsection (d) above
                 shall immediately be delivered to the Company to be held in escrow, but only to the extent the
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                 shares of Granted Stock are at the time Restricted Shares. All regular cash dividends on
                 Restricted Shares (or other securities at the time held in escrow) shall be paid directly to the
                 Grantee and shall not be held in escrow (such distributions may, however, be delivered to an
                 address at the Company for delivery to the Grantee). Restricted Shares, together with any other
                 assets or securities held in escrow hereunder, shall be (i) surrendered to the Company for
                 cancellation upon forfeiture of the Restricted Shares; or (ii) released to the Grantee upon the
                 Grantee's request to the Administrator on or after the date the shares of Granted Stock are no
                 longer Restricted Shares. Grantee agrees not to make a request to the Company's transfer agent
                 for delivery of any share certificates representing any shares of Granted Stock so long as such
                 shares are Restricted Shares.
         5. Rights as a Stockholder. The Grantee shall have the rights of a stockholder with respect to the
     dividends paid by the Company. Grantee shall not be entitled to vote any unvested shares of Granted Stock.
     Upon the vesting of any portion of the Stock Award, the Grantee shall have the voting rights with respect
     to any such vested shares of Granted Stock.
         6.Non-transferability of Stock Award. Except as otherwise provided for in the Plan, this Stock Award
     may not be sold, pledged, assigned, hypothecated, transferred, or disposed of in any manner other than by
     will or by the laws of descent and distribution and may be exercised, during the lifetime of the Grantee,
     only by the Grantee. If the Grantee transfers all or part of this Stock Award pursuant to the previous
     sentence, then the terms of this Agreement, the Plan and the Notice of Stock Award shall apply to the
     transferee to the same extent as to the Grantee.
          7.Regulatory Compliance. The issuance of Common Stock pursuant to this Agreement shall be subject
     to full compliance with all then applicable requirements of law and the requirements of any stock exchange
     or interdealer quotation system upon which the Common Stock may be listed or traded.
         8.Modifacation and Termination. The rights ofthe Grantee are subject to modification and termination
     in certain events, as provided in the Plan.
         9. Withholdiizg Tax. The Company's obligation to deliver Shares or remove any restrictive legends upon
     vesting of such Shares under the Plan shall be subject to the satisfaction of all applicable federal, state and
     local income and employment tax withholding requirements. The Grantee shall pay to the Company an
     amount equal to the withholding amount (or the Company may withhold such amount from the Grantee's
     salary) in cash or, to the extent permitted under Section 402 of the Sarbanes-Oxley Act of 2002 and the
     regulations adopted pursuant thereto, with Shares (including previously vested Granted Stock) with an
     aggregate fair market value equal to the withholding amount calculated using the maximum statutory
     withholding amount permitted to be withheld under applicable tax rules.
          10.Nondisclosure. Grantee acknowledges that the grant and terms of this Stock Award are confidential
     and may not be disclosed by Grantee to any other person, including other employees of the Company and
     other participants in the Plan, without the express written consent of the Company's Chief Executive
     Officer. Notwithstanding the foregoing, the Grantee may disclose the grant and terms of this Stock Award
     to the Grantee's family member, financial advisor, and attorney and as may be required by law or regulation.
     Any breach of this provision will be deemed to be a material breach of this Agreement.
          11. Governing Law. This Agreement shall be governed by and interpreted in accordance with the
     internal laws of the State of California without regard to principles of conflict of laws.


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         12.Successors. This Agreement shall inure to the benefit of and be binding upon the parties hereto and
     their legal representatives, heirs, and permitted transferees, successors and assigns.
         13.Plan. This Agreement and the Notice of Stock Award Grant are subject to all of the terms and
     provisions of the Plan, receipt of a copy of which is hereby acknowledged by the Grantee. The Grantee
     hereby agrees to accept as binding, conclusive, and final all decisions and interpretations of the
     Administrator upon any questions arising under the Plan, this Agreement, and the Notice of Stock Award
     Grant.
         14. Rights to Future Employment. This Stock Award does not confer upon the Grantee any right to
     continue in the Service of the Company or any Affiliate, nor does it limit the right of the Company to
     terminate the Service of the Grantee at any time.
         15.Restrictive Covenants. The Grantee hereby agrees to be bound by the restrictive covenants set forth
     in Annex A.
         16.Entire Agreement. The Notice of Stock Award Grant, this Agreement, and the Plan constitute the
     entire contract between the parties hereto with regard to the subject matter hereof. They supersede any other
     agreements, representations or understandings (whether oral or written and whether express or implied)
     between the parties which relate to the subject matter hereof.


     _       By your signature and_the si nature of the Company's representative below,you and the
     Company agree that this Stock Award is granted under and governed by the terms and conditions of this
     Agreement and the Plan and the Notice of Stock Award Grant, both of which are attached and
     incorporated herein by reference. This Stock Award is of no force and effect until this Agreement is
     signed by you and the Company's representative, the Notice of Stock Award Grant is signed by you.




      GRANTEE:                                               PACWEST BANCORP

      By:   Signed Electronically                            By:             ,
                                                                       '4c'r4,~
            Name:                                                     Rebecca H. Cordes
                                                                     Exec. Vice Presiclent, Human Resources




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                                                  ANNEX A
                                           RESTRICTIVE COVENANTS

             The Restrictive Covenants set forth in this Annex A to the Restricted Stock Award Agreement (the
     "Agreement") limit the ability of the Grantee to engage in certain practices during and following
     employment with the Company and is an integral part of the Agreement, without which the Company would
     not have granted the opportunity to earn the Restricted Stock Award.

              1.       Confidential Information. During your employment and thereafter, you shall hold in a
     fiduciary capacity for the benefit of the Company all trade secrets and Confidential Information relating to
     the Company and its businesses and investments, which will have been obtained by you during your
     employment by the Company and which is not generally available public knowledge (other than by acts by
     you in violation of this Agreement). Except as may be required or appropriate in connection with your
     carrying out your duties as an employee, you wi 11 not, without the prior written consent of the Company or
     as may otherwise be required by law or any legal process, any statutory obligation or order of any court or
     statutory tribunal of competent jurisdiction, or as is necessary in connection with any adversarial proceeding
     against the Company (in which case you will use your reasonable best efforts in cooperating with the
     Company in obtaining a protective order against disclosure by a court of competent jurisdiction),
     communicate or divulge any such trade secrets or Confidential Information to anyone other than the
     Company and_those designated_b_y_the Company or_on_behalf_of the Company in the_furtherance o£its
     business or to perform duties hereunder. Notwithstanding anything to the contrary in this Agreement or
     otherwise, nothing shall limit your rights under applicable law to provide truthful information to any
     governmental entity or to file a charge with or participate in an investigation conducted by any
     governmental entity. You are hereby notified that the immunity provisions in Section 1833 of title 18 of the
     United States Code provide that an individual cannot be held criminally or civilly liable under any federal
     or state trade secret law for any disclosure of a trade secret that is made (1) in confidence to federal, state
     or local government officials, either directly or indirectly, or to an attorney, and is solely for the purpose of
     reporting or investigating a suspected violation of the law, (2) under seal in a complaint or other document
     filed in a lawsuit or other proceeding, or (3) to your attorney in connection with a lawsuit for retaliation for
     reporting a suspected violation of law (and the trade secret may be used in the court proceedings for such
     lawsuit) as long as any document containing the trade secret is filed under seal and the trade secret is not
     disclosed except pursuant to court order.

              2.      Non-Solicitation of Emaloyees. You agree that during your employment, and for a six
     month period following the termination of your employment for any reason, you will not take any action,
     directly or indirectly (without the prior written consent of the Company), that causes or could reasonably
     be expected to cause any person who is then an employee of the Company or its Affiliates to resign from
     the Company or its Affiliates or to apply for or accept employment with any other business or enterprise.

              3.      Non-Solicitation of Customers. You agree that during your employment, and for a six
     month period following the termination of your employment for any reason, you will not, in any manner,
     directly or indirectly (without the prior written consent of the Company): (1) take any action that causes or
     could reasonably be expected to cause any customer or prospective customer of the Company or its
     Affiliates to whom you provided services or with whom you otherwise had contact to become a customer
     of or transact any business with a Competitive Business or reduce or refrain from doing any business with
     the Company or its Affiliates, (2) transact business with any customer or prospective customer that would
     cause you to be a Competitive Business, or (3) interfere with or damage any relationship between the
     Company and a customer or prospective customer.
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             4.       Reasonableness of Covenant. You agree that the covenants contained herein are reasonable
     and necessary to protect the confidentiality of the customer lists, the terms, conditions and nature of
     customer relationships, and other trade secrets and Confidential Information concerning the Company and
     its AfFliates, acqun•ed by you and to avoid actual or apparent conflicts of interest.

              5.      ValidLty. The terms and provisions of this Annex A are intended to be separate and
     divisible provisions and if, for any reason, any one or more of them is held to be invalid or unenforceable,
     neither the validity nor the enforceability of any other provision set forth herein thereby be affected. If for
     any reason any court of competent jurisdiction will find any provisions of this Annex A unreasonable in
     duration or geographic scope or otherwise, you and the Company agree that the restrictions and prohibitions
     contained herein will be effective to the fullest extent allowed under applicable law in such jurisdiction

              6.       Injunctive Relief. Without limiting any remedies available to the Company, you
     acknowledge and agree that a breach of the covenants contained in Sections 1 through 3 of this Annex A
     will result in injury to the Company and its Affiliates for which there is no adequate remedy at law and that
     it will not be possible to measure damages for such injuries precisely. Therefore, you agree that, in the
     event of such a breach or threat thereof, the Company will be entitled to seek a temporary restraining order
     and a preliminary and permanent injunction, without bond or other security, restraining you from engaging
     in activities prohibited by Sections 1 through 3 of this Annex A or such other relief as may be required
     specifically to enforce any of the covenants in Sections 1 through 3 of this Annex A.

                      Definitions. For purposes of these covenants, the following terms will have the following
     meanings:

                      (a)      "Competitive Business" means any business enterprise that either (i) engages in
     any activity that competes with the business of the Company or its Affiliates or (ii) holds a 5% or greater
     equity, voting or profit participation interest in any enterprise that engages in such a competitive activity.

                       (b)      "Confidential Information" means any information concerning the business or
     affairs of the Company or any of its Affiliates which is not generally known to the public and includes, but
     is not limited to, any file, document, book, account, list (including without limitation customer lists),
     process, patent, specification, drawing, design, computer program or file, computer disk, method of
     operation, recommendation, report, plan, survey, data, manual, strategy, financial data, client information
     or data (including the terms and conditions of any business relationships between clients and the Company
     or its Affiliates), or contract which comes to your knowledge in the course of your employment or which
     is generated by you in the course of performing your obligations to the Company whether alone or with
     others.


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     05/20/2019 12:48 PM U.S. Eastern Standard Time

     ACCEPTED




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             EXHIBIT 3




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                                         PACWEST BANCORP
                                       STOCK INCENTIVE PLAN
                                   NOTICE OF STOCK AWARD GRANT
     This Notice of Stock Award Grant is part of the Stock Award Agreement between Grantee and the
     Company dated 05/12/2020 and is of no force and effect until the Stock Award Agreement is signed
     by Grantee and the Company's representative, this Notice of Stock Award Grant is signed by Grantee.



                       You have been granted the following Stock Award:

                        Name of Grantee:               RICH     HERNANDEZ

                        Total Number of Shares
                        Granted:
                        ("Granted Stock")               3,900

                        Type of Stock Award:            Restricted Stock Award

                        Date of Grant:                 05/12/2020
                                                  -    TheGranted-Stock shall vestin-full over-4-years. -
                        Vesting Schedule:              The first one-fourth of the Granted Stock shall vest
                                                       on the date the Grantee completes one year of
                                                       continuous Service after the Vesting
                                                       Commencement Date. An additional one-fourth of
                                                       the Granted Stock shall vest on the date the Grantee
                                                       completes each year of continuous Service
                                                       thereafter until Grantee is 100% vested in the
                                                       Restricted Stock on the 4th year anniversary of the
                                                       Vesting Commencement Date.
                                                        The date that is the last day ofthe month in which
                        Vesting Commencement
                        Date:                           the Grant is made.


             Please sign below to acknowledge the terms and conditions of this Stock Award.
             ACKNOWLEDGED BY GRANTEE:




                             Signed Electronically

              Name:          RICH        HERNANDEZ




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                                              PACWEST BANCORP
                                            STOCK INCENTIVE PLAN
                                         STOCK AWARD AGREEMENT

         1.Defiizitions. Unless otherwise defined herein, the terms defined in the PacWest Bancorp 2017 Stock
     Incentive Plan, as amended (the "Plan") shall have the same defined meanings in this Stock Award
     Agreement ("Agreement") and the Notice of Stock Award Grant attached hereto as Appendix A.
         2. Grant of StockAward. Pursuant to the terms and conditions set forth in the Notice of Stock Award
     Grant, this Agreement, and the Plan, PacWest Bancorp (the "Company") grants to the grantee named in the
     Notice of Stock Award Grant ("Grantee") on the date of grant set forth in the Notice of Stock Award Grant
     ("Date of Grant") the number of Shares set forth in the Notice of Stock Award Grant. This Stock Award is
     intended to be a Restricted Stock Award or a Performance Stock Award, as provided in the Notice of Stock
     Award Grant.
          3. Vesting. The Grantee shall vest in the Granted Stock in accordance with the vesting schedule
     provided for in the Notice of Stock Award Grant; provided, however, that the Grantee shall cease vesting
     in the Granted Stock on the Grantee's Termination Date or the date on which the Compensation Committee
     of the Company's Board of Directors (the "Administrator") determines that tlie performance goals, if any,
     provided for in the Notice of Stock Award Grant were not satisfied during the designated period of time.
 _   Notwithstanding the foregoing, upon the occurrence of a Vesting Event, the Grantee shall become 100%
     vested in those shares of Granted Stock that are outstanding on the date of the Vesting Event.
         4. Risk of Forfeitzire.
                       (a) General Rule. The Granted Stock shal I initially be subject to a Risk of Forfeiture. The
                  Shares subject to a Risk of Forfeiture shall be referred to herein as "Restricted Shares".
                        (b)Lapse of Risk of Forfeiture. The Risk of Forfeiture shall lapse as the Grantee vests in
                  the Granted Stock.
                      (c) Forfeiture of Granted Stock. The Restricted Shares shall automatically be forfeited
                 and immediately returned to the Company on the Grantee's Termination Date or the date on
                 which the Administrator determines that the performance goals, if any, provided for in the
                 Notice of Stock Award Grant were not satisfied during the designated period of time.
                          (d)Additional Shares or Substituted Securities. In the event of a stock split, reverse stock
                  split, stock dividend, recapitalization, combination or reclassification of the Common Stock or
                  any other increase or decrease in the number of issued and outstanding Shares effected without
                  receipt of consideration by the Company, any new, substituted or additional securities or other
                  property (including money paid other than as an ordinary cash dividend) which are by reason
                  of such transaction distributed with respect to any Restricted Shares or into which such
                  Restricted Shares thereby become convertible shall immediately be subject to a Risk of
                  Forfeiture, which Risk of Forfeiture shall lapse at the same time and in the same manner as the
                  Risk of Forfeiture to which the corresponding Restricted Share is subject.
                         (e)Escrow. Upon issuance, the stock certificates for Granted Stock shall be deposited in
                  escrow with the Company to be held in accordance with the provisions ofthis Agreement. Any
                  new, substituted or additional securities or other property described in Subsection (d) above
                  shall immediately be delivered to the Company to be held in escrow, but only to the extent the
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                 shares of Granted Stock are at the time Restricted Shares. All regular cash dividends on
                 Restricted Shares (or other securities at the time held in escrow) shall be paid directly to the
                 Grantee and shall not be held in escrow (such distributions may, however, be delivered to an
                 address at the Company for delivery to the Grantee). Restricted Shares, together with any other
                 assets or securities held in escrow hereunder, shall be (i) surrendered to the Company for
                 cancellation upon forfeiture of the Restricted Shares; or (ii) released to the Grantee upon the
                 Grantee's request to the Administrator on or after the date the shares of Granted Stock are no
                 longer Restricted Shares. Grantee agrees not to make a request to the Company's transfer agent
                 for delivery of any share certificates representing any shares of Granted Stock so long as such
                 shares are Restricted Shares.
         5. Rights as a Stockholder. The Grantee shall have the rights of a stockholder with respect to the
     dividends paid by the Company. Grantee shall not be entitled to vote any unvested shares of Granted Stock.
     Upon the vesting of any portion of the Stock Award, the Grantee shall have the voting rights with respect
     to any such vested shares of Granted Stock.
         6.Non-transferability of Stock Award. Except as otherwise provided for in the Plan, this Stock Award
     may not be sold, pledged, assigned, hypothecated, transferred, or disposed of in any manner other than by
     will or by the laws of descent and distribution and may be exercised, during the lifetime of the Grantee,
     only by the Grantee. If the Grantee transfers all or part of this Stock Award pursuant to the previous
     sentence, then the terms of this Agreement, the Plan and the Notice of Stock Award shall apply to the
     transferee to the same extent as to the Grantee.
          7.Regulatory Compliance. The issuance of Common Stock pursuant to this Agreement shall be subject
     to full compliance with all then applicable requirements of law and the requirements of any stock exchange
     or interdealer quotation system upon which the Common Stock may be listed or traded.
         8.Modification and Termination. The rights ofthe Grantee are subject to modification and termination
     in certain events, as provided in the Plan.
         9. Withholding Tax. The Company's obligation to deliver Shares or remove any restrictive legends upon
     vesting of such Shares under the Plan shall be subject to the satisfaction of all applicable federal, state and
     local income and employment tax withholding requirements. The Grantee shall pay to the Company an
     amount equal to the withholding amount (or the Company may withhold such amount from the Grantee's
     salary) in cash or, to the extent permitted under Section 402 of the Sarbanes-Oxley Act of 2002 and the
     regulations adopted pursuant thereto, with Shares (including previously vested Granted Stock) with an
     aggregate fair market value equal to the withholding amount calculated using the maximum statutory
     withholding amount permitted to be withheld under applicable tax rules.
          10.Nondisclosure. Grantee acknowledges that the grant and terms of this Stock Award are confidential
     and may not be disclosed by Grantee to any other person, including other employees of the Company and
     other participants in the Plan, without the express written consent of the Company's Chief Executive
     Officer. Notwithstanding the foregoing, the Grantee may disclose the grant and terms of this Stock Award
     to the Grantee's family member, financial advisor, and attorney and as may be required by law or regulation.
     Any breach of this provision will be deemed to be a material breach of this Agreement.
          11. Governing Law. This Agreement shall be governed by and interpreted in accordance with the
     internal laws of the State of California without regard to principles of conflict of laws.


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         12.Successors. This Agreement shall inure to the benefit of and be binding upon the parties hereto and
     their legal representatives, heirs, and permitted transferees, successors and assigns.
         13.Plan. This Agreement and the Notice of Stock Award Grant are subject to all of the terms and
     provisions of the Plan, receipt of a copy of which is hereby acknowledged by the Grantee. The Grantee
     hereby agrees to accept as binding, conclusive, and final all decisions and interpretations of the
     Administrator upon any questions arising under the Plan, this Agreement, and the Notice of Stock Award
     Grant.
         14. Rights to Future Employment. This Stock Award does not confer upon the Grantee any right to
     continue in the Service of the Company or any Affiliate, nor does it limit the right of the Company to
     terminate the Service of the Grantee at any time.
         15.Restrictive Covenants. The Grantee hereby agrees to be bound by the restrictive covenants set forth
     in Annex A.
         16.Entire Agreement. The Notice of Stock Award Grant, this Agreement, and the Plan constitute the
     entire contract between the parties hereto with regard to the subject matter hereof. They supersede any other
     agreements, representations or understandings (whether oral or written and whether express or implied)
     between the parties which relate to the subject matter hereof.


     _      _Byyouur signature and the signature of the Company's representative below, you and the
     Company agree that this Stock Award is granted under and governed by the terms and conditions of this
     Agreement and the Plan and the Notice of Stock Award Grant, both of which are attached and
     incorporated herein by reference. This Stock Award is of no force and effect until this Agreement is
     signed by you and the Company's representative, the Notice of Stock Award Grant is signed by you.




      GRANTEE:                                              PACWEST BANCORP

      By:     Signed Electronically                          By:
            Name:                                                    Rebecca H. Cordes
                                                                     Exec. Vice Presiclent, Human Resources




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                                                  ANNEX A
                                           RESTRICTIVE COVENANTS

             The Restrictive Covenants set forth in this Annex A to the Restricted Stock Award Agreement (the
     "Agreement") limit the ability of the Grantee to engage in certain practices during and following
     employment with the Company and is an integral part of the Agreement, without wh ich the Company would
     not have granted the opportunity to earn the Restricted Stock Award.

              1.      Confidential Information. During your employment and thereafter, you shall hold in a
     fiduciary capacity for the benefit of the Company all trade secrets and Confidential Information relating to
     the Company and its businesses and investments, which will have been obtained by you during your
     employment by the Company and which is not generally available public knowledge (other than by acts by
     you in violation of this Agreement). Except as may be required or appropriate in connection with your
     carrying out your duties as an employee, you wi 11 not, without the prior written consent of the Company or
     as may otherwise be required by law or any legal process, any statutory obligation or order of any court or
     statutory tribunal of competent jurisdiction, or as is necessary in connection with any adversarial proceeding
     against the Company (in which case you will use your reasonable best efforts in cooperating with the
     Company in obtaining a protective order against disclosure by a court of competent jurisdiction),
     communicate or divulge any such trade secrets or Confidential Information to anyone other than the
     Company and those_designated _by_the Company__or_on. behalf_of_the Company_in_the fiirflierance of its
     business or to perform duties hereunder. Notwithstanding anything to the contrary in this Agreement or
     otherwise, nothing shall limit your rights under applicable law to provide truthful information to any
     governmental entity or to file a charge with or participate in an investigation conducted by any
     governmental entiry. You are hereby notified that the immunity provisions in Section 1833 of title 18 of the
     United States Code provide that an individual cannot be held criminally or civilly liable under any federal
     or state trade secret law for any disclosure of a trade secret that is made (1) in confidence to federal, state
     or local government officials, either directly or indirectly, or to an attorney, and is solely for the purpose of
     reporting or investigating a suspected violation of the law, (2) under seal in a complaint or other document
     filed in a lawsuit or other proceeding, or (3) to your attorney in connection with a lawsuit for retaliation for
     reporting a suspected violation of law (and the trade secret may be used in the court proceedings for such
     lawsuit) as long as any document containing the trade secret is filed under seal and the trade secret is not
     disclosed except pursuant to court order.

              2.      Non-Solicitation of Employees. You agree that during your employment, and for a six
     month period following the termination of your employment for any reason, you will not take any action,
     directly or indirectly (without the prior written consent of the Company), that causes or could reasonably
     be expected to cause any person who is then an employee of the Company or its Affiliates to resign from
     the Company or its Affiliates or to apply for or accept employment with any other business or enterprise.

              3.       Non-Solicitation of Customers. You agree that during your employment, and for a six
     month period following the termination of your employment for any reason, you will not, in any manner,
     directly or indirectly (without the prior written consent ofthe Company): (1) take any action that causes or
     could reasonably be expected to cause any customer or prospective customer of the Company or its
     Affiliates to whom you provided services or with whom you otherwise had contact to become a customer
     of or transact any business with a Competitive Business or reduce or refrain from doing any business with
     the Company or its Affiliates, (2) transact business with any customer or prospective customer that would
     cause you to be a Competitive Business, or (3) interfere with or damage any relationship between the
     Company and a customer or prospective customer.
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              4.       Reasonableness of Covenant. You agree that the covenants contained herein are reasonable
     and necessary to protect the confidentiality of the customer lists, the tenns, conditions and nature of
     customer relationships, and other trade secrets and Confidential Information concerning the Company and
     its Affiliates, acquu•ed by you and to avoid actual or apparent conflicts of interest.

              S.      Validiiy. The terms and provisions of this Annex A are intended to be separate and
     divisible provisions and if, for any reason, any one or more of them is held to be invalid or unenforceable,.
     neither the validity nor the enforceability of any other provision set forth herein thereby be affected. If for
     any reason any court of competent jurisdiction will find any provisions of this Annex A unreasonable in
     duration or geographic scope or otherwise, you and the Company agree that the restrictions and prohibitions
     contained herein will be effective to the fullest extent allowed under applicable law in such jurisdiction

              6.       Iniunctive Relief. Without luniting any remedies available to the Company, you
     acknowledge and agree that a breach of the covenants contained in Sections 1 through 3 of this Annex A
     will result in injury to the Company and its Affiliates for which there is no adequate remedy at law and that
     it will not be possible to measure damages for such injuries precisely. Therefore, you agree that, in the
     event of such a breach or threat thereof, the Company will be entitled to seek a temporary restraining order
     and a preliminary and permanent injunction, without bond or other security, restraining you from engaging
     in activities prohibited by Sections 1 through 3 of this Annex A or such other relief as may be required
     specifically to enforce any of the covenants in Sections 1 through 3 of this Annex A.

           7.         Definitions. For purposes of these covenants, the following terms will have the following
   —meanings:                                             -

                      (a)      "Competitive Business" means any business enterprise that either (i) engages in
     any activity that competes with the business of the Company or its Affiliates or (ii) holds a 5% or greater
     equity, voting or profit participation interest in any enterprise that engages in such a competitive activity.

                       (b)      "Confidential Information" means any information concerning the business or
     affairs of the Company or any of its Affiliates which is not generally known to the public and includes, but
     is not limited to, any file, document, book, account, list (including without limitation customer lists),
     process, patent, specification, drawing, design, computer program or file, computer disk, method of
     operation, recommendation, report, plan, survey, data, manual, strategy, fmancial data, client information
     or data (including the terms and conditions of any business relationships between clients and the Company
     or its Affiliates), or contract which comes to your knowledge in the course of your employment or which
     is generated by you in the course of performing your obligations to the Company whether alone or with
     others.


     KEBAQYRO

     05/15/2020 06:05 PM U.S. Eastern Standard Time

     ACCEPTED




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             EXHIBIT 4




                                                                                83
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                                         PACWEST BANCORP
                                       STOCK INCENTIVE PLAN
                                   NOTICE OF STOCK AWARD GRANT
     This Notice of Stock Award Grant is part of the Stock Award Agreement between Grantee and the
     Company dated 05/14/2019 and is of no force and efPect until the Stock Award Agreement is signed
     by Grantee and the Company's representative, this Notice of Stock Award Grant is signed by Grantee.



                        You have been granted the following Stock Award:

                        Name of Grantee:                DIANA REMINGTON          SMITHSON

                        Total Number of Shares
                        Granted:
                        ("Granted Stock")               2,013


                        Type of Stock Award:            Restricted Stock Award

                        Date ofGrant:                   05/14/2019
                                                        The-Granted Stock-shall-vest-in-full over 4 years.
                        Vesting Schedule:               The first one-fourth of the Granted Stock shall vest
                                                        on the date the Grantee completes one year of
                                                        continuous Service after the Vesting
                                                        Commencement Date. An additional one-fourth of
                                                        the Granted Stock shall vest on the date the Grantee
                                                        completes each year of continuous Service
                                                        thereafter until Grantee is 100% vested in the
                                                        Restricted Stock on the 4~' year anniversary of the
                                                        Vesting Commencement Date.
                                                        The date that is the last day ofthe month in which
                        Vesting Commencement
                        Date:                           the Grant is made.


             Please sign below to acknowledge the terms and conditions of this Stock Award.
             ACKNOWLEDGED BY GRANTEE:



              By:
                             Signed Electronical
              Name:          DIANA REMINGTON          SMITHSON




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                                             PACWEST BANCORP
                                           STOCK INCENTIVE PLAN
                                         STOCK AWARD AGREEMENT

         1.Defiiaitions. Unless otherwise defined herein, the terms defined in the PacWest Bancorp 2017 Stock
     Incentive Plan, as amended (the "Plan") shall have the same defined meanings in this Stock Award
     Agreement ("Agreement") and the Notice of Stock Award Grant attached hereto as Appendix A.
         2. Grant of StockAward. Pursuant to the terms and conditions set forth in the Notice of Stock Award
     Grant, this Agreement, and the Plan, PacWest Bancorp (the "Company") grants to the grantee named in the
     Notice of Stock Award Grant ("Grantee") on the date of grant set forth in the Notice of Stock Award Grant
     ("Date of Grant") the number of Shares set forth in the Notice of Stock Award Grant. This Stock Award is
     intended to be a Restricted Stock Award or a Performance Stock Award, as provided in the Notice of Stock
     Award Grant.
          3. Vesting. The Grantee shall vest in the Granted Stock in accordance with the vesting schedule
     provided for in the Notice of Stock Award Grant; provided, however, that the Grantee shall cease vesting
     in the Granted Stock on the Grantee's Termination Date or the date on which the Compensation Committee
     of the Company's Board of Directors (the "Administrator") determines that the performance goals, if any,
     provided for in the Notice of Stock Award Grant were not satisfied during the designated period of time.
     Notwithstanding the foregoing, upon the occurrence of a Vesting Event, the Grantee shall become 100%
     vested in those shares of Granted Stock that are outstanding on the date of the Vesting Event.
         4. Risk of Forfeiture.
                      (a) General Rule. The Granted Stock shall initially be subject to a Risk of Forfeiture. The
                 Shares subject to a Risk of Forfeiture shall be referred to herein as "Restricted Shares".
                       (b)Lapse ofRisk of Forfeiture. The Risk of Forfeiture shall lapse as the Grantee vests in
                 the Granted Stock.
                      (c) Forfeiture of Granted Stock. The Restricted Shares shall automatically be forfeited
                 and immediately returned to the Company on the Grantee's Termination Date or the date on
                 which the Administrator determines that the performance goals, if any, provided for in the
                 Notice of Stock Award Grant were not satisfied during the designated period of time.
                         (d)Additional Shares or Substituted Securities. In the event of a stock split, reverse stock
                 split, stock dividend, recapitalization, combination or reclassification of the Common Stock or
                 any other increase or decrease in the number of issued and outstanding Shares effected without
                 receipt of consideration by the Company, any new, substituted or additional securities or other
                 property (including money paid other than as an ordinary cash dividend) which are by reason
                 of such transaction distributed with respect to any Restricted Shares or into which such
                 Restricted Shares thereby become convertible shall immediately be subject to a Risk of
                 Forfeiture, which Risk of Forfeiture shall lapse at the same time and in the same manner as the
                 Risk of Forfeiture to which the corresponding Restricted Share is subject.
                        (e)Escrow. Upon issuance, the stock certificates for Granted Stock shall be deposited in
                 escrow with the Company to be held in accordance with the provisions of this Agreement. Any
                 new, substituted or additional securities or other property described in Subsection (d) above
                 shall immediately be delivered to the Company to be held in escrow, but only to the extent the
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                 shares of Granted Stock are at the time Restricted Shares. All regular cash dividends on
                 Restricted Shares (or other securities at the time held in escrow) shall be paid directly to the
                 Grantee and shall not be held in escrow (such distributions may, however, be delivered to an
                 address at the Company for delivery to the Grantee). Restricted Shares, together with any other
                 assets or securities held in escrow hereunder, shall be (i) surrendered to the Company for
                 cancellation upon forfeiture of the Restricted Shares; or (ii) released to the Grantee upon the
                 Grantee's request to the Administrator on or after the date the shares of Granted Stock are no
                 longer Restricted Shares. Grantee agrees not to make a request to the Company's transfer agent
                 for delivery of any share certificates representing any shares of Granted Stock so long as such
                 shares are Restricted Shares.
         5. Rights as a Stockholder. The Grantee shall have the rights of a stockholder with respect to the
     dividends paid by the Company. Grantee shall not be entitled to vote any unvested shares of Granted Stock.
     Upon the vesting of any portion of the Stock Award, the Grantee shall have the voting rights with respect
     to any such vested shares of Granted Stock.
         6.Non-transferability of StockAward. Except as otherwise provided for in the Plan, this Stock Award
     may not be sold, pledged, assigned, hypothecated, transferred, or disposed of in any manner other than by
     will or by the laws of descent and distribution and may be exercised, during the lifetime of the Grantee,
     only by the Grantee. If the Grantee transfers all or part of this Stock Award pursuant to the previous
     sentence, then the terms of this Agreement, the Plan and the Notice of Stock Award shall apply to the
     transferee to the same extent as to the Grantee.
          7.Regulatory Compliance. The issuance of Common Stock pursuant to this Agreement shall be subject
     to full compliance with all then applicable requirements of law and the requirements of any stock exchange
     or interdealer quotation system upon which the Common Stock may be listed or traded.
         8.Modification and Termination. The rights of the Grantee are subject to modification and termination
     in certain events, as provided in the Plan.
         9. Withholding Taz. The Company's obligation to deliver Shares or remove any restrictive legends upon
     vesting of such Shares under the Plan shall be subject to the satisfaction of all applicable federal, state and
     local income and employment tax withholding requirements. The Grantee shall pay to the Company an
     amount equal to the withholding amount (or the Company may withhold such amount from the Grantee's
     salary) in cash or, to the extent permitte.d under Section 402 of the Sarbanes-Oxley Act of 2002 and the
     regulations adopted pursuant thereto, with Shares (including previously vested Granted Stock) with an
     aggregate fair market value equal to the withholding amount calculated using the maximum statutory
     withholding amount permitted to be withheld under applicable tax rules.
          10.Nondisclosure. Grantee acknowledges that the grant and terms of this Stock Award are confidential
     and may not be disclosed by Grantee to any other person, including other employees of the Company and
     other participants in the Plan, without the express written consent of the Company's Chief Executive
     Officer. Notwithstanding the foregoing, the Grantee may disclose the grant and terms of this Stock Award
     to the Grantee's family member, financial advisor, and attorney and as may be required by law or regulation.
     Any breach of this provision will be deemed to be a material breach of this Agreement.
          11. Governing Law. This Agreement shall be governed by and interpreted in accordance with the
     internal laws of the State of California without regard to principles of conflict of laws.


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             12.Successors. This Agreement shall inure to the benefit of and be binding upon the parties hereto and
         their legal representatives, heirs, and permitted transferees, successors and assigns.
             13. Plan. This Agreement and the Notice of Stock Award Grant are subject to all of the terms and
         provisions of the Plan, receipt of a copy of which is hereby acknowledged by the Grantee. The Grantee
         hereby agrees to accept as binding, conclusive, and final all decisions and interpretations of the
         Administrator upon any questions arising under the Plan, this Agreement, and the Notice of Stock Award
         Grant.
             14. Rights to Future Employment. This Stock Award does not confer upon the Grantee any right to
         continue in the Service of the Company or any Affiliate, nor does it limit the right of the Company to
         terminate the Service of the Grantee at any time.
             15.Restrictive Covenants. The Grantee hereby agrees to be bound by the restrictive covenants set forth
         in Annex A.
             16.Entire Agreement. The Notice of Stock Award Grant, this Agreement, and the Plan constitute the
         entire contract between the parties hereto with regard to the subject matter hereof. They supersede any other
         agreements, representations or understandings (whether oral or written and whether express or implied)
         between the parties which relate to the subject matter hereof.


_                By your signature and the signature of the Company's representative below, you and the
         Company agree that this Stock Award is granted under and governed by the terms and conditions of this
         Agreement and the Plan and the Notice of Stock Award Grant, both of which are attached and
         incorporated herein by reference. This Stock Award is of no force and effect until this Agreement is
         signed by you and the Company's representative, the Notice of Stock Award Grant is signed by you.




          GRANTEE:                                              PACWEST BANCORP

          By:   Signed Electronically                            By:
                                                                          ~.
                Name:                                                     Rebecca H. Cordes
                                                                         Exec. Vice President, Human Resources




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                                                  ANNEX A
                                           RESTRICTIVE COVENANTS

              The Restrictive Covenants set forth in this Annex A to the Restricted Stock Award Agreement (the
      "Agreement") limit the ability of the Grantee to engage in certain practices during and following
      employment with the Company and is an integral part of the Agreement, without wh ich the Company would
      not have granted the opportunity to earn the Restricted Stock Award.

               1.      Confidential Information. During your employment and thereafter, you shall hold in a
     fiduciary capacity for the benefit of the Company all trade secrets and Confidential Information relating to
     the Company and its businesses and investments, which will have been obtained by you during your
     employment by the Company and which is not generally available public knowledge (other than by acts by
     you in violation of this Agreement). Except as may be required or appropriate in connection with your
     carrying out your duties as an employee, you wi Il not, without the prior written consent of the Company or
     as may otherwise be required by law or any legal process, any statutory obligation or order of any court or
     statutory tribunal of competent jurisdiction, or as is necessary in connection with any adversarial proceeding
     against the Company (in which case you will use your reasonable best efforts in cooperating with the
     Company in obtaining a protective order against disclosure by a court of competent jurisdiction),
     communicate or divulge any such trade secrets or Confidential Information to anyone other than the
  —_Compan.y_and_those designated by__the_Company or on_behalf of_the_Company..in_the _fnrtherance_of_its— _.
     business or to perform duties hereunder. Notwithstanding anything to the contrary in this Agreement or
     otherwise, nothing shall limit your rights under applicable law to provide truthful information to any
     governmental entity or to file a charge with or participate in an investigation conducted by any
     govemmental entity. You are hereby notified that the immunity provisions in Section 1833 of title 18 of the
     United States Code provide that an individual cannot be held criminally or civilly liable under any federal
     or state trade secret law for any disclosure of a trade secret that is made (1) in confidence to federal, state
     or local government officials, either directly or indirectly, or to an attorney, and is solely for the purpose of
     reporting or investigating a suspected violation of the law, (2) under seal in a complaint or other document
     filed in a lawsuit or other proceeding, or (3) to your attorney in connection with a lawsuit for retaliation for
     reporting a suspected violation of law (and the trade secret may be used in the court proceedings for such
     lawsuit) as long as any document containing the trade secret is filed under seal and the trade secret is not
     disclosed except pursuant to court order.

               2.      Non-Solicitation of Employees. You agree that during your employment, and for a six
      month period following the termination of your employment for any reason, you will not take any action,
      directly or indirectly (without the prior written consent of the Company), that causes or could reasonably
      be expected to cause any person who is then an employee of the Company or its Affiliates to resign from
      the Company or its Affiliates or to apply for or accept employment with any other business or enterprise.

               3.      Non-Solicitation of Customers. You agree that during your employment, and for a six
      month period following the termination of your employment for any reason, you will not, in any manner,
      directly or indirectly (without the prior written consent of the Company): (1) take any action that causes or
      could reasonably be expected to cause any customer or prospective customer of the Company or its
      Affiliates to whom you provided services or with whom you otherwise had contact to become a customer
      of or transact any business with a Competitive Business or reduce or refrain from doing any business with
      the Company or its Affiliates, (2) transact business with any customer or prospective customer that would
      cause you to be a Competitive Business, or (3) interfere with or damage any relationship between the
      Company and a customer or prospective customer.
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              4.        Reasonableness of Covenant. You agree that the covenants contained herein are reasonable
     and necessary to protect the confidentiality of the customer lists, the terms, conditions and nature of
     customer relationships, and other trade secrets and Confidential Information concerning the Company and
     its Affiliates, acqun•ed by you and to avoid actual or apparent conflicts of interest.

              5.      ValidLty. The terms and provisions of this Annex A are intended to be separate and
     divisible provisions and if, for any reason, any one or more of them is held to be invalid or unenforceable,
     neither the validity nor the enforceability of any other provision set forth herein thereby be affected. If for
     any reason any court of competent jurisdiction will find any provisions of this Annex A unreasonable in
     duration or geographic scope or otherwise, you and the Company agree that the restrictions and prohibitions
     contained herein will be effective to the fullest extent allowed under applicable law in such jurisdiction

             6.       Iniunctive Relief.    Without limiting any remedies available to the Company, you
     acknowledge and agree that a breach of the covenants contained in Sections 1 through 3 of this Annex A
     will result in injury to the Company and its Affiliates for which there is no adequate remedy at law and that
     it will not be possible to measure damages for such injuries precisely. Therefore, you agree that, in the
     event of such a breach or threat thereof, the Company will be entitled to seek a temporary restraining order
     and a preliminary and permanent injunction, without bond or other security, restraining you from engaging
     in activities prohibited by Sections 1 through 3 of this Annex A or such other relief as may be required
     specifically to enforce any of the covenants in Sections 1 through 3 of this Annex A.

            7.        Definitions. For purposes of these covenants, the following terms will have the following
     meanings:                                   -                                -               -              —

                      (a)      "Competitive Business" means any business enterprise that either (i) engages in
     any activity that competes with the business of the Company or its Affiliates or (ii) holds a 5% or greater
     equity, voting or profit participation interest in any enterprise that engages in such a competitive activity.

                       (b)      "Confidential Information" means any information concerning the business or
     affairs of the Company or any of its Affiliates which is not generally known to the public and includes, but
     is not limited to, any file, document, book, account, list (including without limitation customer lists),
     process, patent, specification, drawing, design, computer program or file, computer disk, method of
     operation, recommendation, report, plan, survey, data, manual, strategy, financial data, client information
     or data (including the terms and conditions of any business relationships between clients and the Company
     or its Affiliates), or contract which comes to your knowledge in the course of your employment or which
     is generated by you in the course of performing your obligations to the Company whether alone or with
     others.


     JEI9MVAA

     05/22/2019 04:18 PM U.S. Eastern Standard Time

     ACCEPTED




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             EXHIBIT 5




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                                        PACWEST BANCORP
                                      STOCK INCENTIVE PLAN
                                  NOTICE OF STOCK AWARD GRANT
     This Notice of Stock Award Grant is part of the Stock Award Agreement between Grantee and the
     Company dated 05/12/2020 and is of no force and effect until the Stock Award Agreement is signed
     by Grantee and the Company's representative, this Notice of Stock Award Grant is signed by Grantee.



                       You have been granted the following Stock Award:

                       Name of Grantee:               DIANA REMINGTON           SMITHSON

                       Total Number of Shares
                       Granted:
                       ("Granted Stock")               2,254

                       Type of Stock Award:            Restricted Stock Award

                       Date of Grant:                  05/12/2020
                       -        -                      The Granted Stock shall-vest in full-over 4years. —
                       Vesting Schedule:               The first one-fourth of the Granted Stock shall vest
                                                       on the date the Grantee completes one year of
                                                       continuous Service after the Vesting
                                                       Commencement Date. An additional one-fourth of
                                                       the Granted Stock shall vest on the date the Grantee
                                                       completes each year of continuous Service
                                                       thereafter until Grantee is 100% vested in the
                                                       Restricted Stock on the 4t' year anniversary of the
                                                       Vesting Commencement Date.
                                                       The date that is the last day of the month in which
                       Vesting Commencement
                       Date:                           the Grant is made.


            Please sign below to acknowledge the terms and conditions of this Stock Award.
             ACKNOWLEDGED BY GRANTEE:




                             Signed Electronically

              Name:          DIANA REMINGTON         SMITHSON




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                                              PACWEST BANCORP
                                          STOCK INCENTIVE PLAN
                                        STOCK AWARD AGREEMENT

         1.Definitions. Unless otherwise defined herein, the terms defined in the PacWest Bancorp 2017 Stock
     Incentive Plan, as amended (the "Plan") shall have the same defined meanings in this Stock Award
     Agreement ("Agreement") and the Notice of Stock Award Grant attached hereto as Appendix A.
         2. Grant of Stock Award. Pursuant to the terms and conditions set forth in the Notice of Stock Award
     Grant, this Agreement, and the Plan, PacWest Bancorp (the "Company") grants to the grantee named in the
     Notice of Stock Award Grant ("Grantee") on the date of grant set forth in the Notice of Stock Award Grant
     ("Date of Grant") the number of Shares set forth in the Notice of Stock Award Grant. This Stock Award is
     intended to be a Restricted Stock Award or a Performance Stock Award, as provided in the Notice of Stock
     Award Grant.
          3. Yesting. The Grantee shall vest in the Granted Stock in accordance with the vesting schedule
     provided for in the Notice of Stock Award Grant; provided, however, that the Grantee shall cease vesting
     in the Granted Stock on the Grantee's Termination Date or the date on which the Compensation Committee
     of the Company's Board of Directors (tlie "Administrator") determines that the performance goals, if any,
     provided for in the Notice of Stock Award Grant were not satisfied during the designated period of time.
     Noiwithstanding the foregoing, upon the occurrence of a Vesting Event, the Grantee shall become 100%
     vested in those shares of Granted Stock that are outstanding on the date of the Vesting Event.
         4. Risk of Forfeiture.
                      (a) General Rule. The Granted Stock shall initially be subject to a Risk of Forfeiture. The
                 Shares subject to a Risk of Forfeiture shall be referred to herein as "Restricted Shares".
                       (b) Lapse of Risk of Forfeiture. The Risk of Forfeiture shall lapse as the Grantee vests in
                 the Granted Stock.
                      (c) Forfeittire of Granted Stock. The Restricted Shares shall automatically be forfeited
                 and immediately returned to the Company on the Grantee's Termination Date or the date on
                 which the Administrator determines that the performance goals, if any, provided for in the
                 Notice of Stock Award Grant were not satisfied during the designated period of time.
                         (d)Additional Shares or Substituted Securities. In the event of a stock split, reverse stock
                 split, stock dividend, recapitalization, combination or reclassification of the Common Stock or
                 any other increase or decrease in the number of issued and outstanding Shares effected without
                 receipt of consideration by the Company, any new, substituted or additional securities or other
                 property (including money paid other than as an ordinary cash dividend) which are by reason
                 of such transaction distributed with respect to any Restricted Shares or into which such
                 Restricted Shares thereby become convertible shall immediately be subject to a Risk of
                 Forfeiture, which Risk of Forfeiture shall lapse at the same time and in the same manner as the
                 Risk of Forfeiture to which the corresponding Restricted Share is subject.
                        (e) Escrow. Upon issuance, the stock certificates for Granted Stock shall be deposited in
                 escrow with the Company to be held in accordance with the provisions of this Agreement. Any
                 new, substituted or additional securities or other property described in Subsection (d) above
                 shall immediately be delivered to the Company to be held in escrow, but only to the extent the
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                 shares of Granted Stock are at the time Restricted Shares. All regular cash dividends on
                 Restricted Shares (or other securities at the time held in escrow) shall be paid directly to the
                 Grantee and shall not be held in escrow (such distributions may, however, be delivered to an
                 address at the Company for delivery to the Grantee). Restricted Shares, together with any other
                 assets or securities held in escrow hereunder, shall be (i) surrendered to the Company for
                 cancellation upon forfeiture of the Restricted Shares; or (ii) released to the Grantee upon the
                 Grantee's request to the Administrator on or after the date the shares of Granted Stock are no
                 longer Restricted Shares. Grantee agrees not to make a request to the Company's transfer agent
                 for delivery of any share certificates representing any shares of Granted Stock so long as such
                 shares are Restricted Shares.
         5. Rights as a Stockholder. The Grantee shall have the rights of a stockholder with respect to the
     dividends paid by the Company. Grantee shall not be entitled to vote any unvested shares of Granted Stock.
     Upon the vesting of any portion of the Stock Award, the Grantee shall have the voting rights with respect
     to any such vested shares of Granted Stock.
         6.Non-transferability of Stock Award. Except as otherwise provided for in the Plan, this Stock Award
     may not be sold, pledged, assigned, hypothecated, transferred, or disposed of in any manner other than by
     will or by the laws of descent and distribution and may be exercised, during the lifetime of the Grantee,
     only by the Grantee. If the Grantee transfers all or part of this Stock Award pursuant to the previous
     sentence, then the terms of this Agreement, the Plan and the Notice of Stock Award shall apply to the
     transferee to the same extent as to the Grantee.
          7.Regulatory Compliance. The issuance of Common Stock pursuant to this Agreement shall be subject
     to full compliance with all then applicable requirements of law and the requirements of any stock exchange
     or interdealer quotation system upon which the Common Stock may be listed or traded.
         8.Modification and Termination. The rights ofthe Grantee are subjectto modification and termination
     in certain events, as provided in the Plan.
         9. Withholding Tax. The Company's obligation to deliver Shares or remove any restrictive legends upon
     vesting of such Shares under the Plan shall be subject to the satisfaction of all applicable federal, state and
     local income and employment tax withholding requirements. The Grantee shall pay to the Company an
     amount equal to the withholding amount (or the Company may withhold such amount from the Grantee's
     salary) in cash or, to the extent permitted under Section 402 of the Sarbanes-Oxley Act of 2002 and the
     regulations adopted pursuant thereto, with Shares (including previously vested Granted Stock) with an
     aggregate fair market value equal to the withholding amount calculated using the maximum statutory
     withholding amount permitted to be withheld under applicable tax rules.
          10.Nondisclosure. Grantee acknowledges that the grant and terms of this Stock Award are confidential
     and may not be disclosed by Grantee to any other person, including other employees of the Company and
     other participants in the Plan, without the express written consent of the Company's Chief Executive
     Officer. Notwithstanding the foregoing, the Grantee may disclose the grant and terms of this Stock Award
     to the Grantee's family member, financial advisor, and attorney and as may be required by law or regulation.
     Any breach of this provision will be deemed to be a material breach of this Agreement.
          11. Governing Law. This Agreement shall be governed by and interpreted in accordance with the
     internal laws of the State of California without regard to principles of conflict of laws.


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         12.Successors. This Agreement shall inure to the benefit of and be binding upon the parties hereto and
     their legal representatives, heirs, and permitted transferees, successors and assigns.
         13.Plan. This Agreement and the Notice of Stock Award Grant are subject to all of the terms and
     provisions of the Plan, receipt of a copy of which is hereby acknowledged by the Grantee. The Grantee
     hereby agrees to accept as binding, conclusive, and final all decisions and interpretations of the
     Administrator upon any questions arising under the Plan, this Agreement, and the Notice of Stock Award
     Grant.
         14.Rights to Future Employment. This Stock Award does not confer upon the Grantee any right to
     continue in the Service of the Company or any Affiliate, nor does it limit the right of the Company to
     terminate the Service of the Grantee at any time.
         15.Restrictive Covenants. The Grantee hereby agrees to be bound by the restrictive covenants set forth
     in Annex A.
         16.Entire Agreement. The Notice of Stock Award Grant, this Agreement, and the Plan constitute the
     entire contract between the parties hereto with regard to the subject matter hereof. They supersede any other
     agreements, representations or understandings (whether oral or written and whether express or implied)
     between the parties which relate to the subject matter hereof.


             Byyouur signature and the signature of the Company's representative below,youu and the
     Company agree that this Stock Award is granted under and governed by the terms and conditions of this
     Agreement and the Plan and the Notice of Stock Award Grant, both of which are attached and
     incorporated herein by reference. This Stock Award is of no force and effect until this Agreement is
     signed by you and the Company's representative, the Notice of Stock Award Grant is signed by you.




      GRANTEE:                                               PACWEST BANCORP

      By:    Signed Electronically                           By:
            Name:                                                     Rebecca H. Cordes
                                                                     Exec. Vice President, Numan Resources




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                                                  ANNEX A
                                           RESTRICTIVE COVENANTS

             The Restrictive Covenants set forth in this Annex A to the Restricted Stock Award Agreement (the
     "Agreement") limit the ability of the Grantee to engage in certain practices during and following
     employmentwith the Company and is an integral part ofthe Agreement, withoutwhich the Company would
     not have granted the opportunity to earn the Restricted Stock Award.

             1.       Confidential Information.      During your employment and thereafter, you shall hold in a
     fiduciary capacity for the benefit of the Company all trade secrets and Confidential Information relating to
     the Company and its businesses and investments, which will have been obtained by you during your
     employment by the Company and which is not generally available public knowledge (other than by acts by
     you in violation of this Agreement). Except as may be required or appropriate in connection with your
     carrying out your duties as an employee, you wi ll not, without the prior written consent of the Company or
     as may otherwise be required by law or any legal process, any statutory obligation or order of any court or
     statutory tribunal of competent jurisdiction, or as is necessary in connection with any adversarial proceeding
     against the Company (in which case you will use your reasonable best efforts in cooperating with the
     Company in obtaining a protective order against disclosure by a court of competent jurisdiction),
     communicate or divulge any such trade secrets or Confidential Information to anyone other than the
    _Company and those designated_bythe Company or on behalf_of_the Company in the_fiirtherance of_its_
     business or to perform duties hereunder. Notwithstanding anything to the contrary in this Agreement or
     otherwise, nothing shall limit your rights under applicable law to provide truthful information to any
     governmental entity or to file a charge with or participate in an investigation conducted by any
     governmental entity. You are hereby notified that the immunity provisions in Section 1833 of title 18 of the
     United States Code provide that an individual cannot be held criminally or civilly liable under any federal
     or state trade secret law for any disclosure of a trade secret that is made (1) in confidence to federal, state
     or local government officials, either directly or indirectly, or to an attorney, and is solely for the purpose of
     reporting or investigating a suspected violation of the law, (2) under seal in a complaint or other document
     filed in a lawsuit or other proceeding, or (3) to your attorney in connection with a lawsuit for retaliation for
     reporting a suspected violation of law (and the trade secret may be used in the court proceedings for such
     lawsuit) as long as any document containing the trade secret is filed under seal and the trade secret is not
     disclosed except pursuant to court order.

              2.      Non-Solicitation of Employees. You agree that during your employment, and for a six
     month period following the termination of your employment for any reason, you will not take any action,
     directly or indirectly (without the prior written consent of the Company), that causes or could reasonably
     be expected to cause any person who is then an employee of the Company or its Affiliates to resign from
     the Company or its Affiliates or to apply for or accept employment with any other business or enterprise.

              3.      Non-Solicitation of Customers. You agree that during your employment, and for a six
     month period following the termination of your employment for any reason, you will not, in any manner,
     directly or indirectly (without the prior written consent of the Company): (1) take any action that causes or
     could reasonably be expected to cause any customer or prospective customer of the Company or its
     Affiliates to whom you provided services or with whom you otherwise had contact to become a customer
     of or transact any business with a Competitive Business or reduce or refrain from doing any business with
     the Compaiiy or its Affiliates, (2) transact business with any customer or prospective customer that would
     cause you to be a Competitive Business, or (3) interfere with or damage any relationship between the
     Company and a customer or prospective customer.
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               4.      Reasonableness of Covenant. You agree that the covenants contained herein are reasonable
     and necessary to protect the confidentiality of the customer lists, the terms, conditions and nature of
     customer relationships, and other trade secrets and Confidential Information concerning the Company and
     its Affiliates, acquired by you and to avoid actual or apparent conflicts of interest.

              5.      Validi . The terms and provisions of this Annex A are intended to be separate and
     divisible provisions and if, for any reason, any one or more of them is held to be invalid or unenforceable,
     neither the validity nor the enforceability of any other provision set forth herein thereby be affected. If for
     any reason any court of competent jurisdiction will find any provisions of this Annex A unreasonable in
     duration or geographic scope or otherwise, you and the Company agree that the restrictions and prohibitions
     contained herein will be effective to the fullest extent allowed under applicable law in such jurisdiction

              6.       Injunctive Relief. Without limiting any remedies available to the Company, you
     acknowledge and agree that a breach of the covenants contained in Sections 1 through 3 of this Annex A
     wi11 result in injury to the Company and its Affiliates for which there is no adequate remedy at law and that
     it will not be possible to measure damages for such injuries precisely. Therefore, you agree that, in the
     event of such a breach or threat thereof, the Company will be entitled to seek a temporary restraining order
     and a preliminary and permanent injunction, without bond or other security, restraining you from engaging
     in activities prohibited by Sections 1 through 3 of this Annex A or such other relief as may be required
     specifically to enforce any of the covenants in Sections 1 through 3 of this Annex A.

            7.        Definitions. For purposes of these covenants, the following terms will have the following
     meanings:

                      (a)      "Competitive Business" means any business enterprise that either (i) engages in
     any activity that competes with the business of the Company or its Affiliates or (ii) holds a 5% or greater
     equity, voting or profit participation interest in any enterprise that engages in such a competitive activity.

                       (b)      "Confidential Information" means any information concerning the business or
     affairs of the Company or any of its Affiliates which is not generally known to the public and includes, but
     is not limited to, any file, document, book, account, list (including without limitation customer lists),
     process, patent, specification, drawing, design, computer program or file, computer disk, method of
     operation, recommendation, report, plan, survey, data, manual, strategy, fmancial data, client information
     or data (including the terms and conditions of any business relationships between clients and the Company
     or its Affiliates), or contract which comes to your knowledge in the course of your employment or which
     is generated by you in the course of performing your obligations to the Company whether alone or with
     others.


     KEC8JVGA

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     ACCEPTED




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                                              PROOF OF SERVICE
       Pa                               PacWest Bancorp v. David I. Rainer
                                         Case No. 20STCV46002 [2296.4]

       4 I STATE OF CALIFORNIA, COiINTY OF LOS ANGELES

       5        At the time of service, I was over 18 years of age and not a party to this action. I am
         employed in the County of Los Angeles, State of California. My business address is 777 South
       6 Figueroa Street, Suite 3800, Los Angeles, CA 90017.

       7        On October 21, 2021, I served ti-ue copies of the foregoing document described as
         PLAINTIFFS' SECOND AMENDED COMPLAINT FOR DAMAGES and SUIVIlMONS
       8 to Second Amended Complaint on the interested parties in this action as follows:

       9 Bert H. Deixler, Esq.                               Attoineys for Defendant/Cross-Complainant
            Nary Kim, Esq.                                   DAVID I. RAINER
      10    Nicholas F. Daum, Esq.
            KENDALL BRILL & KELLY LLP
      11    10100 Santa Monica Blvd., Suite 1725
            Los Angeles, California 90067
      12    Telephone: (310) 556-2700
            Facsimile:-(3-10) 556-2705
      13    E-mail(s): bdeixler@kbkfnm.com;
            nkim@kbkfnzn.com; crossi@kbkfirm.com;
      14    ndaum(a*bkfirm.com

      15 Brent Caslin, Esq.                                   Attoineys for Defendants
         Alexander M. Smith, Esq.                             BANK OF SOUTHERN CALIFORNIA,
      16 Madeline P. Skitzki, Esq.                            N.A. and SOUTHERN CALIFORNIA
         Elizabeth Avunjian, Esq.                             BANCORP
      17 Chris Ward
         Christal Oropeza
      18 JENNER & BLOCK LLP
         633 West 5th Street, Suite 3300
      19 Los Angeles, CA 90071
         Telephone: (213) 239-5100
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      21 cward@jenner.com; COropeza@jenner.com;
         eacedo(~
                a,kbkfirm.com
      22
         z      BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused copies of the document to
      23         be sent from e-mail address hwells@bautelaw.com to the persons at the e-mail addresses
                listed in the Service List.
      24
                I declare under penalty of perjury under the laws of the State of California that the
      25 foregoing is true and correct. Executed on October 21, 2021, at Los Angeles, California.
      26
      27
                                                          Holly Wells
      28

            332718.3
                            PLAINTIFFS' SECOND AMENDED COMPLAINT FOR DAMAGES
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                     EX IBIT C
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        8 Attorneys for Plaintiff/Cross-Defendant
          PACWEST BANCORP, PlaintiffPACIFIC
        9 WESTERN BANK and Cross-Defendant
          JOHN M. EGGEMEYER
       10
                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
~~     11
                                COUNTY OF LOS ANGELES, CENTRAL DISTRICT
       12
          PACWEST BANCORP, a Delaware                        o. 20STCV46002
       13 corporation; PACIFIC WESTERN BANK, a
          California State Chartered Bank,            Assigned for All Purposes to:
       14                                             Hon. Richard J. Burdge, Jr., Dept. 37
                         Plaintiffs,
       15                                             PLAINTIFFS' THIRD AMENDED
                       V.                             COMPLAINT FOR DAMAGES
       16
          DAVID I. RAINER, a.n Individual; BANK OF    DEMAND FOR JURY TRIAL
       17 SOUTHERN CALIFORNIA, N.A., a United
          States Corporation; SOUTHERN                FAC Filed: Apri19, 2021
       18 CALIFORNIA BANCORP, a United States         FACC Filed: May 6, 2021
          Corporation; RICHARD HERNANDEZ, an
       19 Individual; DIANA REMINGTON                 Trial Date:   November 15, 2022
          SMITHSON, an Individual; and DOES 1-20,
       20 Inclusive,
       21                   Defendants.
       22
            DAVID I. RAINER, an individual,
       23
                            Cross-Complainant,
       24
                       v.
       25
                       BANCORP, a Delaware
       26 PACWEST
          corporation; JOHN M. EGGEMEYER, an
                      and DOES 1-20, inclusive,
       27 individual;
                         Cross-Defendants.
       28

            344176.3
                              PLAINTIFFS' THIRD AMENDED COMPLAINT FOR DAMAGES
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                      Plaintiffs PACWEST BANCORP ("PacWest") and PACIFIC WESTERN BANK
       2 ("PacWest Bank") (collectively, "Plaintiffs") complain and allege against Defendants DAVID I.

       3   RAINER, BANK OF SOUTHERN CALIFORNIA, N.A., SOUTHERN CALIFORNIA

       4 BANCORP, RICHARD HERNANDEZ and DIANA REMINGTON SMITHSON (collectively,

       5 "Defendants") as follows:

       6                                             INTRODUCTION
       7              1. This complaint arises out of the systematic and illegal raiding of the employees and

       8   clients of PacWest Bank, a wholly-owned subsidiary of PacWest, orchestrated by David I. Rainer

       9 ("Rainer"). Rainer is a former executive of CU Bancorp ("CUB"), which was acquired by

      10 PacWest in 2017. Rainer was aided and abetted in this wholesale assault on PacWest Bank by his
      11 new employer and PacWest Bank's direct competitor, Bank of Southern California, N.A. ("SoCal
      12 Bank") and its holding company, Southern Califomia Bancorp ("SoCal Bancorp"); former
      13 PacWest Bank Executive Vice President, l Richard Hernandez, aka Rich Hernandez
      14 ("Hernandez"); and Diana Remington Smithson, aka Danni Remington ("Smithson"), a former
      15 Senior Vice President, Regional Manager, who joined Rainer at SoCal Bank. To date, as a result
      16 of the illegal raiding plan orchestrated by Rainer, implemented by Hemandez and Smithson, and
      17 actively supported by SoCal Bank and SoCal Bancorp, 30 PacWest Bank employees, including
      18 key executives and client relationship personnel, have left PacWest Bank to join Rainer,
      19 Hemandez and Smithson at SoCal Bank, bringing with them millions of dollars in client deposits
      20 and loans.
      21              2. Rainer's behavior, and his violations of both the law and industry norms, is made all

      221I the more appalling because during the very time that Rainer was planning and executing this

      23 illegal raiding, he was every month accepting money from PacWest to sei-ve as a consultant to and
      24
      25   1  Following the sad and unexpected passing of Casey "Joe" Cecala, President of PacWest
      26 Bank's  Los Angeles Region, Hernandez was offered the late Mr. Cecala's position starting
         November 1, 2020. At one point Hernandez held himself out as having served as "Regional
      27 President" for PacWest Bank. He did not. Not one day. Hernandez's last day worked with
         PacWest was October 23, 2020. In the weeks and months prior to his separation date, and
      28 afterward as alleged herein, he instead engaged in wrongful acts against Plaintiffs.

           344176.3                                            2
                                 PLAINTIFFS' THIRD AMENDED COIVIPLAINT FOR DAMAGES
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                   "ambassador" for the very bank he was plotting to raid. As part of CUB's merger with PacWest in
               2 I Apri12017, Rainer and PacWest entered into a consulting agreement, which was later amended
               3 I and restated on May 25, 2017 (the "Agreement"). In exchange for an annual fee of $550,000, paid

               4 I monthly, Rainer agreed to serve as consultant to PacWest and its subsidiaries, including PacWest

               5 I Bank. For the first three years of the Agreement (referred to as the "Restricted Period") Rainer

                   was prohibited from soliciting any employee of PacWest or its subsidiaries to resign or to apply

                   for, or accept employment with, any competitive enterprise. Rainer was separately required, from

                   the effective date of the Agreement through May 2022 to, among other things, foster and grow

                   PacWest's business, attract and retain new clients, and help preserve business and employee

              10 I relationships and retain key personnel.
aa            11              3. Both Hernandez and Smithson, before and at the time they left PacWest Bank, and
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W0
~         " 12 during the period they participated in Rainer's, SoCal Bank's and SoCal Bancorp's illegal raiding
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       M      13 plan, were subject to restrictive covenants contained in the Stock Incentive Plan Stock Award
              14 Agreements each signed in 2019 and 2020 ("Stock Award Agreements"). These covenants
xw¢d          15 required that during their employment, and for a six month period following the termination of
   o~
U oa~
~
     ~r       16 their employment for any reason, Hernandez and Smithson would not take any action directly or
W r       U


~             17 indirectly to 1) cause any employees of PacWest or its affiliates to resign, apply or accept
~
              18 employment with any other business or enterprise, or 2) cause any customer or prospective
              19 II customer of PacWest or its affiliates to become a customer of, or transact any business with, a
              20 II competitive business, or reduce or refrain from doing any business with PacWest or its affiliates.
              21 II By actively participating in Rainer's scheme before and after their resignations, and by directly
              22 II soliciting PacWest Bank's employees and customers after they resigned from PacWest Bank,
              23 II Hernandez and Smithson directly violated their Stock Award Agreements.
              24              4. On November 5, 2020, while still bound by the terms of the Agreement and while still

              25 II receiving $45,833 a month for providing consulting services to PacWest and its subsidiaries,
              26 including PacWest Bank, Rainer and SoCal Bank announced that Rainer had taken a position as
              27 Executive Chairman of the Board of Directors of SoCal Bank, a PacWest Bank competitor. Four
              28 days later, on November 9, a flurry of numerous PacWest Bank employees tendered their

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       1 resignations, resignations PacWest later learned Hernandez had coordinated while still employed

       2 at PacWest. This flurry of departures marked the beginning of a mass exodus of PacWest Bank

       3   personnel, and in some instances, their corresponding client accounts. These departing employees

       4 were the very PacWest Bank executives, managers and employees, and client relationships, Rainer

       5 was contractually bound to help PacWest preserve.

       6              5. Rainer planned to breach the Agreement well in advance, keeping his plan secret so as

       7 to continue to unjustly receive compensation under the Agreement for as long as possible. Rainer

       8 waited until after the Restricted Period expired on October 20, 2020, to publicly announce his new
       9 position at SoCal Bank, and the resignations of the PacWest Bank employees he, Hernandez,

      10 SoCal Bank and SoCal Bancorp had solicited behind the scenes began.
      11              6. Rainer's plan coalesced months before the November 5 announcement, with the

      12 knowledge and cooperation of his soon-to-be employers, SoCal Bank, and SoCal Bancorp. While
      13 still well within the Restricted Period, in August 2020 Rainer laid out in detail his scheme --
      14 dubbed "Project Slingshot" -- to the SoCal Bank Board of Directors (the "Board"). At that time
      15 Rainer also demanded that "as a condition to the implementation of the Plan" SoCal Bank
      16 indemnify and hold him harmless from any and all actions that PacWest might take relating to the
      17 Agreement. The Board enthusiastically agreed. The necessary approvals and coverage having been
      18 obtained, Rainer then advised the Board that he anticipated SoCal Bank could have in place a set
      19 of "Defuutive Documents" that would provide for Rainer and "my management candidates to be
      20 hired and the Bank and Company boards to be reconstituted, as provided herein, on or about
      21 October 21, 2020," literally the day after the expiration of the Restricted Period.
      22              7. Rainer's breach of the Agreement disentitles him to any of the fees he previously

      23 received under the Agreement. Rainer should be required to return the ill-gotten compensation he
      24 received as PacWest's "ambassador" while actively causing harm to PacWest. Hernandez and
      25 Smithson are liable for their brazen disregard of their obligations under the Stock Award
      26 Agreements while accepting the benefits, for breach of the fiduciary duties they owed PacWest
      27 Bank as a Regional Vice President and Senior Vice President, Regional Manager, and for their
      28 active participation in Rainer's scheme. SoCal Bank and SoCal Bancorp are liable for their own

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       1 I role in Rainer's scheme, and for conspiring with Rainer and aiding and abetting Rainer's,

       2   Hernandez' and Smithson's theft of trade secrets, various breaches of their fiduciary duties owed
       3   to PacWest, their inducement of Rainer, Hernandez and Smithson to breach their contracts, their

       4   intentional and negligent interference with prospective economic advantage and contractual

       5   relations, and for unfair competition.

       6                              THE PARTIES, JURISDICTION AND VENUE
       7              8. Plaintiff PacWest is a corporation organized and existing under the laws of Delaware

       8   with its principal place of business in Los Angeles County, California. It is the holding company

       9   for PacWest Bank.

      10              9. Plaintiff PacWest Bank is a California state-chartered bank organized and existing
~
~     11 I under the laws of California, with its principal place of business in Los Angeles County,
      12 California.
      13              10.Defendant Rainer is an individual with his residence and principal place of business in

      14 I Los Angeles County, California.
      15              11.Defendant SoCal Bank is a corporation organized and existing under the laws of the

      16 United States with its principal place of business in San Diego, California.
      17              12.Defendant SoCal Bancorp is a corporation organized and existing under the laws of

      18 California with its principal place of business in San Diego, California.
      19              13.Defendant Hernandez is an individual with his residence and principal place of

      20 business in Los Angeles County, California.
      21              14.Defendant Smithson is an individual with her residence and principal place of business

      22 in Orange County, California.
      23              15.The actions giving rise to this complaint took place within the County of Los Angeles,

      24 California. The Agreement and Stock Award Agreements at issue were entered into, perfoi-med
      25 and breached within the County of Los Angeles, Califonua.
      26              16.Plaintiffs are unaware of the true names and capacities of the defendants sued herein

      271I under the fictitious names DOE 1— DOE 20, inclusive. Plaintiffs will seek leave to amend to state

       :   the true names and capacities of such defendants when such information is ascertained.

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       1               17. Plaintiffs are informed and believe, and thereon allege, that, at all times relevant, each
       2 I of the defendants was and is the agent, servant and employee of each of the other defendants, and

       3 I all of the things alleged to have been done by each defendant were done in the capacity of and as

       4 I agent of the other defendants.

       5                                          GENERAL ALLEGATIONS

       6 I PacWest Merges with CUB

       7               18.PacWest Bank operates a regional banking business with 72 full-service branches in

       8 I Califomia. PacWest Bank provides commercial banking services, including real estate,

       9 I construction, and commercial loans to small and medium-sized businesses.

      10               19.CUB was founded in 2005 in Los Angeles, California. Prior to the merger between

~     11 PacWest and CUB, Rainer was the Chairman and Chief Executive Officer of CUB. He
      12 accumulated 275,000 shares of CUB stock.
      13               20. In or about the beginning of 2017, PacWest's Chief Executive Officer and Director,

      14 Matthew P. Wagner ("Wagner"), learned of Rainer's alleged desire to retire from the banking
      15 industry with one final cash-out liquidity event through the sale or merger of CUB.
      16               21. Initially, Wagner was not interested in a PacWest merger or acquisition of CUB.

      171 Wagner was familiar with Rainer's history of raiding key personnel from his former employers

      18 after he left, including Rainer poaching employees from an Encino-based bank called California
      19 United Bank in the late 1990s when Wagner hired Rainer to run the Santa Monica branch of
      20 Westem Bancorp, where Wagner was the President and CEO.
      21               22. However, in their initial meeting, and in their subsequent conversations, Rainer

      221 reassured Wagner that he had no intention of starting or joining a competing bank, that he and his

      23 entire team were nearing retirement and that they wanted to land at PacWest Bank as their fmal
      24 destination in the banking industry. Rainer also represented to Wagner that the biggest reason for
      25 his cashing out and his planned retirement was that he needed to step away fiom his professional
      26 life to focus on his family. In reliance on these representations, PacWest began negotiations with
      27 Rainer and CUB.
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                 1               23. On October 20, 2017, PacWest merged with CUB. Rainer was to receive a payment in
                 2 I the amount of $4,748,247.00.

                 3 I Rainer's Consulting Agreement

                 4               24. PacWest and Rainer agreed to a five-year payment structure, with a three non-compete

                 5 I period (the "Restricted Period") and a five-year consulting period.

                 6               25. On April 5, 2017, Rainer signed a consulting agreement. The consulting agreement was

                 7 I amended and restated on May 25, 2017, as the Agreement. By its terms, Rainer was to provide the

                 8 I specific consulting services set out in Exhibit A of the Agreement for 65 months from the

                 9 I effective date, or roughly through October 2022.

                10               26. Payments to Rainer under the Agreement were contingent on his cooperation and

~               11 I compliance with the terms of the Agreement.
~
W
~    g   "N     12               27. Exhibit A to the Agreement requires that Rainer perform the following services:
     M    M--


      VJ O M    13                  1) Assist with transition issues relating to the merger. Such activities may include
-y


                14               attending meetings, presentations and communications.
     U U O

xw¢d            15                  2) Provide strategic advice and counsel to [PacWest] on matters for which you have
O o -' ~;,
     r          16               personal knowledge. Such guidance may include specific account and client history, new
W r       U
~y        H

~               17               market development, portfolio retention strategies and broadening financial services.
w                    ~
                18                  3) Facilitate customer outreach, including brokering introductions and fostering

                19               business relationships between legacy clients and the acquiring organization.

                20                  4) Act as an ambassador to [PacWest] and be available to meet with, and be involved

                21               with, clients and counterparties, at the request of [PacWest], where [PacWest] believes

                22               your personal knowledge, attendance and participation could be beneficial.

                23                  5) Preserve business and employee relationships to mitigate disruption and anxiety

                24               associated with the transaction and change. This includes promoting continuity and

                25               retaining key personnel.

                26                   6) Perform new business development opportunities to attract and retain new clients.

                27               As a leader in the industry, help promote the reputation of [PacWest] to key merchant bank

                28               markets.

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             1                      7) Perfom7 such other services as the parties may mutually agree upon from time to
             2                   time during the term of the agreement.

             3                   28. In exchange for performing the above services, PacWest paid Rainer a yearly

             4        consulting fee of $550,000, in roughly equal installments on a monthly basis.

             5                   29. Until November 5, 2020, Rainer provided regular monthly reports to PacWest on his

             6 I consulting work under the Agreement.

             7 I Rainer, Hernandez and Smithson Raid PacWest Employees and Clients

             8                   30. On November 5, 2020, SoCal Bancorp announced that it had named Rainer Executive

             9 I Chairman of the Board of Directors of SoCal Bank.

            10                   31. Almost immediately following the November 5, 2020, announcement, a number of key

a
a           11 personnel resigned from their positions at PacWest Bank. Behind the scenes and with the
~
ao
W  "N       12 knowledge and aid of SoCal Bank, Hemandez assisted in facilitating and coordinating these
     M-~      -


            13 departures. The number of departing employees has since grown to 30, and encompasses

     a~ o   14 personnel in all aspects of banking, largely at the executive, and relationship and portfolio

xw¢b        15 management levels, including operations, customer service, business development and loans.
oo ; °
     ~      16                   32. . Plaintiffs are informed and believe that each of the following PacWest Bank
F
~           17 employees accepted positions at SoCal Bank:
v~
            18                   33. Andrea Cunha left her position as a Loan Processor at PacWest Bank and joined SoCal

            19 Bank.

            20                   34. Rodrigo Perez left his position as a Branch Operations Manager at PacWest Bank and

            21 I joined SoCal Bank.

            22                   35. Mouzone Boulden left her position as a Senior Financial Services Representative at

            23 I PacWest Bank and joined SoCal Bank.
            24                   36. Jonathan Schumacher left his position as a Branch Operations Specialist at PacWest

            25 I Bank and joined SoCal Bank.
            26                   37. Linda Aghajanian left her position as a Real Estate Collateral Analyst at PacWest Bank

            27 I and joined SoCal Bank.
            28

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       1              38. Olivia Aceves left her position as a Loan Processor at PacWest Bank and joined SoCal
       2 Bank.

       3              39. Gladys Gonzalez left her position as a Senior Loan Processor at PacWest Bank and
       4 I joined SoCal Bank.

       5              40. Stephanie Johnson left her position as a Senior Loan Processor at PacWest Bank and

       6 joined SoCal Bank.

       7              41. Sean Walden left his position as a Vice President, Portfolio Manager at PacWest Bank

       8 I and joined SoCal Bank.

       9              42. Laurie Kasper left her position as a Vice President,, Relationship Manager at PacWest

      10 Bank and joined SoCal Bank.

~     11              43. Robel Neway left his position as a Vice President, Relationship Manager at PacWest
      12 Bank and joined SoCal Bank.
      13              44. Greg Spencer left his position as a Vice President, Relationship Manager at PacWest

      14 Bank and joined SoCal Bank.
      15              45. Megan Newville left her position as an Assistant Vice President, Portfolio Manager at

      16 PacWest Bank and joined SoCal Bank.
      17              46. Smithson left her position as a Senior Vice President, Regional Manager at PacWest

      18 Bank and joined SoCal Bank.
      19              47. Claudia Castillo left her position as an Assistant Vice President, Senior Loan Processor

      20 at PacWest Bank and joined SoCal Bank.
      21              48. Maureen Boggs left her position as a Senior Vice President, Relationship Manager at

      22 PacWest Bank and joined SoCal Bank.
      23              49. Richard Bontempi left his position as a Senior Vice President, Relationship Manager at

      24 PacWest Bank and joined SoCal Bank.
      25              50. Shelley Gibson left her position as a Senior Vice President, Relationship Manager at

      26 PacWest Bank and joined SoCal Bank
      27              51. Jonathan Perez left his position as a Senior Vice President, Relationship Manager at

      28 PacWest Bank and joined SoCal Bank.

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       1                 52. Daniel Quick left his position as a Senior Vice President, Relationship Manager at
       2     PacWest Bank and joined SoCal Bank.

       3                 53. Don Williams left his position as a Senior Vice President, Real Estate at PacWest Bank

       4     and joined SoCal Bank.

       5                 54. William Sloan left his position as an Executive Vice President, Regional Manager at

       6     PacWest Bank and joined SoCal Bank.

       7                 55. Hemandez left his position as a Regional Vice President at PacWest Bank and joined

       8    I SoCal Bank.
       9                 56. Jordan Cole left his position as a Senior Financial Services Representative at PacWest

      10 Bank and joined SoCal Bank.

~     11                 57. Andranik Dertsakyan left his position at PacWest Bank and joined SoCal Bank.

      12                 58. Marvin Contreras left his position as a Senior Teller at PacWest Bank and joined SoCal

      13

      14                 59. Kevin Guardado left his position as a Credit Analyst at PacWest Bank and joined

      15 I SoCal Bank.

      16                 60. Michelle Henry left her position as a Vice President, Portfolio Manager at PacWest

      17 Bank and joined SoCal Bank.

      18                 61. Erez Hahn left his position at PacWest Bank and joined SoCal Bank.

      19                 62. Aroutian "Eric" Kirakosian left his position as an Assistant Branch Manager at

      20 PacWest Bank and joined SoCal Bank.

      21                 63. In addition to the above listed employees who left PacWest Bank, other current

      22 PacWest Bank employees were solicited by Rainer and/or other representatives of SoCal Bank and

      23 declined an offer to join SoCal Bank.

      24                 64. Stephen Cobb, a Senior Utility Representative for a PacWest Bank region, was

      25 solicited to join SoCal Bank.
      26                 65. Ashley Duran, a Branch Operations Manager for PacWest Bank, was solicited to join

      27 SoCal Bank.

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       1              66. Steve Corona, an Executive Vice President Regional Manager for PacWest Bank, was
       2 I solicited to join SoCal Bank.

       3              67. Arthur Bergman, a Senior Vice President Regional Manager for PacWest Bank, was
       4 solicited to join SoCal Bank.

       5              68. Brian Ishida, an Executive Vice President Regional Manager for PacWest Bank, was

       6 I solicited to join SoCal Bank.

       7              69. Kim Defenderfer, an Executive Vice President for PacWest Bank, was solicited to join

       8 I SoCal Bank.

       9              70. Morgan Ritzer, an Assistant Branch Operations Manager for PacWest Bank, was

      10 I solicited to join SoCal Bank.

      11              71. Matt Giroux, a Branch Operations Manager for PacWest Bank, was solicited to join

      12 I SoCal Bank.

      13              72. Before and after he resigned from PacWest Bank, Hernandez was actively involved in

      14 ~ recruiting PacWest Bank employees to join SoCal Bank. Among other things, Hernandez in many

      15 cases was the point person at SoCal Bank that PacWest Bank employees were told to contact, on

      16 Hernandez' private cell phone number, after they had been solicited by other employees to move

      17 to SoCal Bank. Hernandez arranged for offer letters from SoCal Bank for these PacWest Bank

      18 employees. He instructed the departing PacWest Bank employees to all tender their resignations

      19 on a date selected by Hernandez, which they did.

      20              73. Before and after he resigned from PacWest Bank, and during the period he participated

      21 in the illegal raiding plan, Hernandez was subject to the restrictive covenants contained in the

      22 Stock Award Agreements.

      23              74. Before and after she resigned from PacWest Bank, Smithson was actively involved in

      24 recruiting PacWest Bank employees to join SoCal Bank and in soliciting PacWest Bank clients to
      25 transfer their business to SoCal Bank. Among other things, Smithson successfully solicited former
      26 PacWest Bank employee Stephanie Johnson to leave PacWest Bank and join SoCal Bank. Within
      27 weeks of joining SoCal Bank Smithson also solicited a number of PacWest Bank clients to
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           transfer their business to SoCal Bank, and encouraged Johnson to do the same, coordinating with
           Johnson which PacWest Bank clients to contact.

                      75. Before and at the time she left PacWest Bank and during the period she participated in
       4   the illegal raiding plan, Snuthson was subject to the restrictive covenants contained in the Stock

       5   Award Agreements.

       6   Project Slingshot

       7              76. In the months prior to the public announcement of his position at SoCal Bank, Rainer,

       8   with the assistance and knowledge of SoCal Bancorp and SoCal Bank, had been communicating

       9   with PacWest Bank executives, managers and employees in an attempt to persuade them to resign

      10 their positions with PacWest Bank and take positions at SoCal Bank. On August 18, 2020, while

      11 Rainer was still within the Restricted Period, Rainer sent a letter, characterized as a Letter of

      12 Interest ("LOI"), to the Board in which he described a"new strategic plan", dubbed "Project

      13 Slingshot", he proposed for SoCal Bank. Rainer told the Boards that "[A]s an integral part of the

      14 Plan, a number of those highly skilled former CUB professionals will be joining the BSC

      15 management team and the Boards of the Bank and the Company." (Emphasis added.) Rainer

      16 specifically brought his Agreement with PacWest to the attention of the Boards and demanded that

      17 "... as a condition to the implementation of the Plan, BSC will indemnify and hold me harmless

      18 from any and all actions that PacWest may take relating to the consulting agreement, including but

      19 not limited to guaranteeing the payment to me of the Retainer and paying all reasonable costs and

      20 expenses incurred by me to defend any claims that PacWest may make relating to the consulting

      21 agreement."

      22              77. The "Retainer" referred to by Rainer is the amount PacWest was to pay Rainer under

      23 the Agreement for his promised services to, among other things, foster and grow PacWest's
      24 business, attract and retain new clients, and help preserve business and employee relationships and

      25 retain key personnel.
      26              78. Rainer made clear in the LOI that, as of August 18, 2020, he already had recruited and

      27 had in place candidates for the positions of Chief Credit Officer, Chief Operating Officer, Director
      28 of Operations and Chief Risk Officer. He told the Boards that he could not include their names in

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           the LOI "[t]o protect their privacy and current employment positions." In the LOI Rainer also told
       2I I the Board he anticipated that SoCal Bank would have in place, with the necessary Board approval
           having already been obtained, a set of "Definitive Documents" that would provide for him and
       4 I"my management candidates to be hired and the Bank and Company boards to be reconstituted, as

       5 I provided herein, on or about October 21, 2020," upon the expiration of the Restricted Period.

       6              79. In August 2020, and perhaps earlier, thus within the Restricted Period, Rainer also

       7 I presented SoCal Bank with a deck of slides labelled "strictly private and confidential" for the

       8 I"Project Slingshot" plan which, the presentation stated, was designed to "attract key high-level

       9   executives and top business development officers" to SoCal Bank. Rainer boasted in the materials

      10 of his "proven ability to attract top talent in the market" and told the SoCal Bank Board of
           Directors that his plan would involve the Bank hiring 60 new employees "at the end of 2020 and

           beginning of 2021." The Project Slingshot materials identified "a series of ineetings with BCAL's

           [SoCal Bank] CEO and President" in which Rainer discussed his plan prior to the creation of the

           August 2020 presentation.

           Defendants Raid PacWest Bank's Clients

                      80. In addition to raiding key employees, Rainer, Hernandez, Smithson and/or SoCal Bank

           and SoCal Bancorp, have solicited numerous clients of PacWest Bank to transfer deposits to

      18 I SoCal Bank and/or pay off mortgages and commercial loans held by PacWest Bank in order to
      19 I take the business to SoCal Bank.
      20              81. Since November 5, 2020, over $65 million in client deposits associated with the

      21 II personnel who resigned have been transferred out of PacWest Bank.
      22              82. Since November 5, 2020, over $114 million in mortgages and/or commercial loans that

      23 II were former CUB notes have been paid off.
      24                                        FIRST CAUSE OF ACTION

      25                                 FOR BREACH OF WRITTEN CONTRACT

      26          (Plaintiffs PacWest and PacWest Bank Against Defendants Rainer and Does 1-20)

      27              83. Plaintiffs re-allege and hereby incorporate paragraphs 1 through 82 of this complaint as

      28 II if fully set forth herein.

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       1               84. The Agreement between PacWest and Rainer is a valid, enforceable contract. The

       2 Agreement is attached hereto as Exhibit 1 and incorporated herewith.

       3               85. The Agreement was made expressly for the benefit of PacWest Bank as a third-party

       4    beneficiary in that the client and employee relationships that Rainer was obligated to foster,

       5    promote and preserve were the business and employee relationships of PacWest Bank.

       6               86. Rainer wrongfully violated Agreement in at least the following ways:

       7                      (a)     on information and belief, by soliciting employees of PacWest Bank during

       8                              the Restricted Period, including but not limited to Hernandez, to apply for

       9                              or accept employment at SoCal Bank, which under the terms of the

      10                              Agreement, was a "Competitive Enteiprise;"

~     11                      (b)     by inducing, during and/or after the Restricted Period, at least 30 PacWest

      12                              Bank employees, including a number of executive relationship managers,

      13                              porttfolio managers, regional managers and loan processors, to leave their

      14                              positions at PacWest Bank and to take positions at a competing bank, SoCal

      15                              Bank, actions which were intended to and did have a significant detrimental

      16                              effect on PacWest's business;

      17                      (c)     on information and belief, by disclosing to SoCal Bank and SoCal Bancorp

      18                              confidential and proprietary information he learned through his consulting

      19                              relationship with PacWest and/or obtained from the PacWest Bank

      20                              employees he induced to resign, and by intentionally and improperly using

      21                              that confidential and proprietary information to solicit existing or potential

      22'                             PacWest Bank clients to terminate their relationships with PacWest Bank

      23                              and enter into business relationships with SoCal Bank;

      24                      (d)     by willfully failing to perform his assigned duties under the Agreement; and

      25                      (e)     by purposefully creating an environment of anxiety and destabilization at

      26                              PacWest Bank as a result of mass resignations and loss of client

      27                              relationships.

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       1               87. PacWest performed all of its obligations under the Agreement other than those
       2 I obligations that were excused due to Rainer's breach, and all of the conditions required for

       3 I Rainer's performance have occurred.

       4               88. As a direct and proximate result of Rainer's breaches, Plaintiffs have suffered damages

       5    in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the Defendants'

       6   actions, but believe that thus far Rainer, and Does 1-20, have solicited and induced at least 30

       7   PacWest Bank employees to resign and take positions at SoCal Bank, and further have solicited

       8    and induced numerous clients to transfer their business from PacWest Bank to SoCal Bank.

       9    Furthermore, Plaintiffs are informed and believe, and thereon allege, that Rainer unjustly received

      10 prior consulting fees while in breach of the Agreement and should therefore be required to return

      11 such compensation.

      12                                        SECOND CAUSE OF ACTION

      13 I FOR BREACH OF THE IIVIPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

      14           (Plaintiffs PacWest and PacWest Bank Against Defendants Rainer and Does 1-20)

      15               89. Plaintiffs re-allege and hereby incorporate paragraphs 1 through 88 of this complaint as

      16 I if fully set forth herein.

      17               90. The law imposed an obligation on Rainer to act in good faith towards PacWest, and to

      18 I refrain from actions which would deprive PacWest of the benefits of the Agreement.

      19               91. The Agreement was made expressly for the benefit of PacWest Bank as a third-party

      20 beneficiary in that the client and employee relationships which Rainer was obligated to foster,

      21 promote and preserve were the business and employee relationships of PacWest Bank.

      22 Accordingly, the law imposes an obligation on Rainer to act in good faith towards PacWest Bank,
      23 and to refrain from actions which deprive PacWest Bank of the benefits of the Agreement.

      24               92. Rainer breached the implied covenant of good faith and fair dealing, and unfairly

      25 I interfered with Plaintiffs' rights to receive the benefits of the Agreement, which included, among
      26 I other things, Rainer's assistance in retaining key personnel and client relationships, in at least the
      27 I following ways:
      28

           1344176.3                                            15
                                  PLAINTIFFS' THIRD AMENDED COMPLAINT FOR DAMAGES
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        1                     (a)     by not faithfully and diligently performing the services he agreed to perfonn
        2                             during the period of the consulting agreement;
        3                     (b)     by competing and/or preparing to compete with PacWest Bank during the

        4                             Restricted Period and therefore not devoting his full attention and loyalty to

        5                             PacWest Bank;

        6                     (c)     by engaging the help of other foimer PacWest Bank executives, including,

        7                             but not limited to, Hemandez and Smithson, to induce and solicit PacWest

        8                             customers and employees to leave PacWest Bank and join SoCal Bank on

        9                             Rainer's behalf and/or on behalf of Rainer's new employer, SoCal Bank;

       10                             and
~      11                     (d)     by failing to disclose to PacWest Bank that he would be taking a position at
~i

       12                             a competing bank at the conclusion of the Restricted Period and by

       13                             pretending that he intended to continue to act as a consultant/ambassador

       14                             for PacWest Bank while simultaneously using confidential and proprietary

       15                             information entrusted to him to sabotage the value/goodwill of PacWest.

       16              93. As a direct and proximate result of Rainer's breaches, Plaintiffs have suffered damages

       17 in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the Defendants'

       18 actions, but believe that thus far Rainer, Hernandez, Smithson and Does 1-20, have solicited and

       19 induced at least 30 PacWest Bank employees to resign and take positions at SoCal Bank.

       20 Furthermore, Plaintiffs are informed and believe, and thereon allege, that Rainer unjustly received

       21 prior consulting fees while in breach of the Agreement and should therefore be required to return

       22 such compensation.
       23                                        THIRD CAUSE OF ACTION

       24                                FOR BREACH OF WRITTEN CONTRACT

       25       (Plaintiffs PacWest and PacWest Bank Against Defendants Hernandez and Does 1-20)

       26              94. Plaintiffs re-allege and hereby incorporate paragraphs 1 through 93 of this complaint as

       27 if fully set forth herein.
       28

            344176.3                                            16
                                    PLAINTIFFS' T1iIRD AMENDED COMPLAINT FOR DAMAGES
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       1                95. The Stock Award Agreements were made expressly for the benefit of PacWest Bank as
       2 I a third-party beneficiary in that the client and employee relationships that were protected by the

       3 I restrictive covenants therein applied to the business and employee relationships of PacWest Bank.

       4                96. The Stock Award Agreements between PacWest and Hernandez are valid, enforceable

       5 I contracts. The Hernandez Stock Award Agreements are attached hereto as Exhibits 2 and 3 and

       6 I are incorporated herewith.

       7                97. Before and after the time he left PacWest Bank and during the period he participated in

       8    Rainer's and SoCal Bank's illegal raiding plan, Hernandez, was subject to the restrictive

       9    covenants contained in the Stock Award Agreements. As set forth in "Annex A Restrictive

      10 Covenants" to the Stock Award Agreements, Hemandez agreed, that in exchange for being
            granted a number of shares in PacWest:
                               (a)     that during his employment, and for a six-month period following the

                                       termination of his employment for any reason, Hernandez would not "take

                                       any action, directly or indirectly (without prior written consent of the

                                       Company), that causes or could reasonably be expected to cause any person

                                       who is then an employee of the Company [defined as PacWest] or its

                                       Affiliates to resign from the Company or its Affiliates or to apply for or

      18                               accept employment with any other business or enterprise;"

      19                       (b)     that during his employment, and for a six-month period following the

      20                               termination of his employment for any reason, Hernandez would not "in

      21                               any manner, directly or indirectly (without pi-ior written consent of the

      22                               Company): (1) take any action that causes or could reasonably be expected

      23                               to cause any customer or prospective customer of the Company or its

      24                               Affiliates to whom [Hernandez] provided services or with whom

      25                               [Hemandez] othei-wise had contact to become a customer of or transact any

      26                               business with a Competitive Business or reduce or refrain from doing any

      27                               business with the Company or its Affiliates, (2) transact business with any

      28                               customer or prospective customer that would cause you to be a Competitive

           I 344176.3                                            17
                                     PLAINTIFFS' TH1RD AMENDED COMPLAINT FOR DAMAGES
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       1                             Business, or (3) interfere with or damage any relationship between the

       2                             Company and a customer or prospective customer;"

       3                     (c)     that "[d]uring [his] employment and thereafter, [Hemandez] shall hold in a

       4                             fiduciary capacity for the benefit of [PacWest] all trade secrets and

       5                             Confidential Information relating to [PacWest] and its businesses and

       6                             investments, which will have been obtained by you dui-ing your

       7                             employment with [PacWest] and which are not generally available public

       8                             knowledge (other than by acts by you in violation of this Agreement);"

       9                     (d)     that the covenants contained in Annex A"are reasonable and necessary to

      10                             protect the confidentiality of the customer lists, the terms, conditions and

      11                             nature of customer relationships, and other trade secrets and Confidential

      12                             Information conceming the Company and its Affiliates, acquired by

      13                             [Hernandez] and to avoid actual or apparent conflicts of interest;" and

      14                     (e)     that "a breach of the covenants contained in Sections 1 through 3 of this

      15                             Annex A will result in injury to the Company and its Affiliates for which

      16                             there is no adequate remedy at law and that it will not be possible to

      17                             measure damages for such injuries precisely."

      18               98. Annex A to the Stock Award Agreements defines a"Competitive Business" as "any

      19 I business enterprise that either (i) engages in any activity that competes with the business of the
      20 Company or its Affiliates or (ii) holds a 5% or greater equity, voting or profit participation interest
      21 in any enteiprise that engages in such a competitive activity." Under this defmition each of SoCal
      22 Bank and SoCal Bancorp is a"Competitive Business".
      23               99. Annex A to the Stock Award Agreements defines "Confidential Infomzation" as "any

      24 information conceming the business or affairs of the Company or any of its Affiliates which is not
      25 generally known to the public and includes, but is not limited to, any file, document, book,
      26 account, list (including without limitation customer lists), process, patent, specification, drawing,
      27 design, computer program or file, computer disk, method of operation, recommendation, report,
      28 I plan, survey, data, manual, strategy, financial data, client information or data (including the terms

           1344176.3                                           18
                                   PLAINTIFFS' THIRD AMENDED COMPLAINT FOR DAMAGES
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       1 I and conditions of any business relationships between clients and the Company or its Affiliates), or

       2 contract which comes to [Hernandez'] knowledge in the course of [Hemandez'] employment or

       3     which is generated by [Hemandez] in the course of performing [Hernandez'] obligations to the

       4 I Company whether alone or with others."

       5                100.   The Stock Award Agreements were made expressly for the benefit of PacWest

       6 I Bank as a third-party beneficiary in that the client and employee relationships with which

       7 I Hernandez agreed he would not interfere were the business and employee relationships of

       8     PacWest Bank.

       9                101.   Hernandez breached the Stock Award Agreements in at least the following ways:

      10                       (a)     by before and after he left PacWest Bank actively participating in the

~     11                               inducement of at least 30 PacWest Bank employees, including a number of

                                       executive relationship managers, portfolio managers, regional managers and

                                       loan processors, to leave their positions at PacWest Bank and to take

                                       positions at a competing bank, SoCal Bank, actions which were intended to

                                       and did have a significant detrimental effect on PacWest's business.

                                       Hernandez, among other things, acted as the point person for PacWest

                                       employees who were solicited by SoCal Bank, obtained offers from SoCal

      18                               Bank for these employees, discussed employment terms with them and

      19                               coordinated the dates of the resignations of these employees;

      20                       (b)     on information and belief, by taking actions that have caused or could

      21                               reasonably be expected to cause customers or prospective customers of

      22                               PacWest Bank to whom he provided services or with whom he had contact

      23                               to become customers of SoCal Bank, or reduce or refiain from doing

      24                               business with PacWest Bank, and/or by interfering with or damaging

      25                               relationships between PacWest Bank and its customel- or prospective

      26                               customers;

      27 1                     (c)     on information and belief, by intentionally and improperly using

      28                               confidential and proprietary information he learned through his employment

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                                     PLAINTIFFS' THIRD AMENDED COMPLAINT FOR DAMAGES
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       1                              with PacWest or obtained from the PacWest Bank employees he induced to

       2                              resign, including but not limited to salary, benefits and bonus information or

       3                              data, and the terms and conditions of the employment relationships between

       4                              PacWest Bank and its employees and the history of job performance, career

       5                              goals and aspirations of those employees, to solicit PacWest Bank

       6                              employees to resign from PacWest Bank and join SoCal Bank. Hernandez

       7                              was able, as a result of the confidential and proprietary information he

       8                              possessed, to provide SoCal Bank with a selective list of PacWest Bank's

       9                              employees who, in his judgment, possessed both the ability and personal

      10                              characteristics desirable in an employee, together with the salary PacWest

~     11                              Bank was paying the employee and a suggestion as to the salary SoCal

      12                              Bank should offer to be successful in recruitment;

      13                      (d)     on information and belief, by actively competing against PacWest by

      14                              intentionally and improperly using confidential and proprietary information

      15                              he learned through his employment with PacWest or obtained from the

      16                              PacWest Bank employees he induced to resign, including but not limited to

      17                              client information or data, including the terms and conditions of the

      18                              business relationships between clients and PacWest Bank and the clients'

      19                              needs and preferences, to solicit existing or potential PacWest Bank clients

      20                              to terminate their relationships with PacWest Bank and enter into business

      21                              relationships with SoCal Bank.

      22               102.   PacWest performed all of its obligations under the Stock Award Agreements other

      23 I than those obligations that were excused due to Hemandez' breach, and all of the conditions

      24 I required for Hernandez' performance have occurred.
      25               103.   As a direct and proximate result of Hernandez' breaches, Plaintiffs have suffered

      26 I damages in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the
      27 Defendants' actions, but believe that thus far Rainer, Hernandez, Smithson and Does 1-20, have
      28 solicited and induced at least 30 PacWest Bank employees to resign and take positions at SoCal

           1344176.3                                            20
                                    PLAINTIFFS' THIRD AMENDED COMPLAINT FOR DAMAGES
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       1 I Bank, and further have solicited and induced numerous clients to transfer their business from

       2 I PacWest Bank to SoCal Bank.

       3                                       FOURTH CAUSE OF ACTION
       4 I FOR BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

       5       (Plaintiffs PacWest and PacWest Bank Against Defendants Hernandez and Does 1-20)

       6              104.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 103 of this

       7 I complaint as if fully set forth herein.

       8              105.   The law imposed an obligation on Hernandez to act in good faith towards PacWest,

       9 I and to refrain from actions which would deprive PacWest of the benefits of the Stock Award

      10 I Agreements.
~     11              106.   The Stock Award Agreements were made expressly for the benefit of PacWest

           Bank as a third-party beneficiary in that the client and employee relationships with which

           Hernandez agreed he would not interfere were the business and employee relationships of

           PacWest Bank. Accordingly, the law imposes an obligation on Hernandez to act in good faith

           towards PacWest Bank, and to refrain from actions which deprive PacWest Bank of the benefits of

           the Stock Award Agreements.

                      107.   Hernandez breached the implied covenant of good faith and fair dealing, and

      18 unfairly interfered with Plaintiffs' rights to receive the benefits of the Stock Award Agreements,
      19 which included, among other things, Hernandez' agreement to protect the confidentiality of the
      20 employee salary and bonus information, the identity of key employees, including relationship
      21 managers, customer lists, the terms, conditions and nature of customer relationships, and other
      22 Confidential Information, as defined in the Stock Award Agreements, concerning PacWest and
      23 PacWest Bank acquired by him and avoid actual or apparent conflicts of interest, in at least the
      24 following ways:
      25                     (a)     by before and after he left PacWest Bank actively participating in the

      26                             inducement of at least 30 PacWest Bank employees, including a number of

      27                             executive relationship managers, portfolio managers, regional managers and

      28                             loan processors, to leave their positions at PacWest Bank and to take

           344176.3                                           21
                                   PLAINTIFFS' THIRD AMENDED COIVIPLAINT FOR DAMAGES
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       1                         positions at a competing bank, SoCal Bank, actions which were intended to
       2                         and did have a significant detrimental effect on PacWest's business.
       3                         Hernandez, among other things, acted as the point person for PacWest
       4                         employees who were solicited by SoCal Bank, obtained offers from SoCal
       5                         Bank for these employees, discussed employment terms with them and
       6                         coordinated the dates of the resignations of these employees;

       7                (b)      on information and belief, by taking actions that have caused or could

       8                         reasonably be expected to cause customers or prospective customers of

       9                         PacWest Bank to whom he provided services or with whom he had contact

      10                         to become customers of SoCal Bank, or reduce or refiain from doing

~     11                         business with PacWest Bank, and/or by interfering with or damaging

                                 relationships between PacWest Bank and customers or prospective

                                 customers;

                        (c)      on information and belief, by intentionally and improperly using

                                 confidential and proprietary information he learned through his employment

                                 with PacWest or obtained from the PacWest Bank employees he induced to

                                 resign, including but not limited to salary, benefits and bonus information or

      W-1                        data, and the terms and conditions of the employment relationships between

      191                        PacWest Bank and its employees and the history of job performance, career

      201                        goals and aspirations of those employees, to solicit PacWest Bank

      21                         employees to resign from PacWest Bank and join SoCal Bank. Hemandez

      22                        was able as a result of the confidential and proprietary information he
      23                        possessed, to provide SoCal bank with a selective list of PacWest Bank's

      24                         employees who, in his judgment, possessed both the ability and personal
      25                         characteristics desirable in an employee, together with the salary PacWest
      26                        Bank was paying the employee and a suggestion as to the salary SoCal

      27                        Bank should offer to be successful in recruitment;

      28

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                              PLAINTIFFS' THIRD AMENDED COIVIPLAINT FOR DAMAGES
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       1                        (d)     on information and belief, by actively competing against PacWest by
       2                                intentionally and improperly using confidential and proprietary information
       3                                he learned through his employment with PacWest or obtained from the

       4                                PacWest Bank employees he induced to resign, including but not limited to

       5                                client information or data, including the terms and conditions of the

       6                                business relationships between clients and PacWest Bank, to solicit existing

       7                                or potential PacWest Bank clients to terminate their relationships with

       8                                PacWest Bank and enter into business relationships with SoCal Bank.

       9                 108.   As a direct and proximate result of Hernandez' breaches, Plaintiffs have suffered

      10 damages in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the

      11 Defendants' actions, but believe that thus far Rainer, Hernandez, Smithson and Does 1-20, have

      12 solicited and induced at least 30 PacWest Bank employees to resign and take positions at SoCal

      13 I I Bank.

      14                                           FIFTH CAUSE OF ACTION
      15                                  FOR BREACH OF WRITTEN CONTRACT

      16           (Plaintiffs PacWest and PacWest Bank Against Defendants Smithson and Does 1-20)

      17                 109.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 108 of this

      18 complaint as if fully set forth herein.

      19                 110.   The Stock Award Agreements were made expressly for the benefit of PacWest

      20 Bank as a third-party beneficiary in that the client and employee relationships which were

      21 protected by the Restrictive Covenants the business and employee relationships of PacWest Bank.

      22                 111.   The Stock Award Agreements between PacWest and Smithson are valid,

      23 enforceable contracts. The Smithson Stock Award Agreements are attached hereto as Exhibits 4

      24 and 5 and are incorporated herewith.
      25                 112.   Smithson, before and affter she left PacWest Bank and during the period she

      26 participated in Rainer's and SoCal Bank's illegal raiding plan, was subject to the Restrictive
      27 Covenants contained in the Stock Award Agreements. In the Stock Award Agreements Smithson
      28 agreed that in exchange for being granted a number of shares in PacWest:

           II 344176.3                                            23
                                      PLAINTIFFS' TIiIRD AMENDED COMPLAINT FOR DAMAGES
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              1                 (a)     that during her employment, and for a six-month period following the

              2                         termination of her employment for any reason, Smithson would not, "take

              3                         any action, directly or indirectly (without prior written consent of the

              4                         Company), that causes or could reasonably be expected to cause any person

              5                         who is then an employee of the Company [defined as PacWest] or its

              6                         Affiliates to resign from the Company or its Affiliates or to apply for or

              7                         accept employment with any other business or enterprise;"

              8                 (b)     that during her employment, and for a six-month period following the

               9                        termination of her employment for any reason, Smithson would not "in any

              10                        manner, directly or indirectly (without prior written consent of the

~             11                        Company): (1) take any action that causes or could reasonably be expected
~
W
~    ~   "
         N    12                        to cause any customer or prospective customer of the Company or its
     U   ~
     VJ O M   13                        Affiliates to whom [Smithson] provided services or with whom [Smithson]

              14                        otherwise had contact to become a customer of or transact any business

xw~d          15                        with a Competitive Business or reduce or refrain from doing any business
U
~o       ,n
U ~h
~~            16                        with the Company or its Affiliates, (2) transact business with any customer
W        U


~             17                        or prospective customer that would cause you to be a Competitive Business,
o~
              18                        or (3) interfere with or damage any relationship between the Company and

              19                        a customer or prospective customer;"

              20                (c)     that "[d]uring your employment and thereafter, [Smithson] shall hold in a

              21                        fiduciary capacity for the benefit of [PacWest] all trade secrets and

              22                        Confidential Information relating to [PacWest] and its businesses and

              23                        investments, which will have been obtained by you during your

              24'                       employment with [PacWest] and which are not generally available public

              25                        knowledge (other than by acts by you in violation of this Agreement);"

              26                (d)     that the covenants contained in Annex A"are reasonable and necessary to

              27                        protect the confidentiality of the customer lists, the terms, conditions and

              28                        nature of customer relationships, and other trade secrets and Confidential

                   I 344176.3                                      24
                                      PLAINTIFFS' THIRD AMENDED COMPLAINT FOR DAMAGES
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       ll                               Infonnation conceming the Company and its Affiliates, acquired by

       2                                [Smithson] and to avoid actual or apparent conflicts of interest;" and

       3                        (e)     that "a breach of the covenants contained in Sections 1 through 3 of this

       4                                Annex A will result in injury to the Company and its Affiliates for which

       5                                there is no adequate remedy at law and that it will not be possible to

       6                                measure damages for such injuries precisely."

       7                 113.   Annex A to the Stock Award Agreements defined a"Competitive Business" as

       8 I"any business enterprise that either (i) engages in any activity that competes with the business of

       9 the Company or its Affiliates or (ii) holds a 5% or greater equity, voting or profit participation

      10 interest in any enterprise that engages in such a competitive activity." Under this definition each of

~     11 SoCal Bank and SoCal Bancorp is a"Competitive Business".

      12                 114.   Annex A to the Stock Award Agreements defined "Confidential Information" as

      13 "any information concerning the business or affairs of the Company or any of its Affiliates which

      14 is not generally known to the public and includes, but is not limited to, any file, document, book,

      15 account, list (including without limitation customer lists), process, patent, specification, drawing,

      16 design, computer program or file, computer disk, method of operation, recommendation, report,

      17 plan, survey, data, manual, strategy, financial data, client information or data (including the terms

      18 and conditions of any business relationships between clients and the Company or its Affiliates), or

      19 contract which comes to [Smithson's] knowledge in the course of [Smithson's] employment or

      20 which is generated by [Smithson] in the course of performing [Smithson's] obligations to the

      21 Company whether alone or with others."

      22                 115.   The Stock Award Agreements were made expressly for the benefit of PacWest

      23 Bank as a third-party beneficiary in that the client and employee relationships with which

      24 Smithson agreed she would not interfere were the business and employee relationships of PacWest
      25 I Bank.
      26                 116.   Smithson breached the Stock Award Agreements in at least the following ways:

      27                        (a)      by before and after she left PacWest Bank actively participating in the

      28                                 inducement of at least 30 PacWest Bank employees, including a number of

            I 344176.3                                            25
                                      PLAINTIFFS' THIRD AMENDED CO1ViPLAINT FOR DAIVIAGES
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       1                       executive relationship managers, portfolio managers, regional managers and

       2                       loan processors, to leave their positions at PacWest Bank and to take

       3                       positions at a competing bank, SoCal Bank, actions which were intended to

       4                       and did have a significant detrimental effect on PacWest's business;

       5                       Smithson, among other things, successfully solicited former PacWest Bank

       6                       employee Stephanie Johnson to leave PacWest Bank and join SoCal Bank,

       7               (b)     by taking actions that have caused or could reasonably be expected to cause

       8                       customers or prospective customers of PacWest Bank to whom she

       9                       provided services or with whom she had contact to become customers of

      10                       SoCal Bank, to reduce or refrain from doing business with PacWest Bank,

~     11                       and/or by interfering with or damaging relationships between PacWest

      12                       Bank and a customer or prospective customer;

      13               (c)     on information and belief, by intentionally and improperly using

      14                       confidential and proprietary information she learned through her

      15                       employment with PacWest or obtained from the PacWest Bank employees

      16                       she induced to resign, including but not limited to salary, benefits and bonus

      17                       information or data, and the terms and conditions of the employment

      18                       relationships between PacWest Bank and its employees and the history of

      19                       job performance, career goals and aspirations of those employees, to solicit

      20                       PacWest Bank employees to resign from PacWest Bank and join SoCal

      21                       Bank. Smithson was able, as a result of the confidential and proprietary

      22                       information she possessed, to identify for SoCal Bank the PacWest Bank's

      23                       employees who, in her judgment, possessed both the ability and personal

      24                       characteristics desirable in an employee, together with the salary PacWest

      25                       Bank was paying the employee and a suggestion as to the salary SoCal

      26                       Bank should offer to be successful in recruitment; and

      27               (d)     on information and belief, by actively competing against PacWest by

      28                       intentionally and improperly using confidential and proprietary information

           1344176.3                                     26
                             PLAINTIFFS' THIRD AMENDED COMPLAINT FOR DAIVIAGES
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       1                            she learned through her employment with PacWest or obtained from the
       2                            PacWest Bank employees she induced to resign, including but not limited to
       3                            client infoimation or data, including the terms and conditions of the

       4                            business relationships between clients and PacWest Bank and the clients'

       5                            needs and preferences, to solicit existing or potential PacWest Bank clients

       6                            to terminate their relationships with PacWest Bank and enter into business

       7                            relationships with SoCal Bank.

       8              117.   PacWest performed all of its obligations under the Stock Award Agreements other

       9 I than those obligations that were excused due to Smithson's breaches, and all of the conditions

      10 I required for Smithson's performance have occurred.
      11              118.   As a direct and proximate result of Smithson's breaches, Plaintiffs have suffered

      12 damages in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the
      13 Defendants' actions, but believe that thus far Rainer, Hernandez, Smithson and Does 1-20, have
      14' solicited and induced at least 30 PacWest Bank employees to resign and take positions at SoCal
      15 Bank, and further have solicited and induced numerous clients to transfer their business from
      16 PacWest Bank to SoCal Bank.
      17                                       SIXTH CAUSE OF ACTION

      18 FOR BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
      19        (Plaintiffs PacWest and PacWest Bank Against Defendants Smithson and Does 1-20)

      20              119.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 118 of this

      21 complaint as if fully set forth herein.
      22              120.   The law imposed an obligation on Smithson to act in good faith towards PacWest,

      23 and to refrain from actions that would deprive PacWest of the benefits of the Stock Award
      24 Agreements.
      25              121.   The Stock Award Agreements were made expressly for the benefit of PacWest

      26 Bank as a third-party beneficiary in that the client and employee relationships with which
      27 Smithson agreed she would not interfere were the business and employee relationships of PacWest
      28 Bank. Accordingly, the law imposed an obligation on Smithson to act in good faith towards

           344176.3                                           27
                                 PLAINTIFFS' THIRD AMENDED COMPLAINT FOR DAMAGES
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       1 I PacWest Bank, and to refrain from actions that would deprive PacWest Bank of the benefits of the

       2 I Stock Award Agreements.

       3              122.   Smithson breached the implied covenant of good faith and fair dealing, and unfairly

       4   interfered with Plaintiffs' rights to receive the benefits of the Stock Award Agreements, which

       5   included, among other things, Smithson's agreement to protect the confidentiality of the employee

       6   salary and bonus information, the identity of key employees, including relationship managers,

       7   customer lists, the terms, conditions and nature of customer relationships, and other Confidential

       8   Information, as defined in the Stock Award Agreements, concerning PacWest and PacWest Bank

       9   acquired by her and avoid actual or apparent conflicts of interest, in at least the following ways:

      10                     (a)     by before and after she left PacWest Bank actively participating in the

      11                             inducement of at least 30 PacWest Bank employees, including a number of

      12                             executive relationship managers, portfolio managers, regional managers and

      13                             loan processors, to leave their positions at PacWest Bank and to take

      14                             positions at a competing bank, SoCal Bank, actions which were intended to

      15                             and did have a significant detrimental effect on PacWest's business;

      16                             Smithson, among other things, successfully solicited former PacWest Bank

      17                             employee Stephanie Johnson to leave PacWest Bank and join SoCal Bank,

      18                     (b)     by taking actions that have caused or could reasonably be expected to cause

      19                             customers or prospective customers of PacWest Bank to whom she

      20                             provided services or with whom she had contact to become customers of

      21                             SoCal Bank, or reduce or refrain from doing business with PacWest Bank,

      22                             and/or by interfering with or damaging relationships between PacWest

      23                             Bank and customer or prospective customers;

      24                     (c)     on information and belief, by intentionally and improperly using

      25                             confidential and propi7etary information she learned through her

      26                             employment with PacWest or obtained from the PacWest Bank employees

      27                             she induced to resign, including but not limited to salary, benefits and bonus

      28                             information or data, and the terms and conditions of the employment

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                                   PLAINTIFFS' THIRD AMENDED COMPLAINT FOR DAMAGES
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       1                             relationships between PacWest Bank and its employees and the history of
       2                             job performance, career goals and aspirations of those employees, to solicit

       3                             PacWest Bank employees to resign from PacWest Bank and join SoCal

       4                             Bank. Smithson was able, as a result of the confidential and proprietary

       5                             information she possessed, to identify for SoCal Bank the PacWest Bank's

       6                             employees who, in her judgment, possessed both the ability and personal

       7                             characteristics desirable in an employee, together with the salary PacWest

       8                             Bank was paying the employee and a suggestion as to the salary SoCal

       9                             Bank should offer to be successful in recruitment; and

      10                     (d)     on information and belief, by actively competing against PacWest by

~     11                             intentionally and improperly using confidential and proprietary information

      12                             she learned through her employment with PacWest or obtained from the

      13                             PacWest Bank employees she induced to resign, including but not limited to

      14                             client infoiTnation or data, including the terms and conditions of the

      15                             business relationships between clients and PacWest Bank, to solicit existing

      16                             or potential PacWest Bank clients to terminate their relationships with

      17                             PacWest Bank and enter into business relationships with SoCal Bank.

      18              123.   As a direct and proximate result of Smithson's breaches, Plaintiffs have suffered

      19 damages in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the

      20 Defendants' actions, but believe that thus far Rainer, Hemandez, Smithson and Does 1-20,

      21 solicited and induced at least 30 PacWest Bank employees to resign and take positions at SoCal

      22 Bank.

      23                                      SEVENTH CAUSE OF ACTION

      24    INTENTIONAL INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE

      25      (Plaintiff PacWest Bank Against Defendants Rainer, Hernandez, Smithson, SoCal Bank,

      26                                        SoCal Bancorp and Does 1-20)

      27              124.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 122 of this

      mi,I complaint as if fully set forth herein.
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       1                125.   Each of the employees listed above who were solicited by Rainer, Hernandez,
       2    Smithson, SoCal Bank and SoCal Bancorp to leave PacWest Bank and join SoCal Bank ("Raided
       3    Employees") had an economic relationship with PacWest Bank that probably would have resulted
       4 in a future economic benefit to PacWest Bank.
       5                126.   Rainer, Hernandez, Smithson, SoCal Bank and SoCal Bancorp knew of the

       6I I economic relationships the Raided Employees had with PacWest Bank.
       71               127.   Rainer, Hemandez, Smithson, SoCal Bank and SoCal Bancorp engaged in

       8    intentional acts designed to induce a breach or disruption of the economic relationship between

            each of the Raided Employees and PacWest Bank, or, alternatively, Rainer, Hernandez, Smithson,

            SoCal Bank and SoCal Bancorp knew that a breach or disruption of the economic relationship

            I between each of the Raided Employees and PacWest Bank was certain or substantially certain to

            I occur as a result of their actions.
                        128.   As a result of the actions by Rainer, Hemandez, Smithson, SoCal Bank and SoCal

            ~ Bancorp there was an actual breach or disruption of the economic relationship each of the Raided

             Employees had with PacWest Bank. The breach or disruption of the economic relationship each of

             the Raided Employees had with PacWest Bank has resulted in injury and damage to PacWest

            Bank, in that PacWest Bank has lost the services and skill of the Raided Employees, and in many

            I cases the benefit of the advantageous business relationships these Raided Employees had with
      19 I both actual and potential clients. Additionally, the speed and number of disruptions and lost
      20 employees has created chaos within PacWest Bank and has led to a loss of business opportunities
      21 and employee morale.
      22                129.   In engaging in his acts of intentional interference with prospective economic

      23 advantage, Rainer breached his obligations under the Agreement, and breached his fiduciary duty
      24 to PacWest.
      25                130.   In engaging in his acts of intentional interference with prospective economic

      26 advantage, Hernandez breached his obligations under the Stock Award Agreements, and breached
      27 I his fiduciary duty to PacWest,
      28

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                                       131.   In engaging in her acts of intentional interference with prospective economic
                       2I I advantage, Smithson breached her obligations under the Stock Award Agreements and breached
                           her fiduciary duty to PacWest
                       4               132.   In engaging in its acts of intentional interference with prospective economic

                       5   I advantage, SoCal Bank and SoCal Bancorp illegally induced Rainer to breach his Agreement. The

                       6   I Agreement was made expressly for the benefit of PacWest Bank as a third-party beneficiary in

                       7   I that the client and employee relationships that Rainer was contractually obligated to foster,

                           promote and preserve were the business and employee relationships of PacWest Bank. After being

                       9   I informed of the terms of Rainer's Agreement through at least the LOI, SoCal Bank and SoCal

                      10 I Bancorp agreed to indemnify Rainer for any of the consequences of his acts of breach of contract
~                     11 I or tortious interference, thereby illegally and wrongfully inducing him to breach his Agreement in
~
ag
W  "N                 12 the ways and by the acts alleged above. This illegal inducement of Rainer to breach his Agreement
                  -
~ ~~o~
    _o`~              13   gave Rainer a"green light" to engage in acts of intentional interference with prospective economic
        U ~   v


                      14 advantage for his and SoCal Bank's benefit, and directly resulted in SoCal Bank and SoCal
xw~a                  15 Bancorp's acts of intentional interference with prospective economic advantage.
Ua o 0
O       O     M
U~r ~
W ~                   16               133.   In engaging in its acts of intentional interference with prospective economic
    l
~             F
~                     17 I advantage, SoCal Bank and SoCal Bancorp illegally induced Hernandez and Smithson to breach
o~
                      18 their Stock Award Agreements. The Stock Award Agreements were made expressly for the benefit
                      19 of PacWest Bank as a third-party beneficiary in that the client and employee relationships which
                      20 were protected by the restrictive covenants therein were the business and employee relationships
                      21 of PacWest Bank. On information and belief, after being informed of the terms of their Stock
                      22 Award Agreements, SoCal Bank and SoCal Bancorp agreed to indemnify Hernandez and
                      23 Smithson for any of the consequences of their acts of breach of contract or tortious interference,
                      24 thereby illegally and wrongfully inducing them to breach their Stock Award Agreements in the
                      25 ways and by the acts alleged above. This illegal inducement of Hernandez and Smithson to breach
                      26 their Stock Award Agreements gave Hernandez and Smithson a"green light" to engage in acts of
                      27 intentional interference with prospective economic advantage for their and SoCal Bank's benefit,
                      28

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       1 and directly resulted in SoCal Bank and SoCal Bancorp's acts of intentional interference with

       2 I prospective economic advantage.

       3              134.   SoCal Bank and SoCal Bancorp also aided and abetted the acts of intentional

       4 I interference with economic advantage by Rainer, Hernandez and Smithson. Specifically, SoCal

       5 I Bank and SoCal Bancorp knew that Rainer, who they were hiring as the Executive Chairman of

       6I I the SoCal Bank Board of Directors , Hernandez, who they were hiring as SoCal Bank's Chief
       7 ~ Banking Officer, and Smithson, who they were hiring as SoCal Bank's Executive Vice President,

       8   Regional Manager, were engaging in, or intended to engage in, their acts of intentional

       9   interference with the economic relationships between each of the Raided Employees and PacWest

      10 Bank for the benefit of SoCal Bank and SoCal Bancorp.
~     11              135.   The conduct of SoCal Bank and SoCal Bancorp was a substantial factor in causing

           I the harm to PacWest Bank caused by Rainer's, Hernandez' and Smithson's acts of intentional

           interference with the economic relationships between each of the Raided Employees and PacWest

           Bank. Without the active participation of SoCal Bank and SoCal Bancorp, Rainer, Hernandez and

           Smithson would not have been able to offer job positions at SoCal Bank to the Raided Employees,

           and without the fmancial incentives and indemnifications offered by SoCal Bank and SoCal

           Bancorp to Rainer, Hemandez and Smithson they would not have been willing and able to engage

           in the illegal acts of intentional interference.

      19              136.   Defendants further engaged in a conspiracy to induce a breach or disruption of the

      20 I economic relationship between each of the Raided Employees and PacWest Bank. SoCal Bank
      21 and SoCal Bancorp were aware that Rainer, Hemandez and Smithson planned and intended to
      22 engage in these tortious activities and agreed with Rainer, Hernandez and Smithson to engage in a
      23 systematic plan to raid PacWest Bank's employees and clients.
      24              137.   As a direct and proximate result of the acts of intentional interference with

      25 I prospective economic advantage by Defendants, PacWest Bank has suffered damages in an
      26 amount to be proven at trial. PacWest Bank is not aware of the full extent of the Defendants'
      27 actions but believes that additional PacWest Bank employees may have been, or will in the future
      28 be, solicited by Defendants and Does 1-20, to resign and take positions at SoCal Bank. In addition,

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       1 I in engaging in the conduct described above, Defendants, and each of them, acted with oppression,

       2 I fraud or malice, entitling Plaintiffs to an award of punitive damages.

       3                                        EIGHTH CAUSE OF ACTION
       4 I      NEGLIGENT INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE

       5                (Plaintiff PacWest Bank Against Defendants SoCal Bank and SoCal Bancorp

       6                                                 and Does 1-20)

       7                138.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 137 of this

       8 I complaint as if fully set forth herein.

       9                139.   Each of the Raided Employees had an economic relationship with PacWest Bank

      10 I that probably would have resulted in economic benefit to PacWest Bank.

      11                140.   SoCal Bank and SoCal Bancorp knew or should have known of the economic

      12 relationships the Raided Employees had with PacWest Bank.

      13                141.   SoCal Bank and SoCal Bancorp knew that a breach or disruption of the economic

      14 relationship between each of the Raided Employees, on the one hand, and PacWest Bank, on the

      15 other hand, was certain or substantially certain to occur as a result of the actions of their agents

      16 and representatives, including Rainer, Hernandez and Smithson. Altematively, SoCal Bank and

      17 SoCal Bancorp should have known that a breach or disruption of the economic relationship

      18 between each of the Raided Employees, on the one hand, and PacWest Bank, on the other hand,

      19 was certain or substantially certain to occur as a result of the actions of their agents and

      20 representatives, including Rainer, Hemandez and Smithson, if they acted without reasonable care.

      21                142.   SoCal Bank and SoCal Bancorp failed to act with reasonable care.

      22                143.   By engaging in its acts of negligent interference with prospective economic

      23 advantage, SoCal Bank and SoCal Bancorp engaged in wrongful conduct by illegally inducing

      24 Rainer to breach his Agreement, and by illegally inducing Hernandez and Smithson to breach their
      25 Stock Award Agreements. This illegal inducement to breach their Agreements gave Rainer,
      26 Hernandez and Smithson a"green light" to engage in acts of intentional interference with
      27 prospective economic advantage for their and SoCal Bank's benefit, and directly resulted in the
      28 interference with PacWest Bank's prospective economic advantage. SoCal Bank and SoCal

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       1 Bancorp knew that a breach or disruption of the economic relationship between each of the Raided

       2   Employees, on the one hand, and PacWest Bank, on the other hand, was certain or substantially
       3   certain to occur as a result of their inducement of Rainer, Hernandez and Smithson to breach their
       4   own agreements. Alternatively, SoCal Bank and SoCal Bancorp should have known that a breach

       5   or disruption of the economic relationship between each of the Raided Employees, on the one

       6   hand, and PacWest Bank, on the other hand, was certain or substantially certain to occur as a result

       7   of their inducement of Rainer, Hemandez and Smithson to breach their own agreements if they

       8   acted without reasonable care.

       9              144.   As a result of the acts of SoCal Bank and SoCal Bancorp, there was an actual

      10 I breach or disruption of the economic relationship each of the Raided Employees had with PacWest
           I Bank.
                      145.   The breach or disruption of the economic relationship each of the Raided

           Employees had with PacWest Bank has resulted in injury and damage to PacWest Bank, in that

           PacWest Bank has lost the services and skill of the Raided Employees, and in many cases the

           benefit of the advantageous business relationships these Raided Employees had with both actual

           and potential clients. Additionally, the speed and number of disruptions and lost employees has

           created chaos within PacWest Bank and has led to a loss of business opportunities and a decline in

      18 employee morale that negatively impacts the business of PacWest Bank.
      19              146.   As a direct and proximate result of the acts of negligent interference with

      20 prospective economic advantage by SoCal Bank and SoCal Bancorp, PacWest Bank has suffered
      21 damages in an amount to be proven at trial. PacWest Bank is not aware of the full extent of the
      22 Defendants' actions but believes that additional PacWest Bank employees may have been, or will
      23 in the future be, solicited by Defendants and Does 1-20 to resign and take positions at SoCal Bank.
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                1                                         NINTH CAUSE OF ACTION

                2                  VIOLATION OF CALIFORNIA UNIFORM TRADE SECRETS ACT —
                3                                   CIVIL CODE SECTION 3426 ET. SEQ.

                4                 (Plaintiff PacWest Bank Against Defendants Rainer, Hernandez, Smithson,

                5                                  SoCal Bank, SoCal Bancorp and Does 1-20)

                6                147.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 146 of this

                7     complaint as if fully set forth herein.

                8                148.   PacWest Bank owns and possesses certain confidential, proprietary, and trade

                9     secret information (the "Confidential Information") including: (1) customer lists, including

               10 customer names and key contact information, pricing, profit margins, pricing concessions,
~              11 marketing strategy and concessions, payment terms, loan and deposit terms, maturity and other
~
W
~    ~    "N   12 dates, interest rates, customer needs, specialized requirements, preferences and future plans, loan
     M    M
     r    ~
               13     and deposit history, and available credit, and (2) employee information, including names, contact

               14 information, employment terms, compensation including salary, bonuses and stock grants, and

xw¢a           15 other incentives, titles and promotion history, qualifications, experience, business generation track
U3 0 0
~ o       ~
     ~r        16 record, compensation and promotion expectation, book of business, client contacts, education,
W~        o
~D             17 accomplishments, capabilities and productivity, and level of employee involvement in specific
o~
               18 client relationships.
               19                149.   The Confidential Information has actual or potential independent economic value

               20 I from not being generally known to the public or other persons who could obtain economic value
               21 from their disclosure or use. It is, and was at the time of Defendants' misappropriation, a trade
               22i secret.
               23                150.   PacWest Bank has undertaken efforts that are reasonable under the circumstances

               24 1I to maintain the secrecy of the trade secrets at issue. These efforts include, but are not limited to,
               25 '   the use of passwords and encryption to protect data on its computers, sei-vers, and information
               26 repositories, the maintenance of a Code of Conduct that emphasizes all employees' duties to
               27 maintain the secrecy of PacWest Bank's confidential information, and the use of confidentiality
               28

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       1 agreements and non-disclosure agreements to require vendors, partners, contractors, and

       2I employees to maintain the secrecy of PacWest's confidential information.
       3              151.   Defendants knew or should have known under the circumstances that the

       4 I information misappropriated by Defendants were trade secrets.

       5              152.   Defendants misappropriated and threaten to further misappropriate trade secrets at

       6   least by acquiring trade secrets with knowledge of or reason to know that said trade secrets were

       7 I acquired by improper means, and Defendants are using and threatening to use the trade secrets

       8   acquired by improper means without PacWest Bank's knowledge or consent. For example,

       9 Defendants have used PacWest's trade secret information to contact and solicit PacWest Bank's

      10 employees and clients as alleged above.
                      153.   As a direct and proximate result of Defendants' conduct, PacWest Bank is

           threatened with injury and has been injured in an amount to be proven at trial. PacWest Bank has

           also incuiYed, and will continue to incur, additional damages, costs and expenses, including

           attorneys' fees, as a result of Defendants' misappropriation. Defendants' acquisition, use and

           disclosure of PacWest Bank's trade secrets was a substantial factor in causing the harm to

           PacWest Bank.

                      154. As a further proximate result of the misappropriation and use of PacWest Bank's
      f: trade secrets, Defendants were unjustly enriched. Defendants' acquisition, use and disclosure of
      19 PacWest Bank's trade secrets was a substantial factor in causing Defendants to be unjustly
      20 enriched.
      21              155.   The aforementioned acts of Defendants were willful, malicious and fraudulent.

      22 II PacWest Bank is therefore entitled to exemplary damages under California Civil Code §
      23 3426.3(c).
      24              156.   Defendants' conduct constitutes transgressions of a continuing nature for which

      25 PacWest Bank has no adequate remedy at law. Unless and until enjoined and restrained by order
      26 of this Court, Defendants will continue to retain and use PacWest Bank's trade secret information
      27 to enrich themselves and divert business from PacWest Bank. Pursuant to California Civil Code §
      28 3426.2, PacWest Bank is entitled to an injunction against the misappropriation and continued

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               1     threatened misappropriation of trade secrets as alleged herein and further asks the Court to restrain
               2     Defendants from using all trade secret information misappropriated from PacWest Bank.
               3                 157.   Pursuant to California Civil Code § 3426.4 and related law, PacWest Bank is

               4     entitled to an award of attorneys' fees for Defendants' misappropriation of trade secrets.

               5                                          TENTH CAUSE OF ACTION

               6                  INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS

               7                  (Plaintiffs PacWest and PacWest Bank Against Defendants SoCal Bank and

               8                                          SoCal Bancorp and Does 1-20)

               9                 158.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 157 of this

                     I complaint as if fully set forth herein.
                                 159.   The Agreement is and was a valid contract between PacWest and Rainer. The
~
Wp
~        "N   12 Agreement was made expressly for the benefit of PacWest Bank as a third party beneficiary in that
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         °
     c6 a~    13 the client and employee relationships which Rainer was obligated to foster, promote and preserve
              14 were the business and employee relationships of PacWest Bank.
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xw~d          15                 160.   The Stock Award Agreements are valid contracts between PacWest, on the one
u~;~
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W ~
U             16     I hand, and Hemandez and Smithson, on the other. The Stock Award Agreements were made
W h      U


~             17 expressly for the benefit of PacWest Bank as a third party beneficiary in that the client and
o~
              f: employee relationships which were protected by the Restrictive Covenants the business and
              19 employee relationships of PacWest Bank.
              20                 161.   SoCal Bank and SoCal Bancorp were informed by Rainer in writing of the

              21 existence of the Agreement and its terms.
              22                 162.   On information and belief, SoCal Bank and SoCal Bancoip were informed by

              23 Hernandez, as part of his recruitment, of the existence of the Stock Award Agreements and its
              24 terms.
              25 I               163.   On information and belief, SoCal Bank and SoCal Bancoip were informed by

              26 Smithson, as part of her recruitment, of the existence of the Stock Award Agreements and its
              27 terms.
              28

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                      164.   SoCal Bank and SoCal Bancorp engaged in intentional acts designed to induce a
       2'I breach or disruption of the contractual relationship between each of Rainer, Hernandez, Smithson
           and PacWest, including agreeing to fully indemnify Rainer, Hernandez and Smithson against

       4 I possible claims by PacWest for breach of those contracts, and agreeing to compensate Rainer for

       5 I the amounts still unpaid to him by PacWest under the Agreement, and on information and belief,

       6 I agreeing to compensate Hernandez and Smithson for the financial consequences of their breach of

       7 I the Stock Award Agreements.

                      165.   As a result of the acts of SoCal Bank and SoCal Bancorp, there was an actual

       9 I breach or disruption of the contractual relationship between each of Rainer, Hernandez, Smithson

      10 and PacWest.
                      166.   The breach or disruption of the contractual relationship between each of Rainer,

           Hernandez, Smithson and PacWest has resulted in injury and damage to PacWest Bank, in that

           PacWest Bank's confidential and proprietary information has been shared with a competitor,

           PacWest Bank has lost the services and skill of the Raided Employees, and in many cases the

           benefit of the advantageous business relationships these Raided Employees had with both actual

           and potential clients, and SoCal Bank and SoCal Bancorp has, as a result of Hernandez',

           Smithson's and Rainer's breaches of their contracts, been able to illegally solicit and steal

      18 II customers. Additionally, the speed and number of disruptions and lost employees has created
      19 II chaos within PacWest Bank, and has led to a loss of business opportunities and employee morale.
      20              167.   As a direct and proximate result of the acts of intentional interference with

      21 contractual relations by SoCal Bank and SoCal Bancorp, PacWest Bank has suffered damages, in
      22 11 an amount to be proven at trial. PacWest Bank is not aware of the full extent of the Defendants'
      23 actions but believes that additional PacWest Bank employees may have been, or will in the future
      24 11 be, solicited by Rainer, Hemandez, Smithson, SoCal Bank, SoCal Bancorp and Does 1-20, to
      25 resign and take positions at SoCal Bank. In addition, in engaging in the conduct desci-ibed above,
      26 SoCal Bank and SoCal Bancorp acted with oppression, fraud or malice, thus entitling Plaintiffs to
      27 an award of punitive damages.
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       1                                    ELEVENTH CAUSE OF ACTION
       2                                 INDUCING BREACH OF CONTRACT
       3               (Plaintiffs PacWest and PacWest Bank Against Defendants SoCal Bank and

       4                                       SoCal Bancorp and Does 1-20)

       5              168.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 167 of this

       6   complaint as if fully set forth herein.

       7              169.   The Agreement is and was a valid contract between PacWest and Rainer. The

       8   I Agreement was made expressly for the benefit of PacWest Bank as a third party beneficiary in that

       9   the client and employee relationships which Rainer was obligated to foster, promote and preserve

      10 were the business and employee relationships of PacWest Bank.

      11              170.   The Stock Award Agreements are valid contracts between PacWest, on the one

      12 hand, and Hemandez and Smithson, on the other. The Stock Award Agreements were made

      13 expressly for the benefit of PacWest Bank as a third parry beneficiary in that the client and

      14 employee relationships which were protected by the Restrictive Covenants the business and

      15 employee relationships of PacWest Bank.

      16              171.   SoCal Bank and SoCal Bancorp were informed by Rainer in writing of the

      17 existence of the Agreement and its terms.

      18              172.   On information and belief, SoCal Bank and SoCal Bancoip were informed by

      19 Hernandez, as part of his recruitment, of the existence of the Stock Award Agreements and its

      20 terms.

      21              173.   On information and belief, SoCal Bank and SoCal Bancoip were informed by

      22 Smithson, as part of her recruitment, of the existence of the Stock Award Agreements and its

      23 terrns.
      24              174.   SoCal Bank and SoCal Bancorp intended to induce a breach of the contractual

      25 relationship between Rainer and PacWest.
      26              175.   SoCal Bank and SoCal Bancorp intended to induce a breach of the contractual

      27 relationship between Hernandez and PacWest.
      28

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             1              176.   SoCal Bank and SoCal Bancorp intended to induce a breach of the contractual
             2 I relationship between Smithson and PacWest.

             3              177.   As a result of the acts of SoCal Bank and SoCal Bancorp, there was an actual

             4 I breach of the contractual relationship between Rainer and PacWest.

             5              178.   As a result of the acts of SoCal Bank and SoCal Bancorp, there was an actual

             6 I breach of the contractual relationship between Hernandez and PacWest.

             7              179.   As a result of the acts of SoCal Bank and SoCal Bancorp, there was an actual

             8 I breach of the contractual relationship between Smithson and PacWest.

             9              180.   Rainer's breach of the Agreement was caused by unjustified or wrongful conduct

            10 by SoCal Bank and SoCal Bancorp, including their agreement to fully indeninify Rainer against
~
~           11 I possible claims by PacWest for breach of that contract, and their agreement to compensate Rainer
~
w       ~
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F o0
    0   N   12 for the amounts still unpaid to him by PacWest under the Agreement.

            13              181.   Hernandez' breach of the Stock Award Agreements was caused by unjustified or

            14 wrongful conduct by SoCal Bank and SoCal Bancorp, including, on information and belief, their

            15 agreement to fully indemnify Hernandez against possible claims by PacWest for breach of those

            16 contracts, and their agreement to compensate Hernandez for the fmancial consequences of his

            17 breach of the Stock Award Agreements.

            18              182.   Smithson's breach of the Stock Award Agreements was caused by unjustified or

            19 wrongful conduct by SoCal Bank and SoCal Bancorp, including, on information and belief, their

            20 agreement to fully indemnify Smithson against possible claims by PacWest for breach of those

            21 contracts, and their agreement to compensate Smithson for the fmancial consequences of her

            22 breach of the Stock Award Agreements.
            23              183.   The breach of the contractual relationship between each of Rainer, Hernandez,

            24 I Smithson and PacWest has resulted in injury and damage to PacWest Bank, in that PacWest
            25 Bank's confidential and proprietary information has been shared with a competitor, PacWest has
            26 lost the services and skill of the Raided Employees, and in many cases the benefit of the
            27 advantageous business relationships these Raided Employees had with both actual and potential
            28 clients, and SoCal Bank and SoCal Bancorp has, as a result of Hernandez', Smithson's and

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       1 Rainer's breaches of their contracts, been able to illegally solicit and steal customers. Additionally,

       2 the speed and number of disruptions and lost employees has created chaos within PacWest Bank,

       3   and has led to a loss of business opportunities and employee morale.

       4               184.   As a direct and proximate result of the acts of intentional intei-ference with

       5   contractual relations by SoCal Bank and SoCal Bancorp, PacWest Bank has suffered damages, in

       6 an amount to be proven at trial. PacWest Bank is not aware of the full extent of the Defendants'

       7 actions but believes that additional PacWest Bank employees may have been, or will in the future

       8   be, solicited by Rainer, Hernandez, Smithson, SoCal Bank, SoCal Bancorp and Does 1-20, to

       9 resign and take positions at SoCal Bank. In addition, in engaging in the conduct desci-ibed above,

      10 SoCal Bank and SoCal Bancorp acted with oppression, fraud or malice, thus entitling Plaintiffs to

      11 an award of punitive damages.

      12                                       TWELFTH CAUSE OF ACTION

      13                                      BREACH OF FIDUCIARY DUTY

      14           (Plaintiffs PacWest and PacWest Bank Against Defendants Rainer and Does 1-20)

      15               185.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 184 of this

      16 I complaint as if fully set forth herein.

      17               186.   Rainer owed a general duty of loyalty to PacWest, and its subsidiary PacWest

      18 Bank. This included a duty to refrain from taking action on behalf of, or otherwise assisting,

      19 Plaintiffs' competitors. This duty of loyalty was the result of Rainer's activities in acting on

      20 Plaintiffs' behalf as a consultant to facilitate customer outreach, retain key personnel, and develop

      21 new business development opportunities to attract and retain new clients.

      22               187.   Rainer breached his duty of loyalty by doing the acts described above, including

      23 but not limited to, soliciting PacWest Bank employees and clients to leave PacWest Bank and go

      24 to a competitor, SoCal Bank.
      25               188.   As a direct and proximate result of Rainer's breaches, Plaintiffs have suffered

      26 damages in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the
      27 Defendants' actions, but believe that thus far Rainer, Hernandez, Smithson, and Does 1-20,

      28 solicited and induced at least 30 PacWest Bank employees to resign and take positions at SoCal

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       1 Bank. Furthermore, Plaintiffs are informed and believe, and thereon allege, that Rainer unjustly

       2   received prior consulting fees while in breach of the Agreement and should therefore be required
       3   to return the ill-gotten compensation.
       4                                    THIRTEENTH CAUSE OF ACTION

       5                                     BREACH OF FIDUCIARY DUTY

       6        (Plaintiffs PacWest and PacWest Bank Against Defendants Hernandez and Does 1-20)

       7               189.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 188 of this

       8 I complaint as if fully set forth herein.

       9               190.   Hernandez owed a general duty of loyalty to PacWest, and its subsidiary PacWest

      10 Bank as a result of his position as an officer of PacWest Bank. This included a duty to refrain fiom
           taking action on behalf of, or otherwise assisting, Plaintiffs' competitors, and not to use or

            communicate Plaintiffs' confidential and proprietaiy information for his own purposes or for those

            of a third party.

                       191.   Hernandez breached his duty of loyalty by doing the acts described above,

            including but not limited to, soliciting PacWest Bank employees and clients to leave PacWest

            Bank and go to a competitor, SoCal Bank.

                       192.   As a direct and proximate result of Hernandez' breaches, Plaintiffs have suffered

      18 damages in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the
      19 Defendants' actions, but believe that thus far Hernandez, Rainer, Smithson, and Does 1-20,
      20 solicited and induced at least 30 PacWest Bank employees to resign and take positions at SoCal
      21 Bank.
      22                                    FOURTEENTH CAUSE OF ACTION

      23                                      BREACH OF FIDUCIARY DUTY

      24         (Plaintiffs PacWest and PacWest Bank Against Defendants Smithson and Does 1-20)

      25               193.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 192 of this

      26 complaint as if fully set forth herein.
      27               194.   Smithson owed a general duty of loyalty to PacWest, and its subsidiary PacWest

      28 Bank as a result of her position as an officer of PacWest Bank. This included a duty to refrain

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       1 I from taking action on behalf of, or otherwise assisting, Plaintiffs' competitors, and not to use or

       2 I communicate Plaintiffs' confidential and proprietary information for her own purposes or for those

       3   of a third party.

       4               195.   Smithson breached her duty of loyalty by doing the acts described above, including

       5   but not limited to, soliciting PacWest Bank employees and clients to leave PacWest Bank and go

       6 to a competitor, SoCal Bank.

       7               196.   As a direct and proximate result of Smithson's breaches, Plaintiffs have suffered

       8    damages, in an amount to be proven at trial. Plaintiffs are not aware of the full extent of the

       9   Defendants' actions, but believe that thus far Rainer, Hernandez, Smithson and Does 1-20,

      10 solicited and induced at least 30 PacWest Bank employees to resign and take positions at SoCal
           Bank.
                                             FIFTEENTH CAUSE OF ACTION
                               AIDING AND ABETTING BREACH OF FIDUCIARY DUTY

                        (Plaintiffs PacWest and PacWest Bank Against Defendants SoCal Bank and
                                                SoCal Bancorp and Does 1-20)

                       197.   Plaintiffs re-allege and hereby incorporate paragraphs 1 through 196 of this

            complaint as if fully set forth herein.

      18               198.   SoCal Bank and SoCal Bancorp aided and abetted Rainer's breaches of his duty of

      19 loyalty owed to Plaintiffs. Specifically, SoCal Bank and SoCal Bancorp knew that Rainer, who it
      20 I intended to and did hire as the Executive Chairman of SoCal Bank's Board of Directors , was
      21 engaging in, or intended to engage in, his acts which breached his duty of loyalty to Plaintiffs for
      22 the benefit of SoCal Bank and SoCal Bancoip.
      23               199.   SoCal Bank and SoCal Bancorp gave substantial assistance or encouragement to

      24 Rainer in breaching of his duty of loyalty to Plaintiffs. SoCal Bank and SoCal Bancorp worked
      25 with Rainer during the term of the Agreement to identify and solicit the Raided Employees, and
      26 negotiated terms, made offers and hired the Raided Employees to positions at SoCal Bank. Other
      27 representatives of SoCal Bank and SoCal Bancorp, including Hemandez, Smithson and other
      28 newly hired Raided Employees, assisted Rainer in identifying and soliciting the Raided

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       1 Employees. After being informed of the terms of his Agreement through at least the LOI, SoCal

       2 Bank and SoCal Bancorp agreed to indemnify Rainer for any consequences of his acts of breach of

       3   contract or tortious interference, thereby illegally and wrongfully inducing him to breach his

       4 Agreement in the ways and by the acts set forth above.

       5              200.   SoCal Bank and SoCal Bancorp aided and abetted Hernandez' breaches of his duty

       6 of loyalty owed to Plaintiffs. Specifically, SoCal Bank and SoCal Bancorp knew that Hernandez,

       7 who it intended to and did hire as its Chief Banking Officer, was engaging in, or intended to

       8   engage in, acts which breached his duty of loyalty to Plaintiffs for the benefit of SoCal Bank and

       9   SoCal Bancorp.

      10              201.   SoCal Bank and SoCal Bancorp gave substantial assistance or encouragement to

~     11 Hernandez in breaching of his duty of loyalty to Plaintiffs. On information and belief, while still

      12 serving as a Regional Vice President of PacWest Bank, Hemandez negotiated a job position with

      13 SoCal Bank and solicited other PacWest Bank employees to join him and in so doing violated the

      14 terms of the Stock Award Agreements. On infoiznation and belief, after being informed of the

      15 terms of his Stock Award Agreements, SoCal Bank and SoCal Bancorp agreed to indemnify

      16 Hernandez for any consequences of his acts of breach of contract or tortious interference, thereby

      17 illegally and wrongfully inducing him to breach his Stock Award Agreements in the ways and by

      18 the acts set forth above.

      19              202.   SoCal Bank and SoCal Bancorp aided and abetted Smithson's breaches of her duty

      20 of loyalty to Plaintiffs. Specifically, SoCal Bank and SoCal Bancorp knew that Smithson, who it

      21 intended to and did hire as an Executive Vice President, Regional Manager, was engaging in, or

      22 intended to engage in, acts that breached her duty of loyalty to Plaintiffs for the benefit of SoCal

      23 Bank and SoCal Bancorp.

      24              203.   SoCal Bank and SoCal Bancorp gave substantial assistance or encouragement to

      25 Smithson in breaching of her duty of loyalty to Plaintiffs. On infoiznation and belief, while still
      26 serving as an Executive Vice President, Regional Manager of PacWest Bank, Smithson negotiated
      27 a job position with SoCal Bank and solicited other PacWest Bank employees to join her, and in

      28 doing so violated the terms of the Stock Award Agreements. On information and belief, after

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                       being informed of the terms of her Stock Award Agreements, SoCal Bank and SoCal Bancorp
                   2I I agreed to indemnify Smithson for the consequences of her acts of breach of contract or tortious
                       interference, thereby illegally and wrongfully inducing her to breach her Stock Award Agreements

                   4'I in the ways and by the acts set forth above.
                                   204.   The conduct of SoCal Bank and SoCal Bancorp was a substantial factor in causing

                   6   I the harm to Plaintiffs which resulted from by Rainer's, Hernandez' and Smithson's acts that

                   7   I breached their duties of loyalty to Plaintiffs. Without the active participation of SoCal Bank and

                   8   I SoCal Bancorp, Rainer, Hernandez and Smithson would not have been able to offer job positions
                   9   at SoCal Bank to the Raided Employees and the deal terms and other incentives to solicit PacWest

                  10 clients to move their business to SoCal Bank.
aa                11               205.   Defendants engaged in a conspiracy to breach the duty of loyalty owed to Plaintiffs
~
ao          "~    12 by Rainer, Hemandez and Smithson. SoCal Bank and SoCal Bancorp were aware that Rainer,
     M     - M-
     ..
      V+    ~

     VJ O M       13   Hernandez and Smithson planned and intended to engage in these tortious activities and agreed

                  14 with Rainer, Hernandez and Smithson to engage in a systematic plan to raid PacWest Bank's
xwad              15 employees and clients. SoCal Bank and SoCal Bancorp were aware of Rainer's obligations under
U ~        `o~
O'-^
     r            16   the Agreement and agreed with Rainer to delay the announcement of his hiring and the beginning
F           F"

~                 17 of the resignations of the Raided Employees until after October 20, 2020, and to proceed with the
o~
                  18 II plan regardless of his obligations under the Agreement. SoCal Bank and SoCal Bancorp were
                  19 II aware of Hernandez' and Smithson's obligations under the respective Stock Award Agreements
                  20 and agreed to proceed with the plan regardless of each if their obligations under the Stock Award
                  21 II Agreements. SoCal Bank and SoCal Bancorp were aware of Smithson's obligations under the
                  22 II Stock Award Agreements and agreed to proceed with the plan regardless of her obligations under
                  23 II the Stock Award Agreements.
                  24               206.   As a direct and proximate result of the aiding and abetting by SoCal Bank and

                  25 SoCal Bancorp of Rainer's, Hernandez' and Smithson's breaches of their fiduciary duties,
                  26 Plaintiffs have suffered damages in an amount to be proven at trial. Plaintiffs are not aware of the
                  27 full extent of the Defendants' actions but believes that additional PacWest Bank employees may
                  28

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       1 have been, or will in the future be, solicited by Rainer, SoCal Bank, SoCal Bancorp and Does 1-

       2 20, to resign and take positions at SoCal Bank.

       3                                     SIXTEENTH CAUSE OF ACTION
       4        COMMON LAW UNFAIR COIVIPETITION AND VIOLATION OF CALIFORNIA
       5                     BUSINESS AND PROFESSIONS CODE SECTION 17200 ET SEQ.

       6                     (Plaintiffs PacWest and PacWest Bank Against Defendants Rainer,

       7                     Hernandez. Smithson, SoCal Bank, SoCal Bancorp and Does 1-20)

       8              207.    Plaintiffs re-allege and hereby incorporate paragraphs 1 through 206 of this

       9 I complaint as if fully set forth herein.

      10              208.    The breach or disruption of the economic relationship each of the Raided

      11 Employees had with PacWest Bank has resulted in economic injury and damage to PacWest Bank,
      12 in that PacWest Bank has lost the services and skill of the Raided Employees, and in many cases

      13 the benefit of the advantageous business relationships these Raided Employees had with both

      14 actual and potential clients. Additionally, the speed and number of disruptions and lost employees

      15 has created chaos within PacWest Bank, and has led to a loss of business opportunities and

      16 employee morale.

      17              209.    The interference by Defendants with PacWest Bank's relationships with its

      18 employees and customers is ongoing and an injunction is necessary to stop the interference and

      19 prevent further injury to Plaintiffs. Discoveiy has confirmed that Defendants continue unabated in

      20 their efforts to wrongfully solicit PacWest Bank employees and customers, and the number of

      21 PacWest Bank customers transferring their business to SoCal Bank as a result Defendants' illegal

      22 acts continues to grow.
      23              210.    Plaintiffs' economic injury was and is the direct and proximate result of the

      24 unlawful acts of unfair competition by SoCal Bank, SoCal Bancorp, Rainer, Hernandez and
      25 Smithson set forth above.

      26              211.    As a result of the unlawful acts of unfair competition by SoCal Bank, SoCal

      27 Bancorp, Rainer, Hernandez and Smithson, Plaintiffs are entitled to an injunction to prevent
      28 further damage to, and interference and disruption of, their business, and restitution in the form of

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            a return of the monies paid to Rainer under the Agreenient, and Hernandez and Smithson pursuant
       21 to their employment agreements and Stock Award Agreements with PacWest Bank.

       3                                            PRAYER FOR RELIEF
       4               WHEREFORE, Plaintiffs pray for relief as follows:

       5               1.     For injunctive relief to prohibit Defendants' illegal conduct;

       6               2.     For the return of past consulting fees unjustly received by Rainer approximately in

       7 the amount of at least $135,000.00, but in an exact amount to be proven at trial;

       8               3.     For the return of past salary and bonuses and stock unjustly received by Hernandez

       9    in an amount to be determined at trial;

      10               4.     For the return of past salary and bonuses and stock unjustly received by Smithson

      Il in an amount to be determined at trial;

      12               5.     For general damages; for both past and future ecoiio>nic loss, in amount to be

      13 proven at trial, in excess of $15 million;

      14               6.     For punitive damages in an amount to be determined at trial;

      15               7.     For all attorneys' fees and costs of suit incurred herein; and

      16               8.     For such other and further relief as this Court may deem proper.

      17

      18 I DATED: April 1, 2022                           BAUTE CROCHETIERE HARTLEY & VELKEI Lt,P

      19

      20

      21                                                  By:                                    ~
                                                                 ,pa~ ~l Crochetiere
                                                                (~
      221                                                         Attorneys for Plaintiff/Cross-Defendant
                                                                  PACWEST BANCORP, Plaintiff PACIFIC
      231                                                         WESTERN BANK and Cross-Defendant
      24                                                          JOHN M. EGGEMEYER

      25
      26
      27
      28

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           1                                        DFMAND FOR JURY TRIAL
           2               Plaintiffs PACWEST BANCORP and PACIFIC WESTERN BANK hereby demand a trial
           3    by jury on all issues so triable.

           4

           5 I DATED: April 1, 2022                      BAUTE CROCHETIERE HARTLEY & VELKEI LLP

           6

           7                                             By:
           8                                                       id P. Crochetiere
                                                               Attorneys for Plainti.ff/Cross-Defenda.nt
           9                                                   PACWEST BANCORP, PlaintiffPACIFIC
                                                               WESTERN BANK and Cross-Defendant
          10
                                                               JOHN M. EGGEMEYER
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             EXHIBIT I
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                                                                                                            EXEC.U'TIUl*1 COPY
                                                                                                              CONPIDENTIAL




                                                     PacWest Baneorp

                                                                                                                 May 2S; 20'17



       David.I. Rainer.
       (at the Adctiess on file with fhe Compariy)

                       Re:     Amended and Restated Consulting Ae.reernent

       Dear I3avid:

                As .you knaw, PacWest Bancarp (the "Pcirent") and CU Bancorp (tlie "Company~,)
   _   entered, into> an Agieeinexit and PIan :of Merger on April 5; 20:17 (ibe "Merger_Agreement"),.
       pursuant to wliicli the Coxnpany will: merge ivith and into the Parent (the ``A%terger"). Pat:ent also
       eiitered. into. a coiisultirig arrangemeiit with. you .on Apri1 5, 2017 to eonfirm the agceemenits 'that
       Pareiit and: ,you reaclred regarding the speeific- terms and ~onditi.ons of your retentiozi as ,a
       consultant to P.arent following the closing af ttie Merger (the "Consiclti.ng Agyeensenf");, Parent
       and you :novCr desire to ainend certain 'aspects of the. Consulting Agreement;. and the purliose of
       th'is letter agreement is to set forth the .specific terms and conditions of your retention :as a
       coiisultant to Parent as so amended.. This letter agreement amends and restates in its entirety tlie
       Consulting Agreement and becomes .effective as of, and .is conditioned upon the .occurrence af,
       tlie; closing of the, Mei:ger, (the: "Effeeti,ve Date"), and if the; I`✓ierger Agreezaiezit; is .terniinated
       pursiiant;to.its terms 'then this letter cvill terrninafe and lie of iio force iir effect.

       1. Purpose bf Engagement

                  Upon the tenns tind subject to, 7the 6bnditionsl of this letter, you agree to;:serve as a
       consciltant to Patent :and its stibsidiaries, As a consultant, you agree to perform the services set
       forth on. the attached Exfiibit :A (tlte "Senaces"). Yotl agree to perforrn the Services faithfizlly
       and diligently for Parent as:set forth in tlus letter.; In addition, without lirriiting in any way your
       obligatians under this:Section 1, in accordance tivith Section 409A,of'.the Internal.Reventie Code
       of 198b,,as.ainended ("the Code"), Paient and you conf'irni tliat it is currently anticipated that.
       y~iur duties-as a consultarit would decrease to no mr~re than 2Q%o o.,f the average level nf',servtces
       performed by you,during;your last:three years of employinent with the Company.

       :2. Term

                  The term of yotw consulting: arrangement ivill commencc on the fEffeedve Date and
       end: oii tlie.. GS`1' nlonth :anniversary of tlle Effective Date: (the "?'erna"), tumless it is: so~ner
       terminated, as p"rovided in this 1'etter, .Parent and you.are un er no obligation to contiiiue this

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                                                        w"yyv pagwestbancolp:com
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      engagement beyond the Term. Additionally, Parent and you maly terminate the Tenn before its
      scheduled expiration as provided in Section 6..

      3. Eees

                  During the Tertn,, you will, receive an -annual: .retainer of $550,000, payable in.
      stztistantially equal rnonthly installments on the frst business, d,ay of every trionth (the
      "Consulting I`ee"). In addition; during the Term, Parent will reimburse: actual out-of=poeket
      expenses reasonably incurred by you in connection wltli the Services,. sub,ject to Parent:'s
      reimbursement polic.y as in effect from tirrie to tinie;. and provide you tivith office space at its
      Beverly IHills headquarters.

      4. Itestrictions

              You acknowledge that you hold equity in the CornPany andR as a result of the :IVterger,
      you will receive a direct'and substaiitial econoinic benefit frorn tlie Merger: As• an inducement to
      Parent entering into the;lVlerger A.greeinent, arid t.o consumrnate the Merger, to protect: Parent's
      legitimate interest in the goodwill and other assets. associated with the business of the Coiii►pany,
      and in. consideration of the, benefits to be received by you therefrom,. you and Parent
      acknoWledge and agree tliat it is your'intention that the coveiiants .iri this Seetion 4 be valid, legal
     —and-eztforceable-including,-without-limitatioii-'and to- thC7extent-E(pplicable, through qualifcation
      under sy 16601, of:the California Business and.Professions Code as an exception to the restrictions
     set :forth in §1660t) of the California tiusiness and Professi;ons Code.

               Without the written consent of Parent, you agree not to, directly or. inclirectly, represent,
      become ernployed by, perform services for; consult to, or advise in any manner or have any
      rnaterial interest in any Cometitive: Enterprise, from :tlie Effective Date tultil the. 'third
      a.nniversary of the Effective Date (the "Restricted Period").. A".Competitive Enterprise" means
      (1,) any, banking organization that competes anywllere urithin the Company's ``faotprint" (i.e.,
      where the Company or any of its subsidiaries~regalarly conducted business prior to the Effective
      `l'irne) with;any of`the business activities engaged in by the Coinpany or any of its subsidiaries at
      any'tiine.prior to the:Effecfiv.e Date or (2) any eritity or busiriess'atteYiipting tck acquire ari iriterest
      in a banking organization deseribed in clause (1). Otivnership directly or indirectly (including,
      cvithouf limitation, by being a member of a group within the ineaning of Rule 13d-S under the
      Securities Exchange Act of 1934, as arnended (the "Excliange tl:ct"}) of:not.more :than '1%o of the
      outstanding stock trf any pu.blicly traded, compariy will n¢t tie .a violation of this Section 4.

                In addition, during the Restricted .Period, you, will, not, in any maruler, d'u-ectly ,or
      iindirectl_y (without the prior written consent of Parent);: (i) Solicit any. Ciierit to transact business
      with a,Competitive Enterprise>or to reduce or refrain from doing any business with Parent or any
      of its: subs'i,diaries (including the Conipany); (ii) interfere with o.r darnage any rel'ationsliip
      b.etween Parent,'Pacific W.estern Bank or the Coinpany; on the one h:and, and a Client, :on th.e
      other liand, or. .{iii) Solicit anyarie wlio is an. employee- of Parent o.r ,any of `its subsidiaries (or
      who;'to your. k.nowledge, was an employee of Parent.or any ofits subsidiaries within the prior. 90
      days) to resign froin .Parerit or any of.its sub.sidiaiies (iiicluding the Conzpany) or to applyfor or
      accept employment with any other CompeCitive Enterprise.

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             For purposes of this letter, a"Client" ineans any client of' the Company or any of its
      subsidiaries tei whoin you,, in your capaci"ty as an executivre: officer af the Campany, pgovided.
      services, .or- for wliom you, in your capacity as:an exeeutive officer of the Company, .transacted
      business, or an.y, client or prospective elient who,- to your knowledge, was solicited by the
      Campany or who"se identity becaine known to you in connection with your°relationslup with the.
      Company or any of'its st}bsidiaries; and""SolfcitD1 meails.anydirect or ind'irect coTnmunicatiori of
      any kind: thar in any way :i.nvites, advises;, encourages or requests any person:to take or` refrain
      fioin taking any action.

              The terms and provisions of this. Section 4 are intended to be separaate and divisible
      provisions ancl if, for any r.eason, any one or more of thein is held- to. be invalid or unenforceable;,
      neither the validity nor the -enforceability of any other, provis.ion of`this Section 4 or. tliis .letter
      will thereby be affected. The parties acknowiedge tliat tlie potential restrictions, on your future,
      employment imposed by'this Section 4 are reasonable in botli duration an.d geographic scope and
      in all other respects, If for any reason any court of, competent jurisdiction finds any, provisions
      of thzs Section 4 to~be unreasonabl'e. in duration or geograpluc scope or othenvise; you und Parent
      agree tliat tlie restrictions and proht`bitions contained herein will be effective to the.:fiall.est ektent
      allo.wed under appl'icabLe l.aw in such jurisdistion:

               You acknowledge that-your. Services are of a"specific uriique .and .extraordifiary cllaracter
      and tliat your breach or threatened breacli of tlie provisions set, forth in thie Section 4 will.cause
      irreparable injury to Parent for which mon.etary damages alone will:: not provide an adequate;
      r.ernedy. Accordingly; in ..addition to any riglits or remedies Parent may  , have available to it under
      this letter or othenvise, l'arent also. vvill he entitled to an injunction to be issued by.any court of,
      competent jurisdiction„ restraining you froln coinrriitting ,or. conti.nuing any violatiori: ;of this<
      Section 44.. You agree tliat no bond, wi11 need. to be posteti for Parent to receive Sucli ali
      injunekion,. no proof of economic loss or monetay tlamages will be required and. tllat rem:edies at
      law ivould be inadequate. .In th6 event that you breeach this. Sect'ion :4, Parent's obligation to
      make or provide any further paymen#s under this letter vuith. cease, and. 'you will forfeit any
      amounts which:otherwise would` have .been payable to you:

      5.      Conficientiality..

              During the Terrri and thereafter, you will hold 'tn a: fiduciary -capacity for :the :benefit of
      Parent all .trade secrets and confidential int'ormation, knowledge or data relating to Parent and.i₹s
      subsidiaries (iricluding the Company) and' their businesses and. investm.ents, vvh'ich will have
      been obtainecl by you during your employment tivith tlie Companyprior to tlie Effective I3ate and.
      diiring your consulting vvith Parent after the E~'fective:Date and vvhicli are not generally availatile:
      public kliowledge (other than by acts by you iri vio~ation of tbis agi~eein.ent).. Except as'm:ay be
      required or,appropriate in connection with your carryingout of.;your duties uncler tliis agreement;
      you will clot, without theprior writterl conserit of Parerit or. as rrlay othenvise be:required by:law
      or any le;al process, aliy statutory obligation or order of ariy court .or .statutory triburial of
      c.ompetent jurisdiction, or:as is necessaYy in connection Nvith any adversarial, proceediiig against
      Parent (in valuch case youu will use your reasonable best efforts to cooperate with Parent: in :its
      obtaining Qf a protective .order against disclosure by a.court of competent jurisdictioti),.

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      communicate or divulge any such trade secrets; information, kn.owledge or data to anyone other
      than Parent and those designated by Parent or on behalf of Parent in the" furtherance: of its
      business or. to pefform duties hereunder;

               Notwithstandiilg anything.to the contraiy: in .this agreement or othenvise; notbing:. will
      limit your rights under applicable law to. provide truthfiil inforrnatioii to ,any governinental, eritity
      or to file:a charge witli or ;paiticipate'in an investigation conclucted` by any governinental. entity:

               You are hereby notified tliat the irnmunity provisions .coitairied in Section 1833 of Title
      18' of the tlnited 5'tates Code provide"that ari inciividual cannot`be'held criiriinallyor civillyliable
      under any federal or state tra.de secret law for any disclosure of a trade seeret that is iriade (T) iii
      confidence to federal, state or •local government. officials; eithe..r directly or indirectly;, or to :an
      attoiney, and is soleIy for, the purpose of reporting or investigating .a suspected v'iolation. of tlie
      law; (22) under seal in a coriiplaiiit' or, otherr docunierit f led in a lawsuit or, other proeeediiig, ar (3)
      to your attorney in connection. witli. a lawsuit for retaliat'ion for:reporting a suspected violation of
      law (and, the trade•secret may be used in the court proceedings, for .suoh. lawsuit} as long as any
      docuineiit containing the: trade. secret : is. filed. iuider seal ..and the trade: secret is not disclosed
      except pursuant fo couil order:

      G.      Termination

                  Parent inay onl;y terminate the Teim for Catise by written.noti'ce to you, which notice
       may be effective immediately unless otherwise provided herein. For purposes of this letter,
      "Cause" ineans, (i) your falsification. of Parent -docuriients or r.ecords; .(ii} your intentional and
       improper use or disclosure of Parent'.s confidential or proprietary information; (iii) a.riy action by
       you which was intended to and has a significant detrimental effect on. P:arent's reputation or
      business; (iv) :your Nvillful failure to perform any reasonable assigiie.d duties after written notice
       froin Parent; and a reasonable opportunity "to cuTe, such willful failure; (v) ;y.our material breach
      .of any, Written agreement betNveen yoii and Pai•enf, including this letter agree~nent: and the
      restrictive. :covenants herein; or (vi) your conviction (including_ any plea of guilty' cir .nolo
      coritetidere) far theft, dishonesty; or of any'criin'inal act whieh irnpafrs your ability to:perfornl
      your duties witli 'the Company: 'For terininations arising uiider subparagf~aph (iv) above, you
      shall have thirty (3Q) days followit~g .receipt of a:written notice to cure sueh g'rounds for Cause
      prior to a termination for Cause becoinirig effective pursuant to subparagraph'4.

                You fnay terniiriate tlie Teim for any reason before its sclieduled expiration by wiitten
      notice to Parent, wh.'ich no:tice:may be>effective'immediately.

                 No part ofthe Cozisulting:Fee.-will be~.payab.le toyou.for aily period following.ihe date
              . .                                                    .
      ~of termuiation (x) tiy Par.erit. for Cause, .(y) by yoit for ariy reason. or (z) due to your cleath or:
      disability. ln'the event of an early ternunatiou of tlie Term liyParent withQut Cause, Parent "sliall:
      coiitinue to pay yo.0 t}ie Coiisulting,Fee through the remainder of the Term as provided in Section
      3 above.

                Tn the event of any early terininatiori .of the Term for any reason; your, obligations
      under Section 4 will coiltinuc until the end ofthei Restricted Period and your obligations untler
      Section 5 will continue pinsuautto tlieir tei7ris.

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      ?.      Independent' Contraetor
                  You: agree that you are pei-forinuig the Services as an independent contractor antl not as
      an ernployee of Parent. You will be i-esponsible for t1~e payment of all applicable faxes. levied or
      based upon the Consulting Pee and for all non-reimbursable eYpenses attributable to the
      rendering "of Services. In addifioti, you: will; not be eligible.'fo participate. in aiiy vacatiori, group
      med"ical or tife insurance, disabil'ity, profit stiaririg or retiirement. benefits; or any other fringe
      fienefits: or:b.enefit plans offered by Parent to its. employees: .Nothing:in this letter: will be deemed
      to constittite a partne"rship or joint venture between Parent arid.. you, nor.. ivill anything in this
      letter be deernect to eonstitute. Pa.rent or, you as the agent of the otller. During the Teim,, neither
      you nor Parent will be or become liable to or bound by any represeritation; act or oin'ission
      whatsoever of'the other.

      8.      Miscellaneous

                   Th'is letter agreemerit r~vill not be assigaable by. yoii: This lette"r agreement will be
      assignalile by Parent only ta an. ac~quirer of. ;all cir substantially :all tif the. "assets of ` Parent,
      provideci such acquirer promptly assumes all of the abligations hereunder of Parenti in a writing
      tlelivered to you, and otherwise coinplies u4th the provisions hereof with regard to such
      assitrii:ption.

                Tlle validity, iriterpretation, constriaction and perfonnance of this letter agreement will
      be governed liy the. laws nf the State of Califolmia without regard .to its..conflicts of law
      principles.

                  If Qiiy, provision of this letter is found by any cnurt of coinpetent jiirisdiction to be
      illebal,, invalid 4r urienforceable for any reason, theii (i) the, provisioii will 'be ainended
      automatically to tlie ininiinum extent necessary to :cure the iltegality or invalidity anti perinit
      enforcement and (ii) the reinainder of this Ietter will not `be affectiecl. This letter constitutes the
      entire agreeinent of the:paities with respect to the subjeet rnatter hereof and supersecles all prior
      and:contemporarieous represe.ntatiiins, proposals, disctissions; and, coriiznunicatiQiis,, wtaether. oiai
      or in writing, i.vitli respect to the subject inatter'hereof This letter may be modified only.x'n a
      writing sigzed by you and Parent..

                 Any notices given :uzider tlus letter (1) by Pai-ent to you will: be in writiiig and will be
      given 6y -hand delivery or by registered or certi.fied inail,: return receipt sequested, postage
      prepaid, addressed to you at your address listed above or (2) by you to Parent will be in writing
      ancl will be given by hand delivery or by reg`tstered or certified mail, return reeeipt requested:,
      postage piepaid, adar•essed to;the Gcneral Counsei ofP.arent'at:Parent's;corporateheadquarters,




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              To; confrm the fQregoing terms are acceptable to you, please execute and rettirn. tlie copy
      o£:this=letter;, wllich is enclosed for your convenience..

                                                                  Very tculy'yours,

                                                                  Pac'rVest. Baiico'rp




                                                                  Kori L. Ogrosky
                                                                  EVP,,General, Counsel & Corpora.te 5ecretary


      Accepted and. Agreed:



                     ~
      David I. Rairzer




                                                                     =b=
                           5404' Wi~e.onsin ,Avenur, ?nd Floor, Cltt:tiry'Cl~use, ~(D 2U~ l~_   {301   1-L700
                                                        4VW~V;~RC1VE'St~J'd tlCGi'p;C6SIl;
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                                                                                                      Exaibit A


      The foll'owing will constitute the: Servi.ces to .be performed:

          l. Assist with transition issues relating to tlie rnerger. Such acti:vities tnay include atteiidirig
             meetings;:presentadons and communications.

         2. Provide strategic advice and counsel to Parent.on matters for which you_haye personal
            knowledge, Such guidance may include-specific accouiit:and client history; new zuarket
            develqprnerit; p©rtfolio retentio.n strategies and..broade~iing finatic.ial services:

         3. Fae'ilitate customer outieach, i"rneluding brokering introductions and-fcjstering business
            relatiorisliips between legacy clients and the acquiring organization.

         4. Act as an ambassador to Parent and be available to meet with, and beinvolved with,
            cli:ents, aild cflunterpal-tles, at tlie request of Parent,. wher`e: Parent. believes your personal
            knowledge,, attendance anel participation. could be beneficiRl.

          5. Preserve busirtess and employee. relationships to mitigate disruption and anxiety
             associated with the transactioii anci charige This includes promoting continuity and
             retaiiung key persoilnel.
                                                          -.—
          6. Perform neiv busiziess development opportunities to, attract and retain new ;ciients_
             As a leader in the indus.try, help promote the reputation. of Parent to key merchant
             bankingmarkets_:.

          7. Perform such other services as the parties may rnutually agree up:on froni time to tiine
             during-the term-of the agreemerit.
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             EXHIBIT 2
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                                         PACWEST BANCORP
                                       STOCK INCENTIVE PLAN
                                   NOTICE OF STOCK AWARD GRANT
     This Notice of Stock Award Grant is part of the Stock Award Agreement between Grantee and the
     Company dated 05/14/2019 and is of no force and efPect until the Stock Award Agreement is signed
     by Grantee and the Company's representative, this Notice of Stock Award Grant is signed by Grantee.



                       You have been granted the following Stock Award:

                       Name of Grantee:                RICH    HERNANDEZ

                       Total Number of Shares
                       Granted:
                       ("Granted Stock")               3,483

                       Type of Stock Award:            Restricted Stock Award

                       Date of Grant:                  05/14/2019
                                                   —   The-Granted Stock shall vest-irrfull-over 4-years.
                       Vesting Schedule:               The first one-fourth of the Granted Stock shall vest
                                                       on the date the Grantee completes one year of
                                                       continuous Service after the Vesting
                                                       Commencement Date. An additional one-fourth of
                                                       the Granted Stock shall vest on the date the Grantee
                                                       completes each year of continuous Service
                                                       thereafter until Grantee is 100% vested in the
                                                       Restricted Stock on the 4"' year ann iversary of the
                                                       Vesting Commencement Date.
                                                       The date that is the last day of the month in which
                       Vesting Commencement
                       Date:                           the Grant is made.


            Please sign below to acknowledge the terms and conditions of this Stock Award.
            ACKNOWLEDGED BY GRANTEEe



              By:
                            Signed Electronically

              Name:         RICH     HERNANDEZ




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                                               PACWEST BANCORP
                                            STOCK INCENTIVE PLAN
                                         STOCK AWARD AGREEMENT

         1.Definitions. Unless otherwise defined herein, the terms defined in the PacWest Bancorp 2017 Stock
     Incentive Plan, as amended (the "Plan") shall have the same defined meanings in this Stock Award
     Agreement ("Agreement") and the Notice of Stock Award Grant attached hereto as Appendix A.
         2. Grant of StockAward. Pursuant to the terms and conditions set forth in the Notice of Stock Award
     Grant, this Agreement, and the Plan, PacWest Bancorp (the "Company") grants to the grantee named in the
     Notice of Stock Award Grant ("Grantee") on the date of grant set forth in the Notice of Stock Award Grant
     ("Date of Grant") the number of Shares set forth in the Notice of Stock Award Grant. This Stock Award is
     intended to be a Restricted Stock Award or a Performance Stock Award, as provided in the Notice of Stock
     Award Grant.
          3. Vesting. The Grantee shall vest in the Granted Stock in accordance with the vesting schedule
     provided for in the Notice of Stock Award Grant; provided, however, that the Grantee shall cease vesting
     in the Granted Stock on the Grantee's Termination Date or the date on which the Compensation Committee
     of the Company's Board of Directors (the "Administrator") determines that the performance goals, if any,
     provided for in the Notice of Stock Award Grant were not satisfied during the designated period of time.
     Notwithstanding the foregoing, upon the occurrence of a Vesting Event, the Grantee shall become 100%
     vested in those shares of Granted Stock that are outstanding on the date of the Vesting Event.
         4.Risk of Forfeiture.
                      (a) General Rule. The Granted Stock shall initially be subject to a Risk of Forfeiture. The
                 Shares subject to a Risk of Forfeiture shall be referred to herein as "Restricted Shares".
                       (b)Lapse ofRisk ofForfeiture. The Risk of Forfeiture shall lapse as the Grantee vests in
                 the Granted Stock.
                      (c) Forfeiture of Granted Stock. The Restricted Shares shall automatically be forfeited
                 and immediately returned to the Company on the Grantee's Termination Date or the date on
                 which the Administrator determines that the performance goals, if any, provided for in the
                 Notice of Stock Award Grant were not satisfied during the designated period of time.
                         (d)Additional Shares or Substituted Securities. In the event of a stock split, reverse stock
                 split, stock dividend, recapitalization, combination or reclassification of the Common Stock or
                 any other increase or decrease in the number of issued and outstanding Shares effected without
                 receipt of consideration by the Company, any new, substituted or additional securities or other
                 property (including money paid other than as an ordinary cash dividend) which are by reason
                 of such transaction distributed with respect to any Restricted Shares or into which such
                 Restricted Shares thereby become convertible shall immediately be subject to a Risk of
                 Forfeiture, which Risk of Forfeiture shall lapse at the same time and in the same manner as the
                 Risk of Forfeiture to which the corresponding Restricted Share is subject.
                        (e)Escrow. Upon issuance, the stock certificates for Granted Stock shall be deposited in
                 escrow with the Company to be held in accordance with the provisions ofthis Agreement. Any
                 new, substituted or additional securities or other property described in Subsection (d) above
                 shall immediately be delivered to the Company to be held in escrow, but only to the extent the
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                 shares of Granted Stock are at the time Restricted Shares. All regular cash dividends on
                 Restricted Shares (or other securities at the time held in escrow) shall be paid directly to the
                 Grantee and shall not be held in escrow (such distributions may, however, be delivered to an
                 address at tlie Company for delivery to the Grantee). Restricted Shares, together with any other
                 assets or securities held in escrow hereunder, shall be (i) surrendered to the Company for
                 cancellation upon forfeiture of the Restricted Shares; or (ii) released to the Grantee upon the
                 Grantee's request to the Administrator on or after the date the shares of Granted Stock are no
                 longer Restricted Shares. Grantee agrees not to make a request to the Company's transfer agent
                 for delivery of any share certificates representing any shares of Granted Stock so long as such
                 shares are Restricted Shares.
         5. Rights as a Stockholder. The Grantee shall have the rights of a stockholder with respect to the
     dividends paid by the Company. Grantee shall not be entitled to vote any unvested shares of Granted Stock.
     Upon the vesting of any portion of the Stock Award, the Grantee shall have the voting rights with respect
     to any such vested shares of Granted Stock.
         6.Non-transferability of Stock Award. Except as otherwise provided for in the Plan, this Stock Award
     may not be sold, pledged, assigned, hypothecated, transferred, or disposed of in any manner other than by
     will or by the laws of descent and distribution and may be exercised, during the lifetime of the Grantee,
     only by the Grantee. If the Grantee transfers all or part of this Stock Award pursuant to the previous
     sentence, then the terms of this Agreement, the Plan and the Notice of Stock_A_ward shall apply to the            _
     transferee to the same extent as to the Grantee.
          7.Regulatory Compliance. The issuance of Common Stock pursuant to this Agreement shall be subject
     to full compliance with all then applicable requirements of law and the requirements of any stock exchange
     or interdealer quotation system upon which the Common Stock may be listed or traded.
         8.Modification and Termination. The rights ofthe Grantee are subject to modification and termination
     in certain events, as provided in the Plan.
         9. Withholding Tax. The Company's obligation to deliver Shares or remove any restrictive legends upon
     vesting of such Shares under the Plan shall be subject to the satisfaction of all applicable federal, state and
     local income and employment tax withholding requirements. The Grantee shall pay to the Company an
     amount equal to the withholding amount (or the Company may withhold such amount from the Grantee's
     salary) in cash or, to the extent permitted under Section 402 of the Sarbanes-Oxley Act of 2002 and the
     regulations adopted pursuant thereto, with Shares (including previously vested Granted Stock) with an
     aggregate fair market value equal to the withholding amount calculated using the maximum statutory
     withholding amount permitted to be withheld under applicable tax rules.
          10.Nondisclosure. Grantee acknowledges that the grant and terms of this Stock Award are confidential
     and may not be disclosed by Grantee to any other person, including other employees of the Company and
     other participants in the Plan, without the express written consent of the Company's Chief Executive
     Officer. Notwithstanding the foregoing, the Grantee may disclose the grant and terms of this Stock Award
     to the Grantee's family member, financial advisor, and attorney and as may be required by law or regulation.
     Any breach of this provision will be deemed to be a material breach of this Agreement.
          11. Governing Law. This Agreement shall be governed by and interpreted in accordance with the
     internal laws of the State of California without regard to principles of conflict of laws.


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         12.Successors. This Agreement shall inure to the benefit of and be binding upon the parties hereto and
     their legal representatives, heirs, and permitted transferees, successors and assigns.
         13.Plan. This Agreement and the Notice of Stock Award Grant are subject to all of the terms and
     provisions of the Plan, receipt of a copy of which is hereby acknowledged by the Grantee. The Grantee
     hereby agrees to accept as binding, conclusive, and final all decisions and interpretations of the
     Administrator upon any questions arising under the Plan, this Agreement, and the Notice of Stock Award
     Grant.
         14. Rights to Future Employment. This Stock Award does not confer upon the Grantee any right to
     continue in the Service of the Company or any Affiliate, nor does it limit the right of the Company to
     terminate the Service of the Grantee at any time.
         15.Restrictive Covenants. The Grantee hereby agrees to be bound by the restrictive covenants set forth
     in Annex A.
         16.Entire Agreement. The Notice of Stock Award Grant, this Agreement, and the Plan constitute the
     entire contract between the parties hereto with regard to the subject matter hereof. They supersede any other
     agreements, representations or understandings (whether oral or written and whether express or implied)
     between the parties which relate to the subject matter hereof.


     __.     Byyouur signature and the signature of the Company's_representative below, you and the __
     Company agree that this Stock Award is granted under and governed by the terms and conditions of this
     Agreement and the Plan and the Notice of Stock Award Grant, both of which are attached and
     incorporated herein by reference. This Stock Award is of no force and effect until this Agreement is
     signed by you and the Company's representative, the Notice of Stock Award Grant is signed by you.




      GRANTEE:                                              PACWEST BANCOI2P

      By:    Signed Electronically                          By:
            Name:                                                    Rebecca H. Cordes
                                                                     Exec. Vice President, Human Resources




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                                                  ANNEX A
                                           RESTRICTIVE COVENANTS

             The Restrictive Covenants set forth in this Annex A to the Restricted Stock Award Agreement (the
     "Agreement") limit the ability of the Grantee to engage in certain practices during and following
     employment with the Company and is an integral part of the Agreement, without which the Company would
     not have granted the opportunity to earn the Restricted Stock Award.

              1.       Confidential Information. During your employment and thereafter, you shall hold in a
     fiduciary capacity for the benefit of the Company all trade secrets and Confidential Information relating to
     the Company and its businesses and investments, which will have been obtained by you during your
     employment by the Company and which is not generally available public knowledge (other than by acts by
     you in violation of this Agreement). Except as may be required or appropriate in connection with your
     carrying out your duties as an employee, you will not, without the prior written consent of the Company or
     as may otherwise be required by law or any legal process, any statutory obligation or order of any court or
     statutory tribunal of competent jurisdiction, or as is necessary in connection with any adversarial proceeding
     against the Company (in which case you will use your reasonable best efforts in cooperating with the
     Company in obtaining a protective order against disclosure by a court of competent jurisdiction),
     communicate or divulge any such trade secrets or Confidential Information to anyone other than the
     Company_ and those_designated by_the Company_or_on_behalf .of_the Company_in_the_ fnrtherance of its
     business or to perform duties hereunder. Notwithstanding anything to the contrary in this Agreement or
     otherwise, nothing shall limit your rights under applicable law to provide trathful information to any
     govemmental entity or to file a charge with or participate in an investigation conducted by any
     goveinmental entity. You are hereby notified that the immunity provisions in Section 1833 of title 18 of the
     United States Code provide that an individual cannot be held criminally or civilly liable under any federal
     or state trade secret law for any disclosure of a trade secret that is made (1) in confidence to federal, state
     or local government officials, either directly or indirectly, or to an attorney, and is solely for the purpose of
     reporting or investigating a suspected violation of the law, (2) under seal in a complaint or other document
     filed in a lawsuit or other proceeding, or (3) to your attorney in connection with a lawsuit for retaliation for
     reporting a suspected violation of law (and the trade secret may be used in the court proceedings for such
     lawsuit) as long as any document containing the trade secret is filed under seal and the trade secret is not
     disclosed except pursuant to court order.

              2.      Non-Solicitation of Emaloyees. You agree that during your employment, and for a six
     month period following the termination ofyour employment for any reason, you will not take any action,
     directly or indirectly (without the prior written consent of the Company), that causes or could reasonably
     be expected to cause any person who is then an employee of the Company or its Affiliates to resign from
     the Company or its Affiliates or to apply for or accept employment with any other business or enterprise.

              3.      Non-Solicitation of Customers. You agree that during your employment, and for a six
     month period following the termination of your employment for any reason, you will not, in any manner,
     directly or indirectly (without the prior written consent of the Company): (1) take any action that causes or
     could reasonably be expected to cause any customer or prospective customer of the Company or its
     Affiliates to whom you provided services or with whom you otherwise had contact to become a customer
     of or transact any business with a Competitive Business or reduce or refrain from doing any business with
     the Company or its Affiliates, (2) transact business with any customer or prospective customer that would
     cause you to be a Competitive Business, or (3) interfere with or damage any relationship between the
     Company and a customer or prospective customer.
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              4.       Reasonableness of Covenant. You agree that the covenants contained herein are reasonable
     and necessary to protect the confidentiality of the customer lists, the terms, conditions and nature of
     customer relationships, and other trade secrets and Confidential Information concerning the Company and
     its Affiliates, acquired by you and to avoid actual or apparent conflicts of interest.

              5.      Validitv. The terms and provisions of this Annex A are intended to be separate and
     divisible provisions and if, for any reason, any one or more of them is held to be invalid or unenforceable,
     neither the validity nor the enforceability of any other provision set forth herein thereby be affected. If for
     any reason any court of competent jurisdiction will find any provisions of this Annex A unreasonable in
     duration or geographic scope or otherwise, you and the Company agree that the restrictions and prohibitions
     contained herein will be effective to the fullest extent allowed under applicable law in such jurisdiction

              6.       Injunctive Relief. Without limiting any remedies available to the Company, you
     acknowledge and agree that a breach of the covenants contained in Sections 1 through 3 of this Annex A
     will result in injury to the Company and its Affiliates for which there is no adequate remedy at law and that
     it will not be possible to measure damages for such injuries precisely. Therefore, you agree that, in the
     event of such a breach or threat thereof, the Company will be entitled to seek a temporary restraining order
     and a preliminary and permanent injunction, without bond or other security, restraining you from engaging
     in activities prohibited by Sections 1 through 3 of this Annex A or such other relief as may be required
     specifically to enforce any of the covenants in Sections 1 through 3 of this Annex A.

                      Definitions. For purposes of these covenants, the following terms will have the following
     meanmgs:

                      (a)      "Competitive Business" means any business enterprise that either (i) engages in
     any activity that competes with the business of the Company or its Affiliates or (ii) holds a 5% or greater
     equity, voting or profit participation interest in any enterprise that engages in such a competitive activity.

                       (b)      "Confidential Information" means any information concerning the business or
     affairs of the Company or any of its Affiliates which is not generally known to the public and includes, but
     is not limited to, any file, document, book, account, list (including without limitation customer lists),
     process, patent, specification, drawing, design, computer program or file, computer disk, method of
     operation, recommendation, report, plan, survey, data, manual, strategy, financial data, client infoimation
     or data (including the terms and conditions of any business relationships between clients and the Company
     or its Affiliates), or contract which comes to your knowledge in the course of your employment or which
     is generated by you in the course of perfoizning your obligations to the Company whether alone or with
     others.


     JEG7FJ7J

     05/20/2019 12:48 PM U.S. Eastern Standard Time

     ACCEPTED




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             EXHIBIT 3
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                                         PACWEST BANCORP
                                       STOCK INCENTIVE PLAN
                                   NOTICE OF STOCK AWARD GRANT
     This Notice of Stock Award Grant is part of the Stock Award Agreement between Grantee and the
     Company dated 05/12/2020 and is of no force and effect until the Stock Award Agreement is signed
     by Grantee and the Company's representative, this Notice of Stock Award Grant is signed by Grantee.



                       You have been granted the following Stock Award:

                       Name of Grantee:                RICH     HERNANDEZ

                       Total Number of Shares
                       Granted:
                       ("Granted Stock")               3,900

                       Type of Stock Award:            Restricted Stock Award

                       Date ofGrant:                   05/12/2020
                       —                               TheGranted Stocicshall-vest in fullover 4 years.
                       Vesting Schedule:               The first one-fourth of the Granted Stock shall vest
                                                       on the date the Grantee completes one year of
                                                       continuous Service after the Vesting
                                                       Commencement Date. An additional one-fourth of
                                                       the Granted Stock shall vest on the date the Grantee
                                                       completes each year of continuous Service
                                                       thereafter until Grantee is 100% vested in the
                                                       Restricted Stock on the 4th year anniversary of the
                                                       Vesting Commencement Date.
                                                       The date that is the last day of the month in which
                       Vesting Commencement
                       Date:                           the Grant is made.


            Please sign below to acknowledge the terms and conditions of this Stock Award.
            ACKNOWLEDGED BY GRANTEE:



              By:
                            Signed Electronically

             Name:          RICH     HERNANDEZ




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                                             PACWEST BANCORP
                                           STOCK INCENTIVE PLAN
                                         STOCK AWARD AGREEMENT

         1.Definitions. Unless otherwise defined herein, the terms defined in the PacWest Bancorp 2017 Stock
     Incentive Plan, as amended (the "Plan") shall have the same defined meanings in this Stock Award
     Agreement ("Agreement") and the Notice of Stock Award Grant attached hereto as Appendix A.
         2. Grant of Stock Award. Pursuant to the terms and conditions set forth in the Notice of Stock Award
     Grant, this Agreement, and the Plan, PacWest Bancorp (the "Company") grants to the grantee named in the
     Notice of Stock Award Grant ("Grantee") on the date of grant set forth in the Notice of Stock Award Grant
     ("Date of Grant") the number of Shares set forth in the Notice of Stock Award Grant. This Stock Award is
     intended to be a Restricted Stock Award or a Performance Stocic Award, as provided in the Notice of Stock
     Award Grant.
          3. Vesting. The Grantee shall vest in the Granted Stock in accordance with the vesting schedule
     provided for in the Notice of Stock Award Grant; provided, however, that the Grantee shall cease vesting
     in the Granted Stock on the Grantee's Termination Date or the date on which the Compensation Committee
     of the Company's Board of Directors (the "Administrator") determines that the performance goals, if any,
     provided for in the Notice of Stock Award Grant were not satisfied during the designated period of time.
     Notwithstanding the foregoing, upon the occurrence of a Vesting Event, the Grantee shall become 100%               _
     vested in those shares of Granted Stock that are outstanding on the date of the Vesting Event.
         4. Risk ofForfeiture.
                      (a) General Rule. The Granted Stock shall initially be subject to a Risk of Forfeiture. The
                 Shares subject to a Risk of Forfeiture shall be referred to herein as "Restricted Shares".
                       (b)Lapse ofRisk ofForfeiture. The Risk of Forfeiture shall lapse as the Grantee vests in
                 the Granted Stock.
                      (c) Forfeiture of Granted Stock. The Restricted Shares shall automatically be forfeited
                 and immediately returned to the Company on the Grantee's Termination Date or the date on
                 which the Administrator determines that the performance goals, if any, provided for in the
                 Notice of Stock Award Grant were not satisfied during the designated period of time.
                         (d)Additional Shares or Substituted Securities. In the event of a stock split, reverse stock
                 split, stock dividend, recapitalization, combination or reclassification of the Common Stock or
                 any other increase or decrease in the number of issued and outstanding Shares effected without
                 receipt of consideration by the Company, any new, substituted or additional securities or other
                 property (including money paid other than as an ordinary cash dividend) which are by reason
                 of such transaction distributed with respect to any Restricted Shares or into which such
                 Restricted Shares thereby become convertible shall immediately be subject to a Risk of
                 Forfeiture, which Risk of Forfeiture shall lapse at the same time and in the same manner as the
                 Risk of Forfeiture to which the corresponding Restricted Share is subject.
                        (e) Escrow. Upon issuance, the stock certificates for Granted Stock shall be deposited in
                 escrow with the Company to be held in accordance with the provisions ofthis Agreement. Any
                 new, substituted or additional securities or other property described in Subsection (d) above
                 shall immediately be delivered to the Company to be held in escrow, but only to the extent the
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                 shares of Granted Stock are at the time Restricted Shares. All regular cash dividends on
                 Restricted Shares (or other securities at the time held in escrow) shall be paid directly to the
                 Grantee and shall not be held in escrow (such distributions may, however, be delivered to an
                 address at the Company for delivery to the Grantee). Restricted Shares, together with any other
                 assets or securities held in escrow hereunder, shall be (i) surrendered to the Company for
                 cancellation upon forfeiture of the Restricted Shares; or (ii) released to the Grantee upon the
                 Grantee's request to the Administrator on or after the date the shares of Granted Stock are no
                 longer Restricted Shares. Grantee agrees not to make a request to the Company's transfer agent
                 for delivery of any share certificates representing any shares of Granted Stock so long as such
                 shares are Restricted Shares.
         5. Rights as a Stockholder. The Grantee shall have the rights of a stockholder with respect to the
     dividends paid by the Company. Grantee shall not be entitled to vote any unvested shares of Granted Stock.
     Upon the vesting of any portion of the Stock Award, the Grantee shall have the voting rights with respect
     to any such vested shares of Granted Stock.
         6.Non-transferability of Stock Award. Except as otherwise provided for in the Plan, this Stock Award
     may not be sold, pledged, assigned, hypothecated, transferred, or disposed of in any manner other than by
     will or by the laws of descent and distribution and may be exercised, during the lifetime of the Grantee,
     only by the Grantee. If the Grantee transfers all or part of this Stock Award pursuant to the previous
     sentence, then the terms of this Agreement, the Plan and the Notice of Stock Award shall apply to the
     transferee to the same extent as to the Grantee.
          7.Regulatory Compliance. The issuance of Common Stock pursuant to this Agreement shall be subject
     to full compliance with all then applicable requirements of law and the requirements of any stock exchange
     or interdealer quotation system upon which the Common Stock may be listed or traded.
         8.Modification and Termination. The rights ofthe Grantee are subject to modification and termination
     in certain events, as provided in the Plan.
         9. Withholding Tax. The Company's obligation to deliver Shares or remove any restrictive legends upon
     vesting of such Shares under the Plan shall be subject to the satisfaction of all applicable federal, state and
     local income and employment tax withholding requirements. The Grantee shall pay to the Company an
     amount equal to the withholding amount (or the Company may withhold such amount fi•om the Grantee's
     salary) in cash or, to the extent permitted under Section 402 of the Sarbanes-Oxley Act of 2002 and the
     regulations adopted pursuant thereto, with Shares (including previously vested Granted Stock) with an
     aggregate fair market value equal to the withholding amount calculated using the maximum statutory
     withholding aznount permitted to be withheld under applicable tax rules.
          10.Nondisclosure. Grantee acknowledges that the grant and terms of this Stock Award are confidential
     and may not be disclosed by Grantee to any other person, including other employees of the Company and
     other participants in the Plan, without the express written consent of the Company's Chief Executive
     Officer. Notwithstanding the foregoing, the Grantee may disclose the grant and terms of this Stock Award
     to the Grantee's family member, financial advisor, and attorney and as may be required by law or regulation.
     Any breach of this provision will be deemed to be a material breach of this Agreement.
          11. Governing Law. This Agreement shall be governed by and interpreted in accordance with the
     internal laws of the State of California without regard to principles of conflict of laws.


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         12.Successors. This Agreement shall inure to the benefit of and be binding upon the parties hereto and
     their legal representatives, heirs, and permitted transferees, successors and assigns.
         13. Plan. This Agreement and the Notice of Stock Award Grant are subject to all of the terms and
     provisions of the Plan, receipt of a copy of which is hereby acknowledged by the Grantee. The Grantee
     hereby agrees to accept as binding, conclusive, and final all decisions and interpretations of the
     Administrator upon any questions arising under the Plan, this Agreement, and the Notice of Stock Award
     Grant.
         14. Rights to Future Employment. This Stock Award does not confer upon the Grantee any right to
     continue in the Service of the Company or any Affiliate, nor does it limit the right of the Company to
     terminate the Service of the Grantee at any time.
         15.Restrictive Covenants. The Grantee hereby agrees to be bound by the restrictive covenants set forth
     in Annex A.
         16.Entire Agreement. The Notice of Stock Award Grant, this Agreement, and the Plan constitute the
     entire contract between the parties hereto with regard to the subject matter hereof. They supersede any other
     agreements, representations or understandings (whether oral or written and whether express or implied)
     between the parties which relate to the subject matter hereof.


             Byyouur signature and the signature of the Company's representative below, you and the
     Company agree that this Stock Award is granted under and governed by the terms and conditions of this
     Agreement and the Plan and the Notice of Stock Award Grant, both of which are attached and
     incorporated herein by reference. This Stock Award is of no force and effect until this Agreement is
     signed by you and the Company's representative, the Notice of Stock Award Grant is signed by you.




      GRANTEE:                                               PACWEST BANCORP

      By:   Signed Electronically                            By:
                                                                      ~.
            Name:                                                     Rebecca H. Cordes
                                                                     Exec. Vice President, Human Resources




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                                                  ANNEX A
                                           RESTRICTIVE COVENANTS

              The Restrictive Covenants set forth in this Annex A to the Restricted Stock Award Agreement (the
      "Agreement") limit the ability of the Grantee to engage in certain practices during and following
      employment with the Company and is an integral part of the Agreement, without which the Company would
      not have granted the opportunity to earn the Restricted Stock Award.

             1.       Confidential Information. During your employment and thereafter, you shall hold in a
    fiduciary capacity for the benefit of the Company all trade secrets and Confidential Information relating to
    the Company and its businesses and investments, which will have been obtained by you during your
    employment by the Company and which is not generally available public knowledge (other than by acts by
    you in violation of this Agreement). Except as may be required or appropriate in connection with your
    carrying out your duties as an employee, you wi 11 not, without the prior written consent of the Company or
    as may otherwise be required by law or any legal process, any statutory obligation or order of any court or
    statutory tribunal of competent jurisdiction, or as is necessary in connection with any adversarial proceeding
    against the Company (in which case you will use your reasonable best efforts in cooperating with the
    Company in obtaining a protective order against disclosure by a court of competent jurisdiction),
    communicate or divulge any such trade secrets or Confidential Infoimation to anyone other than the
  _—Company_and_those designated by the_Company or on_behalf of_the_Company in_the_ furtherance_of_its__
    business or to perform duties hereunder. Notwithstanding anything to the contrary in this Agreement or
    otherwise, nothing shall limit your rights under applicable law to provide truthful information to any
    governmental entity or to file a charge with or participate in an investigation conducted by any
    governmental entiry. You are hereby notified that the immunity provisions in Section 1833 of title 18 of the
    United States Code provide that an individual cannot be held criminally or civilly liable under any federal
    or state trade secret law for any disclosure of a trade secret that is made (1) in confidence to federal, state
    or local government officials, either directly or indirectly, or to an attorney, and is solely for the purpose of
    reporting or investigating a suspected violation of the law, (2) under seal in a complaint or other document
    filed in a lawsuit or other proceeding, or (3) to your attorney in connection with a lawsuit for retaliation for
    reporting a suspected violation of law (and the trade secret may be used in the court proceedings for such
    lawsuit) as long as any document containing the trade secret is filed under seal and the trade secret is not
    disclosed except pursuant to court order.

               2.      Non-Solicitation of Emplo ees. You agree that during your employment, and for a six
      month period following the termination of your employment for any reason, you will not take any action,
      directly or indirectly (without the prior written consent of the Company), that causes or could reasonably
      be expected to cause any person who is then an employee of the Company or its Affiliates to resign from
      the Company or its Affiliates or to apply for or accept employment with any other business or enterprise.

               3.       Non-Solicitation of Customers. You agree that during your employment, and for a six
      month period following the tennination of your employment for any reason, you will not, in any manner,
      directly or indirectly (without the prior written consent of the Company): (1) take any action that causes or
      could reasonably be expected to cause any customer or prospective customer of the Company or its
      Affiliates to whom you provided services or with whom you otherwise had contact to become a customer
      of or transact any business with a Competitive Business or reduce or refrain from doing any business with
      the Company or its Affiliates, (2) transact business with any customer or prospective customer that would
      cause you to be a Competitive Business, or (3) interfere with or damage any relationship between the
      Company and a customer or prospective customer.
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              4.       Reasonableness of Covenant. You agree that the covenants contained herein are reasonable
     and necessary to protect the confidentiality of the customer lists, the terms, conditions and nature of
     customer relationships, and other trade secrets and Confidential Information concerning the Company and
     its Affiliates, acquired by you and to avoid actual or apparent conflicts of interest.

              S.      Validi . The terms and provisions of this Annex A are intended to be separate and
     divisible provisions and if, for any reason, any one or more of them is held to be invalid or unenforceable,
     neither the validity nor the enforceability of any other provision set forth herein thereby be afPected. If for
     any reason any court of competent jurisdiction will find any provisions of this Annex A unreasonable in
     duration or geographic scope or otherwise, you and the Company agree that the restrictions and prohibitions
     contained herein will be effective to the fullest extent allowed under applicable law in such jurisdiction

              6.       Iniunctive Relief. Without limiting any remedies available to the Company, you
     acknowledge and agree that a breach of the covenants contained in Sections 1 through 3 of this Annex A
     will result in injury to the Company and its Affiliates for which there is no adequate remedy at law and that
     it will not be possible to measure damages for such injuries precisely. Therefore, you agree that, in the
     event of such a breach or threat thereof, the Company will be entitled to seek a temporary restraining order
     and a preliminary and permanent injunction, without bond or other security, restraining you from engaging
     in activities prohibited by Sections 1 through 3 of this Annex A or such other relief as may be required
     specifically to enforce any of the covenants in Sections 1 tlu•ough 3 of this Annex A.

                      Definitions. For purposes of these covenants, the following terms will have the following
     meanings:

                      (a)      "Competitive Business" means any business enterprise that either (i) engages in
     any activity that competes with the business of the Company or its Affiliates or (ii) holds a 5% or greater
     equity, voting or profit participation interest in any enterprise that engages in such a competitive activity.

                       (b)      "Confidential Information" means any information concerning the business or
     affairs of the Company or any of its Affiliates which is not generally known to the public and includes, but
     is not limited to, any file, document, book, account, list (including without limitation customer lists),
     process, patent, specification, drawing, design, computer program or file, computer disk, method of
     operation, recommendation, report, plan, survey, data, manual, strategy, financial data, client infoimation
     or data (including the terms and conditions of any business relationships between clients and the Company
     or its Affiliates), or contract which comes to your knowledge in the course of your employment or which
     is generated by you in the course of perfoiming. your obligations to the Company whether alone or with
     others.


     ECEBAQYRO

     05/15/2020 06:05 PM U.S. Eastern Standard Time

     ACCEPTED




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             EXHIBIT 4
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                                        PACWEST BANCORP
                                      STOCK INCENTIVE PLAN
                                  NOTICE OF STOCK AWARD GRANT
     This Notice of Stock Award Grant is part of the Stock Award Agreement between Grantee and the
     Company dated 05/14/2019 and is of no force and effect until the Stock Award Agreement is signed
     by Grantee and the Company's representative, this Notice of Stock Award Grant is signed by Grantee.



                       You have been granted the following Stock Award:

                       Name of Grantee:                DIANA REMINGTON          SMITHSON

                       Total Number of Shares
                       Granted:
                       ("Granted Stock")               2,013

                       Type of Stock Award             Restricted Stock Award

                       Date of Grant:                  0 5/ 14 / 2 019
                       -        --                     The Granted-Stock shall-vest in full-over 4years. —
                       Vesting Schedule:               The first one-fourth of the Granted Stock shall vest
                                                       on the date the Grantee completes one year of
                                                       continuous Service after the Vesting
                                                       Commencement Date. An additional one-fourth of
                                                       the Granted Stock shall vest on the date the Grantee
                                                       completes each year of continuous Sei-vice
                                                       thereafter until Grantee is 100% vested in the
                                                       Restricted Stock on the 4th year ann iversary of the
                                                       Vesting Commencement Date.
                                                       The date that is the last day of the month in which
                       Vesting Commencement
                       Date:                           the Grant is made.


            Please sign below to acknowledge the terms and conditions of this Stock Award.
            ACKNOWLEDGED BY GRANTEE:



              By:
                            Signed Electronically

              Name:         DIANA REMINGTON          SMITHSON




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                                             PACWEST BANCORP
                                           STOCK INCENTIVE PLAN
                                         STOCK AWARD AGREEMENT

         1.Definitions. Unless otherwise defined herein, the terms defined in the PacWest Bancorp 2017 Stock
     lncentive Plan, as amended (the "Plan") shall have the same defined meanings in this Stock Award
     Agreement ("Agreement") and the Notice of Stock Award Grant attached hereto as Appendix A.
         2. Grant of Stock Award. Pursuant to the terms and conditions set forth in the Notice of Stock Award
     Grant, this Agreement, and the Plan, PacWest Bancorp (the "Company") grants to the grantee named in the
     Notice of Stock Award Grant ("Grantee") on the date of grant set forth in the Notice of Stock Award Grant
     ("Date of Grant") the number of Shares set forth in the Notice of Stock Award Grant. This Stock Award is
     intended to be a Restricted Stock Award or a Performance Stock Award, as provided in the Notice of Stock
     Award Grant.
          3. Vesting. The Grantee shall vest in the Granted Stock in accordance with the vesting schedule
     provided for in the Notice of Stock Award Grant; provided, however, that the Grantee shall cease vesting
     in the Granted Stock on the Grantee's Termination Date or the date on which the Compensation Committee
     of the Company's Board of Directors (the "Administrator") determines that the performance goals, if any,
     provided for in the Notice of Stock Award Grant were not satisfied during the designated period of time.
     Notwithstanding_the foregoing, upon the occurrence of a Vesting Eventhe    t Grantee shall become 100%
     vested in those shares of Granted Stock that are outstanding on the date of the Vesting Event.
         4. Risk of Forfeiture.
                      (a) General Rule. The Granted Stock shal I initially be subject to a Risk of Forfeiture. The
                 Shares subject to a Risk ofForfeiture shall be referred to herein as "Restricted Shares".
                       (b) Lapse ofRisk ofForfeiture. The Risk of Forfeiture shall lapse as the Grantee vests in
                 the Granted Stock.
                      (c) Forfeiture of Granted Stock. The Restricted Shares shall automatically be forfeited
                 and immediately returned to the Company on the Grantee's Termination Date or the date on
                 which the Administrator determines that the performance goals, if any, provided for in the
                 Notice of Stock Award Grant were not satisfied diu•ing the designated period of time.
                         (d)Additional Shares or Substituted Securities. In the event of a stock split, reverse stock
                 split, stock dividend, recapitalization, combination or reclassification of the Common Stock or
                 any other increase or decrease in the number of issued and outstanding Shares effected without
                 receipt of consideration by the Company, any new, substituted or additional securities or other
                 property (including money paid other than as an ordinary cash dividend) which are by reason
                 of such transaction distributed with respect to any Restricted Shares or into which such
                 Restricted Shares thereby become convertible shall immediately be subject to a Risk of
                 Forfeiture, which Risk of Forfeiture shall lapse at the same time and in the same manner as the
                 Risk of Foi-feiture to which the corresponding Restricted Share is subject.
                        (e)Escrow. Upon issuance, the stock certificates for Granted Stock shall be deposited in
                 escrow with the Company to be held in accordance with the provisions of this Agreement. Any
                 new, substituted or additional securities or other property described in Subsection (d) above
                 shall immediately be delivered to the Company to be held in escrow, but only to the extent the
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                 shares of Granted Stock are at the time Restricted Shares. All regular cash dividends on
                 Restricted Shares (or other securities at the time held in escrow) shall be paid directly to the
                 Grantee and shall not be held in escrow (such distributions may, however, be delivered to an
                 address at the Company for delivery to the Grantee). Restricted Shares, together with any other
                 assets or securities held in escrow hereunder, shall be (i) surrendered to the Company for
                 cancellation upon forfeiture of the Restricted Shares; or (ii) released to the Grantee upon the
                 Grantee's request to the Administrator on or after the date the shares of Granted Stock are no
                 longer Restricted Shares. Grantee agrees not to make a request to the Company's transfer agent
                 for delivery of any share certificates representing any shares of Granted Stock so long as such
                 shares are Restricted Shares.
         5. Rights as a Stockholder. The Grantee shall have the rights of a stockholder with respect to the
     dividends paid by the Company. Grantee shall not be entitled to vote any unvested shares of Granted Stock.
     Upon the vesting of any portion of the Stock Award, the Grantee shall have the voting rights with respect
     to any such vested shares of Granted Stock.
         6.Non-transferability of StockAward. Except as otherwise provided for in the Plan, this Stock Award
     may not be sold, pledged, assigned, hypothecated, transferred, or disposed of in any manner other than by
     will or by the laws of descent and distribution and may be exercised, during the lifetime of the Grantee,
     only by the Grantee. If the Grantee transfers all or part of this Stock Award pursuant to the previous
     sentence, then the terms of this Agreement, the Plan and the Notice of Stock Award shall apply to the
     transferee to the same extent as to the Grantee.
          7.Regulatory Compliance. The issuance of Common Stock pursuant to this Agreement shall be subject
     to full compliance with all then applicable requirements of law and the requirements of any stock exchange
     or interdealer quotation system upon which the Common Stock may be listed or traded.
         8.Modification and Termination. The rights of the Grantee are subject to modification and termination
     in certain events, as provided in the Plan.
         9. Withholding Tax. The Company's obligation to deliver Shares or remove any restrictive legends upon
     vesting of such Shares under the Plan shall be subject to the satisfaction of all applicable federal, state and
     local income and employment tax withholding requirements. The Grantee shall pay to the Company an
     amount equal to the withholding amount (or the Company may withhold such amount from the Grantee's
     salary) in cash or, to the extent permitted under.Section 402 of the Sarbanes-Oxley Act of 2002 and the
     regulations adopted pursuant thereto, with Shares (including previously vested Granted Stock) with an
     aggregate fair market value equal to the withholding amount calculated using the maximum statutory
     withholding amount permitted to be withheld under applicable tax rules.
          10.Nondisclosure. Grantee acknowledges that the grant and terms of this Stock Award are confidential
     and may not be disclosed by Grantee to any other person, including other employees of the Company and
     other participants in the Plan, without the express written consent of the Company's Chief Executive
     Officer. Notwithstanding the foregoing, the Grantee may disclose the grant and terms of this Stock Award
     to the Grantee's family member, financial advisor, and attorney and as may be required by law or regulation.
     Any breach ofthis provision will be deemed to be a material breach ofthis Agreement.
          11. Governing Law. This Agreement shall be governed by and interpreted in accordance with the
     internal laws of the State of California without regard to principles of conflict of laws.


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             12.Successors. This Agreement shall inure to the benefit of and be binding upon the parties hereto and
         their legal representatives, heirs, and permitted transferees, successors and assigns.
             13.Plan. This Agreement and the Notice of Stock Award Grant are subject to all of the terms and
         provisions of the Plan, receipt of a copy of which is hereby acknowledged by the Grantee. The Grantee
         hereby agrees to accept as binding, conclusive, and final all decisions and interpretations of the
         Administrator upon any questions arising under the Plan, this Agreement, and the Notice of Stock Award
         Grant.
             14. Rights to Ficture Employment. This Stock Award does not confer upon the Grantee any right to
         continue in the Service of the Company or any Affiliate, nor does it limit the right of the Company to
         terminate the Service of the Grantee at any time.
             15.Restrictive Covenants. The Grantee hereby agrees to be bound by the restrictive covenants set forth
         in Annex A.
             16.Entire Agreement. The Notice of Stock Award Grant, this Agreement, and the Plan constitute the
         entire contract between the parties hereto with regard to the subject matter hereof. They supersede any other
         agreements, representations or understandings (whether oral or written and whether express or implied)
         between the parties which relate to the subject matter hereof.


_                Byyouur signature and the signature of the Company's representative below,youu and the
         Company agree that this Stock Award is granted under and governed by the terms and conditions of this
         Agreement and the Plan and the Notice of Stock Award Grant, both of which are attached and
         incorporated herein by reference. This Stock Award is of no force and effect until this Agreement is
         signed by you and the Company's representative, the Notice of Stock Award Grant is signed by you.




          GRANTEE:                                              PACWEST BANCORP

          By:   Signed Electronically                            By:       qke,5~,
                                                                                ,.~~<-~
                Name:                                                     Rebecca H. Cordes
                                                                         Exec. Vice President, Human Resources




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                                                   ANNEX A
                                            RESTRICTIVE COVENANTS

             The Restrictive Covenants set forth in this Annex A to the Restricted Stock Award Agreement (the
     "Agreement") limit the ability of the Grantee to engage in certain practices during and following
     employment with the Company and is an integral part of the Agreement, without wh ich the Company would
     not have granted the opportunity to earn the Restricted Stock Award.

                1.      Confidential lnformation. During your employment and thereafter, you shall hold in a
     fiduciary capacity for the benefit of the Company all trade secrets and Confidential Information relating to
      the Company and its businesses and investments, which will have been obtained by you during your
     employment by the Company and which is not generally available public knowledge (other than by acts by
     you in violation of this Agreement). Except as may be required or appropriate in connection with your
      carrying out your duties as an employee, you will not, without the prior written consent of the Company or
     as may otherwise be required by law or any legal process, any statutory obligation or order of any court or
     statutory tribunal of competent jurisdiction, or as is necessary in connection with any adversarial proceeding
     against the Company (in which case you will use your reasonable best efforts in cooperating with the
      Company in obtaining a protective order against disclosure by a court of competent jurisdiction),
      communicate or divulge any such trade secrets or Confidential Information to anyone other than the
    __Company and those designated_b_y_the Company or on _behalf_o.f_the Company in the_furtherance of_its__
      business or to perform duties hereunder. Notwithstanding anything to the contrary in this Agreement or
     otherwise, nothing shall limit your rights under applicable law to provide truthful information to any
     governmental entity or to file a charge with or participate in an investigation conducted by any
     governmental entity. You are hereby notified that the immunity provisions in Section 1833 of title 18 of the
      United States Code provide that an individual cannot be held criminally or civilly liable under any federal
     or state trade secret law for any disclosure of a trade secret that is made (1) in confidence to federal, state
      or local government officials, either directly or indirectly, or to an attorney, and is solely for the purpose of
      reporting or investigating a suspected violation of the law, (2) under seal in a complaint or other document
      filed in a lawsuit or other proceeding, or (3) to your attorney in connection with a lawsuit for retaliation for
     reporting a suspected violation of law (and the trade secret may be used in the court proceedings for such
      lawsuit) as long as any document containing the trade secret is filed under seal and the trade secret is not
      disclosed except pursuant to court order.

              2.      Non-Solicitation of Employees. You agree that during your employment, and for a six
     month period following the termination of your employment for any reason, you will not take any action,
     directly or indirectly (without the prior written consent of the Company), that causes or could reasonably
     be expected to cause any person who is then an employee of the Company or its Affliates to resign from
     the Company or its Affiliates or to apply for or accept employment with any other business or enterprise.

              3.      Non-Solicitation of Customers. You agree that during your employment, and for a six
     month period following the termination of yoiu• employment for any reason, you will not, in any manner,
     directly or indirectly (without the prior written consent of the Company): (1) take any action that causes or
     could reasonably be expected to cause any customer or prospective customer of the Company or its
     Affiliates to whom you provided services or with whom you otherwise had contact to become a customer
     of or transact any business with a Competitive Business or reduce or refrain from doing any business with
     the Company or its Affiliates, (2) transact business with any customer or prospective customer that would
     cause you to be a Competitive Business, or (3) interfere with or damage any relationship between the
     Company and a customer or prospective customer.
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              4.       Reasonableness of Covenant. You agree that the covenants contained herein are reasonable
     and necessary to protect the confidentiality of the customer lists, the terms, conditions and nature of
     customer relationships, and other trade secrets and Confidential Information concerning the Company and
     its Affiliates, acquired by you and to avoid actual or apparent conflicts of interest.

              5.      Validity. The terms and provisions of this Annex A are intended to be separate and
     divisible provisions and if, for any reason, any one or more of them is held to be invalid or unenforceable,
     neither the validity nor the enforceability of any other provision set forth herein thereby be affected. If for
     any reason any court of competent jurisdiction will find any provisions of this Annex A unreasonable in
     duration or geographic scope or otherwise, you and the Company agree that the restrictions and prohibitions
     contained herein will be efPective to the fullest extent allowed under applicable law in such jurisdiction

             6.        Iniunctive Relief. Without limiting any remedies available to the Company, you
     acknowledge     and agree that a breach of the covenants contained in Sections 1 through 3 of this Annex A
     will result in injury to the Company and its Affiliates for which there is no adequate remedy at law and that
     it will not be possible to rneasure damages for such injuries precisely. Therefore, you agree that, in the
     event of such a breach or threat thereof, the Company will be entitled to seek a temporary restraining order
     and a preliminary and permanent injunction, without bond or other security, restraining you from engaging
     in activities prohibited by Sections 1 through 3 of this Annex A or such other relief as may be required
     specifically to enforce any of the covenants in Sections 1 tlu-ough 3 of this Annex A.

            7.        Definitions. For purposes of these covenants, the following terms will have the following
     meanings:

                      (a)      "Competitive Business" means any business enterprise that either (i) engages in
     any activity that competes with the business of the Company or its Affiliates or (ii) holds a 5% or greater
     equity, voting or profit participation interest in any enterprise that engages in such a competitive activity.

                       (b)      "Confidential Information" means any information concerning the business or
     affairs of the Company or any of its Affiliates which is not generally known to the public and includes, but
     is not limited to, any file, document, book, account, list (including without limitation customer lists),
     process, patent, specification, drawing, design, computer program or file, computer disk, method of
     operation, recommendation, report, plan, survey, data, manual, strategy, financial data, client infoi-mation
     or data (including the terms and conditions of any business relationships between clients and the Company
     or its Affiliates), or contract which comes to your knowledge in the course of your employment or which
     is generated by you in the course of perfoiTning your obligations to the Company whether alone or with
     others.


     JEI9MVAA

     05/22/2019 04:18 PM U.S. Eastern Standard Time

     ACCEPTED




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             EXHIBIT 5
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                                         PACWEST BANCORP
                                       STOCK INCENTIVE PLAN
                                   NOTICE OF STOCK AWARD GRANT
     This Notice of Stock Award Grant is part of the Stock Award Agreement between Grantee and the
     Company dated 05/12/2020 and is of no force and effect until the Stock Award Agreement is signed
     by Grantee and the Company's representative, this Notice of Stock Award Grant is signed by Grantee.



                       You have been granted the following Stock Award:

                       Name of Grantee:                DIANA REMINGTON          SMITHSON

                       Total Number of Shares
                       Granted:
                       ("Granted Stock")               2,254

                       Type of Stock Award:            Restricted Stock Award

                        Date of Grant:                 05/12/2020
                                                       The-Granted-Stock shall vesttin full-over 4-years.
                       Vesting Schedule:               The first one-fourth of the Granted Stock shall vest
                                                       on the date the Grantee completes one year of
                                                       continuous Service after the Vesting
                                                       Commencement Date. An additional one-fourth of
                                                       the Granted Stock shall vest on the date the Grantee
                                                       completes each year of continuous Service
                                                       thereafter until Grantee is 100% vested in the
                                                       Restricted Stock on the 4`h year anniversary ofthe
                                                       Vesting Commencement Date.
                                                       The date that is the last day of the month in which
                       Vesting Commencement
                       Date:                           the Grant is made.


            Please sign below to acknowledge the terms and conditions of this Stock Award.
            ACKNOWLEDGED BY GRANTEE:



              By:
                             Signed Electronically

              Name:          DIANA REMINGTON         SMITHSON




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                                             PACWEST BANCORP
                                           STOCK INCENTIVE PLAN
                                         STOCK AWARD AGREEMENT

         1.Definitions. Unless otherwise defined herein, the terms defined in the PacWest Bancorp 2017 Stock
     Incentive Plan, as amended (the "Plan") shall have the same defined meanings in this Stock Award
     Agreement ("Agreement") and the Notice of Stock Award Grant attached hereto as Appendix A.
         2. Grant of Stock Award. Pursuant to the terms and conditions set forth in the Notice of Stock Award
     Grant, this Agreement, and the Plan, PacWest Bancorp (the "Company") grants to the grantee named in the
     Notice of Stock Award Grant ("Grantee") on the date of grant set forth in the Notice of Stock Award Grant
     ("Date of Grant") the number of Shares set forth in the Notice of Stock Award Grant. This Stock Award is
     intended to be a Restricted Stock Award or a Performance Stock Award, as provided in the Notice of Stock
     Award Grant.
          3. Vesting. The Grantee shall vest in the Granted Stock in accordance with the vesting schedule
     provided for in the Notice of Stock Award Grant; provided, however, that the Grantee shall cease vesting
     in the Granted Stock on the Grantee's Termination Date or the date on which the Compensation Committee
     of the Company's Board of Directors (the "Administrator") determines that the performance goals, if any,
     provided for in the Notice of Stock Award Grant were not satisfied during the designated period of time.
   _ Notwithstanding the foregoing, upon the occurrence of a Vesting_Event, the Grantee shall become 100%
     vested in those shares of Granted Stock that are outstanding on the date of the Vesting Event.
         4. Risk of Forfeiture.
                      (a) General Rule. The Granted Stock shall initially be subject to a Risk of Forfeiture. The
                 Shares subject to a Risk ofForfeiture shall be referred to herein as "Restricted Shares".
                       (b) Lapse ofRisk ofForfeiture. The Risk of Forfeiture shall lapse as the Grantee vests in
                 the Granted Stock.
                      (c) Forfeiture of Granted Stock. The Restricted Shares shall automatically be forfeited
                 and immediately returned to the Company on the Grantee's Termination Date or the date on
                 which the Administrator deternunes that the performance goals, if any, provided for in the
                 Notice of Stock Award Grant were not satisfied during the designated period of time.
                         (d)Additional Shares or Substituted Securities. In the event of a stock split, reverse stock
                 split, stock dividend, recapitalization, combination or reclassification of the Common Stock or
                 any other increase or decrease in the number of issued and outstanding Shares effected without
                 receipt of consideration by the Company, any new, substituted or additional securities or other
                 property (including money paid other than as an ordinary cash dividend) which are by reason
                 of such transaction distributed with respect to any Restricted Shares or into which such
                 Restricted Shares thereby become convertible shall immediately be subject to a Risk of
                 Forfeiture, which Risk of Forfeiture shall lapse at the same time and in the same manner as the
                 Risk of Foi-feiture to which the corresponding Restricted Share is subject.
                        (e) Escrow. Upon issuance, the stock certificates for Granted Stock shall be deposited in
                 escrow with the Company to be held in accordance with the provisions ofthis Agreement. Any
                 new, substituted or additional securities or other property described in Subsection (d) above
                 shall immediately be delivered to the Company to be held in escrow, but only to the extent the
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                 shares of Granted Stock are at the time Restricted Shares. All regular cash dividends on
                 Restricted Shares (or other securities at the time held in escrow) shall be paid directly to the
                 Grantee and shall not be held in escrow (such distributions may, however, be delivered to an
                 address at the Company for delivery to the Grantee). Restricted Shares, together with any other
                 assets or securities held in escrow hereunder, shall be (i) surrendered to the Company for
                 cancellation upon forfeiture of the Restricted Shares; or (ii) released to the Grantee upon the
                 Grantee's request to the Administrator on or after the date the shares of Granted Stock are no
                 longer Restricted Shares. Grantee agrees not to make a request to the Company's transfer agent
                 for delivery of any share certificates representing any shares of Granted Stock so long as such
                 shares are Restricted Shares.
         5. Rights as a Stockholder. The Grantee shall have the rights of a stockholder with respect to the
     dividends paid by the Company. Grantee shall not be entitled to vote any unvested shares of Granted Stock.
     Upon the vesting of any portion of the Stock Award, the Grantee shall have the voting rights with respect
     to any such vested shares of Granted Stock.
         6.Non-transferability of StockAward. Except as otherwise provided for in the Plan, this Stock Award
     may not be sold, pledged, assigned, hypothecated, transferred, or disposed of in any manner other than by
     will or by the laws of descent and distribution and may be exercised, during the lifetime of the Grantee,
     only by the Grantee. If the Grantee transfers all or part of this Stock Award pursuant to the previous
     sentence, then the terms of this A_greement, the Plan and the Notice of Stock Award shall apply to the            _
     transferee to the same extent as to the Grantee.
          7.Regulatory Compliance. The issuance of Common Stock pursuant to this Agreement shall be subject
     to full compliance with all then applicable requirements of law and the requirements of any stock exchange
     or interdealer quotation system upon which the Common Stock may be listed or traded.
         8.Modification and Termination. The rights ofthe Grantee are subjectto modification and termination
     in certain events, as provided in the Plan.
         9. Withholding Tax. The Company's obligation to deliver Shares or remove any restrictive legends upon
     vesting of such Shares under the Plan shall be subject to the satisfaction of all applicable federal, state and
     local income and employment tax withholding requirements. The Grantee shall pay to the Company an
     amount equal to the withholding amount (or the Company may withhold such amount from the Grantee's
     salary) in cash or, to the extent permitted under Section 402 of the Sarbanes-Oxley Act of 2002 and the
     regulations adopted pursuant thereto, with Shares (including previously vested Granted Stock) with an
     aggregate fair market value equal to the withholding amount calculated using the maXimum statutory
     withholding amount permitted to be withheld under applicable tax rules.
          10.Nondisclosure. Grantee acknowledges that the grant and terms of this Stock Award are confidential
     and may not be disclosed by Grantee to any other person, including other employees of the Company and
     other participants in the Plan, without the express written consent of the Company's Chief Executive
     Officer. Notwithstanding the foregoing, the Grantee may disclose the grant and terms of this Stock Award
     to the Grantee's family member, financial advisor, and attorney and as may be required by law or regulation.
     Any breach of this provision will be deemed to be a material breach of this Agreement.
          11. Governing Law. This Agreement shall be governed by and interpreted in accordance with the
     internal laws ofthe State of California without regard to principles of conflict of laws.


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         12.Successors. This Agreement shall inure to the benefit of and be binding upon the parties hereto and
     their legal representatives, heirs, and permitted transferees, successors and assigns.
         13.Plan. This Agreement and the Notice of Stock Award Grant are subject to all of the terms and
     provisions of the Plan, receipt of a copy of which is hereby acknowledged by the Grantee. The Grantee
     hereby agrees to accept as binding, conclusive, and final all decisions and interpretations of the
     Administrator upon any questions arising under the Plan, this Agreement, and the Notice of Stock Award
     Grant.
         14. Rights to Futaire Employment. This Stock Award does not confer upon the Grantee any right to
     continue in the Service of the Company or any Affiliate, nor does it limit the right of the Company to
     terminate the Service of the Grantee at any time.
         15.Restrictive Covenants. The Grantee hereby agrees to be bound by the restrictive covenants set forth
     in Annex A.
         16.Entire Agreement. The Notice of Stock Award Grant, this Agreement, and the Plan constitute the
     entire contract between the parties hereto with regard to the subject matter hereof. They supersede any other
     agreements, representations or understandings (whether oral or written and whether express or implied)
     between the parties which relate to the subject matter hereof.


             Byyouur signature and the signature of the Company's representativ_e below, you and the
     Company agree that this Stock Award is granted under and governed by the terms and conditions of this
     Agreement and the Plan and the Notice of Stock Award Grant, both of which are attached and
     incorporated herein by reference. This Stock Award is of no force and effect until this Agreement is
     signed by you and the Company's representative, the Notice of Stock Award Grant is signed by you.




      GRANTEE:                                               PACWEST BANCORP

      By:    Signed Electronically                           By:
            Name:                                                    Rebecca H. Cordes
                                                                     Exec. Vice President, Human Resources




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                                                   ANNEX A
                                            RBSTRICTIVE COVENANTS

              The Restrictive Covenants set forth in this Annex A to the Restricted Stock Award Agreement (the
      "Agreement") limit the ability of the Grantee to engage in certain practices during and following
      employmentwith the Company and is an integral part ofthe Agreement, withoutwhich the Company would
      not have granted the opportunity to earn the Restricted Stock Award.

              1.      Confidential Information. During your employment and thereafter, you shall hold in a
    fiduciary capacity for the benefit of the Company all trade secrets and Confidential Information relating to
    the Company and its businesses and investments, which will have been obtained by you during your
    employment by the Company and which is not generally available public knowledge (other than by acts by
    you in violation of this Agreement). Except as may be required or appropriate in connection with your
    carrying out your duties as an employee, you will not, without the prior written consent of the Company or
    as may otherwise be required by law or any legal process, any statutory obligation or order of any court or
    statutory tribunal of competent jurisdiction, or as is necessary in connection with any adversarial proceeding
    against the Company (in which case you will use your reasonable best efforts in cooperating with the
    Company in obtaining a protective order against disclosure by a court of competent jurisdiction),
    communicate or divulge any such trade secrets or Confidential Information to anyone other than the
  —_Company and those_designated by_the Company_or_on_behalf_of_the Company_in_the furtherance of its
    business or to perform duties hereunder. Notvvithstanding anything to the contrary in this Agreement or
    otherwise, nothing shall limit your rights under applicable law to provide truthful information to any
    governmental entity or to file a charge with or participate in an investigation conducted by any
    governmental entity. You are hereby notified that the immunity provisions in Section 1833 of title 18 of the
    United States Code provide that an individual cannot be held criminally or civilly liable under any federal
    or state trade secret law for any disclosure of a trade secret that is made (1) in confidence to federal, state
    or local government officials, either directly or indirectly, or to an attorney, and is solely for the purpose of
    reporting or investigating a suspected violation of the law, (2) under seal in a complaint or other document
    filed in a lawsuit or other proceeding, or (3) to your attorney in connection with a lawsuit for retaliation for
    reporting a suspected violation of law (and the trade secret may be used in the court proceedings for such
     lawsuit) as long as any document containing the trade secret is filed under seal and the trade secret is not
    disclosed except pursuant to court order.

               2.      Non-Solicitation of Employees. You agree that during your employment, and for a six
      month period following the termination of your employment for any reason, you will not take any action,
      directly or indirectly (without the prior written consent of the Company), that causes or could reasonably
      be expected to cause any person who is then an employee of the Company or its Affiliates to resign from
      the Company or its Affiliates or to apply for or accept employment with any other business or enterprise.

               3.      Non-Solicitation of Customers. You agree that during your employment, and for a six
      month period following the termination of yoiu• employment for any reason, you will not, in any manner,
      directly or indirectly (without the prior written consent ofthe Company): (1) take any action that causes or
      could reasonably be expected to cause any customer or prospective customer of the Company or its
      Affiliates to whom you provided services or with whom you otherwise had contact to become a customer
      of or transact any business with a Competitive Business or reduce or refrain from doing any business with
      the Company or its Affiliates, (2) transact business with any customer or prospective customer that would
      cause you to be a Competitive Business, or (3) interfere with or damage any relationship between the
      Company and a customer or prospective customer.
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                                                 PROOF OF SERVICE
       2                PacWest Bancorp v. David I. Rainer Case No. 20STCV46002 [2296.4]
       3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

       4         At the time of service, I was over 18 years of age and not a party to this action. I am employed
         in the County of Los Angeles, State of California. My business address is 777 South Figueroa Street,
       5 Suite 3800, Los Angeles, CA 90017.

       6         On April 1, 2022, I served true copies of the foregoing document described as
         PLAINTIFFS' T H I R D AMENDED COMPLAINT FOR DAMAGES on the interested
       7 parties in this action as follows:

       8 Bert H. Deixler, Esq.                                    Attorneys for Defendant/Cross-Complainant
         Nary Kim, Esq.                                           DAVID I. RAINER
       9 Nicholas F. Daum, Esq.
         KENDALL BRILL & KELLY LLP
      10 10100 Santa Monica Blvd., Suite 1725
         Los Angeles, California 90067
      11 Telephone: (310) 556-2700
         Facsimile: (310) 556-2705
      12 E-mail(s): bdeixler@kbkfirm.com;
         nkim@kbkfirm.com; crossi@kbkfirm.com;
      13 ndaumAkbkfirm.com

      14 Brent Caslin, Esq.                                    Attorneys for Defendants
          Alexander M. Smith, Esq.                             BANK OF SOUTHERN CALIFORNIA,
      15 Madeline P. Skitzki, Esq.                             N.A. and SOUTHERN CALIFORNIA
          Elizabeth Avunjian, Esq.                             BANCORP
      16 Chris Ward
          Christal Oropeza
      17 TENNER & BLOCK LLP
          633 West 5th Street, Suite 3300
      18 Los Angeles, CA 90071
          Telephone: (213) 239-5100
      19 Email: bcaslin@jenner.com; asmith@jenner.com;
          mskitzki@jenner.com; eavunjian@jenner.com;
      20 cward@jenner.com; COropeza@jenner.com;
          eacedoa,kbkfirm.com
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          ®      BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused copies of the documenf to
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                 be sent from e-mail address igomez@bautelaw.com to the persons at the e-mail addresses
      231        listed in the Service List.
                 I declare under penalty of perjury under the laws of the State of California that the
      241 foregoing is true and correct. Executed on April 1, 2022, at Los Angeles, California.
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                                                                Irma Gomez

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                             PLAINTIFFS' THIRD AMENDED COMPLAINT FOR DAMAGES
